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                                            Case No. 25-2028



                      In the United States Court of Appeals
                                    For the Ninth Circuit


                                  Ashley M. Gjøvik, an individual,
                                              Plaintiff-Appellant
                                                      v.
                                        Apple Inc., a corporation,
                                             Defendant-Appellee.


                               On Appeal from the United States District Court
                                     for the Northern District of California
                                              No. 3:23-CV-04597
                                    The Honorable Judge Edward M. Chen



                              Appellant’s Excerpts of Record
                                  Volume VI | Complaints



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                         United States District Court
                         Northern District of California



                                                D.C. Case No. 3:23-CV-04597-EMC
             Ashley M. Gjovik ,
                                                Ninth Circuit Case No. 24-6058
             an individual,


                 Plaintiff,                     Plaintiff’s Fifth

                vs.                             Amended Complaint


                                                Claims: Civil Litigation
             Apple Inc.,
             a corporation, et al.,


                 Defendant.




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                                           S UMMARY OF THE C ASE
                1.        This lawsuit arises from Apple Inc’s (“Defendant”) reckless disregard of environmental
        regulations and safety requirements at two different Silicon Valley properties, and subsequent concealment
        of their unlawful acts and the extensive harm they caused.
                2.        In 2020, Apple severely injured and nearly killed Ashley Gjovik (“Plaintiff”) with Apple’s
        unlawful toxic waste dumping from a stealth semiconductor fabrication facility in Santa Clara, California.
        (Gjovik did not discover that Apple was responsible for her injuries until 2023, but Apple is believed to have
        known by mid-2021). In 2021, Gjovik also exposed that Apple was violating health, safety, and environmental
        rules and regulations at her team’s office located on a triple Superfund site in Sunnyvale, California (“the
        Triple Site”).1
                3.        Gjovik filed environmental and safety complaints and partnered with numerous government
        agencies to document and investigate the issues. Apple repeatedly made statements to Gjovik instructing
        her not to talk to her coworkers or the government about her safety and compliance concerns, pressured her
        to not ask questions, prevented her from gathering evidence, and attempted to conceal their unlawful
        activities from her and from the government.
                4.        Apple management retaliated against Gjovik as soon as Gjovik started asking questions and
        expressing concerns, repeatedly said the retaliation was because of her safety and environmental complaints,
        they incited and encouraged others to harass and intimidate Gjovik, and Apple took negative employment
        actions against Gjovik in an attempt to coerce her to quit the company; but when she did not quit, Apple
        fired her.
                5.        Apple’s explanation for terminating Gjovik has changed multiple times, was not shared at all
        with Gjovik until a week after her termination, and the proffered reason is pretextual but unlawful itself. Over
        three years later, Apple still has not disclosed who initiated the decision to terminate Gjovik’s employment
        and has refused Gjovik’s requests for them to provide this information.
                6.        During Apple’s marathon of retaliation against Gjovik in 2021, Gjovik was in law school
        studying to become a human rights lawyer. She was in a unique position to effectively report serious
        environmental and safety issues, and to lobby for general policy reform. Gjovik utilized her knowledge,
        experience, and resources to confer with numerous government agencies, to meet with a variety of elected


        1
         The “Triple Site” refers to three specific toxic waste dumps in Sunnyvale, California with a merged mega-plume of
        solvent pollution in the groundwater. One of the three plumes (the “TRW Microwave” site) is directly beneath
        Gjovik’s office.
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        officials and their staff, to publish op-eds calling for new legislation, was interviewed and written about by
        the press, and served as a witness for government agencies and legislative committees.
                7.       Gjovik spoke out publicly, organized with her coworkers, lobbied on their behalf, and called
        for systemic change with Apple’s environmental and labor practices. Gjovik’s public advocacy also brought
        awareness to her prior neighbors of the pollution issues where she had lived in 2020, leading to additional
        chemical exposure victims coming forward and joining Gjovik in complaining to the government and
        requesting help.
                8.      In 2021, Gjovik filed timely retaliation and discrimination complaints with multiple
        administrative agencies including the U.S. NLRB, U.S. EEOC, U.S. Dept. of Labor, California Dept. of
        Labor, and California DFEH. The U.S. EEOC and state claims were merged into this civil lawsuit. The U.S.
        Dept. of Labor CERCLA whistleblower retaliation case is currently with the Administrative Review Board.2
                9.      The U.S. NLRB is actively prosecuting Apple over their unlawful employment policies, per
        Gjovik’s Oct. 2021 charge. NLRB will initiate prosecution imminently against Apple for its retaliation and
        unfair labor practices committed against Gjovik, including suspending her and terminating her
        employment.3
                10.     Over the last three years, due to Gjovik’s investigations and advocacy, there have been
        multiple government inspections of Apple’s two facilities noted above, resulting in citations for
        environmental and safety regulatory violations, ordered corrective actions, and required monitoring. Gjovik
        still speaks with the U.S. EPA regularly as a community advocate about Apple and the two facilities.
                11.     Apple continued harassing and retaliating against Gjovik after she was fired and through
        current day, intentionally interfering with and severely damaging her career, reputation, relationships,
        finances, physical condition, mental health, and just about every other aspect of her life.

                                           J URISDICTION & V ENUE
                12.     The United States District Courts have diversity jurisdiction over this case because the
        amount in controversy exceeds $75,000 and the parties are of diverse state citizenship. [28 U.S.C. § 1332].
                13.     When the complaint was filed, Plaintiff was domiciled in the state of New York and is now
        domiciled in the Commonwealth of Massachusetts. Defendant is a corporation headquartered in California.
                14.     Venue is proper in the District Court of Northern California because Apple is headquartered


        2
          Ashley Gjovik v Apple Inc, 2024-CER-00001 (OALJ), 2024-0060 (ARB); CERCLA 42 U.S.C. §9610, Clean Air Act 42 U.S.C.
        §7622, RCRA 42 U.S.C. §6971, TSCA 15 U.S.C. §2622
        3
          NLRA 29 U.S. Code § 158

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        and operates in this district. Many of Gjovik’s claims arose from acts, omissions, and injuries within the
        District of Northern California. [Civil L.R. 3-5(b)].

                                                            P ARTIES
                15.      Ashley Gjovik 4 (“Plaintiff”), is a natural person currently domiciled in Boston,
        Massachusetts. Gjovik holds a recently awarded Juris Doctor degree from Santa Clara University School of
        Law and is appearing Pro Se.5
                16.      Gjovik is a 38-year-old white woman with multiple disabilities including ADHD, PTSD,
        anxiety, panic disorder, depression, and autism.
                17.      Gjovik was an employee of Apple Inc from Feb. 2015 through Sept. 2021.
                18.      Gjovik held a leasehold at a Santa Clara residential property (3255 Scott Blvd) adjacent to
        Apple’s semiconductor fabrication facility (3250 Scott Blvd) in Feb. 2020 through Oct. 2020.
                19.      Apple Inc., (“Defendant”), is a business engaged in and affecting interstate commerce and a
        covered entity under the federal statutes at issue here.6 Apple is a corporation headquartered at One Apple
        Park Way in Cupertino, California. Apple says it “designs, manufactures and markets smartphones, personal
        computers, tablets, wearables and accessories, and sells a variety of related services.” As of Nov. 2024, Apple Inc.
        claimed a market cap of $3.4 trillion and annual revenue of $394.33 billion.7
                20.      At all pertinent times, Apple was the tenant and operator controlling the facilities at both 825
        Stewart Dr. in Sunnyvale and 3250 Scott Blvd. in Santa Clara, California. At both properties, Apple
        registered its state and federal RCRA activities under its own name and with Apple EH&S as the contact for
        the government and public.

                                             P ROCEDURAL H ISTORY
                21.      Gjovik now files her Fifth Amended Complaint (“5-AC”). Gjovik filed her original complaint
        on Sept. 7 2023. The First Amended Complaint was filed in Oct. 2023 per stipulation, in order to allow
        Apple more time to prepare, as needed due to Apple’s delayed arrival in court. The Second Amended
        Complaint was filed on Dec. 21 2023 as a matter of course but was dismissed sua sponte by this court without


        4
          Pronounced “JOE-vik”
        5
          Gjovik established a consulting LLC in California in 2022, which she continues to manage with a virtual office in
        Sacramento at 2108 N St. Ste. 4553 Sacramento, CA, 95816. The LLC address is used on papers for privacy.
        6
          “Apple” refers to its successors and assigns; controlled subsidiaries, divisions, groups, affiliates, partnerships, and
        joint ventures; and their directors, officers, managers, agents, and employees.
        7
          Apple Inc, 2024 10K, https://investor.apple.com/sec-filings/default.aspx
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        prejudice and with leave to amend on Jan. 30 2024, ordering Gjovik to reduce the complaint length by over
        500 pages. The Third Amended Complaint was filed on Feb. 27 2024, met with a Motion to Dismiss and
        Motion to Strike, and was ruled upon with a decision and order issued May 20 2024. The Fourth Amended
        Complaint was filed on June 18 2024, also met with Motions to Dismiss and Strike, and was ruled upon with
        a decision and order issued Oct. 1 2024. Gjovik was ordered to revise her complaint again.
                22.     On Oct. 1 2024, Gjovik filed an appeal to the Ninth Circuit Court of Appeals, contesting
        denied injunctions, collateral orders, and the dismissal with prejudice of dozens of her claims mostly due to
        discretionary procedural reasons not related to the potential merit of the claims. Gjovik filed a pending
        Motion to Stay pending appeal.
                23.     If the Ninth Circuit accepts the appeal, Gjovik intends to appeal at least the dismissals of her
        claims for RICO §§ 1962(a) and 1962(d); RICO §§ 1962(c) and 1962(d); whistleblower retaliation under the
        Sarbanes–Oxley and Dodd-Frank Acts; violations of the Bane Civil Rights Act and the Ralph Civil Rights
        Act; Ultrahazardous Activities; Absolute Nuisance; Nuisance Per Se; Cal. Business and Professions Code
        §§ 17200 et seq.; Cal. Labor Code § 6399.7 and the “Right to Know” generally; Breach of the Implied
        Covenant of Good Faith and Fair Dealing; Negligent Infliction of Emotional Distress; IIED with a basis of
        defamation and accusations of dishonesty; retaliation for protected labor complaints about slavery,
        apartheid, genocide, and “Muslim human rights”; and whistleblower protection for protected disclosures
        about smuggling, violations of sanctions, violations of environmental laws, federal crimes committed in
        furtherance of violations of environmental laws, racketeering, and certain privacy invasions violating the
        California Constitution.

                                             S TATEMENT OF F ACTS
                                 I.    Location 1: 3250 Scott Blvd, Santa Clara
                24.     In early 2015, Apple started stealth semiconductor fabrication activities in a facility located
        at 3250 Scott Blvd. in Santa Clara, California.8 Like some sort of Skunkworks, Apple codenamed the facility
        “ARIA” and even tried to use the codename on regulatory paperwork.
                25.     The ARIA semiconductor fabrication facility operated less than three hundred feet from
        thousands of homes where Gjovik lived in 2020 (the Santa Clara Square Apartments). Also within 300 from



        8
         “Semiconductor Fabrication Facility: A building or a portion of a building in which electrical circuits or devices are
        created on solid crystalline substances having electrical conductivity greater than insulators but less than conductors.
        These circuits or devices are commonly known as semiconductors.” Cal. Fire Code § 202 (2022).
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        the building were two public parks (Creekside Park and Meadow Park), picnic tables, outdoor fitness
        stations, and a children’s playground. Within 1,000 feet of ARIA there was also a church, a school, an elder
        care facility, and the San Tomas Aquino Creek and public trail. (San Tomas Aquino Creek flows to the Bay
        and then into the Pacific Ocean).
               26.     Upon initiating operations at ARIA, Apple was quickly cited for building, environmental,
        health, safety, and fire code violations in at least 2015 (stop work order due to construction without permits),
        2016 (spill of cooling water into storm drains, fire code and CalASPA violations, health and safety code
        violations, failure to properly monitor wastewater discharge), 2019 (wastewater testing violations), 2020 (fire
        code violations, using two EPA identification numbers, inaccurate hazmat inventory data, no spill plans or
        training, no business permit, no signature from supervisor on records, and failure to properly monitor
        wastewater discharge again).
               27.     Apple intentionally vented its fabrication exhaust – unabated – and consisting of toxic solvent
        vapors, gases, and fumes – into the ambient outdoor air. The factory was one story, while the apartments
        were four stories tall, creating a high likelihood that Apple’s factory exhaust entered the interior air of the
        apartments through open windows and the 'fresh air intake' vents.
               28.     City Fire Dept. records for ARIA contain at least sixteen chemical spill/leak incident reports
        at ARIA within only three years. These incident reports included eight confirmed leaks/spills: leaks of
        phosphine and silane on June 1 2019 at 9:17 AM; a phosphine leak on Oct. 21 2019 at 11:06 PM; a Tetraethyl
        Orthosilicate (“TEOS”) leak on July 17 2020 at 8:58 AM; a major phosphine leak on April 30 2021 at 8:29
        AM; a 5% fluorine gas leak on April 18 2022 at 10:42 AM, a Hexafluorobutadiene leak on May 29 2022 at
        2:19 PM, and leaks of two unnamed toxic gases on Sept. 20 2022 at 7:44 AM and Dec. 21 2022 at 1:40 AM.
               29.     Further, later in 2021-2022, Apple reported to the government. that in the year 2020, Apple
        released at least 7.8 tons (15,608 pounds) of VOCs and 260 pounds of the combustible solvent N-Methyl-2-
        pyrrolidone (NMP) into the exterior air around ARIA. In 2022, the U.S. EPA severely restricted the legal
        use of NMP as “it presents an unreasonable risk of injury to human health” under TSCA.
               30.     Per a review of Apple’s manifests, Apple did not replace the carbon/charcoal in its exhaust
        system for over five years, with the first replacement occurring Dec. 14, 2020 – only after Gjovik had notified
        Apple EH&S and environmental legal about what occurred to her near ARIA. Apple also reported to the Bay
        Area Air Quality Management Board (BAAQMB) (in difficult to find agency filings) that in at least 2019-
        2021, ARIA exhausted reportable amounts of mercury, arsenic, carbon monoxide, and formaldehyde into
        the ambient air around the factory.


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               31.     Apple’s leaks, spills, and releases were not limited to the air. Apple’s wastewater discharge
        monitoring repeatedly showed the presence of heavy metals and organic solvents. In 2017, the government
        mandated testing revealed the presence of 29 μg/L of 1,1-Dichloropropane, 24 μg/L of Trichloroethylene
        (“TCE”), and 6.7 μg/L of Ethyl tertiary-butyl ether (ETBE). Among other issues, it’s unclear why Apple
        had TCE on site but not in any of its chemical inventories, and then, in addition, why exactly Apple was
        pouring that TCE down the drain.
               32.      ARIA reported an average daily water usage of around 44,000 gallons per day and the sewer
        pipes carrying ARIA’s discharges flowed downhill and directly around the apartment where Gjovik lived in
        2020. In 2020, the government had already started investigating the plumbing at her apartment as a possible
        vector for some unknown solvent vapor pollution.
               33.     Apple was fully aware of this facility and its operations, including the vast amount of
        hazardous materials and hazardous waste, as every year, Apple submitted a financial assurance document to
        the Santa Clara Fire Dept. and HazMat agency, which detailed hazardous waste treatment and disposal
        operations, and is personally signed by Apple’s Chief Financial Officer, Luca Maestri – including affixing a
        company seal. Each financial assurance filing also attached a detailed confirmation letter from Apple’s third-
        party auditor, E&Y, on behalf of Apple. Maestri was also on the email distribution list for notification of
        hazardous waste violations at the facility.

                                  II.    Gjovik’s Chemical Injuries in 2020
               34.     In Feb. 2020, Gjovik moved into a large, new apartment at the Santa Clara Square
        Apartments (adjacent to ARIA) and quickly became severely ill. Gjovik suffered severe fainting spells,
        dizziness, chest pain, palpitations, stomach aches, exhaustion, fatigue, and strange sensations in her muscles
        and skin. Gjovik also suffered bradycardia (slow heart rate), volatile blood pressure with both hypertension
        and hypotension and a high frequency of premature ventricular contractions (an arrhythmia).
               35.     From Feb. 2020 through Sept. 2020, Gjovik was screened for multiple severe and fatal
        diseases and disorders, including Multiple Sclerosis, brain tumors, deadly arrhythmias, and Neuromyelitis
        Optica – instead, all of Gjovik’s symptoms were consistent with chemical exposure. Due to the solvent
        exposure, Gjovik also suffered skin rashes, burns, and hives, and her hair fell out and she had a shaved head
        for nearly a year as the bald patches slowly grew back.
               36.     Due to the sudden illness, Gjovik visited the Emergency Room on Feb. 13 2020, and Urgent
        Care (at AC Wellness, Apple’s for-profit in-house clinic) on Feb. 20 2020. Gjovik subsequently consulted
        with dozens of doctors, who screened her for all sorts of diseases, subjecting Gjovik to extensive blood draws,

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        urine samples, injections, and scans – including potentially dangerous procedures like MRI and CT scans
        with contrast, of which Gjovik had multiple. Gjovik was too sick to work and went on disability.
               37.     Gjovik transitioned her medical care to a different clinic and provider after her Apple primary
        care provider at AC Wellness refused to help her triage her 2020 medical issues (due to exposure to Apple’s
        factory exhaust). Instead, she suggested Gjovik could be suffering from anxiety, and enrolled Gjovik in an
        Apple internal user study related to blood pressure, requiring Gjovik share her iPhone medical and fitness
        data with Apple, and participate in weekly life coaching sessions (while being exposed to Apple’s solvent
        vapor and gas exhaust).
               38.     While sick in 2020, Gjovik would wake up occasionally at 3 AM feeling like she was dying
        and with symptoms of heart failure and asphyxia. Heart monitoring showed arrhythmias, bradycardia, and
        low blood pressure. On Sept. 2 2020, Gjovik discovered elevated levels of volatile organic compounds
        (“VOCs”) in her indoor air. What immediately captured Gjovik’s attention was the large spike in VOCs had
        occurred the night prior, around 3 AM, while she had been suffering from one of these “dying” spells.
               39.     Gjovik sought out multiple occupational and environmental exposure doctors, who told
        Gjovik that all of her symptoms were consistent with solvent and other chemical exposures. After Gjovik
        discovered her medical issues at the apartment were due to a chemical emergency, Gjovik quickly filed
        complaints with Santa Clara City HazMat/Fire Dept., Cal. EPA DTSC and Air Resources Board, and U.S.
        EPA. She also called Poison Control, who said what she described also sounded like Benzene exposure.
        (Apple reported it was exhausting benzene into the air).
               40.     Notably, almost all of the reported toxic gas leaks during the time frames Gjovik had
        complained in 2020 that her symptoms seemed to always be the worst around 8-9 AM, 10-11 PM, and
        sometimes around 2-3 AM. One of the chemical spills that did not occur during those times of concern was
        root caused to an Apple engineer “accidently” turning on lethal fluorine gas. Similarly, another incident, the
        TEOS leak, was root caused to an Apple engineer accidently installing the gas for a tool “backwards.”
        Further, less than two weeks following the April 30 2021 phosphine leak, Apple’s manifests included sixty
        pounds of “vacuum filters contaminated with glass dust,” implying there may have also been a phosphine
        explosion.
               41.     The TEOS leak occurred on July 17 2020, and that day Gjovik was suddenly covered in hives,
        rashes, and other skim abnormalities. She called and got a same day visit with a dermatologist who had no
        idea what was causing Gjovik’s issues.
               42.     In Sept. 2020, Gjovik hired an industrial hygienist to test the indoor air at her apartment. She


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        purchased an inspection, soil testing, and a two-hour sorbent tube-based TO-17 air panel. Only half the total
        contaminants were accounted for in the test and the California EPA informed her that testing with Summa
        canisters for 24 hours is superior and would have yielded better results. Still, Gjovik’s limited testing
        returned results showing a number of the chemicals in use by Apple at ARIA including Acetone,
        Acetonitrile, Acetaldehyde, Benzene, 1,2-Dichloroethane, Ethanol, Ethylbenzene, Hexane, Isopropanol,
        Isopropyl toluene, Methylene Chloride, Toluene, and Xylene.
                  43.    In Sept. 2020, Gjovik set up additional air monitors to observe the levels of VOCs in her
        apartment next to the ARIA factory (though she was not aware of the factory exhaust at that time). The
        results of the data validated what Gjovik had noticed with her symptoms and ad hoc testing – that the VOCs
        mostly spiked early in the morning and late at night as if they were being exhausted from an automated
        mechanical system (which it was). Gjovik notified several Apple executives of her findings and activities,
        including her managers Powers (Director) and West (Sr. Director), her friends J.C. (Senior Director) and
        A.A. (Senior Manager).
                  44.    In Sept. 2020, Gjovik’s blood and urine medical tests returned results with industrial
        chemicals, including arsenic, mercury, toluene, and Xylenes. Also noteworthy are the symptoms of Gjovik’s
        3 AM attacks, (including both subjective reporting and physical real-time heart monitoring) match
        Phosphine and Arsine gas exposure. Both Phosphine and Arsine are very dangerous, exposure can be fatal,
        and there are no antidotes. Apple has a significant quantity of Arsine gas on site, and Gjovik’s medical tests
        from Sept. 2020, on the morning after one of the 3 AM attacks, revealed significant arsenic in her blood with
        no other explanation than Arsine gas exposure within the prior eight hours.9
                  45.    In Sept. 2020, Gjovik noticed an Apple facility at 3250 Scott Blvd. across the street, which
        was also on the Superfund groundwater plume. Gjovik mentioned the facility to Apple on at least Sept. 8, 9,
        10, and 13, 2020 – inquiring if anyone was familiar with the area because Apple had an office there. Apple
        EH&S and Gjovik had at least two phone calls. The woman who responded who was also actually in charge
        of Real Estate/EH&S teams involved in Gjovik’s Superfund office at 825 Stewart Dr. (“Stewart 1”) and the
        activities at ARIA.
                  46.    In Sept. 2020, the Apple EH&S manager, Elizabeth, suggested that Gjovik use a special paid
        leave to move out of the apartment called ‘extreme condition leave’ designated for disasters. Later, in Sept.
        2021, Apple Employee Relations, Waibel, conferred with Elizabeth about Gjovik’s environmental concerns



        9
            US CDC, NIOSH, Arsine Emergency Response.

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        only hours before Gjovik were abruptly terminated.
               47.     In Oct. 2020, Gjovik asked her manager from Apple Legal, Joyce, if she knew anyone who
        practiced environmental law because Gjovik may be interested in the field and wanted to learn more. Gjovik
        was introduced to Deborah Rubenstein, Apple’s EH&S counsel. Rubenstein met with Gjovik twice on a
        video chat, on Nov. 2 2020 and Nov. 6 2020. Gjovik spoke about her experience in 2020 and what she had
        learned about remediation sites. During the conversation the lawyer admitted to Gjovik that Apple did not
        have EH&S counsel prior to her, that she was still catching up, that Apple needed to be doing inspections
        and testing that it had not done, and she was trying to get them to start soon.
               48.     Rubenstein was Apple’s legal representative with the U.S. EPA for the Aug. 2021 inspection
        of Gjovik’s Superfund office. Rubenstein was and is likely also in charge of EH&S legal matters for ARIA.
               49.     On Feb. 21 2023, Gjovik discovered the semiconductor fabrication (“fab”) activities at ARIA.
        Gjovik posted on Twitter in real-time as she learned about it, expressing severe distress.10 Until that day,
        Gjovik did not know it was Apple who was responsible for making her so ill in 2020. Further, until that day,
        Gjovik did not know the chemicals she was exposed to in 2020 were potentially lethal to human life.
               50.     Gjovik undertook months of research about the facility at 3250 Scott Blvd, consulting with
        more experts, meeting with government agencies, requesting more public records, and drafting a formal
        complaint. On June 23 2023, Gjovik filed complaints about ARIA to the U.S. EPA, CalEPA, the city of Santa
        Clara, and Santa Clara County. Gjovik drafted a 28-page memo with dozens of exhibits. Gjovik also posted
        on Twitter that she did so and provided a public link.
               51.     A manager in U.S. EPA’s Enforcement and Compliance Assurance Division for Hazardous
        Waste and Chemicals Section confirmed receipt on June 20 2023 and told Gjovik they were reviewing the
        complaint and documents she provided. She had a call with the manager on June 21 2023. An inspector was
        assigned, and a formal investigation was opened around July 12 2023. She met with the investigator several
        times and provided additional evidence and records, leading up to the EPA’s Aug. 17-18 2023 unannounced
        onsite inspections of 3250 Scott Blvd.
               52.     The U.S. EPA team responded and took the lead on an investigation of the hazardous waste
        activities at 3250 Scott Blvd. Gjovik met with the U.S. EPA’s RCRA Enforcement & Compliance team
        several times before they then inspected Apple’s factory in Aug. 17 and 18 2023 and Jan. 16 2024. The Aug.


         “APPLE IS DOING LITERAL ACTUAL GODDAMN SILICON FAB 0.2 MILES (0.3 KM) FROM THE
        10

        APARTMENT WHERE I GOT SO SICK I THOUGHT I WAS DYING & APPLE VENTED THAT SHIT INTO
        THE AIR FROM THEIR ROOF & THE YARD NEXT TO THEIR "GAS BUNKERS" RIGHT INTO MY 3RD
        FLOOR APARTMENT.” - @ashleygjovik (Feb. 21 2023 11:29 PM).
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        17, 2023 inspection was coded as an RCRA “Compliance Evaluation Inspection,” defined as “primarily an on-
        site evaluation of the compliance status of the site about all applicable RCRA Regulations and Permits.”11 The Jan.
        16, 2024 inspection was coded as a “Focused Compliance Inspection.”12
                53.       Per the formal report, the U.S. EPA inspectors identified at least 19 unique violations of the
        RCRA at 3250 Scott Blvd, including provisions which have both civil and criminal enforcement. Apple was
        found to be illegally treating, storing, disposing, and transporting hazardous waste without permits,
        manifests, or other required documentation. U.S. EPA also found Apple was emitting exhaust from its
        fabrication activities through a system that did not have required permits and did not have any monitoring.
        The U.S. EPA also found Apple was storing hazardous waste unlabeled and piled in corners, sometimes with
        lids left off containers so they do not explode, and failing to perform any inspections of the waste on
        weekends, and instead just hoping for the best until they return on Mondays. The enforcement action(s) are
        still underway.
                54.       Gjovik started working on her first draft of the complaint in this instant civil lawsuit only on
        or around Aug. 16 2023 and filed suit on Sept. 7 2023, only two days prior to the statute of limitations
        expiration for her Tamney claim, and after only being able to spend roughly three weeks on research and
        drafting.
                55.       Gjovik also filed a complaint with the BAAQMD in July of 2024, which resulted in at least
        six violation notices thus far; including Rule 2-1-301 failure to obtain “Authority to Construct” (Aug. 29 &
        Sept. 12 2024); Rule 2-1-302 failure to obtain a “Permit to Operate” (Aug. 29 & Sept. 12 2024); and Rule 9-
        7-307 for exceeding the “Final Emission Limits” for NOx and CO emissions. These latest citations establish
        that Apple was not only operating ARIA without required permits, but Apple was also illegally exhausting
        toxic chemicals.

                                III.    Location 2: 825 Stewart Dr., Sunnyvale
                56.       Gjovik’s Apple office at the time of her termination was located at 825 Stewart Dr. in
        Sunnyvale, California, also known as the “TRW Microwave” Superfund site, part of the U.S. EPA “Triple
        Site.”13 The “Triple Site” is the collective name for three adjacent Superfund sites in Sunnyvale that have
        jointly contributed to a mile-long groundwater solvent plume. In addition, the “Offsite Operable Unit” is
        roughly a one-hundred-acre area of groundwater contamination from TRW Microwave. It “includes four


        11
           US Environmental Protection Agency, RCRA, Evaluation Types.
        12
           US Environmental Protection Agency, ECHO, 3250 Scott Blvd # 110001168254.
        13
           U.S. EPA, Triple Site Profile – Background.
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        schools and over 1,000 residences.”
                57.     The “TRW Microwave” Superfund site is a former industrial semiconductor fabrication and
        manufacturing facility at 825 Stewart Dr. (“Stewart 1”). The primary contaminants in the groundwater
        contamination plume are chlorinated volatile organic compounds, including the carcinogen TCE and its
        daughter products cis-1,2-dichloroethene and vinyl chloride. The contaminated groundwater under 825
        Stewart Dr. is as shallow as only 2.6 feet below the ground surface, with shallow TCE concentrations up to
        1,400 μg/L and vinyl chloride up to 51 μg/L. 14
                58.     The Responsible Party under CERCLA, Northrop Grumman, conducted an initial vapor
        intrusion evaluation at Stewart 1 in 2003 and 2004, which indicated that TCE concentrations in indoor air
        present an inhalation risk exceeding acceptable health and safety levels, with results at 5.1 μg/m3 and 5.2
        μg/m3 respectively.15 Indoor air pollution due to vapor intrusion worsened over time, and indoor air
        concentrations increased to 7.7 μg/m3 in 2013, the “accelerated action level” for TCE in commercial
        buildings. [In 2024, the U.S. EPA proposed a full ban on TCE as a whole substance in the United States,
        prohibiting it under the TSCA as an unreasonable danger to human health).
                59.     In May 2015, Northrop Grumman installed a “sub-slab” ventilation system inside the
        building. (The “slab” refers to the concrete foundation, and “sub-slab” is under the “slab.”) Northrop
        Grumman installed a ventilation system (horizontal “collection pipes”) beneath the slab foundation, which
        allows vapors to move laterally, and connected the collection pipes to vertical vent risers that vent to the roof
        to provide a preferred pathway for hazardous waste vapors “that allow sub-slab contaminant vapors to discharge
        to the atmosphere.” The risers vent to the rooftop via wind-powered turbines.
                60.     Apple became a tenant in 2015. Apple’s installation of a new HVAC system for the building
        in late 2015 included Apple sawing the sub-slab exhaust vent stacks on the main building roof down from
        three feet to one foot and then installing the HVAC system intakes in “close proximity” to the sub-slab vapor
        exhaust vents, “without consideration for the function of the [sub-slab] system vents and their function.”16 The
        HVAC intakes for the area of the building where Gjovik worked were in “the assumed sphere of influence” of
        the vent exhaust, including the chemicals TCE and vinyl chloride.
                61.     Apple’s tampering with the exhaust stacks and indifference towards the exhaust’s proximity



        14
           AECOM and GES for Northrop Grumman, 2021 Annual Groundwater Monitoring Report (March 17, 2022).
        15
           Fifth Five Year at pg4; AECOM for Northrop Grumman, 2021 Annual Groundwater Monitoring Report Former
        TRW Microwave Site, 825 Stewart Drive, Sunnyvale, CA, March 17 2022.
        16
           AECOM for Northrop Grumman, Evaluation of Passive Sub-Slab Depressurization System, Former TRW
        Microwave Site, page 1 (April 15 2022).
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        to HVAC intakes resulted in a significant risk of re-entrainment of the hazardous waste vapors and gases into
        the HVAC system, and thus into the indoor air of the building where Gjovik and her coworkers would be
        exposed. Cal.Lab.C. § 5143(a)(1) and § 5143(c)(1) prohibit the exhaust of gas and vapor in a way that causes
        harmful exposure to employees. Cal.Lab.C. § 5154.1(e)(4)(d) requires that these types of stacks exhaust
        upward from at least seven feet above the highest portion of the roof. California Mechanical Code § 407.2.1
        requires outdoor air intakes be placed at least 25 feet away from any “exhaust outlets of ventilating systems…
        that may collect …. noxious fumes.” Apple constructed the HVAC intakes only ten feet away from the exhaust
        vents.
                 62.   In May 2015, Northrop Grumman’s vapor intrusion testing at Stewart 1 reported indoor air
        pollution of TCE, 1,2-DCE, Toluene, Chloroform, Methylene Chloride, and Ethylbenzene.17 From Dec.
        2015 to Jan. 2016, Apple managed and submitted a second vapor intrusion testing report to the U.S. EPA.18
        Apple’s Dec. 2015 vapor intrusion testing results showed an increase in indoor air pollution and the sub-slab
        ventilation system compared to the May 2015 results.19 The highest indoor air reading of TCE doubled
        between May and Dec. 2015. In May 2015, it was 0.58 μg/m³, and the highest indoor air TCE reading in
        Dec. 2015 was 1.2 μg/m³.20 Apple’s report also noted a “noticeable increase” of TCE, PCE, and chloroform
        in the sub-slab venting system, and high levels of toluene and ethylbenzene in the indoor air.21 Apple moved
        employees in and never tested again.
                 63.   U.S. EPA issued a formal letter to the current building owner in 2016 explaining that if there
        were any issues with the integrity of the slab, such as cracks, the U.S. EPA must be notified, consulted, and
        oversee the repairs and subsequent evaluation that the repairs were successful. Similarly, there is a public
        land use covenant attached to the property and that runs with the land, which instructs that major issues
        with the engineering controls and vapor intrusion systems must be reported, and U.S. EPA must be
        consulted on the next steps.

                                    IV.     Gjovik’s Employment at Apple
                 64.   Gjovik worked at Apple from 2015 to 2021. At the time of her termination, her title was
        Senior Engineering Program Manager, and her base salary was $169,000 annually. In the last full year Gjovik
        worked at Apple, her total annual W-2 compensation was $386,382. Gjovik was the co-founder of a large


        17
           U.S. EPA, TRW Microwave, Site Documents, Vapor Intrusion.
        18
           AECOM for Apple, Vapor Intrusion Evaluation Report, Former TRW Microwave Site, supra.
        19
           U.S. EPA, December 2015 VI Evaluation Report, https://semspub.epa.gov/work/09/1158560.pdf
        20
           Id at pages 26-25.
        21
           AECOM for Apple, Vapor Intrusion Evaluation Report, Former TRW Microwave Site, supra at pg11.
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        women’s community group at Apple. Gjovik also worked in a rotation position within Apple’s Legal Dept.
        in 2019-2020, primarily supporting the Government Affairs and Software Product Legal teams’ efforts to
        establish Apple’s first company-wide Artificial Intelligence Ethics and Social Responsibility policy.
               65.     Gjovik joined Apple on Feb. 23, 2015, as an Engineering Project Manager in the Software
        Project Management Office and worked in that Dept. until Jan. 2017. Gjovik reported to several managers
        under the same Director (Venkat Memula) during this time. Gjovik experienced severe harassment,
        discrimination, bullying, and an untenable hostile work environment during those two years, primarily from
        her coworkers, Rob Marini and Brad Reigel. Memula repeatedly failed to correct their behavior.
               66.     Marini bragged that he was known to executives as their “Little Gestapo.” He quickly made a
        work tracking ticket titled “Make Ashley’s Life a Living Hell,” then assigned it to Reigel. Marini often planned
        and orchestrated malicious schemes to harass Gjovik and cause her distress, including getting multiple
        members of the team to physically attack Gjovik, spreading rumors about Gjovik, secretly recording Gjovik
        and sharing recordings with their team, and frequently pressuring Gjovik to drink hard alcohol at work.
        Marini often made cruel comments. He once noticed Gjovik made a typo in an XML and told Gjovik that
        her mother should have had an abortion. Both Marini and Reigel cursed at Gjovik, called her names, and
        wrote harassing statements and nicknames on whiteboards about her.
               67.     Memula assigned Gjovik to share an office with Marini. Marini told Gjovik in the first week
        that all of his prior officemates either quit the company, left the country, or killed themselves. Marini asked
        Gjovik which path she would choose. Marini once told Gjovik he targeted her with harassment and bullying
        because she was ‘joyful,’ and he wanted to ‘extinguish’ her light.
               68.     Reigel was an active police officer, had ammunition in his office, allegedly physically ‘flipped
        a table’ in a meeting, and supposedly kept a gun in his car at times. Reigel once kept Gjovik in a conference
        room with the door closed and berated her for a prolonged period while she wept and begged him to stop.
        He sometimes made ‘joking’ comments, like he’d ‘smack her’ if she did not do what he said.
               69.     Gjovik’s first manager, Linda Keshishoglou, tried to bribe Gjovik in exchange for Gjovik
        providing a positive review to Keshishoglou’s manager, Memula. Gjovik reported it to Memula and HR.
        When Keshishoglou left the organization, Gjovik was transferred to report to Reigel. Gjovik attempted to
        move to a different team but was thwarted and blocked by Reigel, who provided negative feedback about her
        to the hiring manager and could not explain why.
               70.     Gjovik was then transferred under Evan Buyze and Shandra Rica (still in Memula’s
        organization) to run a program called “Early Field Failure Analysis” for new product launches, where she


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        received very positive feedback and praise until one specific field issue occurred and which led to a retaliatory
        constructive termination. Gjovik’s managers had become upset at Gjovik because Gjovik was earnestly
        trying to investigate a trend of battery failures in the field, and Gjovik’s managers preferred to “ignore it and
        hope it goes away” and told Gjovik to also “ignore it,” which Gjovik refused to do. Buyze and Rica told
        Gjovik not to tell people why she was leaving their organization, with Rica saying she “doesn’t like people who
        talk shit.”
                71.    This battery failure issue and Apple’s resulting response would be publicly nicknamed
        “Batterygate.” Over the last few years, Apple has been fined more than $600M over their conduct related to
        the Batterygate issues.
                72.    Gjovik joined Product Systems Quality in Hardware Engineering in Jan. 2017 after leaving
        Software Engineering organization. Gjovik now reported to Dan West (Senior Director) and David Powers
        (Director) as a Senior Engineering Program Manager and chief of staff. Both West and Powers engaged in
        harassing, discriminatory, and inappropriate conduct toward Gjovik – including remarks and decisions that
        discriminated against Gjovik based on sex, gender, and disability.
                73.    In Dec. 2017, West also attempted to coerce Gjovik to engage in a romantic relationship with
        one of West’s business partners, which would benefit West personally. Gjovik complained then and later, in
        late 2020, West admitted it was “one of the worst things [he’s] ever done.”
                74.    Other leaders in West’s organization also discriminated against Gjovik, including John
        Basanese, who frequently complained that Gjovik was not married and did not have kids, and during
        company social events, often pressured Gjovik to ‘settle down’ and ‘have kids.’ Gjovik complained to
        Basanese and West about the statements, but Basanese persisted for years.
                75.    While Gjovik’s performance reviews were positive, outside the reviews Powers and West
        frequently gave Gjovik ‘feedback’ like she was too ‘emotional,’ ‘aggressive,’ or ‘expressive. Gjovik gave both
        men ‘feedback’ in response to their feedback, complaining about inappropriate comments. West would
        usually listen and thank her for being honest with him – though generally continued with the same behavior.
                76.    Powers did not respond well and frequently berated her. In two meetings, Powers unfairly
        criticized Gjovik about issues where others were at fault and they harmed Gjovik, which made Gjovik cry,
        and then Powers berated Gjovik about her crying and demanded she stop, which made her cry more. She
        complained to West about this several times.
                77.    Before Apple’s unlawful actions towards Gjovik in 2021, Gjovik wanted to continue working
        at Apple even after she graduated from law school in June 2022. She intended to stay at Apple indefinitely if


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        she could transfer to a better role (not in a hostile work environment like her current role). Gjovik had
        initiated friendships with leadership in Apple Legal in 2018, hoping she could intern with them (which she
        did in 2019) and convince them to hire her upon graduation. She continued mentioning this plan into 2021.
                   78.     Meanwhile, Gjovik’s supervisor, West, frustrated several of Gjovik’s attempts to transfer to
        other Apple roles focused on law, legislation, and policy – including directly blocking an offer in Dec. 2020
        for Gjovik to work on Apple’s implementation of circular economy legislation.

                                        V.     Gjovik’s Inquiries & Complaints
                   79.     On March 17, 2021, Gjovik’s team administrative assistant sent an email on behalf of EH&S
        announcing to Gjovik and Powers’ management team that it would be testing Stewart 1 for “vapor
        intrusion,” but said nothing more.
                   80.     Gjovik replied and informed her coworkers that their office was a Superfund site on March
        17 2021, providing a link to the U.S. EPA website for the site, and news articles referring to their office as a
        “paved over environmental disaster zone” 22 due to the “massive amounts of trichloroethylene in the soil and
        groundwater from nearly 30 years of chip manufacturing.”23
                   81.     Gjovik explained to her team what vapor intrusion means, told them to take it seriously, and
        expressed concerns that Apple employees “should be better informed about these types of environmental risks at
        our offices.” Gjovik added, “The chemicals under [the Stewart 1 office], if in high enough quantities, can cause
        cancer.”
                   82.     Gjovik’s manager, Powers, immediately forwarded Gjovik’s email to Human Resources and
        West, complaining “I think Ashley should be keeping these emails private and not needlessly scaring the
        team about something she doesn’t know about. I want to have a talk with her.” Powers gave Gjovik a
        ‘warning’ during their next 1:1 meeting and told her she is not allowed to talk about safety or toxic waste
        dumps with her coworkers. Things went downhill from there.
                   83.     Gjovik asked in her email for details of what type of testing was to be performed and for what
        duration, if there would be a risk assessment, and if EH&S would share the findings with the employees in
        the building. EH&S initially agreed to meet with Gjovik to discuss her concerns.
                   84.     Gjovik’s coworkers thanked her for sharing this information and informing them about the
        site. Two of Gjovik’s friends, a manager and senior manager at Apple, texted her, affirming her concerns




        22
             Alexis C. Madrigal, Not Even Silicon Valley Escapes History, The Atlantic ( July 23 2013).
        23
             Beth Winegarner, Silicon Valley's Toxic Past Haunts Sunnyvale Neighborhood, KQED ( June 15 2017).
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        were reasonable and appropriate.
                   85.     One manager called the situation “a really important life-threatening situation,” and another,
        after reviewing documentation for the site, questioned, “Why is the building still open?” One of the managers
        noted: “What is crazy is … they say no daycare, no elder care, no residential, etc. So, it is fine & dandy for everyone
        else to get slowly poisoned? … So glad you are digging into this stuff for all of us.” Around this time, Gjovik also
        raised concerns about COVID-19 safety, wildfire smoke safety, Right to Know, Proposition 65, and Apple’s
        reporting and tracking of injuries.
                   86.     On March 26, 2021, the SF Bay View newspaper published an article Gjovik wrote about her
        chemical exposure experience with the air around ARIA.24 It went ‘viral’ starting April 2 2021. More victims
        and witnesses promptly came forward after reading the article; some were also Apple employees.
                   87.     On April 5, 2021, Gjovik told West about the other victims, and West warned her she was
        “kicking a hornet’s nest.” West asked Gjovik not to send information about Gjovik’s chemical exposure at her
        apartment next to ARIA to his personal work email, saying: “Can you send that stuff to my Gmail instead of
        work? My mail account is routinely scanned for lawsuits.”
                   88.     In late March 2021, Gjovik repeatedly raised concerns about the Superfund site to her
        supervisors. After reviewing hundreds of pages of documentation for the site, Gjovik advised Apple that
        Apple had been negligent, that the site was not safe, and she complained Apple seemed unwilling to comply
        with CERCLA and health/safety regulations. She said she now believed her fainting spell in 2019 in her
        office was due to vapor intrusion. She was also shocked and distressed to see the ‘hot spot’ for the building
        was her desk with 1,900 ug/m3 of TCE in the sub-slab ventilation system.
                   89.     Gjovik connected the vapor intrusion risk to a strange fainting spell she experienced at the
        office in Sept. of 2019. The only other time she felt a dizzy spell like that was when she was exposed to
        chemicals at her apartment. Gjovik began complaining she was worried her 2019 fainting spell was due to
        vapor intrusion at the office.
                   90.     Powers threatened her and ordered her to stop talking with her coworkers about her safety
        and environmental concerns. He said she must believe whatever EH&S tells her. West first claimed the
        poisonous gas was sealed under the floor but, after learning the floor was cracked, told Gjovik if she does not
        like her work conditions, she can leave her role and find a new job.
                   91.     On April 5 2021, Gjovik notified the Director of Apple “AC Wellness” employee medical



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             Ashley Gjovik, “I thought I was dying: My apartment was built on toxic waste,” SF Bay View (March 26 2021)
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        Centers and Clinical Engineering, that after her article was published, more people came forward from the
        apartments next to ARIA, reporting illness. “Two are Apple employees. At least one went through AC Wellness,
        but no one could figure out what was wrong with them.” Gjovik suggested Akhtar direct the clinic to “screen local
        folks” with unexplained symptoms that match solvent exposure.
               92.     Gjovik emailed the U.S. EPA and CalEPA about the issues from Sept. 2020 through April
        2021; many Apple leaders knew she did so. Starting in early 2021, Gjovik also contacted and met with local,
        state, and federal politicians about what occurred to her next to ARIA – and Apple was aware of this. For
        example, Gjovik met with Senator Bob Weickowski and his staff on April 7 2021. Gjovik also met with
        Assembly Member Lee’s staff once and Mayor Lisa Gillmor several times. On April 7 2021, Gjovik told West
        about the meetings. On April 9 2021, Gjovik contacted the County District Attorney’s office, talked to Bud
        Porter, Supervising Deputy District Attorney for Environmental Crimes, and met with him on April 16 2021.
               93.     Gjovik was also meeting with the California Dept. of Public Health’s Environmental Health
        office where she was volunteering her time to assist in creating state-wide education resources for tenants
        and workers around chemical exposure from toxic waste dumps.
               94.     Around this time Gjovik was also meeting with a prior Silicon Valley mayor who has been
        involved in advocated for clean-up of Silicon Valley’s toxic waste sites for decades. Gjovik shared his analysis
        of the testing and concerns about the clean-up of the property where Gjovik got sick with Mayor Gillmor
        and asked her for further investigation from the city.
               95.     Gjovik met with Apple EH&S on April 2 2021, May 17 2021, and July 7 2021. For some
        reason, Employee Relations, Jenna Waibel, was also there. Waibel refused to tell Gjovik why she was
        involved, as Powers had asked for Employee Relations assistance in trying to silence Gjovik about Gjovik’s
        concerns. Waibel and Polkes were texting and emailing about how to silence Gjovik starting at least in early
        April 2021.
               96.     In Feb. 2021, Gjovik had completed her self-review for Apple’s mid-year review cycle,
        however Powers never provided Gjovik her review. Powers told his managers to complete their mid-year
        reviews with their teams in the spring but never mentioned it to Gjovik. Gjovik also completed her annual
        performance self-review around June 2021, however, Powers never provided that review to her either. Apple
        has repeatedly refused to provide any discovery documents related to these reviews and/or confirmation of
        their existence.
               97.     Gjovik asked questions to Apple EH&S about the status of the site and the rationale for
        certain design and monitoring decisions. Gjovik expressed that she was disappointed with some of the


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        answers.
                98.        EH&S (Michael Stieger) told her Apple Legal and EH&S intentionally do not tell employees
        if they work on Superfund site and admitted that Apple deliberately does not train workers about safety
        procedures related to toxic waste exposure from clean-up sites.
                99.     Gjovik said that was both unsafe and unwise. Gjovik also complained that the prior testing
        used insufficient durations and methods, had concerning results, there were known open risks for vapor
        intrusion vectors (such as ‘compromised’ sub-slab ports), and the land use covenant is outdated and
        requiring revision. Gjovik complained that Apple should have tested the indoor air more frequently than
        every six years.
                100.    On April 11 2021, Gjovik emailed Powers forwarding her emails with Steiger and Waibel
        about “compromised” and “missing” sub-slab vents per the documentation, telling Powers, “None of this
        sounds safe. Based on all this data, seems more likely that not that my fainting spell in Mike’s office in Sept 2019
        was very likely related to the chemicals on this Superfund site. If not the TCE, PCE, or Chloroform — then the levels
        of Ethylbenzene and Toluene exceeding max industrial limits in 2015 that no one seems to have ever followed up on.”
                101.    By April 14 2021, Powers became very hostile towards Gjovik and was snapping at her
        meetings to the extent one of Gjovik’s coworkers witnessed it and confirmed it was not appropriate. Gjovik
        then complained to West about it, which resulted in the ‘you can just quit if you don’t like it’-type response.
                102.    On April 21 2021, Gjovik complained to the Apple Human Resources I&D team about
        disparate impact of chemical exposure. Apple HR responded asking her to write a business proposal as to
        why Apple should not poison Black people. Gjovik then complained to a Senior Director she was friends
        with, that Apple is acting very unethically, and she was deeply concerned. She told him someone needs to
        straighten out Apple EH&S and legal about workplace safety and environmental compliance matters.
                103.    Gjovik also contacted the U.S. EPA on April 22 2021, asking to consult with their manager
        for the site and emailed back and forth with the U.S. EPA CERCLA and public relations teams from April
        through Aug. 2021, and Apple knew she was doing so. The U.S. EPA directly notified Apple about Gjovik’s
        outreach around April 28 2021.
                104.    In response to Gjovik’s concerns and escalations, Powers and Waibel issued gag orders
        against Gjovik. Waibel went so far as to provide Gjovik with a five-point balancing test if Gjovik wanted to
        make statements about Superfund sites or workplace safety to her coworkers and ultimately told Gjovik that
        there should be no discussions about workplace safety with her coworkers. (In Sept. 2024, the NLRB issued
        a decision of merit that there is substantial evidence that Waibel’s ‘five-point balancing test’ violated federal


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        labor laws.)
                105.    Gjovik complained to a senior ethics leader at Apple and their friend, Dr. Cohen, that what
        Apple was doing related to environmental compliance and employee chemical exposure was “morally
        wrong,” and Apple was publicly misrepresenting their actual operations.
                106.    Gjovik also complained to a friend in Lisa Jackson’s Environmental lobbying team about what
        was going on at her office and complained Apple’s public statements seemed fraudulent, and her coworker
        agreed, saying: “uhhh... I kind of feel the need to make sure Lisa is aware. I'm about to present a proposal to several
        execs on an Environmental Justice program and this kind of feels like not consistent with that.”
                107.    On April 29 2021, Gjovik visited an occupational exposure doctor about her apparent
        chemical exposure in the apartments next to Apple’s ARIA factory and at the Stewart 1 office.25 Gjovik’s
        UCSF visit notes summarized Gjovik’s 2020 medical symptoms saying:
                “She was experiencing severe dizzy spells, a large decrease in resting heart rate, palpitations,
                hypotension, fatigue, chest pain, numbness, spasms, rash, shortness of breath, multiple
                growths (mole, polyp, nodules), nausea, paresthesia, blurry vision, abnormal vaginal
                bleeding, and swollen glands”….“there remains a concern about potential pathways for
                residential exposures, and the county and State environmental agencies should address
                these…. she also notes an unexplained episode of fainting at work in Sept 2019 at her office
                on a Superfund site with a long history of vapor intrusion issues..."
                108. Gjovik continued to attend medical appointments and comply with ordered testing and
        monitoring in response to her injuries and illness in 2020 (due to the chemical exposure). On April 30 2021,
        she went to Stanford Hospital for a CT Angio with and without contrast. She had been having palpitations
        again, and on May 10 2021, told her manager, Powers, that her doctor said she needed another
        echocardiogram to ensure the chemical exposure did not cause permanent injury to her heart. On May 21
        2021, she went to UCSF for a mammogram, with the order coded as testing in response to industrial
        chemical exposure. Apple knew Gjovik was extremely vulnerable.
                109.    On May 17 2021, Gjovik met with EH&S (Steiger) and Waibel again. They informed her they
        may not test the indoor air now, they won’t answer anymore of her safety or environmental questions, and
        Steiger (the EH&S lead for environmental safety at her office) is imminently and abruptly leaving Apple.
        Gjovik became concerned about a cover-up and started complaining about her meeting with the Apple
        EH&S lawyer in Nov. 2020, sharing with at least one coworker that the lawyer had told her Apple had been



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          Dr. Robert Harrison, MD – who directs the UCSF Occupational Health Services department and the Worker
        Investigation Program for California Department of Public Health.
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        negligent and needed to catch up on testing and inspections. Gjovik also reported this to Employee Relations,
        Okpo, in July 2021.
                 110.   Apple EH&S and Employee Relations, Waibel, notified Gjovik on June 2 2021, that the
        foundation of Stewart 1 and they need to repair it, and then after, they will test the air. Gjovik told them they
        needed to notify the U.S. EPA, have the U.S. EPA oversee the repair and testing plan, and test the air before
        and after the repairs. (U.S. EPA later confirmed this). Apple refused and told Gjovik they do not have to tell
        U.S. EPA anything; they will repair the floor but will not provide details on how/when, and now they may
        not test the indoor air.
                 111.   Waibel also responded by opening a non-consensual sexism investigation into Gjovik’s
        bosses, where she did not investigate anything but told at least three leaders that Gjovik complained about
        them. She also harassed Gjovik’s friends and bullied Gjovik to the extent that she repeatedly made Gjovik
        cry in front of her.
                 112.   Waibel also told Gjovik she had to submit an ADA accommodation request if Gjovik did not
        want to be exposed to the vapor intrusion, attempted to get Gjovik to release all of her medical requests to
        “Apple Inc.,” and then suggested Apple get her an air purifier at her desk for the TCE. Gjovik complained
        that ADA accommodations are not supposed to be used for employees to ask their bosses not to poison them.
        By July 2021, somehow Waibel even got ahold of a copy of Gjovik’s May 2021 mammogram results.
                 113.   Gjovik complained about Waibel in May and June 2021 to no avail and then began meeting
        with Waibel’s manager, Antonio Lagares, in mid-June 2021.
                 114.   Gjovik complained that Apple was acting insane, and if this is usually how Apple handles
        employee concerns, then Apple is lying to its employees and the public that it acts in good faith. Lagares
        agreed with Gjovik and said Apple’s marketing makes “his job harder.”
                 115.   Gjovik asked what type of issues his team would take seriously, and he responded when
        managers “send pics of their junk.” Gjovik complained to Lagares that Waibel had already ruined her career
        at Apple, that she was already constructively terminated by West, that Powers was harassing her more than
        ever, and that he should have to investigate all of the terrible things Apple’s done to her for nearly seven
        years.
                 116.   On July 2 2021, Apple Employee Relations, Waibel, and EH&S notified Gjovik via email that
        there were cracks in the slab/floor of Gjovik’s office and that they will be sealing the cracks, then testing the
        air. Gjovik replied asking if they can also test the air before sealing the cracks, explaining she wanted to know
        if she was exposed to chemicals through the cracks and if so which ones, she said “for cancer monitoring.”


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        Waibel told Gjovik no – Apple will not test the air prior to repairing the floor.
                117.    Just two days earlier, on June 30 2021, Apple EH&S and/or legal filed the first and only TRI
        filing to the U.S. EPA for air emissions at ARIA in 2020. It’s unclear why Apple never submitted a TRI filing
        prior to the 2020, or why Apple never submitted a TRI filing after the 2020 record. Under information and
        belief, the TRI filing was submitted in an effort to try to manufacture for Apple some sort of statute of
        limitations excuse later, if Gjovik ever found out what they did – without them having to tell Gjovik, or share
        the information in a way they thought she could find it.
                118.    In their final meeting about the site on July 7, 2021, Waibel and Steiger told Gjovik that
        Stweart 1 is safe because they say it is safe, they still have no plans to test the air now, and they will not answer
        any more of her questions about the site or workplace environmental safety ever again.
                119.    In early July 2021, Gjovik reported Apple’s failure to notify and consult with the U.S. EPA
        about the cracked slab to the U.S. EPA. Gjovik notified Apple that she was snitching on them to U.S. EPA.
        Gjovik also complained to Lagares:
                “The only reason I can think of that they’re refusing to do this testing after they previously
                planned on doing it, was that all the questions I was asking were very good questions and
                revealed major gaps/issues — so they’re going out of their way to not have evidence of their
                negligence.”
        Gjovik implored Lagares to look into EH&S’s conduct, saying
               “I think everyone is forgetting I work in engineering & I am in law school. I know how toxic
               torts work…. right now, it feels like I am not only being harassed by my manager and my
               HR BP, but it appears there is a conspiracy to force me back into what appears to be a very
               physically unsafe office building.”
               120. In early July 2021, Gjovik discovered that West had been reassigning her best projects (things
        that would help her receive a positive review). Then on July 15 2021, Powers suddenly quadrupled her
        workload with highly unfavorable projects (things that were certain to upset people and fail). Powers was
        snapping at her and harassing her, West was ignoring her, and Gjovik reported these issues to Lagares and
        Waibel and the HR business partner Helen Polkes. Still, Apple did nothing, or they also harassed Gjovik.
                121.    Gjovik became more vocal about her concerns about systemic retaliation and fraud at Apple
        on Apple’s Slack discussion tool and also began threatening Lagares that she planned to sue Apple for what
        they’ve done to her and that she is also talking to the press about Apple (specifically The New York Times
        and Washington Post). This led Lagares to assign a new investigator (Ekelemchi Okpo) and open a new
        investigation into all of Gjovik’s concerns going back to 2015.
                122.    By late July 2021, Gjovik was openly complaining on Slack, to reporters, with coworkers, and


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        now also on Twitter about Apple’s terrible behavior (including intimidation, retaliation, cover-ups, and
        fraud). Gjovik complained about the Superfund and safety issues, Apple’s offensive use of ADA
        accommodations, the persistent suggestion that she take FMLA leave in response to their harassment,
        Apple’s illegal NDAs and gag orders, and Apple’s antagonistic and obstinate attitude towards legitimate and
        important concerns. Gjovik repeatedly told Lagares, Okpo, Waibel, and Polkes that she refused to take leave
        in response to retaliation and harassment; instead, they needed to actually fix the issues.
                123.    Gjovik had still been lobbying legislatures about the need for additional safety protections for
        workers and tenants on toxic dump sites. A state Senator told Gjovik he would talk to CalEPA about her
        concerns. Gjovik checked with his office for a status update on that conversation. On July 16 2021, the
        Senator’s Legislative Director wrote to Gjovik confirming and adding her concerns were shared even further,
        writing: “I conveyed them myself on the Senator’s behalf with the Govender’s staff and leadership of both houses.”
                124.    On July 18 2021, Gjovik had sent her weekly status to Powers and the management team and
        at the very bottom she added a little personal note that a state hazardous waste bill she had been lobbying for
        passed and she was very excited about it. Powers became very upset and escalated the comment to Employee
        Relations, Waibel, asking for guidance on how to ‘coach’ Gjovik about it and ensure Gjovik understand not
        to talk about such things in the workplace.
                125.    Around July 20 2021, Gjovik notified U.S. EPA about the cracked floor/slab at her Superfund
        office, and that Apple was insisting they do not have to tell the U.S. EPA and that they refuse to the test the
        air until after they seal the floor. Gjovik expressed it was her understanding that Apple needed to notify the
        U.S. EPA of the cracks and obtain EPA approval of a workplan for the testing and sealing plans.
                126.    On July 21 2021, one of Gjovik’s coworkers, a manager, contacted her privately and asked if
        she was okay. He said he was worried because it seemed like things were tense with her and her position in
        the team.
                127.    Around July 21 2021, Employee Relations, Okpo, started asking Gjovik for the .eml version
        of files for some especially damning emails with Gjovik and her management, assumably collecting evidence
        in preparation for Gjovik suing them, which she had already began threatening to do.
                128.    Around July 23 2021, Gjovik spoke on the phone with one of the only two women who ever
        reported to West at Apple, and who had quit Apple due to the harassment she faced from West and his team.
        She validated Gjovik, confirming she reported many of the same issues that Gjovik had been reporting, and
        that West and his management, or Human Resources, had done nothing to actually fix the issues.
                129.    On July 23 2021, Gjovik was quoted by the New York Times, where she criticized Apple’s


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        COVID-19 response. On July 24, 2021, New York Times made Gjovik’s quote “Quotation of the Day” for
        the entire NYT.26
                130.    Lagares expressed to Gjovik that Apple was upset that Gjovik did this. Gjovik told Lagares
        she was taking Labor Law and learned she could speak about her work conditions regardless of NDAs.
        Lagares told her it is “annoying” to Apple when employees “figure that out.”
                131.    Apple and Northrop Grumman were notified on July 26 2021 that U.S. EPA was demanding
        an inspection of Stewart 1 due to Gjovik’s reports about the cracked slab and Apple’s obstinate and
        obstructive response; and because U.S. EPA discovered what Apple did with the hacksaw, vents, and HVAC
        on the roof of Stewart 1 in 2015, with the U.S. EPA QA team exclaiming it was “not appropriate” and asking
        for air samples.
                132.    On July 26 2021, Gjovik posted on Apple’s Slack discussion tool complaining that Apple’s
        response to her concerns was to retaliate against her and intimidate her into silence. Gjovik asked if anyone
        else had been retaliated against for raising concerns. Many of Gjovik’s coworkers responded that they had
        also experienced retaliation from Apple for raising real and reasonable concerns.
                133.    On July 27 2021, Okpo then swiftly interrogated Gjovik for over an hour about her Slack posts
        and the responses she received from coworkers – repeatedly asking her to stop posting about her concerns
        and to stop encouraging other employees to post their concerns, and instead to direct all employees to speak
        privately. Gjovik told him no. she would not help him retaliate against her coworkers. Okpo said he was
        “notified” about Gjovik’s posts and Gjovik expressed concern as to who all was spying on her.
                134.    During the July 27 2021 meeting, Okpo said Apple may give Gjovik a severance (“exit”)
        package of around $600,000 if Gjovik would sign a preemptive litigation waiver. Apple agreed Gjovik would
        not have to sign another NDA but did make the severance negotiation contingent on Gjovik executing a
        waiver of all claims, while Apple concurrently intentionally concealed material facts about harm Apple
        caused to Gjovik through chemical exposure at her office and her apartment. Gjovik expressed concerns
        about the settlement amount and her potential medical costs if she were to get cancer from the exposure at
        her office, not even yet knowing about the ARIA facility or what Apple did to the HVAC at Stewart 1. Apple
        wanted all claims waived and denied the severance on those conditions, violating Cal. Gov't Code §
        12964.5(a).
                135.       On July 27 2021, a non-profit organization asked Gjovik to testify as a witness to state Senator


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          Ashley Gjovik, “Quotation of the Day: Virus Surge Complicates Return-to-Office Plans,” New York Times, July 24
        2021.
        Fif th Amended Complaint | D.C. Case No. 3:23-CV-04597-EMC                                              Page 23
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        Dave Cortese about her experience with hazardous waste clean-up sites in Santa Clara County, and Gjovik
        accepted.
                136.    On July 28 2021, Gjovik emailed Okpo and Lagares about her discussions with coworkers,
        and she discovered a pattern of discrimination and harassment issues across Apple; and what appeared to be
        systemic cover-ups of those issues instead of actually resolving the problems. She complained Apple
        fraudulently holds itself out publicly as caring about human rights and the law. It was clear to Gjovik that
        Okpo would not investigate in good faith and Apple was still trying to get her to quit or else would fire her,
        and she began fervently complaining about their bad faith behavior and culture of intimidation.
                137.    On July 28 2021, Gjovik messaged a coworker (a manager) saying she had just met with
        Employee Relations, Okpo, and asked for a “citizen oversight type role” to help reform Apple’s HR
        practices. She said Okpo told her, sure, but that she has to say in her same role. Gjovik wrote: “I hit my desk
        hard enough gesticulating & screaming that I spilled coffee on everything, but I have no regrets…” and “… I looked
        him dead in the eye and said YOU CANT HEAL IN THE SAME ENV[IRONMENT] YOU ARE HARMED
        IN.”
                138.    The next time Okpo met with Gjovik, on July 29 2021, he asked her if she wanted to have a
        lawyer attend to represent her during their conversations. Apple was fully aware and on notice of incoming
        litigation from Gjovik by July 2021.
                139.    On July 30 2021, Gjovik posted on Twitter complaining about Apple:
                   “They offered EAP and suggested medical leave after I spoke up about sexism,
                   discrimination, and a hostile work environment. They also suggested requesting ADA
                   disability accommodations after I raised concerns about unsafe work conditions.”
                140. After posting this, ex-Apple employees contacted Gjovik to share they had similar
        experiences. Other Big Tech and ex-Apple employees supported Gjovik for speaking out, sending her many
        encouraging and grateful messages and comments. Gjovik then decided to start sharing more of what was
        happening between her and Apple on social media to help others understand the issues so they could
        advocate for the employees, hoping it may pressure Apple to act more reasonably.
                141.    On July 30 2021, Gjovik posted on Apple’s Slack discussion tool complaining in detail about
        Apple’s misconduct, including retaliation, unsafe work conditions, and cover-ups. Around this time, Gjovik
        created a new, private Slack group for her coworkers to discuss concerns about Apple retaliating against them
        for raising concerns, but with more privacy due to fear of more retaliation. Many women asked to join the
        group, and they had just started a discussion.
                142.    On Aug. 2 2021, out of frustration with Okpo and Lagares refusing to re-investigate anything

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        Waibel said was fine during the first (sham) investigation – Gjovik proceeded to start posting on Twitter
        about several of the more minor things she complained to Waibel about. She told Okpo and Lagares that it
        was work conditions, and they claimed they investigated and found no problems, so she is free to talk about
        it and she would do so. Gjovik posted several examples of the evidence on Twitter, and her posts quickly
        went viral.
                   143.    In response, on Aug. 2 2021, Apple suddenly announced they were conducting extensive
        maintenance at Stewart 1 starting on Aug. 4 2021. Then, on Aug. 3 2021, Lisa Jackson’s team scheduled a
        Public Relations blitz about how safe and thoughtful Apple is, actually. 27 Apple also attempted to make the
        U.S. EPA sign a four-page single-spaced NDA about the inspection of Stewart 1 that would prohibit the U.S.
        EPA from speaking about the inspection. The U.S. EPA declined to sign the NDA.
                   144.    When Gjovik saw Apple’s EH&S notice on Aug. 2 2021 about maintenance at Stewart 1, she
        quickly arranged for coworkers in the office to gather evidence of the cracks, warning them that Apple was
        trying to cover up environmental and safety issues. Gjovik’s coworkers gathered photos of the cracks for
        Gjovik on Aug. 3 2021 and the morning of Aug. 4 2021. They also asked many of the same questions Gjovik
        had asked EH&S. Gjovik shared EH&S’s responses, and they were concerned about Apple’s position and
        conduct. Gjovik informed Apple she and her coworkers were gathering evidence before Apple could cover
        up the cracks.
                   145.    On Aug. 4 2021, Okpo immediately forced Gjovik on indefinite administrative leave and
        refused to provide any ETA for the next steps. Okpo informed her Apple removed her “from the workplace
        and all workplace interactions.”
                   146.    Gjovik was very upset and protested, arguing she just wanted to stop interactions with West
        and Powers while Okpo investigated because of the work assignment changes and harassment. Gjovik also
        complained that it was illegal for them to tell her to stop talking to her coworkers.
                   147.     Okpo made it clear he also wanted her off Slack. Gjovik told Okpo he could not keep her off
        Twitter. Gjovik set her out of the office to say Apple put her on indefinite administrative leave and told her
        to stay off Slack. She also posted a message on Slack about it.
                   148.    On Aug. 4 2021, a reporter at an online blog contacted Gjovik after Gjovik’s coworkers told
        the reporter what Gjovik had posted. The reporter wanted to write an article about what Apple did to Gjovik.
        Gjovik agreed to let her write an article about Gjovik being put on leave. Gjovik also posted on Twitter about



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             FOIA; Axios, Exclusive: EPA administrator visits Apple HQ to talk climate, environmental justice.
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        it herself, and additional outlets picked up the story.28 Within hours, it was covered in the news worldwide.
                149.     Okpo sent Gjovik several bitter emails about her continuing to speak out. He was clearly
        reading the news articles and her Twitter posts complaining about Apple’s conduct.
                150.    Gjovik made three Twitter posts about the situation on Aug. 4 2021. The first post was at 1:16
        PM PST. Gjovik wrote:
               “So, following raising concerns to #Apple about #sexism, #hostileworkenvironment, &
               #unsafeworkconditions, I am now on indefinite paid administrative leave per #Apple
               employee relations, while they investigate my concerns. This seems to include me not using
               Apple's internal Slack.”
        The second post was at 2:12 PM PST. Gjovik wrote,
                “#Apple employee relation's 1st #sexism investigation only arose while I was complaining about
                unsafe work conditions and related #intimidation. They tried to quickly brush me off & prevented
                me from raising more concerns. This time, I gave them 558 pieces of evidence to review.”
        Gjovik’s third Twitter post was at 2:33 PM and said,
                “When I say "unsafe #workconditions," I mean physically unsafe; #dangerous chemicals;
                #OSHA. You will hear much more about this in a bit.”
                151.    Apple responded to the media by repeating the same statement over and over: "We are and
        have always been deeply committed to creating and maintaining a positive and inclusive workplace. We take
        all concerns seriously and thoroughly investigate whenever a concern is raised; out of respect for the privacy
        of any individuals involved, we do not discuss specific employee matters."
                152.    Starting on Aug. 4 2021, Gjovik began receiving harassing and threatening replies and
        comments from clearly fake social media accounts. On Aug. 4 2021, one account posted about Gjovik, that
        she: “needs psychiatric help and confinement” and that Gjovik “is a psychopath and frankly is a danger to other
        Apple Employees!” The account went on to call Gjovik an “ambulance chasing psychopath” and said, “Apple
        needs to bring the hammer and make an example of people like this.” Thousands of posts like this followed and
        continue to this day – causing Gjovik severe distress.
                153.    The night after Gjovik was stuck on leave, West suddenly scheduled meetings with Gjovik’s
        women’s group. Gjovik also heard conversations within her team that confirmed she would be fired soon.



        28
          The Telegraph, “Apple worker who complained about sexism and 'hostile' workplace put on paid leave,” Aug 5 2021;
        Yahoo Finance, “Senior Apple employee alleges sexism at work, is put on indefinite leave,” Aug 5 2021; Fox News, “Apple
        exec says she was placed on leave after raising sexism concerns, other workplace issues.”
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        Starting around Aug. 5 2021, the managers in West’s organization started raising the “Ashley Issue” as a
        discussion topic in staff meetings. The managers told the workers that if anyone has concerns about the
        “Ashley Issue,” they should talk to Helen Polkes. They also mentioned West’s plans to “discuss the Ashley
        Issue” at the upcoming Oct. All Hands meeting. Gjovik realized they would not be discussing the “Ashley
        Issue” at a future all-hands meeting if she was there, and West was already sure Gjovik was about to be fired.
        One of her friends who was a manager in West’s organization told her that all of the managers were
        instructed to try not to write anything down about employee issues, because he said, they said, Gjovik had
        done such a good job of documenting her conflict with them and they’re in trouble.
                154.     Gjovik saw emails come in steadily while she was on leave about EH&S activities at the
        building. EH&S sent notices that they would be on-site for prolonged periods: Aug. 4, 6, 7, 8, 11, 13, 14, 15,
        18, 19, 20, 21, 22, 27, 28, 29; and Sept. 3, 4, 5 2021. When the U.S. EPA inspected, they noted “freshly sealed
        cracks.”
                155.     On Aug. 9 2021, the U.S. EPA sent travel approval requests to visit Gjovik’s office, and the
        justification for the visit cited Gjovik’s disclosures. The U.S. EPA’s justification for the inspection was:
                “A site visit to an Apple office building is necessary to conduct a visual inspection of the
                building’s vapor intrusion mitigation measures. An Apple employee recently contacted
                EPA and notified EPA that there were cracks in the building’s foundation. If true and cracks
                are significant, this could impact the effectiveness of the VI mitigation system and the
                protectiveness of human health.”
                156. On Aug. 12 2021 and Aug. 13 2021, Gjovik filed complaints with US EEOC and Cal. DFEH.
        In Aug., Gjovik also shared concerns on social media and with the press, including experiences with her
        team in 2015, what Apple did to her around Batterygate and related harassment, and her concerns about
        Apple’s long history of criminal and corrupt behavior. On Aug. 17, 2021, Business Insider published an
        article about some of Gjovik’s complaints based on Gjovik’s Twitter posts and embedded Gjovik’s Twitter
        posts in the article.29 The article also noted: “Insider approached Apple for comment.”
                157.     On Aug. 15 2021, Gjovik posted on Twitter that she had met with US Representatives, state
        Senators, Assembly Members, and Mayors about her chemical exposure.
                158.     Between Aug. 16 2021 through Aug. 23 2021, Okpo sent a first draft of an “Issue
        Confirmation” document that supposedly captured all of Gjovik’s complaints that he was investigating, and
        Gjovik revised it and sent him a final revised version on Aug. 23 2021.



        29
          Business Insider, An Apple employee on leave after publicly alleging sexism says co-workers kept a scoreboard to make her
        quit, (August 17 2021).
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                159.    Starting Aug. 17 2021, Gjovik insisted that all communication with Okpo and Apple be in
        writing because he repeatedly misrepresented her statements. Okpo ignored her.
                160.    On Aug. 19 2021, the U.S. EPA conducted an onsite inspection of Gjovik’s Apple office due
        to Gjovik’s complaints to the U.S. EPA. U.S. EPA’s notes from the Aug. 19 2021 site visit and inspection
        included concerns and issues with the HVAC, sub-slab ventilation system, missing sub-slab ports, integrity
        of the slab, and lack of documentation for slab/crack inspections.
                161.    Gjovik had previously registered for a three-part training about racial justice with Apple
        University and wanted to attend. The class was led by her friend Dr. Cohen, and he confirmed he was happy
        to have her attend as long as Employee Relations approved and did not discipline her for attending. Gjovik
        texted with a coworker on Lisa Jackson’s team expressing concern that Okpo might not let her go, but joked
        “I think it would be extra fun for the evidence for the judge if they try to prohibit me from participating in social
        justice initiatives with an invite confirmed from our Chief Ethics officer.”
                162.    On Aug. 20, 2021, Okpo told Gjovik that she was not allowed to participate in the racial
        justice workshop “because she’s on leave.” Gjovik complained about retaliation.
                163.    While Gjovik was stuck on leave, she repeatedly asked Okpo for updates about her office, but
        he refused to provide any updates. Gjovik often complained about retaliation and that she did not want to be
        on leave, but Okpo ignored her.
                164.    Gjovik also filed a Business Conduct complaint about her concerns about Ronald Sugar, TRW
        Microwave, and her office. She attached the Issue Confirmation and notified Okpo of the ticket. Gjovik’s 33-
        page version of the Issue Confirmation included detailed complaints of fraud, organized witness tampering,
        obstruction of justice, toxic torts, corruption, negligence, conflicts of interest, racketeering, and
        environmental crimes.
                165.    Gjovik complained about Apple EH&S and Employee Relations conduct related to the
        environmental issues at her office, referring to their activities as “negligent, reckless,” that they
        “misrepresented their activities,” and that they “intimidated [her] not to speak out about [her] safety concerns.”
        Finally, Gjovik links to evidence to support her claims (U.S. EPA websites), the policies she is asking if Apple
        is in compliance with (Apple’s Audit and Finance Committee Charter, Corporate Governance Guidelines),
        and an Apple Press Release about Sugar joining the Board of Directors in 2010.
                166.    On Aug. 23 2021, U.S. EPA CERCLA Quality Assurance captured notes about the
        inspection, writing: "Significant, visible slab cracks, gaps, and penetrations had been sealed… However, large
        test equipment is bolted to the slab, and it is unclear if these installations penetrate the slab.” He added that


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        related to the sub-slab exhaust on the roof above Gjovik’s desk, “vapors could be building up on the roof
        near the HVAC intake.”
                167.    On Aug. 23 2021, a news article discussing Apple’s employment practices commented that:
        "One Apple employee, Ashley Gjovik, has been very vocal on Twitter by stating multiple problems that have
        occurred within Apple. She alleges a powerful cover-up culture within Apple that led to her eventual
        administrative leave."
                168.    On Aug. 26 2021, Gjovik filed an NLRB charge against Apple and posted on Twitter that she
        did so. On Aug. 27 2021, Apple’s Business Conduct team closed Gjovik’s complaint about Ronald Sugar and
        Gjovik’s Superfund office. The message posted said: “…we have shared them with the appropriate internal
        teams for review and investigation,” with the ticket updated to say, “Request is closed. This request is closed and
        can't be reopened.”
                169.    On Aug. 29 2021, Gjovik filed a formal complaint to the U.S. EPA about Apple and her office
        at Stewart 1, complaining of Apple’s “lack of due diligence,” complaining about “negligence,” and
        “recklessness,” and “violations of Right to Know & OSHA.” Gjovik complained, “Apple's response has been to
        misrepresent their activities and the site, intimidate me to not speak about workplace safety concerns related to the
        site, and have refused to notify the Federal EPA of changed circumstances at the site.” Gjovik did not know about
        the U.S. EPA safety inspection ten days prior.
                170.    On Sunday, Aug. 29 2021, at 11:32 AM PST, Gjovik filed a Whistleblower Protection Program
        complaint with the US Dept. of Labor, reference number ECN76833. On Aug. 29 2021, Gjovik filed
        retaliation and labor code violation charges to the California Dept. of Labor. On Sept. 1 2021, Gjovik posted
        on Twitter that she had filed a complaint with the California Dept. of Labor. A question on the form asked:
        How did your employer know about the protected right you exercised? Gjovik wrote, “I kept saying, ‘Stop it,
        you guys. There’s Labor laws about this.”
                171.    While Gjovik was stuck on leave, Apple had emailed her three times to ask if they may capture
        three-dimensional scans of her ears and ear canals, and Gjovik complained that Apple’s requests were
        harassing and invasive. Gjovik complained that Apple frequently requested that Gjovik and her coworkers
        participate in invasive, oppressive, and humiliating medical studies, anatomical studies (like ear scans), DNA
        tests, biometrics data collection (like the Gobbler app), and other highly personal examinations. Apple did
        not disclose the details of the experiments until after Gjovik signed a secrecy oath and ‘consented’ to the
        activity, and then repeatedly threatened Gjovik with termination if she was to speak about it even to a doctor
        or attorney (as was expressly written in one Deed Poll). Gjovik felt the studies themselves were wrong, but


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        also Apple’s practices were also wrong – especially related to demanding employee secrecy about the studies.
                   172.    Around Aug. 30 2021 and Aug. 31 2021, Gjovik posted on social media sharing an article she
        was interviewed for called “Apple Cares about Privacy Unless You Work at Apple.” 30 In Gjovik’s posts, she
        complained of Apple’s surveillance of workers, its exploitation of workers, and Apple’s culture of
        intimidation and retaliation, and she compared working at Apple to being in a panopticon.
                   173.    The article discussed several examples of Apple’s invasions of employee privacy, brought
        forward from Apple employees who wanted assistance from the public in reforming Apple’s practices. In the
        article, Gjovik complained about the Gobbler app and was quoted saying “If they did this to a customer, people
        would lose their goddamn minds.”
                   174.    On Aug. 31 2021, at 7:16 AM PST, the U.S. Dept. of Labor contacted Gjovik to start intake
        for Gjovik’s Whistleblower Retaliation charges. Gjovik had her interview with the U.S. EEOC on Sept. 2,
        2021. Gjovik did not request an investigation but did request a Right to Sue letter, which she received on 9,
        2021, before her termination. Apple was made aware of Gjovik’s U.S. EEOC and Cal. DFEH complained
        that she was testifying to U.S. EEOC and Cal. DFEH about what Apple did to her by at least Aug. 12, 2021.
        Gjovik Tweeted about her appointment with the U.S. EEOC.
                   175.    Around Sept. 2 2021, numerous articles were published about Gjovik’s charges against
        Apple. Bloomberg reported about Gjovik’s U.S. NLRB, U.S. Dept. of Labor, Cal. Dept. of Labor, and U.S.
        EEOC charges against Apple. Bloomberg wrote,
                 “Ashley Gjovik, a senior engineering program manager at Apple, said that she filed the Aug. 26
                 complaint, which cited harassment by a manager, a retaliatory investigation, and forced paid
                 administrative leave. Gjovik’s situation began with fears about whether pollution had made her office
                 a dangerous place to work. She says she was then retaliated against for voicing her concerns. “I should
                 be able to raise concerns about safety and public policy,” she said in an interview Thursday. Gjovik has also
                 filed complaints with the Occupational Safety and Health Administration, California’s labor
                 commissioner’s office, and the Equal Employment Opportunity Commission, according to documents
                 she provided. Gjovik said her goal is to bring light to systematic problems at Apple and try to improve
                 policies. “I want to pierce the veil of intimidation and secrecy,” she said in the interview. “The employees
                 are terrified to speak up about their concerns.” 31

        On Sept. 2, 2021, Financial Times wrote about Gjovik:

                 “Gjovik’s specific complaints against Apple date back to mid-March, when she cited unsafe working
                 conditions related to “chemical exposure” at her Apple office in Sunnyvale, California, where more than


        30
             The Verge, Apple Cares about Privacy, Unless You Work at Apple, Aug 30 2021.
        31
             Nick Turner, Apple Worker Complaints Reviewed by Labor Relations Board, Bloomberg, Sept 2 2021.
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              100 employees are based. Her office, known as “Stewart 1” within Apple, is located on what the
              Environmental Protection Agency refers to as the “TRW Microwave Superfund site,” a location
              requiring special oversight owing to previous contamination by hazardous waste materials in the soil
              and groundwater beneath the building. In 2016, Apple paid $450,000 to settle state claims that it
              mishandled hazardous electronic waste at their Cupertino headquarters and Sunnyvale facilities.
              Gjovik said her concerns were brushed aside and she was warned against speaking up about them. In
              her letter to the NLRB, she said Apple’s employee relations Dept. “intimidated me not to speak about
              my safety concerns,” that a manager advised that she quit Apple and was subject to sexism and a
              “dramatically increased” workload. Matters escalated when she took her complaints to Apple’s Slack
              channels, specifically a 2,000-member forum for female software engineers. She said she was flooded
              with supportive comments and similar stories of workplace harassment — but she had since been
              banned from using Slack as part of her administrative leave.”32
                176. The press continued to cover what Apple was doing to Gjovik and a movement starting
        among Apple employees who began speaking out and organizing with each other around work conditions
        and human rights. Apple workers, past and present, began publicly sharing their own stories of
        discrimination, retaliation, and cover-ups. The press wrote about this too, and Gjovik posted about it
        repeatedly on Twitter. Gjovik was not only a catalyst for many employees to come forward, but these
        employees catalyzed Gjovik’s view and protest of Apple’s misconduct.
                177.    On Sept. 3 2021, Gjovik signed a contract with Business Insider to write an Op-ed about her
        situation with Apple and proposals on how Apple can address its systemic issues. Gjovik modeled her article
        and proposals after what she had been learning about Transitional Justice at Oxford. (Gjovik received perfect
        grades in the 2021 Oxford program, and Gjovik’s faculty advisor for the program would later be selected to
        become a member of the U.S. Chemical Safety and Hazard Investigation Board in 2023).
                178.    Okpo contacted Gjovik again on Sept. 3 2021 and Sept. 7 2021, asking to meet with her on
        Webex; implicitly denying her request to keep things in writing; and refusing to tell her what the meeting
        was about. Both times Gjovik asked Okpo to keep things in writing due to the misrepresentation and
        intimidation. If he refused, she requested a Business Conduct review of his decision, noting he is a lawyer
        and there is a power imbalance. Okpo never responded.
                179.    On Sept. 5 2021, Gjovik messaged Josh, her friend and a Senior Director, complaining about
        Apple Employee Relations, commenting she had been researching Apple’s labor history and the issues were
        “very systemic” and with “lots of bad faith conduct,” but “not completely diabolical.” (Gjovik would later refer
        to this dynamic instead as ‘Waco meets Enron.’)


        32
          Patrick McGee, US labour board examines retaliation claims against Apple, Financial Times, Sept. 2 2021,
        https://www.ft.com/content/484fa8be-925e-495c-91ff-54950b112754
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                  180.   Gjovik complained to Josh that her current interactions with Apple Employee Relations
        made her feel “like a very tired mom who really wants their kid to clean up the room and has asked 1 million
        times and they’re not doing it and she’s like I’m really disappointed with you we both know you’re better
        than this.“
                  181.   On Sept. 6 2021, Gjovik posted on social media about her U.S. NLRB, Cal. Dept. of Labor,
        and U.S. EEOC/Cal.DFEH cases with a status update and the report numbers – and also tweeted about her
        U.S. SEC whistleblower tip, U.S. FBI, and U.S. Dept. of Justice complaints. On Sept. 6 2021, Gjovik replied
        to the U.S. EEOC confirming she was working on a draft of her complaint and was targeting to submit it to
        them by Sept. 8 2021. On Sept. 8, 2021, Gjovik emailed the U.S. EEOC her draft of the language for her
        charge.
                  182.   On Sept. 7 2021, a few days before her termination, Gjovik discovered the second woman to
        ever report to West had sued Apple over West’s retaliation, constructive termination in violation of public
        policy, and IIED only two years prior. The ex-colleague’s complaint explained she witnessed retaliation and
        intimidation in West’s organization, and that West spoke openly about knowledge of his employee’s fear of
        retaliation. She said after she raised concerns to West about this, West began retaliating against her too.
                  183.   The complaint alleged there were three sham Employee Relations investigations into her
        concerns, finding no policy violations related to West’s conduct. Employee Relations put her on
        administrative leave, waited a few weeks, and then told her she can either accept two months of severance
        and sign a release of rights to pursue legal action against Apple, or she can return to work as things are except
        that West will be even more angry at her now. The coworker resigned and filed suit instead. Apple settled
        shortly after.33 Gjovik posted on Twitter about it, expressing her displeasure.
                  184.   On Sept. 8 2021, Gjovik replied to the US Dept. of Labor with copies of her prior filed
        complaints to the U.S. EEOC, U.S. NLRB, U.S. EPA, Cal. EPA, and U.S. SEC. Gjovik noted she was
        working on answering the investigator’s questions and would reply by the deadline, which was Sept. 10 2021.
        On Sept. 9 2021, at 12:39 PM PST, Gjovik emailed the U.S. EEOC investigator assigned to her case and
        asked the investigator if she needed anything else from Gjovik to move forward. Then again, at 1:02 PM,
        asking US EEOC how she could sign the charge to meet the deadline.
                  185.   Around 1 AM the morning of Sept. 9 2021, it occurred to Gjovik, and she shared her thoughts
        in real-time on Twitter, that Apple was likely spying on her personal devices because they were



         Brown v Apple Inc, Case No. 18CV330922, Superior Court of the State of California, County of Santa Clara,
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        Complaint ( July 2 2018).
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        administrators of Apple servers, even for customers, and their work policies say they will spy on employee’s
        personal devices. (Note: The NLRB is now suing Apple over that policy). Gjovik began frantically removing
        her data from iCloud servers, including migrating her email, photos, and documents.
                186.     On Sept. 9 2021, at 2:08 PM PST, Gjovik was contacted by Aleks Kagramanov, an Apple
        “Workplace Violence and Threat Assessment” investigator demanding to speak with Gjovik on the phone
        “within the hour.” The email had no subject line, and Gjovik had never heard of the team. Kagramanov said
        he was “looking into a sensitive IP matter” and wanted to speak with Gjovik. He said Apple “sincerely
        appreciate [her] prioritizing this call and being flexible.” He never said Gjovik was under investigation.
                187.     Gjovik was sure she was about to be fired, but two minutes later, Gjovik promptly responded
        at 2:10 PM PST, saying she was willing to participate but wanted a written record of their conversations. She
        said she will respond as quickly as she can. Kagramanov did not respond, so Gjovik replied again. Gjovik
        responded again at 2:27 PM PST, complaining to the Workplace Violence interrogator of “witness
        intimidation the day before her affidavit” and telling him she forwarded his emails to her NLRB investigator.
        Gjovik posted on Twitter complaining of witness intimidation and fear of violence from Apple.34 Cal.Lab.C.
        § 6401.9 defines “workplace violence” as the threat or use of physical force, including incidents involving
        guns and dangerous weapons. There was no legitimate explanation why this team was contacting Gjovik.
        Gjovik opined about it on Twitter while she waited for Kagramanov’s response, posting at 2:34 PM: “...so
        does he investigate the threats & violence, or is he the one that provides that as a service?”
                188.     Kagramanov replied to Gjovik’s email at 2:50 PM, now saying: “We are investigating
        allegations that you improperly disclosed Apple confidential information.” Kagramanov then also claimed Gjovik
        refused to “participate” in his farcical investigation and announced he was suspending all of Gjovik’s Apple
        account access. He never shared with Gjovik that he was apparently partnering with an Apple lawyer who
        assumably would have been waiting on the call/Webex to speak with Gjovik along with Kagramanov. The
        specific lawyer was previously a New York state criminal Asst. District Attorney in Manhattan prior to
        joining Apple a few years prior. It’s unclear what their plan was if Gjovik was to agree to speak with them.
                189.     Gjovik responded to Kagramanov at 3:07 PM, reiterating that she wanted to participate.
               “As mentioned, I am definitely willing to participate in your investigation. I only asked that
               the discussion be kept to email — I said nothing about not participating in the discussion at
               all.” Gjovik added: “I offered to help via email to ensure we have a documented [record] of


         “Hey #Apple, ‘This feels a little like witness intimidation. I let @NLRB know.’ Love, Ashley. Clutches panic button &
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        Mace while still laying on the floor pondering the brutality of U.S. capitalism.” -- @ashleygjovik (September 9 2021 2:33
        PM).
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               our conversations considering everything that’s currently going on with my investigation
               and my complaints to the government… I would really like the opportunity to remedy any
               actual issues. Please let me know what the issues are so I can make a good faith attempt at
               that.”
                190. Gjovik added in her 3:07 PM email reply to Kagramanov: “In the meantime, without any
        additional context or effort to communicate with me in email, this really does feel like intimidation and
        additional retaliation, and I will consider it as such.” Gjovik still did not know what she was supposedly
        accused of.
                191.    On Sept. 9 2021 at 4:24 PM PST, the U.S. EEOC investigator emailed Gjovik, saying she
        posted the final version of the charge and asked Gjovik to sign the charge. On Sept. 9 2021, at 4:27 PM PST,
        Gjovik digitally signed her U.S. EEOC charge against Apple. Then, at 4:47 PM PST, Gjovik emailed the
        U.S. Dept. of Labor with responses to their questions about her protected activity and Apple’s retaliation.
        Gjovik replied again at 5:26 PM PST, informing them Apple’s Workplace Violence interrogator had just
        suspended her account access and threatened her.
                192.    On Sept. 9 2021, at 6:54 PM PST, Yannick Bertolus, Gjovik’s Vice President, and West’s
        close friend, emailed Gjovik with the subject line “Your employment status” and an attached letter saying she
        was terminated for vague reasons. The termination letter repeated an ambiguous charge of leaking and said
        she “failed to cooperate and to provide accurate and complete information during the Apple investigatory process.”

                                          VI.     Continued Investigation
                193.    Six days later, on Sept. 15 2021, at 7:40 PM PST, Apple’s lawyers at O’Melveny & Myers, via
        Partner David R. Eberhart emailed Gjovik a letter implying Apple terminated her due to her complaining
        about Apple asking to 3-D scan her ear canals and also because she posted some of the surveillance photos
        Apple secretly took of her through her phone when it was illegally harvesting her biometrics through its face
        Gobbler app.
                194.    Gjovik told Eberhart that none of that was confidential and that she had the right to protest
        and discuss it. Eberhart threatened her and demanded she delete several Twitter posts but never cited any
        legal authority (because there’s none). A lawyer responded to Eberhart more formally a couple of weeks
        later, on Gjovik’s behalf, warning him about Rule 11 sanctions if he attempted to pursue the matter in court
        as his claims have no basis in fact or law. Eberhart never responded.
                195.    On Sept. 10 2021, Gjovik testified to U.S. NLRB for her first affidavit. On Sept. 14 2021,
        Gjovik had the second part of her NLRB affidavit. She posted about it on Twitter.
                196.    On Sept. 21 2021, Tim Cook emailed all Apple staff complaining that someone had spoken

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        publicly to reporters about work conditions. Cook said Apple’s “doing everything in our power to identify those
        who leaked.” Cook said, “People who leak confidential information do not belong here.”35
                197.     On Dec. 13, 2021, US DOL docketed Gjovik’s SOX, CERCLA, and OSH Act cases. A
        Financial Times article was published on Dec. 13, 2021, which said:
                 "The labour Dept. will examine whether Apple retaliated over claims about occupational safety and
                 hazardous waste management liability, alongside a third allegation that falls under the Sarbanes-
                 Oxley Act, or Sox, which sets out the rules for financial record keeping. Gjovik pointed to a potential
                 conflict of interest regarding Apple board member Ronald Sugar, chair of the audit committee, as
                 he was previously chief executive of Northrop Grumman, the defense company responsible for the
                 dump — and maintenance — of waste materials beneath the Sunnyvale office. Sugar could not be
                 immediately reached for comment. "Gjovik’s case was “especially unusual” and noteworthy
                 because of the three separate statutes or laws that may have been broken, said Michael Duff, a former
                 attorney at the National Relations Labor Board. “Federal agencies exercise what in the context of
                 criminal law is known as prosecutorial discretion,” he said. “They are very careful of what cases
                 they move forward because they have scarce resources, so they must have a strong reason to believe
                 they can prevail.”36
                198. On May 20 2022, the U.S. EPA sent a letter to Northrop Grumman about Stewart 1,
        instructing that: “EPA requires that one round of indoor air samples be collected... under current conditions.”37 The
        letter included an attached memo from the U.S. EPA’s Quality Assurance branch instructing Northrop
        Grumman (and Apple) that there should be an annual inspection of “verification that the floor slab and barrier
        system have not been breached or otherwise compromised; evaluation to confirm that the building has not been
        modified in a manner that could compromise the system; evaluation of changes to building use,” in addition to also
        inspection roof components.38
                199.     On May 27, 2022, the U.S. EPA finally admitted to Gjovik, that there had been an inspection
        at her office on Aug. 19, 2021 – Apple had been able to conceal it from Gjovik for nearly a year. On July 28
        2022, Northrop Grumman told the U.S. EPA they were late in responding to the U.S. EPA’s questions
        because Apple and the building owner stopped responding to them for weeks.
                200.     On July 14 2022, Gjovik argued her unemployment insurance appeal. Prior, the case was



        35
           Macworld, “Apple’s war against leakers is really a battle against the people that matter most,” Feb. 7 2023. (“…people
        who leak confidential information do not belong here. / Tattooed on Tim Cook’s right bicep: ‘Loose lips…’ And on his left:
        ‘…pink slips.’)
        36
           Financial Times, “Apple faces probe over whether it retaliated against whistleblower,” Dec. 13 2021.
        37
           U.S. EPA, Re: EPA Technical Comments on the Passive SSDS O&M Plan and SSDS Evaluation,
        825 Stewart Avenue Sunnyvale, CA, TRW Microwave Superfund Site (CERCLIS ID# CAD009159088) (May 20
        2022).
        38
           U.S. EPA, Passive Sub Slab Depressurization (SSD) System Operation and Maintenance (April 25 2022).
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        mysteriously closed with inaccurate information. Gjovik won her unemployment insurance appeal, and a
        decision was issued by an Administrative Law Judge stating:
             Gjovik “received notice from the vice president that she was being discharged. The notice was
             vague and incomplete and stated that the claimant had disclosed confidential information and had
             not fully participated in some investigation. Although the claimant requested specific information
             from the employer, no specific information was provided. Before the separation of the employment
             the claimant received great performance reviews and prior to the separation the claimant received
             no oral or written warning notifying her that job was in jeopardy. At all times, the claimant
             performed her job duties to the best of her ability. In this matter the evidence shows that the
             claimant was discharged for reasons other than misconduct connected with the most recent work.”39
                201. In 2022, there was discussion with the US Representative’s office about bringing Gjovik’s
        situation with Apple related to environmental violations to a US House Sub-Committee the US
        Representative chaired.
                202.    On Dec. 30, 2022, the U.S. FTC confirmed they received Gjovik’s complaint about Apple’s
        Face Gobbler and Ear Scans and provided Gjovik with a report tracking number. Gjovik notified U.S. FTC
        in 2023 that she was taking the matter on herself in this lawsuit.
                203.    After Apple fired Gjovik, Gjovik filed additional U.S. NLRB and Cal. Dept. of Labor charges
        about Cook’s email, and Apple’s NDAs and other employment policies, charging they violate federal labor
        laws – and the U.S. NLRB agreed with Gjovik, issuing a Decision of Merit on her charges against Apple in
        Jan. 2023, and complaint in Sept. 2024.40
                204.    On Jan. 20 2023, U.S. EPA told Northrop Grumman to plan to do vapor intrusion testing at
        Gjovik’s office in March 2023. Apple still had not done it for over seven years. On Aug. 31, 2023, the U.S.
        EPA published a brief letter responding to Apple’s May 2023 vapor intrusion testing results at Gjovik’s
        Apple office, the first testing since Dec. 2015, calling Apple’s testing report and strategy “fundamentally
        incorrect,” having “no fundamental basis,” “not accurate,” “confusing,” and “misleading.”41
                205.    Plaintiff’s activism was deeply chilled after the retaliatory litigation resulted in a gag order
        from March 2022 and until the reverse and vacate in Nov. 2022. It became a crime for her to talk to anyone
        aspects of her claims and complaints, and so she mostly stopped talking until she would no longer face prison
        time for doing so. She picked up her research again in the winter of 2022/2023. (Note – Plaintiff alleges this



        39
           Ashley M Gjovik (Claimant-Appellant); California Unemployment Insurance Appeals Board, Case No. 7253819,
        July 14 2022.
        40
           Amanda Silberling, Labor officials found that Apple execs infringed on workers’ rights, TechCrunch, January 30 2023.
        41
           U.S. EPA, TRW Microwave Site, Northrop Grumman Vapor Intrusion Evaluation Report, Aug 31 2023.
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        Defendant is liable for this duress, and that it also impacted her ability to ‘discover’ what Defendant did –
        which was probably part of the reason they did it.)
                206.    In 2022, Plaintiff was deeply traumatized by what happened to her in 2020-2021 but out of
        concern for public safety continued to monitor the nearby Superfund sites for any progress, updates, or
        possible revelations. Plaintiff primarily studied the TRW Microwave site, including monitoring the U.S. EPA
        webpages and requesting extensive public records through FOIA. She also continued to ask questions and
        share information with the U.S. EPA team overseeing the TRW Microwave site as they worked on the
        corrective actions with Apple and Northrop Grumman.
                207.    Plaintiff also kept an eye on the Honeywell “Synertek” Superfund site in Santa Clara next to
        the apartments where she got sick in 2020. Back in 2020-2021, there were only a few theories about how she
        could have gotten so sick. There was an investigation by the regional U.S. EPA CERCLA team around the
        Synertek site because its VOC groundwater plume was historically under where these apartments are now.
        Gjovik was monitoring the groundwater well reporting on CalEPA’s Geotracker GAMA application.42 In July
        2022, she noticed that U.S. EPA had tested the Synertek wells in 2021 following her complaints (they did
        not tell her), and there was increasing TCE in the groundwater monitoring well closest to her prior
        apartment.
                208.    In early Jan. 2023, while checking for updates, Gjovik noticed the U.S. EPA had uploaded the
        2022 Five Year Report for the Synertek site.43 She read the report and had a number of questions about the
        report and emailed U.S. EPA and USACE with her inquires on Jan. 11 2023. Her email was organized into
        four parts she titled: “Increasing TCE In Well 33-A per GAMA”; “2022 FYR Notes Remediation Injections In
        2019 & 2020, With ‘Rebound Effect’”; “Santa Clara Square Apartments In FYR”; and “3250 Scott Blvd.”.
                209.    Gjovik was also reviewing the CalEPA CERS portal for information on all of Apple’s
        California facilities as she was building a large spreadsheet of all of Apple’s environmental and OSHA
        failures in California. (As of Jan. 18 2023, there were 162 rows!). She noticed 3250 Scott Blvd had received
        many inspection violations in late 2020 (probably posted in 2021), including citations for somehow losing
        1,700 gallons of diesel in 2020.
                210.    In her Jan. 11 2023 email, she wrote to U.S. EPA: “Was there an inquiry to 3250 about testing?
        Apple moved in 2015, per CERS records. In 2017, Honeywell General Counsel (Kate Adams) became


        42
           CalEPA, Geotracker: Groundwater Ambient Monitoring and Assessment (GAMA),
        https://www.waterboards.ca.gov/gama/
        43
           “6th 5-year review rpt for Synertek, Inc. Building 1 Superfund site, w/appendices A-F,” 55 pp, Doc. ID 100029800
        (September 8 2022). https://semspub.epa.gov/work/09/100029800.pdf
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        General Counsel of Apple. Was this considered during any outreach about 3250? I'd be concerned about VI
        at 3250 not just for workers there, but also due to chemical reactivity with the stockpile of industrial
        chemicals they're apparently hoarding there, & even losing tracks of thousands of gallons of.” (referring to
        the diesel). Gjovik was still focused on vapor intrusion. They did not respond.
                 211.   Gjovik became especially curious about a few of Apple’s California properties that seemed
        to be more industrial than others. She filed Public Records Act requests for records about these sites. One
        of these requests (Request 23-127) was filed to Santa Clara city on Feb. 9 2023 and included a request for
        3250 Scott Blvd records in addition to three other Apple buildings in Santa Clara. On Feb. 21 2023 the city
        of Santa Clara responded that it would take a while to gather the records but linked to four prior requests
        where some records had already been released in the interim. [8/18 Declaration Exhibit H]. The requests
        with records for 3250 Scott Blvd (Requests 22-1148 and 22-1149, filed Oct. 11 2022) were from AEI
        Consultants explaining they were working on “property condition assessment reports,” assumably for
        Apple.
                 212.   The only documents released were lists of permits. Gjovik skimmed the permits for 3250
        Scott Blvd and was flabbergasted to see permits for semiconductor fabrication tools (which she recognized
        only due to her work on hardware development at Apple). She quickly communicated her findings.
                 213.   She replied to U.S. EPA complaining they still had not responded to her concerns about the
        groundwater wells and also added:
               “A new, additional question for you all - is how long have you known that Apple was doing literal
               actual silicon fab in that 3250 Scott Building since ~2016 through current? Like, back in the 1970s-
               1980s Silicon Valley silicon fab, and only .2 miles (.3 km) from RESIDENTIAL BUILDINGS.
               Apple's buildings permit (attached) notes solvent/chemical evaporation in the yards near the "gas
               bunkers" & a large number of solvent exhaust ducts to the roof from the variety of clean rooms & fab
               stations. The building is registered in CERS but is not a DTSC, Water Board, or U.S. EPA site. A
               literal silicon fab factory that is spewing toxic chemicals into at least the air is only overseen by the
               city fire Dept. & which only inspected a couple times - finding open violations but apparently never
               even following up on them.” – Ashley Gjovik (2/22/23 12AM).
        The Plaintiff was very distressed.
               214. On Feb. 21 2023 around 11:20pm, Gjovik began tweeting about Apple’s permits at 3250 Scott
        Blvd, trying to lead up to a grand reveal of the fab. However, an engineer spoiled the surprise, also
        recognizing what she did, and quickly posted “@[account] do you have any IH/OH friends who can say exactly
        how stupid it is to do modern chip fab next to residential buildings?” to which Gjovik responded, “you spoiled the
        surprise for the non-hardware people, but good job, yes… APPLE IS SO [expletive] DUMB I'M GOING TO


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        SCREAM.”44 Gjovik then tweeted out the formal announcement:
               “APPLE IS DOING LITERAL ACTUAL [expletive] SILICON FAB 0.2 MILES (0.3 KM) FROM
               THE APARTMENT WHERE I GOT SO SICK I THOUGHT I WAS DYING & APPLE
               VENTED THAT [expletive] INTO THE AIR FROM THEIR ROOF & THE YARD NEXT TO
               THEIR "GAS BUNKERS" RIGHT INTO MY 3RD FLOOR APARTMENT.”45
        Gjovik replied to her own post a moment later adding:
               “I've been making muffled screaming noises for about twenty-five minutes now WTAF IS
               WRONG WITH THEM THEY MUST HAVE KNOWN THEY DID THAT [expletive] TO
               ME!!! No wonder they gave me that "extreme condition leave" to move out, Apple is the extreme
               condition.”46
               215. Gjovik started emailing with a friend, Lenny, about what she found. They met during her
        activism in late 2020 and emailed each other about environmental matters ongoing. She shared with Lenny
        she also found a “cryptic fire Dept. gas leak report from June 2019 at 3250 Scott.” Apple’s name was redacted,
        and the chemical name misspelled. Lenny explained,
               “I believe the correct spelling is phosphine. This is why the county’s fire Dept.’s led the development
               of the model hazardous materials storage ordinance…In general, the gas releases have more acute
               health effects than the releases to groundwater.”
               216. Lenny was involved it getting the Santa Clara County toxic gas ordinance passed in the 1980s
        and she trusted his expertise. [Lenny was also recently the mayor of Mountain View, as well as a City Council
        member, and member of the city’s Planning Commission in the 1980s. He is also the executive director of
        the Center for Public Env. Oversight. Lenny also tried to investigate how Gjovik was injured and also could
        not figure out it out in 2020-2022.].
               217.    Prior to Gjovik’s Feb. 2023 discovery, numerous government agencies and experts had
        reviewed Gjovik's complaints and the site data; they tried to figure out what could have made her sick.
        Eventually there was consensus that it was probably not the Superfund site, or the existing Brownfield
        contamination – and the best guess was maybe something in the building materials at the apartment. That’s
        where it left off and that’s why Gjovik wrote “I thought I was dying…” in desperation and which was
        published in March 2021. This led to Gjovik filing a complaint to U.S. EPA in June 2023 about ARIA.
               218.    From Sept. 2023 through Sept. 2024, Gjovik worked as program manager for an air pollution
        research project at a research university. The role was temporary and did not utilize her legal or engineering
        experience. After two years of searching and hundreds of applications, it was the first and only job offer she


        44
           Twitter, February 21 2023, https://x.com/ashleygjovik/status/1628249545367777281
        45
           Twitter, February 21 2023, https://x.com/ashleygjovik/status/1628250591779516416
        46
           Twitter, February 21 2023, https://x.com/ashleygjovik/status/1628256067065880577
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        could obtain.47 The role was far lower seniority than her role at Apple, and Gjovik’s salary was reduced by
        41% and total compensation lowered by 74%. Gjovik is now back on Medicaid and applying for EBT and
        unemployment insurance.
                219.     On Sept. 27 2024, the U.S. EPA published the “Five Year Report” for the Triple Site,
        including the TRW Microwave site. Gjovik was invited to provide a comment as a community member,
        which she did, and it was included in the final public report. The report reiterated that a new Record of
        Decision is still needed and needs to address vapor intrusion.
                220.     However, the report also revealed that investigation into elevated levels of TCE in the
        outdoor air is now focusing on the shallow groundwater at two sites, including Gjovik’s office. Additional
        testing and evaluations were ordered, because if true, the contaminated groundwater plume just a couple
        feet below the surface maybe be releasing dangerous levels of TCE into the outdoor air of the entire property
        and neighboring properties.
                221.     The U.S. EPA also shared the raw data for the indoor air testing with Gjovik, and it showed
        that there continued to be vapor intrusion inside but with chemicals at ‘acceptable’ levels, with the exception
        of elevated levels of benzene. The report and analysis still have not been released.
                222.     The NLRB issued a complaint against Apple on Sept. 27 2024, over Apple’s Business
        Conduct Policy, NDAs, Intellectual-Property Agreement, 48 The NLRB issued a Decision of Merit in Jan.
        2023, (thus the NLRB will issue a complaint and sue Apple if Apple does not settle first) about an email
        CEO Tim Cook sent his staff in Sept. 2021 shortly after Gjovik was fired.49 50
                223.     In Oct. 2024, NLRB issued a decision of merit that there is substantial evidence that Apple’s
        placement of Gjovik on leave was an unlawful suspension, and both the suspension and termination of her
        employment violated federal labor laws.

                                      L EGAL C LAIMS : R ETALIATION
                224.     Gjovik hereby incorporates by reference each and every allegation and fact above and below,
        into each section where that allegation and/or facts is required to support the claim at issue. Some facts and
        allegations are not repeated in order to meet page limits. Where any statute of limitations is in question of


        47
           With the exception of brief expert consulting work for a large law firm on a class action fraud lawsuit – consulting
        which abruptly ended upon Apple’s counsel demanding that Gjovik be removed from working on the lawsuit –
        perhaps one of the most direct examples of denylisting ever.
        48
           32-CA-284428
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           32-CA-284441
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           32-CA-282142, 32-CA-283161
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        possibly being expired for an alleged claim, Gjovik, where reasonable, will argue that the statute of limitations
        should be tolled due to Apple’s fraudulent concealment of numerous material facts. Gjovik will also argue,
        where applicable, the doctrine of continuing violations, equitable tolling, and the discovery rule.

                                 VII.     Knowledge of Protected Activities
               225.    Gjovik started threatening Apple that she’d talk to the press about her work conditions back
        in June 2021 and did talk to the press and was quoted by NYT about Apple starting in July 2021. Apple
        Employee Relations told Gjovik they saw it, were aware, and were annoyed she figured out labor laws. Gjovik
        and her social media posts were covered by the press. Gjovik provided quotes and additional information.
        Each time a new article was published, Apple’s public relations team was directly notified by the press,
        requesting comment.
               226.    Further, in mid-July 2021 Gjovik directly notified Employee Relations that she and other
        coworkers were posting on social media complaining Apple was invading their privacy with overly aggressive
        medical release forms for ADA accommodation requests. Employee Relations also interrogated Plaintiff
        around July 29 2021 about the statements she was making and urged her to stop talking about work
        conditions, even with her coworkers and on Apple systems.
               227.    After being put on leave on Aug. 4 2021, and speaking out on Twitter and in the press, Gjovik
        quickly received an email from Apple Employee Relations, Okpo, on Aug. 5 2021 complaining about what
        she said and falsely accusing her of lying. (In Sept. 2024, the NLRB issued a decision of merit that there is
        substantial evidence that Okpo’s email violated federal labor laws.)
               228.    Gjovik observed an incredible response from her coworkers while she was sharing stories and
        documents in Aug. 2021, with many discussions on Apple’s Slack tool for employees, including many
        employees saying, and telling her, that they had reported the people she complained about and asked Apple
        to do the right thing with Gjovik. One post even led to a petition within Apple – Gjovik had shared a “Radar”
        work tracking ticket that was titled with the goal of making her life “a living Hell.”
               229.    “#Apple makes great products, & some workers have a great experience, but some don't.
        Everyone who knows me at work knows I've dealt with more abuse than anyone should have. (See: "Make
        Ashley's Life a Living Hell"... & they really did). No one seems surprised I finally broke.” [Image] 10:55 PM
        · Aug 12, 2021 https://x.com/ashleygjovik/status/1426014545202479108
               230.    Dozens of employees started commenting in the Radar; after seeing it on her social media,
        demanding Apple improve its conduct. Several people said they had reported the Radar to Human
        Resources. This was around Aug. 16 2021. One would think if dozens/hundreds of employees are

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        complaining about abuse Gjovik faced, as shared on social media, that Apple might think to read her social
        media.
                 231.    Per Apple’s 2022 position statement, Apple was also supposedly investigating Plaintiff’s
        Twitter posts from around Aug. 28 2021-Sept. 9 2021 – which would assumably include reading Gjovik’s
        Twitter postings.
                 232.    Finally, as part of the steps leading to Plaintiff’s termination, one of the supposed reasons
        she was to be terminated, as communicated by Human Resources to her VP, was that she supposedly failed
        to participate in the Employee Relations investigation by redacting the evidence she provided Employee
        Relations. However, she did not redact any records in her Box folders for Employee Relations. She did
        however redact the internal records she was posting on Twitter. Apple HR must have gotten confused and
        mixed up their Twitter stalking screenshots with the records Plaintiff provided them directly. Apple never
        raised the matter to Gjovik and Gjovik only discovered this fact via discovery.
                 233.    Apple apparently continued to monitor her posts after Sept. 2021 (attempting to get Twitter
        to delete some of them, admitted in U.S. Dept. of Labor filings) and through Jan. 2022 (Applegate wrote to
        Plaintiff upset that she tried to get Plaintiff’s Twitter posts deleted but found out Apple also reported them
        and it was Apple’s reports that resulted in the posts being deleted).
                 234.    Apple is certainly reading Gjovik’s Twitter and other social media and has been for years.
        Apple also had knowledge of Gjovik’s activities through direct updates form Gjovik, information shared by
        agencies arising out of Gjovik’s complaints, press coverage of Gjovik, and any surveillance they were
        conducting of her personal and work devices (which Apple’s policies said they would do).
                 235.    For Cal. Labor Code Section 98.6 and 1102.5, any issues with statute of limitations related to
        the claims or remedies (i.e. penalties/fines), is equitably tolled by Gjovik’s timely complaints sitting in the
        Cal. Dept. of Labor queue for years before Gjovik kicked the claims out into this lawsuit. This lawsuit
        replaced the California Dept. of Labor DIR case Ashley Gjovik v Apple Inc, RCI-CM-842830. Gjovik filed the
        initial claim on Aug. 29 2021, prior to Apple terminating her employment.

           VIII.        Count One: Wrongful Discharge in Violation of Public Policy
                                                      (Tamney claim)
                 236.    Apple retaliated against Gjovik and discharged Gjovik’s employment for a variety of reasons
        that violated public policy. Among other unlawful reasons, Gjovik was terminated in violation of the “strong
        public interest” reflected “in encouraging employee reports of illegal activity in the workplace.” Certain concurrent
        claims are incorporated here as Tamney sub-claims. Specifically: Cal.Lab.C. §§ 96(k), 98.6, 232, 232.5,

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        1102.5, and 6310. The following sub-claims are included in addition:

                    A.    Illegal Data Harvesting [Cal. Const. Article I, Section 1; FTC Act]
                   237.   Apple’s coercive and unlawful data collection of biometric, genetic, anatomical, and
        surveillance data is a gross and egregious violation of Article I Section 1 of the CALIFORNIA CONSTITUTION;
        the CALIFORNIA PRIVACY RIGHTS ACT; the U.S. FTC ACT; Cal.Pen.C. § 637.7, and the INTERNATIONAL
        COVENANT ON CIVIL AND POLITICAL RIGHTS: Article VII on Free Consent.
                   238.   Apple’s supposedly legitimate reason for terminating Gjovik, while false and pretextual, is an
        illegality itself. Apple claims it fired Gjovik for complaining about Apple’s surveillance of employees,
        including coercive data collection of biometrics and invasive 24/7 video recording. Apple discriminated
        against Gjovik (including terminating her employment) due to Gjovik’s actions related to her constitutional
        and statutory right to privacy, which are rights that benefit the public, are substantial and fundamental rights,
        and which were firmly established at the time of discharge. Apple’s decision to use this as their excuse for
        terminating Gjovik reveals Apple’s animus against California employees' privacy rights.
                   239.   Apple also intruded into Gjovik’s seclusion, physically and constructively invading Gjovik’s
        privacy [Cal. Civ. Code § 1708.8(a), (b), (d)], and Apple surveilled Gjovik and forced Gjovik to surveil others
        with the always-on video camera in her iPhone, including in bathrooms and locker rooms in violation of
        California Labor Code § 435. The Gobbler app did take videos and photos of Gjovik in the bathroom and
        Gjovik has copies of those images.
                   240.   Apple’s use of Gobbler on Gjovik’s phone also forced Gjovik to participate in Apple’s
        unlawful acts by facilitating Apple’s secret capture, storage, and processing of photos, videos, and biometric
        information of the public without their knowledge or consent. Apple’s termination of Gjovik also stated that
        if Apple were to warn people what was occurring on her phone, she would be fired. Therefore, Apple’s unfair
        business practices made consent from the public impossible. The public had a reasonable expectation of
        privacy for their highly sensitive biometrics.
                   241.   Apple also violated Section 5 of the FTC Act in unlawfully coercing employees to provide
        personal and sensitive data for commercial product development, which was also engaging in unfair acts or
        practices that can harm consumers, cannot be avoided by consumers, and are unreasonable, and misleading
        statements to consumers.51 Employees can be consumers under the FTC Act as an employee of Apple who
        goes out and buys an iPhone is an Apple customer who now owns an Apple product with consumer



        51
             US FTC, FTC Act Section 5: Unfair or Deceptive Acts or Practices, Consumer Compliance Handbook.
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        protection laws protecting them. (This sub-claim is connected to the Cal. B&P Code § 17200 et seq. claim).

                 B.    Employment Discrimination [Cal. DFEH; U.S. EEOC]
                242.    Gjovik reported and testified about topics including complaints about sex, gender, and
        disability discrimination, which are “fundamental” rights for the purpose of a Tamney claim. Gjovik filed
        Cal. DFEH, and U.S. EEOC claims on Aug. 12 2021, and proceeded to testify and provide evidence,
        requesting a Right to Sue letter, which she was granted on Sept. 9 2021, just hours before Apple fired her.
                243.    Apple retaliated against Gjovik for opposing Apple’s discriminatory practices. Gjovik also
        reported to U.S. NLRB and the U.S. Dept. of Justice Civil Rights before her termination. Apple
        discriminated against Gjovik (including terminating her employment) due to Gjovik’s actions related to a
        constitutional and statutory right to be protected from discrimination due to her sex and due to her
        disabilities, which is a right that benefits the public, is a substantial and fundamental right, and which was
        firmly established at the time of discharge.

                 C.    Crime Victim/Witness Discrimination [Cal. Labor Code § 230(e)]
                244.    Apple discriminated against Gjovik (including terminating her employment) due to Gjovik’s
        actions related to a constitutional and statutory right to be protected from crime and seek justice for injury
        caused by crime, which is a right that benefits the public, is a substantial and fundamental right, and which
        was firmly established at the time of discharge [Cal. Lab. Code § 230(e)]. Gjovik was a “victim of a crime that
        caused physical injury” and she suffered “physical, psychological, and financial harm due to the attempted
        commissions of a crime or delinquent act.”

                 D.    Legislative Witness Discrimination [Cal. Gov. Code § 9414]
                245.    Apple knew Gjovik was talking to legislatures about what occurred to her next to ARIA, and
        Apple knew that it was Apple who was responsible for Gjovik’s harm, despite Gjovik not knowing that fact
        yet. Apple knew Gjovik may testify at legislative committees about the air pollution caused by Apple. Apple
        undertook an effort to ensure Gjovik did not testify and to harass Gjovik because Gjovik may testify to a
        committee.
                246.    Apple also knew Gjovik was talking to elected officials about its retaliation against Gjovik
        after her termination, including a State Senator, a US Representative, and a US Senator. It is enough to
        establish a nexus that Apple had reason to think Gjovik planned to be a witness for an agency or committee.
        It is also illegal under California Penal code to intimidate witnesses, or to threaten witnesses before and/or
        after testimony. [Cal Penal Code 140(a) 137(b) 136.1].


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               247.     Further, Apple’s also violated Cal. Gov. Code § 9414 (a misdemeanor public offense) by
        harassing and retaliating against Gjovik, by attempting to prevent and dissuade Gjovik’s testimony for a
        proceeding, and by depriving, threatening, and attempting to deprive or requesting Gjovik not be employed
        due to Gjovik being a witness for a committee, and giving testimony to a committee as a witness or victim.

                      IX.   Count Two: California Whistleblower Protection Act
                                         (Violation of Cal.Lab.C. § 1102.5)

               248.     Plaintiff re-alleges and incorporates by reference each and every allegation set forth above, as
        though fully set forth in this Claim for Relief. Apple violated § 1102.5 when it took adverse employment
        action against Gjovik due to Gjovik’s protected activity in disclosing information to a governmental or law
        enforcement agency, to a person with authority over the employee, or to another employee who has authority
        to investigate, discover or correct the violation; or providing information to or testifying before, any public
        body conducting an investigation, hearing, or inquiry.
               249.     Cal.Lab.C. § 1102.5 also covers Gjovik’s’ public disclosures as due to Apple’s extreme power
        and control over the government agencies who are supposed to be able to regulate it, often the only party in
        a position to force Apple to correct the issue is the public. Many of Gjovik’s public statements in Aug. and
        Sept. 2021, and statements to coworkers in June and July 2021, all before her termination, noted that was
        why Gjovik was bringing her complaints forward to her coworkers and the public – so the public pressure
        may force Apple to do the right thing for once. At the very least, Apple was monitoring Gjovik’s social media
        activity and articles, so Apple was informed of her disclosures through that surveillance.
               250.     Gjovik filed several complaints under multiple laws, which were known to Apple executives,
        bosses, and administrators (by Gjovik informing them directly, or by Gjovik speaking about them publicly on
        social media and the press, or by Apple’s surveillance of Gjovik before her termination.
               251.     Apple discharged and discriminated against Gjovik in retaliation for Gjovik’s disclosure of
        information about Apple’s unlawful acts and omissions. Gjovik disclosed Apple’s violations of numerous
        laws as incorporated from allegations to government agencies, the public, the press, and Apple management.
        Gjovik had a reasonable cause to believe that the information she disclosed violated the statute and was non-
        compliant with a rule or regulation.
               252.     Violations of the anti-retaliation provisions of environmental laws, specifically, 42 U.S.C. §§
        9610 and 7622 and 15 U.S.C. 2622. Violations of the anti-retaliation provisions of environmental laws. 42
        U.S.C. § 9610, and 42 U.S.C § 7622, and 15 U.S.C. § 2622. Filed complaints to the U.S. EPA, CalEPA, and
        U.S. Dept. of Labor around Aug. 29 2021.

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               253.    Violation of § 8(a)(1) of the NLRA. Filed complaints to U.S. NLRB about NLRA § 8(a)(1)
        violations on Aug. 26 2021. Complaints initiated a proceeding with an NLRB field agent contacting Gjovik
        for an interview in early Sept. 2021. NLRB issued a decision of merit on Gjovik’s claims and filed suit against
        Apple in Oct. 2024.
               254.    Filed complaints to CalDOL, CalOSHA, and US Dept. of Labor re: CCR, Title 8, General
        Industry Safety Order 5194
               255.    Violation of 29 U.S.C. § 660; Violations of the OSH Act at 29 U.S.C. § 660. Filed complaints
        to CalOSHA, US Dept. of Labor. Complaint initiated a proceeding with a Wage & Hour investigator
        contacting Gjovik for information in early Sept. 2021.
               256.    Violation of the California Constitution’s right to privacy (but not related to Gobbler); Made
        complaint to Apple management in Aug. 2021. Shared concerns with reporter for advocacy article in Aug.
        2021: “Apple Cares about Privacy, Unless You’re an Apple Employee.” Made complaints on social media in
        Aug. – Sept. 2021.
               257.    Violation of 42 U.S.C. § 2000e and California Government Code § 12920. Anti-
        Discrimination Laws (Basis of Sex and Disability). Filed complaints to U.S. Dept. of Justice Civil Rights in
        Aug. 2021. Filed complaints to U.S. EEOC and Cal.DFEH in Aug. 2021, Title VII of the Civil Rights Act of
        1964, 42 U.S.C. §2000e; California Government Code § 12920.

                                X.     Count Three: Cal. Labor Code § 6310
               258.    Apple violated § 6310 via discrimination, suspension, discharge, or threat of discharge against
        Gjovik for Gjovik complaining about unsafe work conditions or practices, instituting, or causing to be
        instituted proceedings related to her right to safe and healthful working conditions, testifying about
        workplace safety, and exercised her rights under the California OSH Act. Apple also took the above negative
        actions due to fear that Gjovik would engage, or engage further, in the activities above. Gjovik’s safety
        complaints and inquiries were a substantial motivation reason for Apple’s decision to discharge, discipline,
        and discriminate against Gjovik.
               259.    Apple discriminated against and discharged Gjovik because Gjovik complained about safety
        and health conditions or practices at the workplace to Apple managers and her coworkers, including
        chemical exposure. Apple discriminated against and discharged Gjovik because Gjovik reported work-
        related injuries and illnesses, and requested information about work-related injury and illness reports or
        records. Apple knew about Gjovik’s complaints through conversations, emails, meeting notes, internal
        complaints, external complaints, public interviews, and social media posts.

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                260.    Gjovik filed a Retaliation claim with the California Dept. of Labor on Aug. 29 2021, and Apple
        was notified of such before her termination. Gjovik complained of unsafe work conditions and internal
        violations of safety laws/rules/standards to Apple, the U.S. EPA, CalEPA, and OSHA.

                261.    Gjovik complained about violations of, and issues related to, numerous
        topics, including:
             − HazCom and employee exposure to chemicals [Cal.Lab.C. §§ 6398, 6400-6405, 6408; 8 Cal.
                  Code. Reg. § 340.2; 29 CFR Z; OSH Act § 1910.1020]
              − COVID-19 safety and communication [Cal.Labor.C. §§ 6325; 6409.6, 6432]
              − Wildfire smoke safety [Cal.C.Reg. Title 8, § 5141.1]
              − Employee injury tracking and reporting [8 Cal.C.Reg. § 14300]
              − Efforts to reduce e-waste; and Apple’s prior e-waste (Universal Hazardous Waste) violations. [Cal.
                  Health/Safety; RCRA]
              − Environmental safety including vapor intrusion exposure [Cal.Lab.C. § 6406; CERCLA/SARA,
                  RCRA, CAA, CWA, OSH Act HazCom]
              − Right to Know [EPCRA; Cal.Lab.C. § 6399.7] and Proposition 65, the Safe Drinking Water and
                  Toxic Enforcement Act of 1986 [Cal. Health & Safety Code §§ 25249.5 to 25249.14].
              − OSH Act Workplace Violence [Cal.Lab.C. §§ 6401.7, 6401.9]
                262.    Apple retaliated against Gjovik preemptively out of fear that Gjovik would file additional
        complaints related to health and safety at the workplace. Apple hoped its retaliation would cause Gjovik to
        drop her existing complaints out of fear and intimidation, and to prevent Gjovik from filing additional
        complaints.

                                 XI.     Count Four: Cal. Labor Code § 98.6

                 E.    Violation of Cal.Lab.C. § 98.6
                263.    Apple violated Cal.Lab.C. § 98.6 when Apple did discharge and discriminate against Gjovik
        for engaging in certain activities, including “filing a complaint with the Labor Commissioner or testifying in such
        proceedings.” Gjovik filed a complaint with the California Labor Commissioner on Aug. 29 2021 and Apple
        was notified she did so through her public statements and notification from the agency.
                264.    Apple violated § 98.6 by retaliating against Gjovik due to Gjovik filing a claim with and
        causing to be instituted proceedings related to the rights under the jurisdiction of the California Labor
        Commissioner, and for exercising rights provided to her under California Labor Code on behalf of herself


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        and on behalf of other employees. Apple punished her for doing so.
                   265.     Animus was shown in many of the comments and communications from Apple employees,
        managers, and agents before and after Apple terminated Gjovik. Comments frequently referenced Gjovik’s
        protected activities, but claimed Gjovik was lying and acting in bad faith, and then argued that because Gjovik
        make the complaints, she should be punished for it.
                   266.     Apple retaliated against Gjovik due to Gjovik’s protected activity, and she suffered materially
        adverse actions with a causal connection to the protected activity. Apple engaged in actions prohibited by
        this section (termination, suspension, discipline, harassment, etc.) within 90 days of Gjovik’s protected
        activity.52

                    F.     Violation of Cal. Labor Code § 232.5 via §§ 98.6, 98.7
                   267.     Apple violated Cal.Lab.C. § 232.5 when disciplining and discharging Gjovik for disclosing
        information about Apple’s working conditions. Gjovik’s protected activities included filing complaints about
        work conditions and discussing work conditions with coworkers and the public, all covered under § 232.5.
                   268.     Apple discharged, disciplined, and discriminated against Gjovik due to her disclosure of
        information about Apple’s work conditions. This applies to both the true reason Apple fired Gjovik and
        Apple’s proffered supposedly legitimate reason for terminating Gjovik.
                   269.     Apple claims its NDAs prohibit Gjovik from speaking about work conditions and that if
        Gjovik does speak about work conditions, it violates her NDA, and that violation is grounds for immediate
        termination.

                    G.     Violation of Cal. Labor Code §§ 232, 232.5 via §§ 98.6, 98.7
                   270.     Apple violated Cal.Lab.C. §§ 232, 232.5 when it harassed, disciplined, discriminated against,
        and fired Gjovik due to Gjovik’s discussion of her wages and the wages of Apple employees.
                   271.     Gjovik participated in a pay survey with her coworkers in late July 2021, when she suggested
        the survey capture information on gender. In Aug. of 2021 Gjovik participated in an employee pay survey
        that was being shared on Slack. Gjovik suggested adding a question about gender and added it herself in the
        spreadsheet.53
                   272.     She also shared her wages on social media and discussed pay with her coworkers on social
        media in Aug. 2021, the Defendant knew and retaliated against her because she did so.


        52
          Cal. SB-497: Protected employee conduct. Section 1, Section 98.6(b)(1) [Signed October 8 2023; Effective January
        1 2024].
        53
             Cal. Labor Code § 1197.5

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                273.    In the evening of Aug. 3 2021, Gjovik posted on a popular Slack group at Apple, linking to
        three of Apple’s policies, and quoting “Nothing in these guideless should be interpreted as restricting your
        right to speak freely about your wages, hours, or working conditions.” Gjovik encouraged her coworkers to
        speak out and organize. Gjovik was put on leave the next morning. Gjovik posted on Twitter about doing
        this a few days later.

                “There's a strange idea in #Apple that speaking out about #workconditions violates our
                employment contract (a doc many of us never got a copy of nor is there a formal way to req) but I
                took pics & mine has rights in a footnote. I also reminded folks the eve before put on leave.
                @ashleygjovik 1:33 PM · Aug 9, 2021.
                274. After Plaintiff was put on leave, the pay survey was shutdown, supposedly because there was
        a question about gender. There was news coverage of Apple shutting down pay surveys and public criticism
        about the matter:
                Apple keeps shutting down employee-run surveys on pay equity — and labor lawyers say it’s illegal,
                the company bans surveys that include diversity data, Aug 9, 2021, “Apple did not respond to
                a request for comment from The Verge.” 54

                Apple just banned a pay equity Slack channel but let’s fun dogs channel lie. The company’s rules
                around Slack usage are not being evenly enforced, Aug 31, 2021, Apple did not immediately
                respond to a request for comment from The Verge.55


                “Apple says it has pay equity, but an informal employee survey suggests otherwise: Employees say
                there’s a six percent wage gap between the salaries of men and women who responded to the survey,”
                Aug 23, 2021. In response to a request for comment from The Verge, Apple spokesperson
                Rachel Tulley sent the company’s already public statement on pay equity.” 56


                275.    Gjovik also tweeted out her salary in solidarity to those organizing around pay. An NLRB
        charge was filed about Apple shutting down the pay surveys in Sept. 2021, prior to Gjovik’s termination, and



        54
           “Last week, employees tried to start another pay equity survey but were again told to take it down because it
        included a question on gender. When they created a new survey without the gender question, the Apple people team
        allegedly said it had to be shut down because it was hosted on the company’s corporate Box account.”
        “https://www.theverge.com/2021/8/9/22609687/apple-pay-equity-employee-surveys-protected-activity
        55
           “Pay equity has been a hot topic among Apple employees over the past few months. The company has shut down
        multiple employee surveys aimed at gathering data on how much workers make.”
        https://www.theverge.com/2021/8/31/22650751/apple-bans-pay-equity-slack-channel
        https://www.theverge.com/2021/8/23/22633141/apple-pay-equity-survey-results-wage-gap
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        NLRB issued a decision of merit in Jan. 2023. Gjovik also found a prior US DOJ lawsuit against Apple for
        salary price fixing, posted about it, and compared it to Apple’s recent actions shutting down pay surveys.

               "The DOJ announced in 2010 that it had settled with #Apple & others, establishing that they
               would cease their illegal hiring practices. The DoJ noted this complaint is part of a larger antitrust
               inquiry into employment practices by high tech firms." @ashleygjovik Aug 31, 2021


               "Lawsuit accuses Apple, others of fixing worker pay: large tech companies conspired with one
               another to lowball salaries."
               @ashleygjovik 4:55 PM · Aug 31, 2021


               Not much has changed in 16 years.... 8/31 - "Apple just banned a pay equity Slack channel but let’s
               fun dogs channel lie" https://theverge.com/2021/8/31/22650751/apple-bans-pay-equity-slack-
               channel @ashleygjovik 3:58 PM · Aug 31, 2021
        All of these posts were made prior to Apple supposedly opening an extensive investigation into Gjovik’s
        Twitter posts, per Apple, thus Apple admits it had reviewed the posts prior to terminating Gjovik.
                H.    Violation of Cal.Lab.C. § 96(k) via §§ 98.6, 98.7
               276.    Apple violated Cal.Lab.C. § 96(k) when it demoted, suspended, discharged from
        employment, threatened discharge, or otherwise discriminated against Gjovik for Gjovik’s lawful conduct
        occurring during nonworking hours away from the employer's premises when that conduct involved the
        exercise of a right protected by the California Constitution.
               277.    Gjovik engaged in lawful conduct asserting “recognized constitutional rights” and “rights
        under the Labor Code” occurring during nonworking hours – while she was on leave, away from Apple’s
        premises. Apple put Gjovik on leave. Gjovik did not want to be on leave. Gjovik asked to come back, and
        Apple said no. Apple cannot then turn around and claim the “leave” was work time or the workplace. Apple
        told Gjovik she had been “removed from the workplace.” Until Apple let Gjovik return to work, Gjovik was off
        duty. Gjovik posting about work conditions in her personal time does not transform Gjovik’s personal time
        into work time.
               278.    Apple terminated Gjovik for a variety of illegal reasons, including many of the public
        statements Gjovik made while on leave in Aug. – Sept. 2021. Gjovik spoke frequently on social media and to
        the press about harassment and safety issues at Apple; as was her inherent right to be free from


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        discrimination under Cal. Const. Article 1, §§ 8, 31, and her right to physical safety under Cal. Const. Article
        1, § 1. Gjovik also spoke frequently about the environmental crimes she witnessed and was victim to at her
        apartment in 2020 and with Apple’s conduct at her Superfund office. Gjovik complained about the
        intimidation and threats she received and advocated for victim’s rights – as was her right under Cal. Const.
        Article 1, § 28. Apple violated Cal.Lab.C. §96(k) when it retaliated against Gjovik for making these
        statements, which she had a constitutional right to make, and which she made outside of worktime and
        outside of the workplace.
                279.      In addition, even Apple’s supposed legitimate justification for firing Gjovik was simply
        retaliation for protected statements made by Gjovik outside of worktime and the workplace, and about
        subjects rooted in her constitution rights. Gjovik was complaining about unlawful and unethical surveillance,
        and invasions of privacy, by Apple, towards Gjovik and her coworkers. Thus, Apple’s supposedly legitimate
        justification is illegitimate. Gjovik has a self-executing right to protest invasions of privacy under Cal. Const.
        Article 1, § 1.

                                     L EGAL C LAIMS : T OXIC T ORTS
                                               XII.     Tolling Theories
                280.      Gjovik spent an incredible amount of time in 2020-2021 researching and investigating, trying
        to figure out what happened to her next to 3250 Scott Blvd. She reviewed public records for all the nearby
        next-door buildings including 3250 Scott Blvd. When she pulled 3250 Scott up on the U.S. EPA portal in
        2020, the ECHO page noted that there had been no TRI releases reported since the 1990s, cited no violations
        or issues, and made the office look quite benign.
                281.      Gjovik discovered ARIA when she received request from her public records request about
        environmental and safety compliance at multiple Apple buildings. One request returned a list of permits for
        ARIA, and she realized it was fab. Prior to her discovery of Apple’s fab, Plaintiff only knew she was exposed
        to chemicals somehow – but did not know exactly what those chemicals were, did not know where they came
        from or how they got in her apartment, and did not know if there was wrongdoing or what type of wrongdoing
        might have occurred.
                282.      Apple managed ARIA as an unmarked office building without any designation as to who was
        using the building or what they were using it for. In the regulatory paperwork that did exist (mostly city
        HazMat citations and leak/spill reports), Apple repeatedly tried to use the code name ARIA and to disguise
        their activities—repeatedly failing to use the proper codes to designate semiconductor fabrication.


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               283.    Apple was engaged in ultrahazardous activities with strict liability, and also had a critical duty
        to warn others of the danger of their activities at the facility. This duty was based on common laws, but also
        statutes – both civil and penal. They also had a statutory obligation to comply with permitting requirements
        and to notify the government of their activities, which they failed to do at every opportunity. Finally, they
        also had a duty under federal Right to Know to notify the community of the chemicals they released – but
        they did not do that either. Instead, Apple ran this plant as an old-school Silicon Valley “Skunkworks”
        project.
               284.    In late 2020 and early 2021, Gjovik was actively researching the area around the Santa Clara
        Square Apartments. Her March 2021 article in SF Bay View summarized what she found and complained
        that she still had no answers. As much as she did not want to raise additional safety/environmental concerns
        with her cantankerous employer, Gjovik did look at records for 3250 Scott Blvd. She searched the site on
        state and federal EPA websites and could not find it any active permits or recent filings on California’s
        Geotracker or Envirosor databases, or on the U.S. EPA’s TRI and RCRA pages.
               285.    Gjovik did see that 3250 Scott was registered as a Hazardous Waste Generator, however that
        is not uncommon in Silicon Valley. Due to Silicon Valley’s history, most areas had been industrial or near
        industrial activities at some point, and most technology offices perform research and development, which
        creates hazardous waste. None of those scenarios would explain Gjovik’s 3 AM heart failure in her bed in a
        three-story apartment. The government explained that whatever caused Gjovik’s injury was something
        extreme and unusual. The government agencies said they also had searched environmental databases and
        also could not find anything that stood out to them as
               286.    Apple also used illegal NDAs to unlawfully silence its employees about health/safety and
        environmental issues (see NLRB’s lawsuit against Apple arising from Gjovik’s complaints). Apple took
        active, unlawful steps to ensure its activities would be concealed and to make it more difficult for anyone to
        figure out what they were doing. Similarly, Apple was bullying agencies to avoid creating documentation
        about their activities or speaking about it, for example the very long NDA Apple attempted to get US EPA
        to sign prior to inspection Gjovik’s office in Aug. 2021.
               287.    In addition, worsening this issue, Apple also often conducts very strange activities at its
        research and development facilities, which Gjovik had seen over her six years with the company, and had
        never seen those operations cause severe injuries – they were just weird. This includes cellular technology
        buildings with large empty room with foam walls and a chair that spins in circles; robots “running” with
        their smart watches; reliability testing with machines that drop, touch, impact, spill, and anything else you


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        can imagine; and so on. Gjovik’s office at 825 Stewart Dr. included labs for performance and thermal testing,
        Wi-Fi and connectivity testing, stability labs, and other industrial activities but which Gjovik had never seen
        cause any injuries like what she experienced next to ARIA.
                288.     Gjovik also repeatedly spoked with Apple about ARIA starting in Sept. 2020 (EH&S), Nov.
        2020 (Legal), etc. and Apple never said anything about the facility being used for anything dangerous or
        abnormal. Gjovik assumed if there was something she should know about the facility, that Apple would have
        told her – and because they did not tell her this, she could focus her research on other buildings.
                289.     The Santa Clara city Fire Dept. did not force Apple to request proper permits, or even
        properly cite Apple for hazardous waste violations – which is a long-standing deficiency with the agency.
        The California EPA has multiple corrective actions for the Fire Dept. including actually inspecting,
        documenting issues, following up to ensure corrective actions, and properly characterizing facilities.57
                290.     Finally, Apple also appears to have been staging a possible statute of limitations defense when
        it filed its first and only TRI and EIS reports to the US EPA, which were only for 2020, the year Gjovik was
        injured. Apple filed the TRI document on June 30 2021 and the EIS document on Aug. 26 2021, both prior
        to Apple’s termination of Gjovik’s employment.

                                     XIII.      Count Five: Private Nuisance
                    (Creation & Maintenance of a Private Nuisance at 3250 Scott Blvd)

                291.     Apple created and maintained a condition in violation of Cal.Civ.C. § 3479. This nuisance
        was demonstrably injurious to health, which was indecent and offensive to the senses and obstructed the
        free use of property. By acting and failing to act, Apple created a condition or permitted a condition to exist
        that was harmful to health, offensive to the senses, an obstruction to the free use of property, and a fire,
        explosion, and poisoning hazard. Apple’s conduct in acting or failing to act was intentional, unreasonable,
        negligent, and reckless.
                292.     Apple is continuously casting pollution upon the property of the owner and tenants of
        adjacent properties, as it knew it would do when it constructed its exhaust and HVAC systems and hazardous
        waste handling systems. It knew then, as it knows now, that so long as it would continue its operation, the
        pollution would continue to fall, not by accident or mishap, but in conformity with the knowledge it had
        before the construction of the systems. Apple should be presumed to have intended its act's natural, known,




         CalEPA Certified Unified Program Agency, Evaluation Progress Report, CUPA: Santa Clara city Fire Department – Hazardous
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        Materials Division, July 2020 – Dec. 2020.

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        and reasonable consequences.
               293.    Apple’s interference would and did substantially annoy or disturb persons of normal health
        and sensibilities in the same community. Apple’s operations at the factory and Superfund site are both
        continuing nuisances, and every continuation of the nuisance or trespass gives rise to separate damages
        claims. Apple has the agency and ability to stop the nuisance (it is not permanent), so until it does, the
        nuisance Apple created is continuous. Apple’s conduct was a substantial factor in causing Gjovik’s harm.
        Gjovik did not consent to a defendant’s conduct, and the seriousness of the harm outweighs the social utility
        of Apple’s conduct. Apple damaged Gjovik’s property and injured Gjovik’s person. Due to Apple’s actions,
        Gjovik’s property was destroyed, the leasehold degraded, she became very ill, and she suffered severe
        emotional distress.
               294.    In or about 2015, Apple constructed, or caused to be constructed, exhaust vents and open
        tanks at ARIA in Santa Clara, near the common border line of the defendant's and Gjovik’s property. The
        exhaust vents were installed and maintained negligently, recklessly, and unskillfully. Apple exhausted
        through the vents and emptied various materials or substances into the open tanks that caused a foul,
        obnoxious, and disagreeable odor and polluted the atmosphere / ambient air of Gjovik’s leasehold property.
               295.    Apple’s facility emits large quantities of vapors, dust, chemicals, and other contaminants into
        the air, which are carried by the natural winds and air currents onto Gjovik’s property and collect Gjovik’s
        chattel property and are generally injurious to Gjovik’s health, are offensive to the senses, and interfered
        with Gjovik’s comfortable enjoyment of life and property. Apple created the nuisance due to unnecessary,
        unreasonable, and injurious methods of operation of their business. The emissions were a business decision
        to be able to report reduced waste sent to landfills.

                                XIV.       Count Six: IIED – Fear of Cancer
               296.    Apple deliberately vented toxic, carcinogenic, and lethal substances into the ambient air
        around the Santa Clara Square Apartments where Gjovik lived in 2020. Apple’s engaged in this conduct
        with reckless disregard for the injuries certain to be caused by that plan of conduct, and knowing people
        exactly like Gjovik would be exposed to its dangerous, toxic chemical fumes and vapors.
               297.    Semiconductor fabrication, like what Apple is doing at ARIA, is an ultrahazardous activity
        and absolute nuisance when conducted next to homes due to the extremely toxic gases, reactive and
        pyrophoric gases, and the sheer quantity of dangers, toxic chemicals that are on site and in use for fabrication.
        Apple’s conduct was also a nuisance to Gjovik, and Apple’s exhaust trespassed into Gjovik’s home, and
        assaulted Gjovik’s body.

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                298.    Where there is not strict liability, Apple had a concrete, critical duty to warn those around
        the facility – but instead, Apple failed to file required permits, failed to properly characterize the facility, put
        no signs in front to designate the type of activity, filed only one TRI report, repeatedly tried to avoid filing
        spill/leak reports to CalOES, and also deliberately made false statements to conceal their actions.
                299.    Apple’s activities at ARIA violated rules, regulations, and statutes at local, state, and federal
        levels. Apple has already received notice of dozens of violations, now also including for illegal chemical
        emissions.
                300.    Apple’s unlawful and outrageous conduct caused Gjovik to suffer severe emotional distress
        when Apple exposed Gjovik to carcinogenic chemicals. Apple’s conduct with the carcinogen chemicals was
        outrageous. Apple’s intentional, reckless, and negligent conduct exposed Gjovik to carcinogens, including
        TCE, Toluene, Arsine, and Vinyl Chloride.
                301.    Apple intended to cause tenants at the Santa Clara Square Apartments distress and acted
        with reckless disregard for the probability that people like Gjovik would suffer emotional distress knowing
        she was present where there were carcinogenic chemicals. Gjovik suffered severe emotional distress from a
        reasonable fear of developing cancer, and Apple’s conduct was a substantial factor in Gjovik’s severe
        emotional distress.
                302.    As a proximate result of the acts of the defendant, Gjovik suffered severe emotional distress,
        including the fear of developing cancer and other disease, and an increased risk of developing cancer and
        other disease. It is documented that Apple used and exhausted carcinogenic chemicals into the ambient air
        outside the Santa Clara Square Apartments. It is also documented by an industrial hygienist running a two-
        hour TO-17 that those same carcinogenic chemicals that Apple exhausted were also found in the indoor air
        of Gjovik’s apartment. Gjovik was also able to capture evidence of some of the chemicals in her blood and
        urine. Gjovik was extensively exposed.
                303.    This fear extended to her dog as well, a tiny eight-pound Chihuahua-mix who was also
        exposed to the semiconductor fabrication exhaust with Gjovik. Gjovik discusses this at every veterinarian
        appointment and always orders a full CBC and metabolic workup for him if she can afford it.
                304.    Gjovik suffered a wide array of physical symptoms attributed to the toxic chemicals at Stewart
        1 and ARIA, including spasms, nausea, hair loss, rashes, hives, burns, heart failure symptoms, asphyxia,
        dizziness, headache, seizures, arrhythmia, etc. These physical manifestations of the injuries and exposure
        from dangerous carcinogenic chemicals establishes reasonable fear of future disease.
                305.    Further, the fear and horror of personally being exposed to a cloud of poison gas or knowing


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        that family members have been exposed are absolute emotional trauma in its purest form.
                306.    After Apple’s injuries to Gjovik due to chemical exposure in 2020, Gjovik experienced many
        new medical issues (e.g., diagnosed hypertension, hypotension, depression, rashes, growths, labile blood
        pressure, etc.), some of which still have not fully healed (e.g., scarred, and damaged skin, hair loss, worsened
        asthma, and breathing troubles, etc.).
                307.    This all occurred during Gjovik’s 2L and 3L years of law school, causing her to suffer
        academically. Gjovik now also faces a significantly increased risk of contracting cancer and other disease in
        her lifetime. Further, after Apple’s psychological and emotional injuries to Gjovik in 2020-2024, Gjovik now
        suffers from dramatically worsened anxiety, PTSD, and concentration issues – as well as new depression,
        insomnia, panic attacks, weight gain, suicidal ideation, post-traumatic stress, disordered eating, loneliness,
        grief, crying fits, and moral injury.
                308.    At the time of Apple’s termination of Gjovik’s employment on Sept. 9 2021, Gjovik still did
        not know Apple was responsible for what happened to her in 2020. Apple continued harassing and
        tormenting Gjovik despite and because of it prior to knowingly subjecting Gjovik to exposure to a highly
        toxic substance while purposefully concealing from Gjovik the serious injuries that might result from such
        exposure, and in reckless disregard of these risks.
                309.    Gjovik’s physical exposure to Apple’s illegal semiconductor fabrication exhaust was
        unrelated to her employment and thus Worker’s Compensation does not apply. Further, Apple was the
        operator in control of the facilities at ARIA during the pertinent times, and actions taken related to Apple’s
        hazardous waste can be directly attributed to the corporation.
                310.    Apple had knowledge and a reckless disregard for the fact that people just like Plaintiff would
        be injured by its illegal dumping. Defendant knew beyond speculation that people would be injured. This fab
        is across the street from these apartments – where every employee would see them, every day they’re at
        work. Apple spent millions for this fab, entered a long-term lease, and RCRA papers are signed by the Apple
        CFO. Every time Apple vented its fab exhaust into the ambient air, Apple knew people just like the Plaintiff
        would be injured and would be deeply traumatized if and when they discovered what they were exposed to.
                311.    Apple’s employees and contractors have already revealed not only evidence of knowledge,
        but also gross recklessness – with one of their ACT Environmental contractors who was leading the
        hazardous waste disposal efforts in 2020 at the site, when Gjovik was doused in chemicals, bragging in his
        LinkedIn profile that during that time he found “innovative” ways to save Apple money on hazardous waste
        disposal. Meanwhile, Gjovik still has bald spots after Apple burned all of her hair off.


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               312.    Corporations who knowingly and intentionally dump hazardous waste or otherwise pollute
        the environment, violating environmental and safety laws, do so because the practice is less costly and more
        profitable than complying with the regulation. Apple’s intentional evasion of paying required fees and costs
        associated with proper hazardous waste management and disposal allow Apple to operate its research and
        development at a much lower cost than its competitors who do follow the law. In addition, Apple also
        recently launched a “zero waste” program where Apple purports to be diverting hazardous waste from
        landfills. Based on Apple’s environmental reports, ARIA is responsible for around 30% of Apple’s global
        corporate hazardous waste and at ARIA, Apple’s diversions of waste from landfills includes mid-night
        dumping into apartments and creating toxic vapor clouds in public parks.
               313.    Even worse, Apple also instituted an environment-social-governance (“ESG”) modifier for
        executive pay (bonuses worth multi-millions of dollars) that can increase or decrease executive
        compensation 10% based on environmental and other practices. Apple’s intentional environmental violations
        was not just to reduce costs required for properly disposing toxic waste, but Apple’s midnight-dumping also
        to increased bonuses for their executives.
               314.    Further, Apple’s continued harassment of Plaintiff despite everything else that’s happened,
        including her exposures, is sick and depraved. The amount of stress puts her even more at risk for cancer
        and disease, after she has already suffered great bodily injury from Apple’s illegal conduct and emissions.
        Cal. HSC § 42400.1 Cal. Penal Code § 12022.7.

                          L EGAL C LAIMS : O UTRAGEOUS C ONDUCT
                           XV.      Count Seven: IIED – Outrageous Conduct
               315.    Apple’s malicious, fraudulent, oppressive, and extreme/outrageous misconduct was directed
        primarily at Gjovik, and it was calculated to cause Gjovik severe emotional distress, and it was done with the
        knowledge of Gjovik’s vulnerabilities and knowledge of Apple’s power to harm Gjovik’s interests, and done
        with a substantial certainty that Gjovik would suffer severe emotional injury. Apple’s actions were
        outrageous (violations of civil laws) and outrageous per se (violation of penal laws).
               316.    Numerous cases have held, and the Restatement emphasizes, that there are only a few
        categories of conduct where an employer may be found to have engaged in IIED, and most common are
        defamation – especially accusations of dishonestly and/or criminal conduct; denigration and humiliation;
        deranged harassment; and IIED used as a tool in the employer’s cover-up of wrong doing. Calling the
        employee a liar, especially in retaliation for the employee making labor or whistleblower complaints, is one


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        of the few approved buckets for potential IIED claims.
               317.    Apple’s outrageous conduct with civil liability includes defamation, trade libel, fraud,
        invasion of privacy, tortious interference with business relationships, true threats, interference with the
        exercise of civil rights, discrimination based on sex, discrimination based on disability, and retaliation for
        conduct protected by statutes and the Constitution (i.e., discrimination based on sex). In addition to the
        tortious harassment, Apple engaged in many criminal acts which were “outrageous per se,” including witness
        intimidation, witness retaliation, burglary, extortion, threats, and surveillance.
               318.    From at least July 2021 through current day – Apple employees stalked, harassed, and
        tormented Gjovik with actions including repetitive, unwanted communications to Gjovik; making false
        accusations against Gjovik; gathering information about Gjovik; monitoring Gjovik’s activities; harassing
        Gjovik’s friends; and using threats and scare tactics to frighten Gjovik. Starting in Aug. 2021 and continuing
        to this day, hundreds of ‘throwaway accounts’ and other fake social media accounts posted about and to
        Gjovik, making statements that were threatening, intimidating, defamatory, insulting, and harassing.
               319.    There was an extensive digital harassment campaign against Gjovik. Apple employees
        harassed Gjovik under their own names, and other posts were made by Apple employees using aliases, but
        their real identities were later revealed. The posts mostly focused around claiming Gjovik’s claims against
        Apple were meritless, that Gjovik was committing perjury by reporting issues to the government, and that
        enforcement action needed to be taken against Gjovik.
               320.    Starting in at least Sept. 2021, and assumed to continue through the current day, Apple
        employees undertook a ‘whisper campaign’ to smear Gjovik’s character and create fear, uncertainty, and
        doubt about Gjovik’s allegations against Apple. At least five named employees took an active role in posting
        defamatory and harassing things about Gjovik, contacting Gjovik’s friends and associates to speak negatively
        about Gjovik and urge them to not associate with her, and to create negative rumors about Gjovik in order
        to ostracize and alienate her.

                I.    Vicarious Liability
               321.    Vicarious liability can be established against employees employed with Apple at the time of
        the incident, under at least three theories: respondeat superior [Cal. Civ Code 2299, 2316], ratification [Cal.
        Civ Code 2307, 2310], and alter ego. Gjovik also argues outgrowth, customary incidents, benefits to
        employer, and risk inherent in the company’s culture – all of which were reasonably foreseeable to Apple.
               322.    The harassment was undertaken by many Apple employees, under their names and
        identifying as Apple employees. They also frequently branded the harassment as an Apple product of some

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        sort, for instance citing Apple products or themes in their fake screennames (for example,
        “SquareinaRoundHole” referencing the famous Apple commercial), designing threats modeled after Apple
        heritage (i.e., threatening employees that if they speak publicly about work conditions they will get
        “Gjovik’d” – an iteration on the phrase “Steve’d” referencing Steve Jobs’ habit of abruptly firing people).
               323.    Several employees who harassed her online did so prior to and after she was terminated, and
        as an outgrowth of either prior retaliatory harassment (see Messick, who also repeatedly threatened her with
        termination in retaliation for her speaking to the press about workplace safety at Apple prior to Gjovik being
        put on leave. He then took to social media to harass her after).
               324.    Another one of these employees, Appleseed, was an Apple employee working in Apple’s
        Global Security team through the end of Nov. 2021. This person repeatedly posted and shared that she had
        reported Gjovik and Gjovik’s actions to “Apple,” made accusations against Gjovik and in defense of Apple
        positioning herself as speaking for Apple, and also repeatedly held herself out as having insider information
        into Apple’s retaliatory actions against Gjovik, including the termination. The function of the Global
        Security team is to silence workers from speaking publicly about Apple, and this person performed those
        duties in her harassment of Gjovik.
               325.    In January-February 2022, Appleseed admitted to being in active contact with Apple and also
        Brad Reigel and Rob Marini, or a conduit to them. Vyas and Mondello also admitted to being friends with
        Faye Garfinkle, a best firend of Rob Marini (“Little Gestapo”). On February 22 2022, Appleseed posted on
        Twitter that Apple employees “in [Apple] Global Security inform [her] when they see anything in reference to
        [her], or what reasonable seems like it is referencing [her].” On January 31 2022, Appleseed sued Gjovik in a
        Washington state court requesting an anti-harassment restraining order.58 In February 2023, Appleseed
        admitted that Apple has provided her insider information about Okpo’s investigation into her complaints
        and what his findings were.
               326.    On September 9 2021, Appleseed posted on Twitter that Gjovik’s NLRB charge would not
        be successful and that she had some type of insider information against Gjovik. Appleseed and Apple have
        confirmed that Appleseed filed a Business Conduct complaint against Gjovik on September 15 2021 which
        included private messages between Gjovik and Appleseed and which Appleseed later admitted “served no
        legal purpose.” It is clear that Apple involved Appleseed in their fabrication of a paper trail on the same day



         C.S. v Gjovik, 22-2-03849-7 SEA, (Appeal of Court of Limited Jurisdiction – Reversed & Vacated), King County
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        Superior Court, State of Washington (2022); C.S. v Gjovik, 22CIV01704KCX, (Vacated) King County District
        Court, Court of Limited Jurisdiction, State of Washington (2022).
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        they sent Eberhart to harass Gjovik about the Face Gobbler.
                327.     There were a number of ‘fake’ accounts created solely to harass and interact with Gjovik that
        knew way too much about Gjovik, too much about Apple’s internal operations, and too much about the labor
        and environmental disputes. Gjovik quickly responded to them either as “Apple HR” or “Apple’s lawyers”.
        One of the accounts, Beezie, started harassing Gjovik in August 2021, taking an extremely personal interest
        in Gjovik’s complaints about Apple, and sent Gjovik URLs to the EEOC website. Gjovik responded, “you
        sure know a lot about employment law, Beezie.” The day Gjovik was fired, Beezie posted “#ashleygjovik the
        world is both pandering to you and also reaming you. This sounds about right. #narcissist #youdeserveit #coward,”
        and then paid to ‘promote’ her Twitter post. (SAC ¶ 1052). (Note, a payment like that should be discoverable
        from Twitter).
                328.     Around this time, a fake Twitter account called “Mel Nayer,” which was clearly Apple and
        even referenced internal Apple tools, began replying to Gjovik’s posts making threats and wild allegations.
        Nayer demanded Gjovik delete “the work screenshots” because “lives are at risk” and there were “death
        threats.” Nayer added, “people at Apple have been fired for sharing less.” The account claimed to be an Apple
        employee.
                329.     The burner accounts (not representative of real people and created just to harass Gjovik) also
        showed Apple connections through their activity (for example several accounts were used solely to harass
        Gjovik and other Apple legal adversaries including Epic Games and Corellium).
                330.     Many of the public forum posts about Gjovik were so hateful and vile, even the pro-Apple
        moderators were complaining the posts about Gjovik were “full of toxicity” and noted there were also a
        “number of pretty unpleasant posts [about Gjovik that] [the public] cannot see as [Moderators] have removed them.”
        [Sept. 11 2021 ]. Others also commented the digital harassment of Gjovik was “out of hand,” the entire
        thread was “people tearing this woman down,” and “Jesus I know you guys like your iPhone, but God damn.”
        The harassing comments continued well past after Gjovik was fired and continued as long as Gjovik
        continued to pursue her charges against Apple.
                331.     Apple knew Gjovik had been facing harassment from Appleseed and other Apple employees,
        and when Gjovik filed her January 2022 NLRB claim, she communicated to Apple to send a cease & desist
        to a number of employees illegally harassing her, including Appleseed, Ricky, and Shantini – and also asked
        Apple to get them to stop reporting her to law enforcement. This was around January 11 2022, which was
        followed by even more reports to law enforcement – including by someone in Germany. Gjovik’s post asking
        Apple to stop the harassment was also a subject of the lawsuit, claiming it was illegal for her to post it.


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               332.    One of these employees, Ricky, was an Apple manager during the operative times, posted
        under their own name, and worked in a “security” function at Apple. Some of their posts included defending
        Apple’s practices related to Gobbler. An Apple supervisor making public statements like this represents
        Apple by the nature of his role.
               333.    While Appleseed apparently left Apple around December 2021, she informed Gjovik in
        January-February 2022 that she remained in contact with Apple, they spoke about Gjovik, and they were
        both trying to censor her social media posts. Appleseed repeatedly urged Gjovik to drop her allegations
        against Apple. Appleseed emailed Plaintiff on February 5 2022, harassing Gjovik claiming that Gjovik
        complaining about Apple’s threats of violence against her, and complaining about Apple trying to make her
        suicidal, was “harmful to Apple” and Appleseed said she “reported” Gjovik “to Apple” for making those
        statements, before proceeding to then threaten Gjovik with litigation and unspecified reprisals if Gjovik did
        not alter her federal testimony.
               334.    Gjovik complained about the harassment multiple times to Apple and Apple never did
        anything (that Gjovik is aware of ) to try to stop or limit that harassment, and instead seemed to incite it
        further. Apple was aware of the harassment and aware of the distress caused to Gjovik by it, through their
        surveillance of her online presence, of their own direct participation, the press ‘asking for comment’ on
        matters including the harassment, Apple’s admitted “investigation” into Gjovik’s social media in August-
        September 2021, employees filing complaints about things Gjovik complained about and/or about Gjovik,
        and a number of other supporting theories.
               335.    One employee, Ian, was Gjovik’s coworker who sat across the aisle from her at Stewart 1 but
        who was posting on several platforms under an alias. Gjovik did not connect the account to the person until
        2023. The account made a number of posts accusing Gjovik of lying and being insane, claiming Gjovik’s
        complaints were meritless, and holding himself out as having insider information about what happened with
        Gjovik’s complaints. This employee sat in the same office as Powers and was likely directly involved, or
        overheard, numerous material conversations about Gjovik, and felt it appropriate to publicly harass Gjovik
        in response.
               336.    There are other types of agency and liability. For example, one of Apple’s four+ external
        counsel law firms hired to fight Plaintiff, MWE, was caught multiple times harassing Gjovik online and in
        real life. The firm filed notice of appearance on Gjovik’s NLRB charges in August of 2021. In 2022, the firm
        somehow knew Appleseed sued Gjovik and quickly requested copies of the order against Gjovik and the
        entire case file for the matter. How did MWE know about it if they were not involved? How did MWE know


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        the lawsuit was based on Gjovik’s NLRB charges against Apple? What did they plan to do with the records?
                337.    The firm was also caught in 2023 using a fake Twitter account to harass Gjovik. The account
        called Gjovik a liar, repeatedly degraded her over the weight she gained during the trauma, and otherwise
        ridiculed her. Gjovik identified the account was associated with the unique name of one of the attorneys and
        also spent most of its time harassing Gjovik and unions which the firm, and specific lawyer, was hired to
        oppose in labor organizing. [See “Praveen”].
                338.    The lawsuit filed against Gjovik on January 31 2022 was done so, admittedly in the petition
        and the TRO hearing testimony, because Gjovik filed an NLRB charge against Apple, because Gjovik claims
        she was retaliated against by Apple, and because Gjovik had complained about harassment from Apple
        Global Security, including Appleseed. Appleseed publicly posted she was in some sort of dire trouble with
        Apple in January 2022, and then after filing the lawsuit said the issues were resolved. The night after she
        filed the lawsuit, she posted a photo of her holding an Apple Global Security “challenge coin.” Appleseed
        also repeatedly claimed some unnamed third-party told her to file the lawsuit. A few days later she also posted
        that she had personally never sued anyone – despite just suing Gjovik – which begs the question of who she
        was suing Gjovik for if it wasn’t herself.

                 J.    Excerpts of Harassment
                339.    On September 1 2021, an Apple employee, Shantini wrote a long Twitter thread accusing
        Gjovik of being a liar, racist, and a predator. Vyas claimed Gjovik made “bogus, unsubstantiated filings with the
        DOJ and other regulatory bodies.” Shantini’s posts were quickly reshared by Beezie Wacks and Mel Nayer,
        and other fake accounts, as well as named Apple employees and managers.
                340.    On September 3 2021, at 4:46am, 9to5Mac.com published an article about Gjovik alleging
        there was doubt to the merits of her NLRB charge against Apple, suggesting she was lying. (The blog
        retracted nearly the majority of the post after Gjovik threatened to sue them for defamation and false light).
        The article included quotes from Shantini and Ricky. Ricky also shared Shantini’s thread about Gjovik and
        Ricky stated Gjovik was on a “warpath” and had a “vendetta” against Apple.
                341.    Another one, Mel Nayer, tried to coerce Gjovik to delete the screenshots of internal
        documents she had posted, claiming the posts were leading to ‘death threats’ and proceeded to reference a
        number of internal Apple tools and systems. Another one, I’mPinkThereforeI’mSpam, posted, “You’ll never
        work as an attorney,” (post then liked by other anonymous account “BeezieWacks”), and added “The nail
        that sticks out, gets hammered.”
                342.    On September 8-10 2021, yet another one, “crissnovak,” started posting about Gjovik on

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        Reddit, sharing a link to Shantini’s Twitter posts harassing Gjovik about Gjovik’s NLRB and US DOJ
        complaints, “Shantini is my hero, best take on “A” with over 200+          s. ALOT seem to agree: entitled, obnoxious,
        toxic, vindictive employee. To me, zero credibility. I would not even want to be on the same sidewalk with that.” The
        same account posted on September 9 2021, “Good riddance. They should have fired her weeks ago.,” “Santa
        Clara University Law must be cringing.” On September 10 2021, the account posted in a thread about Gjovik:
        “The only thing toxic in all of this is HER. I wouldn’t hire this person. I wouldn’t rent to this person. I sure as hell
        wouldn’t date this person. She needs serious help.” The same day the account posted about Gjovik: “I think
        when the NLRB, EEOC slams the door on Karen’s face because there’s no case, we’ll see more Twitter tirades about
        how corrupt these agencies are. Dear Apple, please don’t pay her a fcking dime; awarding toxic behavior will only
        perpetuate it. She needs to learn a hard lesson in life and gain some maturity.”
                343.    On September 11 2021 the crissnovak account posted, “I so hope Apple, Northrop Grumman,
        Irvine Company sue her and teach her a lesson. I think she things she is going to get rich, but she’s going straight to
        the poor house. $300k + RSUs + healthcare + tuition reimbursement all up in smoke for this nonsense. Go Ashley
        go!” Crissnovak then began threatening other Apple employees they may “get Gjoviked!” if they speak out.
                344.    On September 13 2021, the crissnovak account posted on a thread about Gjovik: “…. Apple
        (w/it’s army of lawyers) can sue her and it would be an easy win because it’s a simple breach of contract case. Her
        counter suit for retaliation/harassment will be very challenging especially if her coworkers don’t have her back. They
        may be enjoying all that Apple $$$. Lawsuit would be chump change for Apple but will certainly bankrupt her. I’ve
        never seen anyone so intent on ruining their own reputation/livelihood…” crissnovak sure knows a lot about
        employment law too. The account added that Gjovik was on the “chubby side” and had “baby teeth lol.”
                345.    As a representation of the retaliatory animus of her managers (see, Neoform, her coworker
        sitting across the aisle from her at 825 Stewart Drive, seeing her manager every day and participating in
        conversations about Gjovik. Ian took to Twitter and other social media to harass and threaten Gjovik starting
        in August 2021 and continuing through fall of 2021). Ian’s comments included statements like: “Based on
        her writings and twitter feed, I would not be surprised in the least to learn she has some kind of psychosis,” “You
        think there are law firms that will want to hire her? She's toxic,” “Now Apple has fired her for supposedly ‘leaking’
        insider information. A brief glance at her twitter feed can resolve the ‘supposedly’ part,” “She’s entirely to blame for
        her firing,” and “Vexatious litigant incoming!”
                346.    Gjovik also received messages via the webform on her website, which allowed anonymous
        people to message her, though it recorded their IP addresses. Messages were often vulgar and offensive, and
        also sent from IP addresses flagged for spam and malicious conduct. Examples include: “Cunt” (9/12/21);


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        “Nobody wants to see your nasty nudes. Next time use your work phone for work only you stupid moron” (9/20/21);
        “Remember what Jesus Christ taught about retaliation. You are retaliating back at Apple. Matthew 5:38-42…”
        (12/8/21); “If only Steve Jobs were still around. He'd drag you … out to the street by your hair and tell you … to go
        work a corner. It's the only talent you'll ever have.” (4/5/22). Whether or not Apple was behind the fake
        accounts, Apple fostered an environment where people were rewarded for harassing Gjovik, and ostracized
        and ridiculed if they supported her. Apple encouraged the abuse.
                347.    An example of one of the more egregious digital threats includes, but is not at all limited to
        this post from Sept. 22 2021, which as published on a discussion thread linked to an article about Gjovik’s
        NLRB charge against Apple’s CEO Tim Cook for sending a threatening email to staff claiming any internal
        information is confidential:
                  “I said it in the last thread about bad, criminal employees, and I'll say it again. It's time for
                 Apple to take out the trash. Do whatever it takes to identify and catch the leakers and then
                 ruin their lives. Fire them, prosecute and go after them. Do whatever it takes. Hunt them
                 down like wild animals. Leakers and other activist employees who believe that they can do
                 as they please have no business being at Apple. I want to see them gone and I want to see
                 them destroyed. Trashy employees do not belong at Apple. And who is surprised that the
                 leakers go running to the garbage site called the Verge? They already had one campaign that
                 backfired on them when the lunatic woman leaker [Gjovik] was fired, now it is time to get rid
                 of any remaining leakers and criminals. Go get 'em Tim! …. Espionage has long been treated
                 as a crime worthy of death and all Apple would need to do is to make it apply to corporations
                 and not just nations... People just need to be optimistic and patient.” (PacManDaddy,
                 Reddit, Sept 22 2021).
                348. As Gjovik was fired, an account replied to one of Gjovik’s posts saying, “It would be in your
        best interest to drop ideas of suing, or attempts at dragging them through any spiteful dirt, as it’ll co$t you.” (Sept.
        9 2021, “EarlyRiser”).
                349.    On Oct. 1 2021, another account later identified to be an account Apple created to harass
        Gjovik, commented on Gjovik’s post about getting cut by the broken class in the box Apple mailed – asking
        Gjovik to post photos of her bloody wounds. The next day, on Oct. 2 2021, the account tried to convince
        Gjovik to allow it to remotely access Gjovik’s computer and modify the configuration.
                350.    Gjovik also received bizarre, hostile, and obscene messages sent to her via her websites
        contact webform. Someone sent Gjovik an email from an IP associated with Apple’s first manufacturing
        plant in Fremont in which the person (self-named “The Messenger”) warned Gjovik to drop her cases
        against Apple and justifies this with quotes from the Christian Bible. (Dec.8 2021, Weebly webform). The
        account complaints that Gjovik is retaliating against Apple.


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                 351.   Social media post in thread about Gjovik: “Tomorrow's headline: Apple Whistleblower found
        dead of heart attack at 22 (never mind the double tap, nothing to see here)” (Dec. 21 2021, now deleted Reddit
        user).
                 352.   On December 29, 2021, Appleseed messaged one of Gjovik’s friends claiming Gjovik was
        “perjuring herself.” On December 30, 2021, Appleseed messaged once of Gjovik’s friends saying Appleseed
        was “one of Apple’s witnesses against [Gjovik]”.
                 353.   On February 15, 2022, Appleseed submitted a statement to the Washington state courts
        saying she complained about Gjovik to the FBI and also to the Chief Security Officer of the National Labor
        Relations Board, the previous Chief of Physical Security at The White House and a Security Manager at the
        Department of Defense.59
                 354.   Appleseed sent Gjovik a lengthy email on February 5, 2022 (over 3,000 words) making false
        accusations against Gjovik, unlawful demands of Gjovik, threats against Gjovik and demanded Gjovik
        withdraw allegations and evidence about Appleseed from Gjovik’s federal charges against Apple (charges
        about obstruction of justice & witness tampering). Appleseed in great hostility told Gjovik she believed one
        of Gjovik’s SEC Whistleblower filings: “contained absolutely no material information for shareholders.”
        Appleseed informed Gjovik she reported Gjovik to the FBI, and also told Gjovik that she reported Gjovik to
        Apple for Gjovik complaining that Apple was trying to make her kill herself, and that Apple could have
        Gjovik assassinated, which Appleseed complained was “extremely harmful” to her and Apple.
                 355.   On February 5 2022, Appleseed posted on Twitter claiming the NLRB accused Gjovik of
        extortion and told Appleseed to report Gjovik to the FBI (which she also testified at the ex parte hearing on
        January 31 2022, and which the NLRB fervently denied) and Appleseed later blamed on an illegal drug
        relapse. In Appleseed’s posts she mentions Gjovik is a federal witness. Appleseed then claimed “multiple
        people” were reporting Gjovik to Gjovik’s law school at Santa Clara University and claimed “the authorities
        had to get involved” with Gjovik.
                 356.   Appleseed filed an FBI report against Gjovik charging Gjovik with “criminal extortion and
        blackmail,” and apparently reported Gjovik to a police department .60 (mid-Jan 2022, Appleseed).



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           C.S. v Gjovik, 22-2-03849-7 SEA, (Appeal of Court of Limited Jurisdiction – Reversed & Vacated), King County
        Superior Court, State of Washington (2022); C.S. v Gjovik, 22CIV01704KCX, (Vacated) King County District
        Court, Court of Limited Jurisdiction, State of Washington (2022).
        60
           C.S. v Gjovik, 22-2-03849-7 SEA, (Appeal of Court of Limited Jurisdiction – Reversed & Vacated), King County
        Superior Court, State of Washington (2022); C.S. v Gjovik, 22CIV01704KCX, King County District Court, Court of
        Limited Jurisdiction, State of Washington (2022).
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                 357.    In the February 15, 2022, testimony Appleseed also claimed, without any evidence to support
        prima facie elements of the charges, that Gjovik committed “criminal cyber-harassment, blackmail, and
        extortion.”The majority of Appleseed’s complaints in the lawsuit were arguments focused on a legal filing
        Gjovik submitted to the government including law enforcement, where she had gathered evidence of the
        harassment against her, alleging Apple was engaging in criminal conduct. Appleseed repeatedly demanded
        Gjovik alter, withdraw, and conceal this legal filing – and upon winning the first Court of Limited Jurisdiction
        hearing against Gjovik, then proceeded to report the federal legal filing to Gjovik’s web server as “child
        porn.”
                 358.    The Order prohibited Gjovik from speaking to anyone, even privately, about significant
        aspects of her litigation against Apple, and it had now become a crime to say/write the name of her office.
        (Note: Gjovik was certain Apple would use the Order to try to incarcerate Gjovik, and Gjovik did discover
        that Orrick – counsel here – employ a large number of prior Office of the Attorney General staff from state
        of Washington, including a prior AG. If Apple wanted to get Gjovik thrown in jail, they had the means to do
        so.
                 359.    Another account, FirstNameBunchofNumbers, started harassing Gjovik in 2022, primarily
        taunting Gjovik about the lawsuit filed against her. The account’s profile photo was the docket for
        Appleseed’s lawsuit against Gjovik, and the biography was “Ashley is a bitch.” Among other deranged posts,
        the account tagged Gjovik with a link to the California Moral Character exam and inquired if Gjovik will still
        be able to be a lawyer with this lawsuit against her. The account added an image of a smirking teenager.61
                 360.    The retaliatory lawsuit also was filed with the intention of preventing Gjovik from becoming
        a licensed attorney. Gjovik had a right to become an attorney and Apple egregiously interfered with that
        right. This was not only an implied threat, but anonymous social media accounts (clearly Apple) harassed
        Gjovik about exactly this. The same account also posted about Plaintiff: “honestly cannot believe this is being
        allowed to go on in public. She needs a conservatorship or something. Watching her go downhill live on Twitter seems
        irresponsible, but she won't listen to anyone. Where is the family to step in and help?” and “If they read her TL they
        see that she's a nutjob and can't even win a case on Twitter or Wikipedia, so they probably aren't much concerned
        about her winning in a court of law.”
                 361.    On April 17, 2022, a Telegraph profile was published about Gjovik titled “Apple whistleblower



        61
          “Can you still be admitted to the bar if you have had an anti-harassment judgement filed against you? Asking for Ashley
        Gjovik. [Photo of young girl at computer drinking soda and smiling mischievously] link:
        https://www.calbar.ca.gov/Admissions/Moral-Character/Guidelines” @FirstNa47437596 February 11 2022.
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        Ashley Gjøvik: ‘My life is a goddamn nightmare now”, and the reporter posted the article on Twitter. Appleseed
        and her friends then quickly replied to the post and ‘quote-tweeted’ the post making allegations against
        Gjovik, and making derogatory statements about Gjovik, and harassing the reporter for writing about Gjovik.
        After Appleseed’s protest, The Telegraph changed the subtitle of the article about Gjovik from something
        positive to saying that what happened to Gjovik was the “consequences of her actions.” If Gjovik complained,
        Appleseed could try to have Gjovik incarcerated.
                362.     On June 8 2022, Appleseed (“SquareInARoundHole”) edited Gjovik’s Wikipedia article
        deleting over 8,000 characters and accusing Gjovik of “libel” based on Gjovik’s accusations against Lisa
        Jackson and Ronald Sugar. (account confirmed by Wikipedia to be Appleseed, and had to be banned three
        times for vandalizing Gjovik’s public article).
                363.     On January 23 2023, after the retaliatory lawsuit against Gjovik was already dismissed and
        vacated, Appleseed then filed another document in which she accused Gjovik of a variety of torts
        (defamation, harassment) and criminal acts (criminal wiretapping, perjury), threatened to report Gjovik to
        the Bar Association, and threatened to sue Gjovik again. The next day Appleseed posted on Twitter about
        Gjovik, with some of the language as her legal filing: “If you lack the moral fortitude to admit that you
        misrepresented, omitted, misquoted, or otherwise altered facts to exaggerate and fit a narrative… sincerely, don’t
        bother engaging in the public space. You will eventually be hit with a boomerang of your own making.”
                364.     On January 24 2023, Appleseed replied to the post above and added “A YEAR OF THIS
        [EXPLETIVE] A YEARRRRRRRRRR”. (sic) Appleseed filed the lawsuit against Gjovik on January 31 2022
        (a year prior) and was clearly referring to Gjovik and threatening her with being “hit” if she did not leave
        “the public space.”
                365.     Appleseed harassed Gjovik on social media as well as many other mediums (Resp. Sup.,
        ratification). The social media harassment started in late August and early 2021, while both were still
        employees at Apple. Appleseed’s defamatory, intimidating, and harassing comments were posted publicly,
        and also sent privately to individuals who interacted with Gjovik and expressed support for Gjovik. Public
        posts usually were positioned as being based on some sort of inside information from Apple Global Security
        and/or HR (“I know something you don’t”), and as if she was speaking on behalf of the company about
        Gjovik. The content also revolved around animus over Gjovik’s NLRB and other government charges
        against Apple.
                366.     In February 19 2023, Joanna Appleseed contacted Gjovik with an email saying she knows
        Gjovik does not “wish to hear from [her]” and then proceeded to make more accusations against Gjovik, and


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        compare their relationship to each other and Apple, to the movie “Annihilation.”
               367.    On March 2 2023 and for several days following, a Twitter account created specifically to
        interact with Gjovik about her claims about N-Methyl-2-pyrrolidone (NMP), “Sybil”, replied repeatedly to
        her posts. Sybil repeatedly claimed NMP is completely safe, not banned, and that Gjovik was lying about the
        yellow clothes and rusty jeans, and it was occurring simply because Gjovik did not know how to do laundry
        properly. Even after blocking the NMP account, it continued to stalk Gjovik’s posts and continue posting,
        next calling for Gjovik’s account to be suspended due to supposedly spreading misinformation about NMP.
        Under information and belief, Sybil was Apple.
               368.    On March 11 2023, a fake account (“Comrade Jones”, sorry@butno.com) sent Gjovik an
        email claiming to be an ex-EPA compliance/enforcement employee. The account attempted to get Gjovik to
        stop talking about the vapor intrusion documentation for 825 Stewart Drive and tried to get Gjovik to stop
        talking about the NMP. The account made threats to intimidate Gjovik. The IP came from a location known
        for spam accounts. Under information and belief, “Comrade Jones” was Apple.
               369.    On May 13 2023, Appleseed replied to her prior post ridiculing Gjovik with a new post that
        said “I’m a lawyer” with an image of a boy sticking a flute up his nose, implying that was Gjovik. Between
        on May 13 – 15 2023, Appleseed suddenly made around forty posts on Twitter that made negative remarks
        and allegations against Gjovik. Appleseed included Gjovik’s name and other personally identifiable
        information in several of the posts and tagged Gjovik’s acquaintances, and even included images of the
        documents in Appleseed’s lawsuit against Gjovik so it was clear Appleseed was posting about Gjovik – and
        Appleseed also uploaded a video showing Appleseed cyberstalking Gjovik. Appleseed “tagged,” among
        others, the Twitter accounts of the Washington state AG’s office and US President Joe Biden.
               370.    Throughout the May 13-15 2023 posts, Appleseed repeatedly referred to Gjovik as a
        “harasser”, called Gjovik a “liar,” and accused Gjovik of perjury and “fabricating evidence,” committing
        fraud, and accused Gjovik of defamation, stalking, and harassment. Appleseed once again claimed Gjovik’s
        pleas for Appleseed to stop harassing her was some sort of criminal act by Gjovik. Appleseed also began
        vaguely accusing an acquaintance of Gjovik of perjury, lying, harassment, and falsifying evidence.
               371.    Appleseed posted that she had recently reported Gjovik to law enforcement and “the proper
        authorities,” and the non-profit organizations EFF and ACLU, and invited any “civil liberties group or
        attorneys” to contact her about Gjovik. (May 13-15 2023, Twitter, Appleseed).
               372.    On May 26-27 2023, Appleseed attempted to contact Gjovik through a third-party (a current
        Apple employee domiciled in another country) and conspired with him and attempted to get Gjovik on the


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        phone with her without Gjovik knowing it would be Appleseed on the other line. When Gjovik saw through
        the plan and complained to the third-party, that person explained Appleseed wanted to talk to Gjovik about
        Gjovik’s evidence against
                373.    Appleseed contacted one of Gjovik’s friends via LinkedIn, identifying herself as “Apple
        Global Security,” and trying to learn about Gjovik’s “friends or family,” claiming she wants to “help” Gjovik,
        and admitting she has been extensively cyberstalking Gjovik. (May 31 2023, LinkedIn, Appleseed).

                K.     Outrageous Per Se
                374.    Apple mailed Gjovik a package with her personal effects from her desk, with a shipping notice
        on Sept. 29 2021. Gjovik asked on Twitter what they thought Apple was mailing her and one account, later
        revealed to clearly be associated with Apple public relations or global security, posted an image from a movie
        implying that Apple had mailed Gjovik the severed head of one of her loved ones.
                375.    BabyHummingbird was the account who threatened Gjovik that Apple was mailing her a box
        with the severed head of one of her loved ones, but it really contained her possessions from her desk trashed
        and covered in glass shards, and a bug planted in one of her items of décor. 18 U.S. Code § 876. The account
        only posted to and about Gjovik, and its first “like” was an advertisement that read, “Apple’s back better than
        ever!” BabyHummingbird also liked posts about Gjovik, including the “don’t get Gjovik’d” posts.
                376.    Apple broke / destroyed Gjovik’s possessions from her desk and mailed them to her and/or
        packing Gjovik’s items to ensure they are broken in transit (Gjovik received a box with rocks and broken
        glass on Sept. 30 2021). Inside the package, which arrived on Sept. 30 2021, planted inside one of her
        personal items (a gifted statue that says “sue the [expletive]!”) was some sort of electronic device, assumably
        a listening device.
                377.    There were three highly suspicious “call-drops” during phone calls at Gjovik’s home over a
        period of ten days in 2022. They occurred at May 16 2022 at 6:29 PM PST, May 24 at 2:03 PM, May 26 at
        1:59 PM. One of the calls was interstate, and another was international. The third call was with the Santa
        Clara County DA’s office. These drops led Gjovik to discover hacking on her network on May 28 2022, and
        then the bugged objects in her home on May 29 2022, including the statue from her desk.
                378.    Gjovik called the Santa Clara city police on May 31, 2022 [re: report 2205310079] to report
        the listening device Apple planted in her chattel property and the call drops, internet interference that led to
        her to search her items for bugs, and the attempted break-in. The police took possession of the statue. Gjovik
        later found her fake fig tree was also producing RF and EMF signals and threw it in the trash and complained
        on Twitter about it.

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                379.    Gjovik contacted the FBI May 30 2022 to report hacking and the bugged object. The FBI
        agent she talked to advised Gjovik to give the object to the local police. Several hours later Gjovik heard
        someone trying to break into her apartment through the front door. Gjovik posted on Twitter about it,
        blaming Apple.
                380.    Apple stalked Gjovik in California and New York, sending people to sit outside her
        apartment, to follow her around, and take photos/videos of her inside her home from outside the windows.
        [Cal.Pen.C. §§ 647(h), 647(i)]. Apple repeatedly broke into Gjovik’s home in at least the state of California.
        [Cal.Pen.C. §§ 459, 602.5].
                381.    Gjovik called the Santa Clara city police on August 9, 2022 [re: report 2208090087] to report
        Apple breaking into her attic and installing some sort of electronic equipment. After Gjovik reported the
        attic situation to law enforcement the police said they would come by the next day to create the report. Gjovik
        left her home to run an errand. When Gjovik returned, the day before the police were to arrive and search
        her attic, she found two signs that someone had broken into her apartment and entered the attic. First, her
        dog’s belly smelled strongly of cigarettes despite him not leaving the apartment while she was gone and
        Gjovik not smoking cigarettes. After noticing the odor, Gjovik quickly inspected her closet where the
        entrance to the attic is and found attic insulation stuff on the floor despite having just vacuumed before she
        left. Under information and belief, Apple broke into Gjovik’s apartment again, this time to retrieve whatever
        they installed in her attic, before law enforcement arrived.
                382.    Apple surveilled Gjovik and even bugged her property, including, apparently, directly
        intercepting her home internet. [Cal.Pen.C. §§ 591, 632(a)].
                383.    Apple trespassed on Gjovik’s back porch in Boston, Massachusetts at some point between
        1am and 7am before her first day of work at her new job (Sept. 28 2023), leaving the door wide open to show
        someone had been inside. (This never happened again after & Gjovik complained to Tim Cook about it when
        she filed this lawsuit).

                 L.    Injuries and Impact
                384.    Apple’s conduct was not mere insults, indignities, threats, annoyances, petty oppressions, or
        other trivialities. Apple’s misconduct towards Gjovik was/is extreme, outrageous, persistent, and
        omnipresent. Apple’s conduct left Gjovik fearing for her safety, her dog's safety, the integrity of her
        electronics and utilities, and the safety of her chattels – that Gjovik was confined to her home. Gjovik was
        and is under a justified belief that leaving her house or even failing to secure entry to her home properly
        would place her in danger, and she could be killed. Gjovik was and is under a justified belief that leaving her

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        dog at home unattended could result in harm to her dog and that Apple could kill him.62 Apple did handle
        him during one of the break-ins, leaving a strong odor of cigarettes on his little body.
                385.    Apple could have acted with some decency and reserve. Still, instead, Apple bugged Gjovik’s
        objects and home, sent her possessions to her in a box with broken glass and threatened it could contain a
        severed head, sued her for reporting criminal conduct, reported her to law enforcement, repeatedly
        threatened to “ruin” and “destroy” her, and even sent her emails pretending to be government employees
        threatening her to stop speaking about Apple’s chemical leaks. [18 USC § 912; April 2023; reported to FBI
        and U.S. EPA]
                386.    When Gjovik explains to people what Apple has done to her when she shows them Apple’s
        communications and exposure records and shows them the evidence she gathered of their physical
        intrusions and harassment, the default response is not simply to shake their heads with disappointment. No,
        it is to exclaim something such as “Outrageous!!”
                387.    Further, these actions have caused fear in those around Gjovik and in Gjovik herself. Gjovik
        has lost many friends through this – and she cannot blame them as Apple’s menacing is smoke from the fire
        of actionable threats of violence and mayhem. Apple’s tortious conduct evinced an indifference to or a
        reckless disregard for the health and safety of others; Gjovik had financial and medical vulnerability; the
        conduct involved repeated, systemic actions and schemes; and the harm to Gjovik was the result of Apple’s
        intentional malice, trickery, and deceit.
                388.    As documented in legal filings, emails, doctor appointments, and therapy sessions
        throughout these two years – Gjovik has suffered severe insomnia, nausea from stress to the point of
        vomiting, extreme depression requiring anti-depressants due to suicidal ideation, and crying uncontrollably
        for hours every day. Gjovik suffers from paralyzing anxiety, and it has been difficult even to get up and walk
        around, with Gjovik generally spending all day in some form of the ‘fetal position.’ Gjovik has alternated
        between overeating and undereating but overall gained over sixty pounds in 2020-2022.
                389.    Apple’s conduct, of course, left Gjovik with “discomfort, worry, anxiety, upset stomach, concern,
        and agitation.” However, as a direct and proximate result of Apple’s conduct, Gjovik also experienced
        overwhelming anguish, illness, “shock, horror, nausea, fright, grief, shame, humiliation, embarrassment, anger,
        chagrin, disappointment.” Apple’s conduct resulted in PTSD and anxiety symptoms. Gjovik suffered



        62
          ICAN, Stalking, “Though dogs provide a valuable service as a security agent for our homes, please be advised that
        a stalker may harm your animals. If you have a dog, make sure that you keep it indoors when you are not home and
        that you have a secure environment for it when you are home.”
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        depersonalization and derealization.
                   390.    On Dec. 26 2021, Gjovik posted on Twitter about her intention to pursue a Dodd-Frank and
        witness retaliation claim against Apple. On or around Jan. 10 2022, Gjovik filed complaints about witness
        intimidation and witness retaliation to U.S. NLRB, the U.S. Dept. of Labor, and the Cal. Dept. of Labor.
        Gjovik drafted several legal documents, including a legal brief, image exhibits, and a detailed dossier
        containing the accounts and posts Gjovik believed to be Apple.
                   391.    On Jan. 25 2022, Gjovik emailed the U.S. NLRB about her Jan. 10, 2022, witness intimidation
        charge and attached a 77-page rough draft of the Evidence Report. On Jan. 31 2022, Gjovik posted on Twitter
        that she planned to submit her legal filings about witness intimidation to the US Dept. of Justice and the
        whistleblower and labor agencies. Gjovik commented that Apple’s actions were criminal. Gjovik testified to
        the U.S. NLRB about it on Feb. 10, 2022. Gjovik also contacted the Santa Clara District Attorney’s office
        about the developments with Apple, complaining about witness intimidation and witness retaliation on Feb.
        21 2022, and Dec. 15 2022. Yet, Apple continued with the harassment, unphased.
                   392.    Apple abused its position of power over Gjovik and exploited that power differential in its
        campaign of terror against Gjovik enlisting multiple employees and other agents to carry out their scheme.
        Apple has extreme power and control over Gjovik and its other employees as one of the world's largest and
        most influential companies. Apple’s conduct was despicable, base, vile, and contemptible, and subjected
        Gjovik to cruel and unjust hardship. It was carried out with a willful and conscious disregard for Gjovik’s
        rights and safety.
                   393.    Through all this, Apple went out of its way to act like deranged maniacs whose conduct
        exceeded all bounds of decency usually tolerated by society. But this is not new for Apple. CNN described
        working at Apple as “a brutal and unforgiving place” and even after employees leave, “the fear of retribution
        persists for years” resulting in silence about what occurred during their employment.63 A Gawker reporter
        described the culture of working at Apple as “bullying, manipulation and fear” and described Apple’s
        leadership as “rude, dismissive, hostile, spiteful,” and “deeply disturbing.”64

                    M. Statute of Limitations
                   394.    The statute of limitations for IIED claims under California state law is two years from the
        date of injury and under New York state law it is one year from the act. Gjovik lived in California until Aug.




        63
             CNN Money, How Apple works: Inside the world's biggest startup, August 2011.
        64
             Ryan Tate, What Everyone Is Too Polite to Say About Steve Jobs, Gawker, October 2011.
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        31 2022 and then lived in the state of New York from Sept. 1 2022 up to the date the complaint was filed on
        Sept. 7 2023.
                   395.   The New York statute of limitations covers Gjovik’s presence in New York from Sept. 7 2022
        through Sept. 7 2023. The California statute of limitations cover’s Gjovik’s presence in California from Sept.
        7 2021 through Sept. 1 2022.65 Apple terminated Gjovik’s employment on Sept. 9 2021 and thus only two
        days fall within this IIED claim’s coverage, and Gjovik’s allegations in the claim do not include any
        employment actions or other conduct which would be subject to Worker’s Compensation regulations.

                                                P RAYER FOR R ELIEF
        WHEREFORE, Gjovik prays that this court enter judgment in her favor on each and every claim for relief
        set forth above and award its relief, including, but not limited to, the relief as follows:


              i.   A Judgment entered in her favor, and an award of damages in an amount to be determined at trial.
             ii.   Employee whistleblower’s “make whole relief” with compensatory damages, including lost wages
                   (back pay, lost benefits, lost bonuses and pay raises, lost stock grants and vesting, etc.). This should
                   include a refund of Gjovik’s use of Vacation and Sick days in response to Apple’s misconduct and
                   negligence, payment of those days, and removing negative records from her personnel file.
         iii.      Reinstatement of employment at a prior or higher level, with reestablishment of benefits and
                   seniority, and promise of a respectful and health workplace. If that cannot be provided – then at least
                   ten years of front-pay, or up to retirement age.
             iv.   Compensatory damages for pecuniary harm, including lost future wages, lost benefits, lower earning
                   capacity, past and future medical expenses, counseling, medication, physical and digital security
                   expenses, reputation management expenses, mental/emotional injury (PTSD, anxiety, depression,
                   insomnia, disordered eating); property damage, degradation, and conversion; and moving costs to
                   relocate.
             v.    Compensatory and special damages for non-pecuniary harm, including emotional distress,
                   humiliation, loss of enjoyment, annoyance, discomfort, inconvenience, disfigurement, pain and
                   suffering, mental anguish, and reputational harm. Gjovik now suffers from permanent psychological
                   trauma and damage because of Gjovik’s actions. Gjovik is entitled to compensation for any special


        65
          Gjovik also reserves the right to claim IIED under Massachusetts law if Apple continues inflicting emotional
        distress upon her through the trial.
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                damages she suffered resulting from Apple’s outrageous and defamatory acts.
         vi.    Compensatory damages for the injury suffered to Gjovik’s body, mind, and property by Apple’s
                nuisances and ultrahazardous activities, including cost to replace clothing and other chattel property
                that were destroyed by Apple’s tortfeasing. Costs for medical monitoring and medical intervention
                for any lifetime illnesses attributable to exposure to the chemicals Apple exposed her to.
        vii.    Consequential, expectation, reliance damages, where applicable.
        viii.   A civil penalty of $10,000 per employee for each violation of Cal.Lab.C. § 98.6 and § 1102.5. (If this
                request prevents other damages, this request may be waived).
         ix.    Punitive damages for all available claims (Tamney, Cal.Lab.C § 1102.5, Nuisance, and IIED), with
                amount to be determined at trial.
          x.    Declaratory relief stating Gjovik is a Crime Victim under federal and state law, so Gjovik can be
                afforded her relevant rights.
         xi.    Litigation costs, expert witness fees, pro se attorney’s fees, and other reasonable expenses. Pre-
                judgment and post-judgment interest. Offset for tax bracket increase due to lump sum payment.
        xii.    Where no damages or other relief are available, entry of declaratory relief and nominal damages of
                $1.00 (or $2 or $3 where double or treble damages apply).
        xiii.   Such other and further relief as the Court deems just and proper.


        Plaintiff hereby requests a trial by jury on all issues so triable.




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                               C ERTIFICATION AND C LOSING
              Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of
        my knowledge, information, and belief that this complaint is not being presented for an
        improper purpose, such as to harass, cause unnecessary delay, or needlessly increas e the
        cost of litigation; is supported by existing law or by a nonfrivolous argument for
        extending, modifying, or reversing existing law; the factual contentions have evidentiary
        support or, if specifically so identified, will likely have evidentiary suppo rt after a
        reasonable opportunity for further investigation or discovery; and the complaint
        otherwise complies with the requirements of Rule 11. I agree to provide the Clerk's
        Office with any changes to my address where case -related papers may be served. I
        declare under penalty of perjury under the laws of the United States of America that the
        foregoing is true and correct.


        Dated: Nov. 7 2024


        Respectfully submitted,




        /s/ Ashley M. Gjovik
        Pro Se Plaintiff


        Physical Address :
        Boston, Massachusetts
        Mailing Address:
        2108 N St. Ste. 4553 Sacramento, CA, 95816
        Email: legal@ashleygjovik.com
        Phone: (408) 883 - 4428




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            Ashley M. Gjovik, JD
            Pro Se Plaintiff
       1    2108 N St. Ste. 4553
            Sacramento, CA, 95816
       2    (408) 883-4428
            legal@ashleygjovik.com
       3
       4                          UNITED STATES DISTRICT COURT
       5                          NORTHERN DISTRICT OF CALIFORNIA
       6
       7                                          Case No. 3:23-cv-04597-EMC

       8                                          FOURTH AMENDED COMPLAINT (“4AC”)

       9
            ASHLEY GJOVIK, an individual,         PLAINTIFF’S CLAIMS:
      10                                          1. Termination in Violation of Public Policy
                         Plaintiff,                  California Tamney tort claim
      11
                         v.                       2. Violation of Cal. Whistleblower Protection Act,
      12                                             Cal.Lab.C. § 1102.5

      13                                          3. Retaliation for Protected Safety Activities,
            APPLE INC, a corporation, et al,         Cal.Lab.C. § 6310; § 6399.7 via § 6310
      14                 Defendant.               4. Retaliation for Filing Labor Complaints,
                                                     Cal.Lab.C. § 98.6 via § 98.7
      15
                                                  5. Retaliation for Organizing Around Pay and
      16                                             Work Conditions,
                                                     Cal.Lab.C. §§ 232, 232.5 via § 98.7
      17                                          6. Retaliation for Exercising Constitutional Rights
                                                     outside of the Workplace,
      18                                             Cal.Lab.C. § 96(k) via § 98.7
      19                                          7. Breach of the Implied Covenant of Good Faith
                                                     and Fair Dealing
      20                                          8. Unfair Competition Law,
      21                                              Cal.B&P.C. § 17200
                                                  9. IIED – Outrageous Conduct
      22                                             California and New York
      23                                          10. Tort of Private Nuisance
                                                      Cal.Lab.C. § 3479
      24                                          11. Tort of Ultrahazardous Activities
                                                      California Strict Liability claim
      25
                                                  12. IIED – Fear of Cancer
      26                                              California / NY tort claims

      27
      28                                   DEMAND FOR JURY TRIAL




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       1                                I.      SUMMARY OF THE CASE
       2
                   1.      Over the last ten years, Apple Inc (“Defendant”) intentionally engaged in a course of
       3
            unlawful conduct and unfair business practices that resulted in direct, severe, and ongoing harm to
       4
            Ashley Gjovik (“Plaintiff”) as a community member, as an employee, and as a consumer.
       5
       6           2.      This lawsuit arises from Apple’s disregard of environmental regulations and safety

       7    requirements at two different Silicon Valley properties starting in 2015. Apple’s unlawful toxic waste
       8    dumping in Santa Clara (unrelated to her employment relationship with Apple) severely disabled and
       9
            nearly killed Gjovik in 2020. Gjovik began filing complaints about the public safety issue, and Apple
      10
            began retaliating against her for doing so, knowing what they had done to her. Then, in 2021, Gjovik
      11
            also discovered numerous safety and compliance issues at her Apple office located on a federally
      12
      13    managed toxic waste dump in Sunnyvale. She began also filing complaints about her office, and

      14    Apple then retaliated against Gjovik about those complaints well.
      15
                   3.      During Apple’s marathon of retaliation against Gjovik in 2021, Gjovik was in law
      16
            school studying to become a human rights lawyer. She was in a unique position to effectively report
      17
            serious environmental and safety issues, and to lobby for general policy reform. Gjovik utilized her
      18
      19    knowledge, experience, and resources to confer with numerous government agencies, to meet with a

      20    variety of elected officials and their staff, to publish op-eds calling for new legislation, was

      21    interviewed and written about by the press, and served as a witness for government agencies and
      22
            legislative committees. Gjovik organized her workers, lobbied on their behalf, and called for systemic
      23
            change with Apple’s environmental and labor practices. Gjovik’s public advocacy also brought
      24
            awareness to her prior neighbors of the pollution issues where she had lived, leading to additional
      25
      26    chemical exposure victims coming forward and joining Gjovik in complaining to the government

      27    and requesting help.
      28           4.      With every action Gjovik took to speak out about matters of public concerns, to




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       1    advocate for interests critical to public policy, and to attempt to influence Apple to reform its practices

       2    – Apple responded to Gjovik with accelerating retaliation, intimidation, moral harassment, and
       3
            psychological violence – including Apple’s abrupt termination of Gjovik’s employment in September
       4
            of 2021. Apple then required another week to establish a post hoc rationalization as to a non-illegal
       5
            reason why it fired Gjovik. Apple’s best attempt at producing a non-illegal justification was quickly
       6
       7    discussed by the press as “absurd,” it is unlawful itself, and it is the focus of the antitrust claim in this

       8    lawsuit. Gjovik planned to pursue charges of retaliation against Apple only through agency
       9    adjudication. However, in 2023, after discovering that Apple was also responsible for her severe
      10
            chemical exposure injuries in 2020, Gjovik also decided to file this lawsuit.
      11
                                           II.     PROCEDURAL HISTORY
      12
      13            5.      Gjovik now files her Fourth Amended Complaint (“4AC”). The original complaint

      14    was filed on September 7 2023. The First Amended Complaint was filed in October 2023 per
      15
            stipulation, in order to allow Apple more time to prepare, as needed due to Apple’s delayed arrival in
      16
            court, waiting several weeks to respond in any way about this lawsuit. The Second Amended
      17
            Complaint was filed in December 21 2023 as a matter of course, and dismissed by this court without
      18
      19    prejudice and with leave to amend on January 30 2024. The Third Amended Complaint was filed in

      20    February 27 2024 and was ruled upon with a decision and order issued May 20 2024. Many claims

      21    were allowed to proceed in some form, many claims were granted leave to amend, however two
      22
            claims (e.g. the Sarbanes–Oxley and Dodd-Frank Acts) and several sub-claims (e.g., toxic torts at 825
      23
            Stewart Drive, etc.) were dismissed with prejudice.
      24
                    6.      In the 4AC, Gjovik surrendered several additional claims, despite being granted leave
      25
      26    to amend; deciding to focus her limited resources on claims that are already established and to avoid

      27    duplicative work. The NIED, Breach of Implied Contract, Bane Act, Ralph Act, and RICO §§ 1962(c)
      28    and 1962(d) claims are not included in this 4AC. The majority of the damages to be provided under




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       1    the RICO Act are now covered under the whistleblower claims (financial loss) and the 2020 toxic

       2    torts (real property damage). The majority of the damages to be provided under NIED and the Bane
       3
            and Ralph Civil Rights Acts, will instead be pursued under the revised IIED claim. The policy behind
       4
            the implied contract claim is already captured in the Tamney claim. Some facts and allegations were
       5
            reassigned to other section so the complaint. For clarity moving forward with the remaining claims,
       6
       7    sub-claims have now been broken out into separate, formal counts.1

       8                                         III.    JURISDICTION & VENUE
       9              7.      The United States District Courts have diversity jurisdiction over this case because the
      10
            amount in controversy exceeds $75,000 and the parties are of diverse state citizenship. [28 U.S.C. §
      11
            1332]. When the complaint was filed, Plaintiff was domiciled in the state of New York and is now
      12
            domiciled in the Commonwealth of Massachusetts. Defendant is a corporation headquartered in
      13
      14    California. Venue is proper in the District Court of Northern California because Apple is

      15    headquartered and operates in this district. Many of Gjovik’s claims arose from acts, omissions, and
      16    injuries within the District of Northern California. [Civil L.R. 3-5(b)].
      17
                                                           IV.     PARTIES
      18
                      8.      Ashley Gjovik 2 (“Plaintiff”), was an Apple employee from February 2015 through
      19
      20    September 2021, held a leasehold at a Santa Clara property adjacent to Apple’s semiconductor

      21    fabrication facility in February 2020 through October 2020, and received requests from Apple to

      22    participate in secret anatomical experiments starting in 2015. Gjovik is a natural person domiciled in
      23
            Massachusetts, holding a Juris Doctor, and appearing Pro Se. Gjovik established a consulting LLC in
      24
            California in 2022, which she continues to manage with a virtual office in Sacramento at 2108 N St.
      25
            Ste. 4553 Sacramento, CA, 95816. (The LLC address is used on papers for privacy.)
      26
      27
      28    1
                Except for the Tamney claim, which is still four grouped sub-claims because I ran out of space.
            2
                pronounced “JOE-vik”



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       1              9.     Apple Inc., (“Defendant”), is a business engaged in and affecting interstate commerce

       2    and a covered entity under the statutes at issue here. Apple is a corporation headquartered at One
       3
            Apple Park Way in Cupertino, California. “Apple” refers to its successors and assigns; controlled
       4
            subsidiaries, divisions, groups, affiliates, partnerships, and joint ventures; and their directors, officers,
       5
            managers, agents, and employees. Apple’s business consists of “design, manufacture, and marketing”
       6
       7    of products and the sales of “various related services.” As of December 2023, Apple Inc. claimed a

       8    market cap of $3.021 trillion and annual revenue of $383.29 billion.3
       9              10.    At all pertinent times, Apple was the tenant and operator controlling the facilities at
      10
            both 825 Stewart Drive in Sunnyvale and 3250 Scott Boulevard in Santa Clara, California. At both
      11
            properties, Apple registered its hazardous waste activities under its own name and with Apple EH&S
      12
            as the contact for the government and public. Apple registered the facility at 3250 Scott Blvd with the
      13
      14    local, state, and federal governments for Apple’s activities governed by RCRA, EPCRA, the Clean

      15    Water Act, and the Clean Air Act. Apple registered the facility at 825 Stewart Drive with the state
      16    government for Apple’s hazardous waste generation activities governed by RCRA. While not the
      17
            formal “Potentially Responsible Party” for the site under CERCLA, Apple did order, supervise, and
      18
            report to US EPA prior CERCLA-related testing performed under Apple’s name.
      19
      20                          V.     NOTICE OF PENDENCY & CONFLICT OF LAWS
      21              11.    Gjovik left her CERCLA (“Superfund” – toxic waste dump) whistleblower retaliation

      22    cases with the US Department of Labor, as the claim’s exclusive jurisdiction is with the US
      23
            Department of Labor, and there is no way to remove the charge to the US Courts for a de novo trial.
      24
            Her charge is docketed with the Office of Administrative Law Judges under 2024-CER-00001 in
      25
            Boston; a trial is scheduled for March 2025; and a pending motion to amend is under consideration
      26
      27    by the ALJ (with Gjovik requesting to add three additional claims for RCRA, TSCA, and Clean Air

      28
            3
                Apple Inc, 2023 10K.



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       1    Act whistleblower retaliation).

       2           12.     Gjovik has six pending NLRB charges. NLRB cases cannot be removed to court for
       3
            de novo hearings, as the NLRB has exclusive jurisdiction to adjudicate cases under the NLRA. The
       4
            NLRB issued a Decision of Merit on two of Gjovik’s charges in January 2023, (thus the NLRB will
       5
            issue a complaint and sue Apple if Apple does not settle first). Gjovik’s two meritorious charges
       6
       7    included Apple’s Business Conduct Policy, NDAs, Intellectual-Property Agreement, and an email

       8    CEO Tim Cook sent his staff in September 2021 shortly after Gjovik was fired.4 Gjovik’s four other
       9    charges allege unfair labor practices. Three were under review with the General Counsel’s Division
      10
            of Advice office for some time.5 The fourth charge was filed in 2023 due to Apple’s out-of-court
      11
            conduct related to this case, including promulgating unlawful work rules.6
      12
      13                                      VI.   STATEMENT OF FACTS
      14           13.     The Plaintiff, Ashley Gjovik, is a 37-year-old woman residing in Boston,

      15    Massachusetts. Gjovik holds a Bachelor of Science in Liberal Studies awarded in 2012, and a Juris
      16    Doctor degree awarded in June 2022. During law school, Gjovik also obtained a certificate in Public
      17
            International Law, participated in a ‘summer abroad’ studying International Law and Transitional
      18
            Justice at the University of Oxford in 2021, and worked for a term for a non-profit organization in
      19
      20    Australia as a legal caseworker for refugees and asylum seekers in 2021.

      21           14.     Gjovik worked at Apple from 2015 to 2021. At the time of her termination, her title

      22    was Senior Engineering Program Manager, and her base salary was $169,000 annually. In the last full
      23
            year Gjovik worked at Apple (2020), her total annual W-2 compensation was $386,382. Gjovik was
      24
            the co-founder of a large women’s community group at Apple. Gjovik also worked in a rotation
      25
            position within Apple’s Legal department in 2019-2020, primarily supporting the Government Affairs
      26
      27
            4
              32-CA-284441 and 32-CA-284428 (Oct. 12 2021).
      28    5
              32-CA-282142 (Aug. 26 2021), 32-CA-283161 (Sept. 16 2021), 32-CA-288816 (Jan. 10 2022).
            6
              01-CA-332897 (Dec. 29 2023).



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       1    and Software Product Legal teams’ efforts to establish Apple’s first company-wide Artificial

       2    Intelligence Ethics and Social Responsibility policy.
       3
                   15.     Since September 2023, Gjovik’s worked a program manager for an air pollution
       4
            research project at a research university. The role is temporary and does not utilize her legal or
       5
            engineering experience. After two years of searching and hundreds of applications, it was the first
       6
       7    and only job offer she could obtain. The role is a far lower seniority than her role at Apple, and

       8    Gjovik’s salary was reduced by 41% and total compensation lowered by 74%.
       9                                GJOVIK’S EMPLOYMENT AT APPLE
      10           16.     Gjovik joined Apple on February 23, 2015, as an Engineering Project Manager in the
      11
            Software Project Management Office until January 2017. She reported to several managers under the
      12
            same Director (Venkat Memula) during this time. Gjovik experienced severe harassment,
      13
            discrimination, bullying, and an untenable hostile work environment during those two years,
      14
      15    primarily from her coworkers, Rob Marini and Brad Reigel. Memula repeatedly failed to correct their

      16    behavior.
      17           17.     Marini bragged that he was known to executives as their “Little Gestapo.” He quickly
      18
            made a work tracking ticket titled “Make Ashley’s Life a Living Hell,” then assigned it to Reigel.
      19
            Marini often planned and orchestrated malicious schemes to harass Gjovik and cause her distress,
      20
            including getting multiple members of the team to physically attack Gjovik, spreading rumors about
      21
      22    Gjovik, secretly recording Gjovik and sharing recordings with their team, and frequently pressuring

      23    Gjovik to drink hard alcohol at work. Marini often made cruel comments. He once noticed Gjovik
      24    made a typo in an XML and told Gjovik that her mother should have had an abortion. Both Marini
      25
            and Reigel cursed at Gjovik, called her names, and wrote harassing statements and nicknames on
      26
            whiteboards about her.
      27
      28           18.     Memula assigned Gjovik to share an office with Marini. Marini told Gjovik in the first




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       1    week that all of his prior officemates either quit the company, left the country, or killed themselves.

       2    Marini asked Gjovik which path she would choose. Marini once told Gjovik he targeted her with
       3
            harassment and bullying because she was ‘joyful,’ and he wanted to ‘extinguish’ her light.
       4
                   19.      Reigel was an active police officer, had ammunition in his office, allegedly physically
       5
            ‘flipped a table’ in a meeting, and supposedly kept a gun in his car at times. Reigel once kept Gjovik
       6
       7    in a conference room with the door closed and berated her for a prolonged period while she wept and

       8    begged him to stop. He sometimes made ‘joking’ comments, like he’d ‘smack her’ if she did not do
       9    what he said.
      10
                   20.      Gjovik’s first manager, Linda Keshishoglou, tried to bribe Gjovik in exchange for
      11
            Gjovik providing a positive review to Keshishoglou’s manager, Memula. Gjovik reported it to
      12
            Memula and HR. When Keshishoglou left the organization, Gjovik was transferred to report to Reigel.
      13
      14    Gjovik attempted to move to a different team but was thwarted and blocked by Reigel, who provided

      15    negative feedback about her to the hiring manager and could not explain why.
      16           21.      Gjovik was then transferred under Evan Buyze and Shandra Rica (in Memula’s
      17
            organization) to run Early Field Failure Analysis for the company, where she received very positive
      18
            feedback and praise until one specific field issue occurred and which led to a retaliatory constructive
      19
      20    termination. Gjovik’s managers had become upset at Gjovik because Gjovik was earnestly trying to

      21    investigate a trend of battery failures in the field, and Gjovik’s managers preferred to “ignore it and

      22    hope it goes away” and told Gjovik to also “ignore it,” which Gjovik refused to do. Buyze and Rica
      23
            told Gjovik not to tell people why she was leaving their organization, with Rica saying she “doesn’t
      24
            like people who talk shit.” This battery failure issue and Apple’s resulting response would be
      25
            nicknamed “Batterygate.”
      26
      27           22.      Gjovik joined Product Systems Quality in Hardware Engineering in January 2017 after

      28    leaving Software Engineering. Gjovik now reported to Dan West (Senior Director) and David Powers




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       1    (Director) as a Senior Engineering Program Manager and chief of staff. Both West and Powers

       2    engaged in harassing, discriminatory, and inappropriate conduct toward Gjovik – including remarks
       3
            and decisions that discriminated against Gjovik based on sex, gender, and disability. In December
       4
            2017, West also attempted to coerce Gjovik to engage in a romantic relationship with one of West’s
       5
            business partners, which would benefit West personally. Gjovik complained then and later West
       6
       7    admitted it was “one of the worst things [he’s] ever done.”

       8           23.      Other leaders in West’s organization also discriminated against Gjovik, including John
       9    Basanese, who frequently complained that Gjovik was not married and did not have kids, and during
      10
            company social events, often pressured Gjovik to ‘settle down’ and ‘have kids.’ Gjovik complained
      11
            to Basanese and West about the statements, but Basanese persisted for years. In addition, Powers’
      12
            US-based team was 90% men, and all of Powers’ other direct reports (other than Gjovik) were men.
      13
      14           24.      While Gjovik’s performance reviews were positive, outside the reviews Powers and

      15    West frequently gave Gjovik ‘feedback’ like she was too ‘emotional,’ ‘aggressive,’ or ‘expressive.
      16    Gjovik gave both men ‘feedback’ in response to their feedback, complaining about inappropriate
      17
            comments. West would usually listen and thank her for being honest with him – though generally
      18
            continued with the same behavior. Powers did not respond well and frequently berated her. In two
      19
      20    meetings, Powers criticized Gjovik, making her cry, and then berated her about her crying, making

      21    her cry more.

      22           25.      Before Apple’s unlawful actions towards Gjovik in 2021, Gjovik wanted to continue
      23
            working at Apple even after she graduated from law school in June 2022. She intended to stay at
      24
            Apple indefinitely if she could transfer to a better role (not in a hostile work environment like her
      25
            current role). Gjovik had initiated friendships with leadership in Apple Legal in 2018, hoping she
      26
      27    could intern with them (which she did in 2019) and convince them to hire her upon graduation. She

      28    continued mentioning this plan into 2021. Meanwhile, Gjovik’s supervisor, West, frustrated several




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       1    of Gjovik’s attempts to transfer to other Apple roles focused on law/legislation/policy – including

       2    directly blocking an offer in December 2020 for Gjovik to work on Apple’s implementation of
       3
            circular economy legislation.
       4
                                APPLE’S SECRET SEMICONDUCTOR FABRICATION
       5
                    26.     In early 2015, Apple started stealth semiconductor fabrication activities in a facility
       6
            located at 3250 Scott Boulevard in Santa Clara, California.7 Like some sort of Skunkworks, Apple
       7
       8    codenamed the facility “ARIA” and even tried to use the codename on regulatory paperwork.

       9            27.     The ARIA semiconductor fabrication facility operated less than three hundred feet

      10    from thousands of homes where Gjovik lived in 2020. Also within 300 from the building were two
      11
            public parks (Creekside Park and Meadow Park), picnic tables, outdoor fitness stations, and a
      12
            children’s playground. Within 1,000 feet of ARIA there was also a church, a school, an elder care
      13
            facility, and the San Tomas Aquino Creek and public trail. (San Tomas Aquino Creek flows to the
      14
      15    Bay and then into the Pacific Ocean).

      16            28.     Apple intentionally vented its fabrication exhaust – unabated – and consisting of toxic
      17    solvent vapors, gases, and fumes – into the ambient outdoor air. The factory was one story, while the
      18
            apartments were four stories tall, creating a high likelihood that Apple’s factory exhaust entered the
      19
            interior air of the apartments through open windows and the 'fresh air intake' vents.
      20
                    29.     Apple was fully aware of this facility and its operations, including the vast amount of
      21
      22    hazardous materials and hazardous waste, as every year, Apple submitted a financial assurance

      23    document to the Santa Clara Fire Department and HazMat agency, which detailed hazardous waste
      24    treatment and disposal operations, and is personally signed by Apple’s Chief Financial Officer, Luca
      25
      26
      27    7
              “Semiconductor Fabrication Facility: A building or a portion of a building in which electrical circuits or
            devices are created on solid crystalline substances having electrical conductivity greater than insulators but
      28    less than conductors. These circuits or devices are commonly known as semiconductors.” Cal. Fire Code § 202
            (2022).



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       1    Maestri – including affixing a company seal. Each financial assurance filing also attached a detailed

       2    confirmation letter from Apple’s third-party auditor, E&Y, on behalf of Apple. Maestri was also on
       3
            the email distribution list for notification of hazardous waste violations at the facility.
       4
                   30.     Upon initiating operations at ARIA, Apple was quickly cited for building,
       5
            environmental, health, safety, and fire code violations in at least 2015 (stop work order due to
       6
       7    construction without permits), 2016 (spill of cooling water into storm drains, fire code and CalASPA

       8    violations, health and safety code violations, failure to properly monitor wastewater discharge), 2019
       9    (wastewater testing violations), 2020 (fire code violations, using two EPA identification numbers,
      10
            inaccurate hazmat inventory data, no spill plans or training, no business permit, no signature from
      11
            supervisor on records, and failure to properly monitor wastewater discharge again),
      12
                   31.     In February 2020, Gjovik moved into a large, new apartment complex at 3255 Scott
      13
      14    Blvd (adjacent to ARIA) and quickly became severely ill. Gjovik suffered severe fainting spells,

      15    dizziness, chest pain, palpitations, stomach aches, exhaustion, fatigue, and strange sensations in her
      16    muscles and skin. Gjovik also suffered bradycardia (slow heart rate), volatile blood pressure with
      17
            both hypertension and hypotension and a high frequency of premature ventricular contractions (an
      18
            arrhythmia). From February 2020 through September 2020, Gjovik was screened for multiple severe
      19
      20    and fatal diseases and disorders, including Multiple Sclerosis, brain tumors, deadly arrhythmias, and

      21    Neuromyelitis Optica – instead, all of Gjovik’s symptoms were consistent with chemical exposure.

      22    Due to the solvent exposure, Gjovik also suffered skin rashes, burns, and hives, and her hair fell out
      23
            and she had a shaved head for nearly a year as the bald patches slowly grew back.
      24
                   32.     Due to the sudden illness, Gjovik visited the Emergency Room on February 13 2020,
      25
            and Urgent Care (at AC Wellness, Apple’s for-profit in-house clinic) on February 20 2020. Gjovik
      26
      27    subsequently consulted with dozens of doctors, who screened her for all sorts of diseases, subjecting

      28    Gjovik to extensive blood draws, urine samples, injections, and scans – including potentially




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       1    dangerous procedures like MRI and CT scans with contrast, of which Gjovik had multiple. Gjovik

       2    was too sick to work and went on disability.
       3
                   33.     Gjovik transitioned her medical care to a different clinic and provider after her Apple
       4
            primary care provider at AC Wellness refused to help her triage her 2020 medical issues (due to
       5
            exposure to Apple’s factory exhaust). Instead she suggested Gjovik could be suffering from anxiety,
       6
       7    and enrolled Gjovik in an Apple internal user study related to blood pressure, requiring Gjovik share

       8    her iPhone medical and fitness data with Apple, and participate in weekly life coaching sessions
       9    (while being exposed to Apple’s solvent vapor and gas exhaust).
      10
                   34.     While sick in 2020, Gjovik would wake up occasionally at 3 AM feeling like she was
      11
            dying and with symptoms of heart failure and asphyxia. Heart monitoring showed arrhythmias,
      12
            bradycardia, and low blood pressure. On September 2 2020, Gjovik discovered elevated levels of
      13
      14    volatile organic compounds (“VOCs”) in her indoor air. What immediately captured Gjovik’s

      15    attention was the arge spike in VOCs had occurred the night prior, around 3 AM, while she had been
      16    suffering from one of these “dying” spells.
      17
                   35.     Gjovik sought out multiple occupational and environmental exposure doctors, who
      18
            told Gjovik that all of her symptoms were consistent with solvent and other chemical exposures. After
      19
      20    Gjovik discovered her medical issues at the apartment were due to a chemical emergency, Gjovik

      21    quickly filed complaints with Santa Clara City HazMat/Fire Department, California EPA DTSC and

      22    Air Resources Board, and US EPA. She also called Poison Control, who said what she described also
      23
            sounded like Benzene exposure. (Apple reported it was exhausting Benzene into the air).
      24
                   36.     City Fire Department records for ARIA contain at least sixteen chemical spill/leak
      25
            incident reports at ARIA within only three years. These incident reports included eight confirmed
      26
      27    leaks/spills: leaks of phosphine and silane on June 1 2019 at 9:17 AM; a phosphine leak on October

      28    21 2019 at 11:06 PM; a 17.5 PPM Tetraethyl Orthosilicate (“TEOS”) leak on July 17 2020 at 8:58




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       1    AM; a major phosphine leak on April 30 2021 at 8:29 AM (peaking at 32 PPB and 0.0001145 pounds

       2    of the gas vented into the exterior ambient air); a 5% fluorine gas leak on April 18 2022 at 10:42 AM,
       3
            a Hexafluorobutadiene leak on May 29 2022 at 2:19 PM, and leaks of two unnamed toxic gases on
       4
            September 20 2022 at 7:44 AM and December 21 2022 at 1:40 AM.
       5
                      37.   Notably, almost all of the reported toxic gas leaks during the time frames Gjovik had
       6
       7    complained n 2020 that her symptoms seemed to always be the worst around 8-9 AM, 10-11 PM, and

       8    sometimes around 2-3 AM. One of the chemical spills that did not occur during those times of concern
       9    was root caused to an Apple engineer “accidently” turning on lethal fluorine gas. Similarly, another
      10
            incident, the TEOS leak, was root caused to an Apple engineer accidently installing the gas for a tool
      11
            “backwards.” Further, less than two weeks following the April 30 2021 phosphine leak, Apple’s
      12
            manifests included sixty pounds of “vacuum filters contaminated with glass dust,” implying there
      13
      14    may have also been a phosphine explosion.

      15              38.   Further, later in 2021-2022, Apple reported to the government. that in the year 2020,
      16    Apple released at least 7.8 tons (15,608 pounds) of VOCs and 260 pounds of the combustible solvent
      17
            N-Methyl-2-pyrrolidone (NMP) into the exterior air around ARIA. Per a review of Apple’s manifests,
      18
            Apple did not replace the carbon/charcoal in its exhaust system for over five years, with the first
      19
      20    replacement occurring December 14, 2020 – only after Gjovik had notified Apple EH&S and

      21    environmental legal about what occurred to her near ARIA.

      22              39.   In 2022, the US EPA severely restricted the legal use of NMP as “it presents an
      23
            unreasonable risk of injury to human health” under TSCA. Apple also reported that in at least 2019-
      24
            2021, that ARIA exhausted reportable amounts of mercury, arsenic, carbon monoxide, and
      25
            formaldehyde into the ambient air around the factory. Further, Apple reported to the Bay Area Air
      26
      27    Quality Management Board that ARIA exhausted an average of 16 pounds a day of isopropyl alcohol

      28    vapors.




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       1             40.    In September 2020, Gjovik hired an industrial hygienist to test the indoor air at her

       2    apartment. She purchased an inspection, soil testing, and a two-hour sorbent tube-based TO-17 air
       3
            panel. Only half the total contaminants were accounted for in the test and the California EPA informed
       4
            her that testing with Summa canisters for 24 hours is superior and would have yielded better results.
       5
            Still, Gjovik’s limited testing returned results showing a number of the chemicals in use by Apple at
       6
       7    ARIA including Acetone, Acetonitrile, Acetaldehyde, Benzene, 1,2-Dichloroethane, Ethanol,

       8    Ethylbenzene, Hexane, Isopropanol, Isopropyl toluene, Methylene Chloride, Toluene, and Xylene.
       9             41.    In September 2020, Gjovik set up additional air monitors to observe the levels of
      10
            VOCs in her apartment next to the ARIA factory (though she was not aware of the factory exhaust at
      11
            that time). The results of the data validated what Gjovik had noticed with her symptoms and ad hoc
      12
            testing – that the VOCs mostly spiked early in the morning and late at night as if they were being
      13
      14    exhausted from an automated mechanical system (which it was). Gjovik notified several Apple

      15    executives of her findings and activities, including her managers Powers (Director) and West (Sr.
      16    Director), her friends J.C. (Senior Director) and A.A. (Senior Manager).
      17
                     42.    In September 2020, Gjovik’s blood and urine medical tests returned results with
      18
            industrial chemicals, including arsenic, mercury, Toluene (Hippuric Acid), and Xylenes (2-3-4
      19
      20    Methyl hippuric Acid. Also noteworthy are the symptoms of Gjovik’s 3 AM attacks, (including both

      21    subjective reporting and physical real-time heart monitoring) match Phosphine and Arsine gas

      22    exposure. Both Phosphine and Arsine are very dangerous, exposure can be fatal, and there are no
      23
            antidotes. Apple has a significant quantity of Arsine gas on site, and Gjovik’s medical tests from
      24
            September 2020, on the morning after one of the 3 AM attacks, revealed significant arsenic in her
      25
            blood with no other explanation than Arsine gas exposure within the prior eight hours.8
      26
      27             43.    Apple’s leaks, spills, and releases were not limited to the air. Apple’s wastewater

      28
            8
                US CDC, NIOSH, Arsine Emergency Response.



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       1    discharge monitoring repeatedly showed the presence of heavy metals and organic solvents. In 2017,

       2    the government mandated testing revealed the presence of 29 μg/L of 1,1-Dichloropropane, 24 μg/L
       3
            of Trichloroethylene (“TCE”), and 6.7 μg/L of Ethyl tertiary-butyl ether (ETBE). Among other
       4
            issues, it’s unclear why Apple had TCE on site but not in any of its chemical inventories, and then, in
       5
            addition, why exactly Apple was pouring that TCE down the drain.
       6
       7           44.      ARIA reported an average daily water usage of around 44,000 gallons per day and the

       8    sewer pipes carrying ARIA’s discharges flowed downhill and directly around the apartment where
       9    Gjovik lived in 2020. In 2020, the government had already started investigating the plumbing at her
      10
            apartment as a possible vector for some unknown solvent vapor pollution.
      11
                                             THE SEPTEMBER 2020 EMAIL
      12
                   45.     In September 2020, Gjovik noticed an Apple facility at 3250 Scott Boulevard across
      13
            the street, which was also on the Superfund groundwater plume. Gjovik mentioned the facility to
      14
      15    Apple on at least September 8, 9, 10, and 13, 2020 – inquiring if anyone was familiar with the area

      16    because Apple had an office there. Apple EH&S and Gjovik had at least two phone calls. The woman
      17    who responded who was also actually in charge of Real Estate/EH&S teams involved in Gjovik’s
      18
            Superfund office at 825 Stewart Drive (“Stewart 1”) and the activities at ARIA.
      19
                   46.     In September 2021, the Apple EH&S manager, Elizabeth, suggested that Gjovik use a
      20
            special paid leave to move out of the apartment called ‘extreme condition leave’ designated for
      21
      22    disasters. Later, in September 2021, Apple Employee Relations conferred with Elizabeth about

      23    Gjovik’s environmental concerns only hours before Gjovik was abruptly terminated.
      24                             THE TRW MICROWAVE SUPERFUND SITE
      25           47.     Gjovik’s Apple office from 2017 until her termination was located at 825 Stewart
      26
            Drive in Sunnyvale, California, also known as the “TRW Microwave” Superfund site, part of the US
      27
      28




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       1    EPA “Triple Site.”9 The “Triple Site” is the collective name for three adjacent Superfund sites in

       2    Sunnyvale that have jointly contributed to a mile-long groundwater solvent plume. In addition, the
       3
            “Offsite Operable Unit” is roughly a one-hundred-acre area of groundwater contamination from
       4
            TRW Microwave. It “includes four schools and over 1,000 residences.”
       5
                   48.       The “TRW Microwave” Superfund site is a former industrial semiconductor
       6
       7    fabrication and manufacturing facility at 825 Stewart Drive (“Stewart 1”). The primary contaminants

       8    in the groundwater contamination plume are chlorinated volatile organic compounds, including the
       9    carcinogen trichloroethene (“TCE”) and its daughter products cis-1,2-dichloroethene and vinyl
      10
            chloride. The contaminated groundwater under 825 Stewart Drive is as shallow as only 2.6 feet below
      11
            the ground surface, with shallow TCE concentrations up to 1,400 μg/L and vinyl chloride up to 51
      12
            μg/L. 10
      13
      14           49.       The Responsible Party under CERCLA, Northrop Grumman Corporation, conducted

      15    an initial vapor intrusion evaluation at Stewart 1 in 2003 and 2004, which indicated that TCE
      16    concentrations in indoor air present an inhalation risk exceeding acceptable health and safety levels,
      17
            with results at 5.1 µg/m3 and 5.2 µg/m3 respectively.11 Indoor air pollution due to vapor intrusion
      18
            worsened over time, and indoor air concentrations increased to 7.7 µg/m3 in 2013, the “accelerated
      19
      20    action level” for TCE in commercial buildings. [In 2024, the US EPA proposed a full ban on TCE as

      21    a whole substance in the United States, prohibiting it under the TSCA as an unreasonable danger to

      22    human health).
      23
                   50.       In May 2015, Northrop Grumman installed a “sub-slab” ventilation system inside the
      24
            building. (The “slab” refers to the concrete foundation, and “sub-slab” is under the “slab.”) Northrop
      25
      26
      27    9
              US EPA, Triple Site Profile – Background.
            10
               AECOM and GES for Northrop Grumman, 2021 Annual Groundwater Monitoring Report (March 17, 2022).
      28    11
               Fifth Five Year at pg4; AECOM for Northrop Grumman, 2021 Annual Groundwater Monitoring Report
            Former TRW Microwave Site, 825 Stewart Drive, Sunnyvale, CA, March 17 2022.



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       1    Grumman installed a ventilation system (horizontal “collection pipes”) beneath the slab foundation,

       2    which allows vapors to move laterally, and connected the collection pipes to vertical vent risers that
       3
            vent to the roof to provide a preferred pathway for hazardous waste vapors “that allow sub-slab
       4
            contaminant vapors to discharge to the atmosphere.” The risers vent to the rooftop via wind-powered
       5
            turbines.
       6
       7           51.     Apple became a tenant in 2015. Apple’s installation of a new HVAC system for the

       8    building in late 2015 included Apple sawing the sub-slab exhaust vent stacks on the main building
       9    roof down from three feet to one foot and then installing the HVAC system intakes in “close
      10
            proximity” to the sub-slab vapor exhaust vents, “without consideration for the function of the [sub-
      11
            slab] system vents and their function.”12 The HVAC intakes for the area of the building where Gjovik
      12
            worked were in “the assumed sphere of influence” of the vent exhaust, including the chemicals TCE
      13
      14    and vinyl chloride.

      15           52.     Apple’s tampering with the exhaust stacks and indifference towards the exhaust’s
      16    proximity to HVAC intakes resulted in a significant risk of re-entrainment of the hazardous waste
      17
            vapors and gases into the HVAC system, and thus into the indoor air of the building where Gjovik
      18
            and her coworkers would be exposed. Cal.Lab.C. § 5143(a)(1) and § 5143(c)(1) prohibit the exhaust
      19
      20    of gas and vapor in a way that causes harmful exposure to employees. Cal.Lab.C. § 5154.1(e)(4)(d)

      21    requires that these types of stacks exhaust upward from at least seven feet above the highest portion

      22    of the roof. California Mechanical Code § 407.2.1 requires outdoor air intakes be placed at least 25
      23
            feet away from any “exhaust outlets of ventilating systems… that may collect …. noxious fumes.”
      24
            Apple constructed the HVAC intakes only ten feet away from the exhaust vents.
      25
                   53.     In May 2015, Northrop Grumman’s vapor intrusion testing at Stewart 1 reported
      26
      27
      28    12
             AECOM for Northrop Grumman, Evaluation of Passive Sub-Slab Depressurization System, Former TRW
            Microwave Site, page 1 (April 15 2022).



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       1    indoor air pollution of TCE, 1,2-DCE, Toluene, Chloroform, Methylene Chloride, and

       2    Ethylbenzene.13 From December 2015 to January 2016, Apple managed and submitted a second
       3
            vapor intrusion testing report to the US EPA.14 Apple’s December 2015 vapor intrusion testing results
       4
            showed an increase in indoor air pollution and the sub-slab ventilation system compared to the May
       5
            2015 results.15 The highest indoor air reading of TCE doubled between May and December 2015. In
       6
       7    May 2015, it was 0.58 µg/m³, and the highest indoor air TCE reading in December 2015 was 1.2

       8    µg/m³.16 Apple’s report also noted a “noticeable increase” of TCE, PCE, and chloroform in the sub-
       9    slab venting system, and high levels of toluene and ethylbenzene in the indoor air.17 Apple moved
      10
            employees in and never tested again.
      11
                   54.     US EPA issued a formal letter to the current building owner in 2016 explaining that if
      12
            there were any issues with the integrity of the slab, such as cracks, the U.S. EPA must be notified,
      13
      14    consulted, and oversee the repairs and subsequent evaluation that the repairs were successful.

      15    Similarly, there is a public land use covenant attached to the property and that runs with the land,
      16    which instructs that major issues with the engineering controls and vapor intrusion systems must be
      17
            reported, and US EPA must be consulted on the next steps.
      18
                                               THE MARCH 2021 EMAIL
      19
                   55.     On March 17, 2021, Apple announced to Gjovik and Powers’ management team that
      20
            it would test Stewart 1 for “vapor intrusion” but said nothing more. Gjovik informed her coworkers
      21
      22    that their office was a Superfund site on March 17 2021, providing a link to the US EPA website for

      23    the site, and news articles referring to their office as a “paved over environmental disaster zone” 18
      24
      25
            13
      26       US EPA, TRW Microwave, Site Documents, Vapor Intrusion.
            14
               AECOM for Apple, Vapor Intrusion Evaluation Report, Former TRW Microwave Site, supra.
            15
      27       US EPA, December 2015 VI Evaluation Report, https://semspub.epa.gov/work/09/1158560.pdf
            16
               Id at pages 26-25.
      28    17
               AECOM for Apple, Vapor Intrusion Evaluation Report, Former TRW Microwave Site, supra at pg11.
            18
               Alexis C. Madrigal, Not Even Silicon Valley Escapes History, The Atlantic (July 23 2013).



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       1    due to the “massive amounts of trichloroethylene in the soil and groundwater from nearly 30 years

       2    of chip manufacturing.”19
       3
                   56.     Gjovik’s manager, Powers, immediately forwarded Gjovik’s email to Human
       4
            Resources and West, complaining “I think Ashley should be keeping these emails private and not
       5
            needlessly scaring the team about something she doesn’t know about. I want to have a talk with her.”
       6
       7    Powers gave Gjovik a ‘warning’ during their next 1:1 meeting and told her she is not allowed to talk

       8    about safety or toxic waste dumps with her coworkers. Things went downhill from there.
       9           57.     On March 26, 2021, the SF Bay View newspaper published an article Gjovik wrote
      10
            about her chemical exposure experience with the air around ARIA.20 More victims and witnesses
      11
            promptly came forward; some were also Apple employees. On April 5, 2021, Gjovik told West about
      12
            the other victims, and West warned her she was “kicking a hornet’s nest.” West asked Gjovik not to
      13
      14    send information about Gjovik’s chemical exposure at her apartment next to ARIA to his personal

      15    work email, saying: “Can you send that stuff to my Gmail instead of work? My mail account is
      16    routinely scanned for lawsuits.”
      17
                   58.     On April 5 2021, Gjovik notified the Director of Apple “AC Wellness” employee
      18
            medical Centers and Clinical Engineering, that after her article was published, more people came
      19
      20    forward from the apartments next to ARIA, reporting illness. “Two are Apple employees. At least one

      21    went through AC Wellness, but no one could figure out what was wrong with them.” Gjovik suggested

      22    Akhtar direct the clinic to “screen local folks” with unexplained symptoms that match solvent
      23
            exposure.
      24
                   59.     Gjovik emailed the U.S. EPA and CalEPA about the issues from September 2020
      25
            through April 2021; many Apple leaders knew she did so. Starting in early 2021, Gjovik also
      26
      27
            19
              Beth Winegarner, Silicon Valley's Toxic Past Haunts Sunnyvale Neighborhood, KQED (June 15 2017).
      28    20
              Ashley Gjovik, “I thought I was dying: My apartment was built on toxic waste,” SF Bay View (March 26
            2021)



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       1    contacted and met with local, state, and federal politicians about what occurred to her next to ARIA

       2    – and Apple was aware of this. For example, Gjovik met with Senator Bob Weickowski and his staff
       3
            on April 7 2021. Gjovik also met with Assembly Member Lee’s staff once and Mayor Lisa Gillmor
       4
            several times. On April 7 2021, Gjovik told West about the meetings. On April 9 2021, Gjovik
       5
            contacted the County District Attorney’s office, talked to Bud Porter, Supervising Deputy District
       6
       7    Attorney for Environmental Crimes, and met with him on April 16 2021.

       8           60.     Gjovik was also meeting with the California Department of Public Health’s
       9    Environmental Health office where she was volunteering her time to assist in creating state-wide
      10
            education resources for tenants and workers around chemical exposure from toxic waste dumps.
      11
            Around this time Gjovik was also meeting with a prior Silicon Valley mayor who has been involved
      12
            in advocated for clean up of Silicon Valley’s toxic waste sites for decades. Gjovik shared his analysis
      13
      14    of the testing and concerns about the clean-up of the property where Gjovik got sick with Mayor

      15    Gillmor and asked her for further investigation from the city.
      16           61.     Gjovik explained to her team what vapor intrusion means, told them to take it
      17
            seriously, and expressed concerns that Apple employees “should be better informed about these types
      18
            of environmental risks at our offices.” Gjovik added, “The chemicals under [the Stewart 1 office], if
      19
      20    in high enough quantities, can cause cancer.” Gjovik asked in her email for details of what type of

      21    testing was to be performed and for what duration, if there would be a risk assessment, and if EH&S

      22    would share the findings with the employees in the building. EH&S initially agreed to meet with
      23
            Gjovik to discuss her concerns.
      24
                   62.     Gjovik’s coworkers thanked her for sharing this information and informing them about
      25
            the site. Two of Gjovik’s friends, a manager and senior manager at Apple, texted her, affirming her
      26
      27    concerns were reasonable and appropriate. One called it “a really important life-threatening

      28    situation,” and another, after reviewing documentation for the site, questioned, “Why is the building




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       1    still open?” One of the managers noted: “What is crazy is … they say no daycare, no elder care, no

       2    residential, etc. So, it is fine & dandy for everyone else to get slowly poisoned?… So glad you are
       3
            digging into this stuff for all of us.” Around this time, Gjovik also raised concerns about COVID-19
       4
            safety, wildfire smoke safety, Right to Know/Prop 65, and Apple’s reporting/tracking of injuries.
       5
                     63.   In late March 2021, Gjovik repeatedly raised concerns about the Superfund site to her
       6
       7    supervisors. After reviewing hundreds of pages of documentation for the site, Gjovik advised Apple

       8    that Apple had been negligent, that the site was not safe, and she complained Apple seemed unwilling
       9    to comply with CERCLA and health/safety regulations. She said she now believed her fainting spell
      10
            in 2019 in her office was due to vapor intrusion. She was also shocked and distressed to see the ‘hot
      11
            spot’ for the building was her desk with 1,900 ug/m3 of TCE in the sub-slab ventilation system.
      12
            Powers threatened her and ordered her to stop talking with her coworkers about her safety and
      13
      14    environmental concerns. He said she must believe whatever EH&S tells her. West first claimed the

      15    poisonous gas was sealed under the floor but, after learning the floor was cracked, told Gjovik to quit
      16    Apple.
      17
                     64.   Gjovik met with Apple EH&S on April 2 2021, May 17 2021, and July 7 2021. For
      18
            some reason, Employee Relations, Jenna Waibel, was also there. Waibel refused to tell Gjovik why
      19
      20    she was involved, as Powers had asked for Employee Relations assistance in trying to silence Gjovik

      21    about Gjovik’s concerns.

      22             65.   Gjovik asked questions about the status of the site and the rationale for certain design
      23
            and monitoring decisions. Gjovik expressed that she was disappointed with some of the answers.
      24
            EH&S (Michael Stieger) told her Apple Legal and EH&S intentionally do not tell employees if they
      25
            work on Superfund site and admitted that Apple deliberately does not train workers about safety
      26
      27    procedures related to toxic waste exposure from clean-up sites. Gjovik said that was both unsafe and

      28    unwise. Gjovik also complained that the prior testing used insufficient durations and methods, had




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       1    concerning results, there were known open risks for vapor intrusion vectors (such as ‘compromised’

       2    sub-slab ports), and the land use covenant is outdated and requiring revision. Gjovik complained that
       3
            Apple should have tested the indoor air more frequently than every six years.
       4
                   66.     Gjovik also contacted the US EPA on April 22 2021, asking to consult with their
       5
            manager for the site and emailed back and forth with the U.S. EPA CERCLA and public relations
       6
       7    teams from April through August 2021, and Apple knew she was doing so.

       8           67.     In response to Gjovik’s concerns and escalations, Powers and Waibel issued gag
       9    orders against Gjovik. Waibel went so far as to provide Gjovik with a five-point balancing test if
      10
            Gjovik wanted to make statements about Superfund sites or workplace safety to her coworkers and
      11
            ultimately told Gjovik that there should be no discussions about workplace safety with her coworkers.
      12
            In their final meeting about the site on July 7, 2021, Waibel and Steiger told Gjovik that Stweart 1 is
      13
      14    safe because they say it is safe, they still have no plans to test the air now, and they will not answer

      15    any more of her questions about the site or workplace safety ever again.
      16           68.     Waibel also responded by opening a non-consensual sexism investigation into
      17
            Gjovik’s bosses, where she did not investigate anything but told at least three leaders that Gjovik
      18
            complained about them. She also harassed Gjovik’s friends and bullied Gjovik to the extent that she
      19
      20    repeatedly made Gjovik cry in front of her. Waibel also told Gjovik she had to submit an ADA

      21    accommodation request if she did not want to be exposed to the vapor intrusion, attempted to get

      22    Gjovik to release all of her medical requests to “Apple Inc.,” and then suggested Apple get her an air
      23
            purifier at her desk for the TCE.
      24
                   69.     Gjovik complained to a senior ethics leader at Apple and their friend, Dr. Cohen, that
      25
            what Apple was doing related to environmental compliance and employee chemical exposure was
      26
      27    “morally wrong,” and Apple was publicly misrepresenting their actual operations.

      28           70.     Gjovik also complained to a friend in Lisa Jackson’s Environmental lobbying team




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       1    about what was going on at her office and complained Apple’s public statements seemed fraudulent,

       2    and her coworker agreed, saying: “uhhh... I kind of feel the need to make sure Lisa is aware. I'm about
       3
            to present a proposal to several execs on an Environmental Justice program and this kind of feels
       4
            like not consistent with that.”
       5
                    71.     On April 29 2021, Gjovik visited an occupational exposure doctor about her apparent
       6
       7    chemical exposure in the apartments next to Apple’s ARIA factory and at Stewart 1. 21 The UCSF

       8    visit notes summarized Gjovik’s 2020 medical symptoms saying:
       9            72.     “She was experiencing severe dizzy spells, a large decrease in resting heart rate,
      10
            palpitations, hypotension, fatigue, chest pain, numbness, spasms, rash, shortness of breath, multiple
      11
            growths (mole, polyp, nodules), nausea, paresthesias, blurry vision, abnormal vaginal bleeding, and
      12
            swollen glands”….“there remains a concern about potential pathways for residential exposures, and
      13
      14    the county and State environmental agencies should address these…. she also notes an unexplained

      15    episode of fainting at work in Sept 2019 at her office on a Superfund site with a long history of vapor
      16    intrusion issues..."
      17
                                                  THE CRACKED SLAB
      18
                    73.     Apple EH&S and Employee Relations notified Gjovik on June 2 2021, that the
      19
            foundation of Stewart 1 and they need to repair it, and then after, they will test the air. Gjovik told
      20
            them they needed to notify the U.S. EPA, have the U.S. EPA oversee the repair and testing plan, and
      21
      22    test the air before and after the repairs. (US EPA later confirmed this). Apple refused and told Gjovik

      23    they do not have to tell U.S. EPA anything; they will repair the floor but will not provide details on
      24    how/when, and now they may not test the indoor air. Gjovik reported Apple’s failure to notify and
      25
            consult with the U.S. EPA about the cracked slab to the U.S. EPA. Gjovik notified Apple that she
      26
      27
      28    21
              Dr. Robert Harrison, MD – who directs the UCSF Occupational Health Services department and the Worker
            Investigation Program for California Department of Public Health.



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       1    was snitching on them to U.S. EPA.

       2           74.     Gjovik complained about Waibel in May and June 2021 to no avail and then began
       3
            meeting with Waibel’s manager, Antonio Lagares, in mid-June 2021. Gjovik complained that Apple
       4
            was acting insane, and if this is usually how Apple handles employee concerns, then Apple is lying
       5
            to its employees and the public that it acts in good faith. Lagares agreed with Gjovik and said Apple’s
       6
       7    marketing makes “his job harder.” Gjovik asked what type of issues his team would take seriously,

       8    and he responded when managers “send pics of their junk.” Gjovik complained to Lagares that Waibel
       9    had already ruined her career at Apple, that she was already constructively terminated by West, that
      10
            Powers was harassing her more than ever, and that he should have to investigate all of the terrible
      11
            things Apple’s done to her for nearly seven years.
      12
                   75.     In July 2021, Gjovik discovered that West had been reassigning her best projects
      13
      14    (things that would help her receive a positive review). Then Powers suddenly quadrupled her

      15    workload with highly unfavorable projects (things that were certain to upset people and fail). Powers
      16    was snapping at her and harassing her, West was ignoring her, and Gjovik reported these issues to
      17
            Lagares and Waibel and the HR business partner Helen Polkes. Still, Apple did nothing, or they also
      18
            harassed Gjovik. Gjovik became more vocal about her concerns about systemic retaliation and fraud
      19
      20    at Apple on Apple’s Slack discussion tool and also began threatening Lagares that she planned to sue

      21    Apple for what they’ve done to her and that she is also talking to the press (NYT) about Apple. This

      22    led Lagares to assign a new investigator (Ekelemchi Okpo) and open a new investigation into all of
      23
            Gjovik’s concerns going back to 2015.
      24
                   76.     By late July 2021, Gjovik was openly complaining on Slack, to reporters, with
      25
            coworkers, and now also on Twitter about Apple’s terrible behavior (including intimidation,
      26
      27    retaliation, cover-ups, and fraud). Gjovik complained about the Superfund and safety issues, Apple’s

      28    offensive use of ADA accommodations, the persistent suggestion that she take FMLA leave in




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       1    response to their harassment, Apple’s illegal NDAs and gag orders, and Apple’s antagonistic and

       2    obstinate attitude towards legitimate and important concerns. Gjovik repeatedly told Lagares, Okpo,
       3
            Waibel, and Polkes that she refused to take leave in response to retaliation and harassment; instead,
       4
            they needed to fix the issues.
       5
                   77.     Gjovik had still been lobbying legislatures about the need for additional safety
       6
       7    protections for workers and tenants on toxic dump sites. A state Senator told Gjovik he would talk to

       8    CalEPA about her concerns. Gjovik checked with his office for a status update on that conversation.
       9    On July 16 2021, the Senator’s Legislative Director wrote to Gjovik confirming and adding her
      10
            concerns were shared even further, writing: “I conveyed them myself on the Senator’s behalf with the
      11
            Govender’s staff and leadership of both houses.”
      12
                   78.     On July 23 2021, Gjovik was quoted by the New York Times, where she criticized
      13
      14    Apple’s COVID-19 response. On July 24, 2021, New York Times made Gjovik’s quote “Quotation

      15    of the Day” for the entire NYT.22 Lagares expressed to Gjovik that Apple was upset that Gjovik did
      16    this. Gjovik told Lagares she was taking Labor Law and learned she could speak about her work
      17
            conditions regardless of NDAs. Lagares told her it is “annoying” to Apple when employees “figure
      18
            that out.”
      19
      20           79.     On July 26 2021, Gjovik posted on Apple’s Slack discussion tool complaining that

      21    Apple’s response to her concerns was to retaliate against her and intimidate her into silence. Gjovik

      22    asked if anyone else had been retaliated against for raising concerns. Many of Gjovik’s coworkers
      23
            responded that they had also experienced retaliation from Apple for raising real and reasonable
      24
            concerns. Okpo then swiftly interrogated Gjovik for over an hour about her Slack posts and the
      25
            responses she received from coworkers – repeatedly asking her to stop posting about her concerns
      26
      27
      28    22
              Ashley Gjovik, “Quotation of the Day: Virus Surge Complicates Return-to-Office Plans,” New York Times,
            July 24 2021.



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       1    and to stop encouraging other employees to post their concerns, and instead to direct all employees

       2    to speak privately. Gjovik told him no. she would not help him retaliate against her coworkers.
       3
                   80.     Apple and Northrop Grumman were notified on July 26 2021 that US EPA was
       4
            demanding an inspection of Stewart 1 due to Gjovik’s reports about the cracked slab and Apple’s
       5
            obstinate and obstructive response; and because US EPA discovered what Apple did with the
       6
       7    hacksaw, vents, and HVAC on the roof of Stewart 1 in 2015, with the US EPA QA team exclaiming

       8    it was “not appropriate” and asking for air samples.
       9           81.     On July 27 2021, a non-profit organization asked Gjovik to testify as a witness to state
      10
            Senator Dave Cortese about her experience with hazardous waste clean-up sites in Santa Clara
      11
            County, and Gjovik accepted.
      12
                   82.     On July 28 2021, Gjovik emailed Okpo and Lagares about her discussions with
      13
      14    coworkers, and she discovered a pattern of discrimination and harassment issues across Apple; and

      15    what appeared to be systemic cover-ups of those issues instead of actually resolving the problems.
      16    She complained Apple fraudulently holds itself out publicly as caring about human rights and the
      17
            law. It was clear to Gjovik that Okpo would not investigate in good faith and Apple was still trying
      18
            to get her to quit or else would fire her, and she began fervently complaining about their bad faith
      19
      20    behavior and culture of intimidation.

      21           83.     Apple said they may give Gjovik a severance package of around $600,000 if Gjovik

      22    would sign a preemptive litigation waiver. Apple agreed Gjovik would not have to sign another NDA
      23
            but did make the severance negotiation contingent on Gjovik executing a waiver of all claims, while
      24
            Apple concurrently intentionally concealed material facts about harm Apple caused to Gjovik through
      25
            chemical exposure at her office and her apartment. Gjovik expressed concerns about the settlement
      26
      27    amount and her potential medical costs if she were to get cancer from the exposure at her office, not

      28    even yet knowing about the ARIA facility or what Apple did to the HVAC at Stewart 1. Apple wanted




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       1    all claims waived and denied the severance on those conditions, violating California law. [Cal. Gov't

       2    Code § 12964.5(a)].
       3
                   84.     A few days before Apple forced her on leave, Gjovik discovered that one of the only
       4
            two women who ever reported to West at Apple had quit Apple due to the harassment she faced.
       5
            Gjovik complained to Powers and Powers told her this was a secret and not to tell anyone.
       6
       7           85.     On July 30 2021, Gjovik posted on Twitter complaining about Apple. “They offered

       8    EAP and suggested medical leave after I spoke up about sexism, discrimination, and a hostile work
       9    environment. They also suggested requesting ADA disability accommodations after I raised concerns
      10
            about unsafe work conditions.”
      11
                   86.     After posting this, ex-Apple employees contacted Gjovik to share they had similar
      12
            experiences. Other Big Tech and ex-Apple employees supported Gjovik for speaking out, sending
      13
      14    her many encouraging and grateful messages and comments. Gjovik then decided to start sharing

      15    more of what was happening between her and Apple on social media to help others understand the
      16    issues so they could advocate for the employees, hoping it may pressure Apple to act more reasonably.
      17
                   87.     On July 30 2021, Gjovik posted on Apple’s Slack discussion tool complaining in
      18
            detail about Apple’s misconduct, including retaliation, unsafe work conditions, and cover-ups.
      19
      20    Around this time, Gjovik created a new, private Slack group for her coworkers to discuss concerns

      21    about Apple retaliating against them for raising concerns, but with more privacy due to fear of more

      22    retaliation. Many women asked to join the group, and they had just started a discussion.
      23
                   88.     On August 2 2021, out of frustration with Okpo and Lagares refusing to re-investigate
      24
            anything Waibel said was fine during the first (sham) investigation – Gjovik proceeded to start posting
      25
            on Twitter about several of the more minor things she complained to Waibel about. She told Okpo
      26
      27    and Lagares that it was work conditions, and they claimed they investigated and found no problems,

      28    so she is free to talk about it and she would do so. Gjovik posted several examples of the evidence on




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       1    Twitter, and her posts quickly went viral.

       2              89.     In response, on August 2 2021, Apple suddenly announced they were conducting
       3
            extensive maintenance at Stewart 1 starting on August 4 2021. Then, on August 3 2021, Lisa
       4
            Jackson’s team scheduled a Public Relations blitz about how safe and thoughtful Apple is, actually.
       5
            23
                 Apple also attempted to make the US EPA sign a four-page single-spaced NDA about the inspection
       6
       7    of Stewart 1 that would prohibit the US EPA from speaking about the inspection. The US EPA

       8    declined to sign the NDA.
       9              90.     When Gjovik saw Apple’s EH&S notice on August 2 2021 about maintenance at
      10
            Stewart 1, she quickly arranged for coworkers in the office to gather evidence of the cracks, warning
      11
            them that Apple was trying to cover up environmental and safety issues. Gjovik’s coworkers gathered
      12
            photos of the cracks for Gjovik on August 3 2021 and the morning of August 4 2021. They also asked
      13
      14    many of the same questions Gjovik had asked EH&S. Gjovik shared EH&S’s responses, and they

      15    were concerned about Apple’s position and conduct. Gjovik informed Apple she and her coworkers
      16    were gathering evidence before Apple could cover up the cracks.
      17
                                            REMOVED FROM THE WORKPLACE
      18
                      91.     On August 4 2021, Okpo immediately forced Gjovik on indefinite administrative leave
      19
            and refused to provide any ETA for the next steps. Okpo informed her Apple removed her “from the
      20
            workplace and all workplace interactions.” Gjovik was very upset and protested, arguing she just
      21
      22    wanted to stop interactions with West and Powers while Okpo investigated because of the work

      23    assignment changes and harassment. Gjovik also complained that it was illegal for them to tell her to
      24    stop talking to her coworkers. Okpo made it clear he also wanted her off Slack. Gjovik told Okpo he
      25
            could not keep her off Twitter. Gjovik set her out of the office to say Apple put her on indefinite
      26
            administrative leave and told her to stay off Slack. She also posted a message on Slack about it.
      27
      28
            23
                 FOIA; Axios, Exclusive: EPA administrator visits Apple HQ to talk climate, environmental justice.



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       1           92.     On August 4 2021, a reporter at The Verge contacted Gjovik after Gjovik’s coworkers

       2    told the reporter what Gjovik had posted. The reporter wanted to write an article about what Apple
       3
            did to Gjovik. Gjovik agreed to let her write an article about Gjovik being put on leave. Gjovik also
       4
            posted on Twitter about it herself first, and other press picked up the story.24 Within hours, it was
       5
            covered in the news worldwide. Okpo sent her several bitter emails about her continuing to speak out,
       6
       7    and he was clearly reading the news articles and her Twitter posts complaining about Apple’s conduct.

       8           93.     Apple responded to the media by repeating the same statement over and over: "We are
       9    and have always been deeply committed to creating and maintaining a positive and inclusive
      10
            workplace. We take all concerns seriously and thoroughly investigate whenever a concern is raised;
      11
            out of respect for the privacy of any individuals involved, we do not discuss specific employee
      12
            matters."
      13
      14           94.     Starting on August 4 2021, Gjovik began receiving harassing and threatening replies

      15    and comments from clearly fake social media accounts. On August 4 2021, one account posted about
      16    Gjovik, that she: “needs psychiatric help and confinement” and that Gjovik “is a psychopath and
      17
            frankly is a danger to other Apple Employees!” The account went on to call Gjovik an “ambulance
      18
            chasing psychopath” and said, “Apple needs to bring the hammer and make an example of people like
      19
      20    this.” Thousands of posts like this followed and continue to this day – causing Gjovik severe distress.

      21           95.     The night after Gjovik was stuck on leave, West suddenly scheduled meetings with

      22    Gjovik’s women’s group. Gjovik also heard conversations within her team that confirmed she would
      23
            be fired soon. Starting around August 5 2021, the managers in West’s organization started raising the
      24
            “Ashley Issue” as a discussion topic in staff meetings. The managers told the workers that if anyone
      25
      26
            24
      27      The Telegraph, “Apple worker who complained about sexism and 'hostile' workplace put on paid leave,”
            Aug 5 2021; Yahoo Finance, “Senior Apple employee alleges sexism at work, is put on indefinite leave,”
      28    Aug 5 2021; Fox News, “Apple exec says she was placed on leave after raising sexism concerns, other
            workplace issues.”



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       1    has concerns about the “Ashley Issue,” they should talk to Helen Polkes. They also mentioned West’s

       2    plans to “discuss the Ashley Issue” at the upcoming October All Hands meeting. Gjovik realized they
       3
            would not be discussing the “Ashley Issue” at a future all-hands meeting if she was there, and West
       4
            was already sure Gjovik was about to be fired.
       5
                   96.     Gjovik saw emails come in steadily while she was on leave about EH&S activities at
       6
       7    the building. EH&S sent notices that they would be on-site for prolonged periods: August 4, 6, 7, 8,

       8    11, 13, 14, 15, 18, 19, 20, 21, 22, 27, 28, 29; and September 3, 4, 5 2021. When the US EPA inspected,
       9    they noted “freshly sealed cracks.”
      10
                   97.     On August 9 2021, the US EPA sent travel approval requests to visit Gjovik’s office,
      11
            and the justification for the visit cited Gjovik’s disclosures. The US EPA’s justification for the
      12
            inspection was: “A site visit to an Apple office building is necessary to conduct a visual inspection of
      13
      14    the building’s vapor intrusion mitigation measures. An Apple employee recently contacted EPA and

      15    notified EPA that there were cracks in the building’s foundation. If true and cracks are significant,
      16    this could impact the effectiveness of the VI mitigation system and the protectiveness of human
      17
            health.”
      18
                   98.     On August 12 2021 and August 13 2021, Gjovik filed complaints with US EEOC and
      19
      20    California DFEH. In August, Gjovik also shared concerns on social media and with the press,

      21    including experiences with her team in 2015, what Apple did to her around Batterygate and related

      22    harassment, and her concerns about Apple’s long history of criminal and corrupt behavior. On August
      23
            17, 2021, Business Insider published an article about some of Gjovik’s complaints based on Gjovik’s
      24
            Twitter posts and embedded Gjovik’s Twitter posts in the article.25 The article also noted: “Insider
      25
            approached Apple for comment.”
      26
      27
      28    25
               Business Insider, An Apple employee on leave after publicly alleging sexism says co-workers kept a
            scoreboard to make her quit, (August 17 2021).



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       1           99.     On August 15 2021, Gjovik posted on Twitter that she had met with US

       2    Representatives, state Senators, Assembly Members, and Mayors about her chemical exposure.
       3
                   100.    Between August 16 2021 through August 23 2021, Okpo sent a first draft of an “Issue
       4
            Confirmation” document that supposedly captured all of Gjovik’s complaints that he was
       5
            investigating, and Gjovik revised it and sent him a final revised version on August 23 2021.
       6
       7           101.    Starting August 17 2021, Gjovik insisted that all communication with Okpo and Apple

       8    be in writing because he repeatedly misrepresented her statements. Okpo ignored her.
       9           102.    On August 19 2021, the US EPA conducted an onsite inspection of Gjovik’s Apple
      10
            office due to Gjovik’s complaints to the US EPA. US EPA’s notes from the August 19 2021 site visit
      11
            and inspection included concerns and issues with the HVAC, sub-slab ventilation system, missing
      12
            sub-slab ports, integrity of the slab, and lack of documentation for slab/crack inspections.
      13
      14           103.    Gjovik had previously registered for a three-part training about racial justice with

      15    Apple University and wanted to attend. The class was led by her friend Dr. Cohen, and he confirmed
      16    he was happy to have her attend as long as Employee Relations approved and did not discipline her
      17
            for attending. On August 20, 2021, Gjovik asked Okpo if she could attend, and Okpo said she could
      18
            not participate “because she’s on leave.” Gjovik complained about retaliation.
      19
      20           104.    While Gjovik was stuck on leave, she repeatedly asked Okpo for updates about her

      21    office, but he refused to provide any updates. Gjovik often complained about retaliation and that she

      22    did not want to be on leave, but Okpo ignored her.
      23
                   105.    Gjovik also filed a Business Conduct complaint about her concerns about Ronald
      24
            Sugar, TRW Microwave, and her office. She attached the Issue Confirmation and notified Okpo of
      25
            the ticket. Gjovik’s 33-page version of the Issue Confirmation included detailed complaints of fraud,
      26
      27    organized witness tampering, obstruction of justice, toxic torts, corruption, negligence, conflicts of

      28    interest, racketeering, and environmental crimes.




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       1           106.    On August 23 2021, U.S. EPA CERCLA Quality Assurance submitted notes:

       2    "Significant, visible slab cracks, gaps, and penetrations had been sealed… However, large test
       3
            equipment is bolted to the slab, and it is unclear if these installations penetrate the slab.” He added
       4
            that related to the sub-slab exhaust on the roof above Gjovik’s desk, “vapors could be building up on
       5
            the roof near the HVAC intake.”
       6
       7           107.    On August 23 2021, a news article discussing Apple’s employment practices

       8    commented that: "One Apple employee, Ashley Gjovik, has been very vocal on Twitter by stating
       9    multiple problems that have occurred within Apple. She alleges a powerful cover-up culture within
      10
            Apple that led to her eventual administrative leave."
      11
                   108.    On August 26 2021, Gjovik filed an NLRB charge against Apple and posted on Twitter
      12
            that she did so. On August 27 2021, Apple’s Business Conduct team closed Gjovik’s complaint about
      13
      14    Ronald Sugar and Gjovik’s Superfund office. The message posted said: “…we have shared them with

      15    the appropriate internal teams for review and investigation,” with the ticket updated to say, “Request
      16    is closed. This request is closed and can't be reopened.”
      17
                   109.    On August 29 2021, Gjovik filed a formal complaint to the U.S. EPA about Apple and
      18
            her office at Stewart 1, complaining of Apple’s “lack of due diligence,” complaining about
      19
      20    “negligence,” and “recklessness,” and “violations of Right to Know & OSHA.” Gjovik complained,

      21    “Apple's response has been to misrepresent their activities and the site, intimidate me to not speak

      22    about workplace safety concerns related to the site, and have refused to notify the Federal EPA of
      23
            changed circumstances at the site.” Gjovik did not know about the US EPA safety inspection ten
      24
            days prior.
      25
                   110.    On Sunday, August 29 2021, at 11:32 AM PST, Gjovik filed a Whistleblower
      26
      27    Protection Program complaint with the US Department of Labor, reference number ECN76833. On

      28    August 29 2021, Gjovik filed retaliation and labor code violation charges to the California Department




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       1    of Labor. (This lawsuit replaced the California Department of Labor DIR case Ashley Gjovik v Apple

       2    Inc, RCI-CM-842830). On September 1 2021, Gjovik posted on Twitter that she had filed a complaint
       3
            with the California Department of Labor. A question on the form asked: How did your employer
       4
            know about the protected right you exercised? Gjovik wrote, “I kept saying, ‘Stop it, you guys.
       5
            There’s Labor laws about this.”
       6
       7           111.    While Gjovik was stuck on leave, Apple had emailed her three times to ask if they

       8    may capture three-dimensional scans of her ears and ear canals, and Gjovik complained that Apple’s
       9    requests were harassing and invasive.
      10
                   112.    Gjovik complained that Apple frequently requested that Gjovik and her coworkers
      11
            participate in invasive, oppressive, and humiliating medical studies, anatomical studies (like ear
      12
            scans), DNA tests, biometrics data collection (like the Gobbler app), and other highly personal
      13
      14    examinations. Apple did not disclose the details of the experiments until after Gjovik signed a secrecy

      15    oath and ‘consented’ to the activity, and then repeatedly threatened Gjovik with termination if she
      16    was to speak about it even to a doctor or attorney (as was expressly written in one Deed Poll). Gjovik
      17
            felt the studies themselves were wrong, but also Apple’s practices were also wrong related to
      18
            demanding employee secrecy about the studies.
      19
      20           113.    Around August 30 2021 and August 31 2021, Gjovik posted on social media sharing

      21    an article she was interviewed for called “Apple Cares about Privacy Unless You Work at Apple.” 26

      22    In Gjovik’s posts, she complained of Apple’s surveillance of workers, its exploitation of workers, and
      23
            Apple’s culture of intimidation and retaliation, and she compared working at Apple to being in a
      24
            panopticon. The article discussed several examples of Apple’s invasions of employee privacy,
      25
            brought forward from Apple employees who wanted assistance from the public in reforming Apple’s
      26
      27
      28    26
                The Verge, Apple Cares about Privacy, Unless You Work at Apple, Aug 30 2021,
            https://www.theverge.com/22648265/apple-employee-privacy-icloud-id



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       1    practices. In the article, Gjovik complained about the Gobbler app and was quoted saying “If they did

       2    this to a customer, people would lose their goddamn minds.”
       3
                      114.   On August 31 2021, at 7:16 AM PST, the U.S. Department of Labor contacted Gjovik
       4
            to start intake for Gjovik’s Whistleblower Retaliation charges. Gjovik had her interview with the U.S.
       5
            EEOC on September 2, 2021. Gjovik did not request an investigation but did request a Right to Sue
       6
       7    letter, which she received on 9, 2021, before her termination. Apple was made aware of Gjovik’s U.S.

       8    EEOC and Cal. DFEH complained that she was testifying to U.S. EEOC and Cal. DFEH about what
       9    Apple did to her by at least August 12, 2021. Gjovik Tweeted about her appointment with the U.S.
      10
            EEOC.
      11
                      115.   Around September 2 2021, numerous articles were published about Gjovik’s charges
      12
            against Apple. Bloomberg reported about Gjovik’s U.S. NLRB, U.S. Dept. of Labor, Cal. Dept. of
      13
      14    Labor, and U.S. EEOC charges against Apple. Bloomberg wrote,

      15            “Ashley Gjovik, a senior engineering program manager at Apple, said that she filed the Aug. 26
      16            complaint, which cited harassment by a manager, a retaliatory investigation, and forced paid
                    administrative leave. Gjovik’s situation began with fears about whether pollution had made her
      17            office a dangerous place to work. She says she was then retaliated against for voicing her
      18            concerns. “I should be able to raise concerns about safety and public policy,” she said in an
                    interview Thursday. Gjovik has also filed complaints with the Occupational Safety and Health
      19            Administration, California’s labor commissioner’s office, and the Equal Employment
      20            Opportunity Commission, according to documents she provided. Gjovik said her goal is to bring
                    light to systematic problems at Apple and try to improve policies. “I want to pierce the veil of
      21            intimidation and secrecy,” she said in the interview. “The employees are terrified to speak up
      22            about their concerns.” 27

      23    On September 2, 2021, Financial Times wrote about Gjovik:

      24            “Gjovik’s specific complaints against Apple date back to mid-March, when she cited unsafe
                    working conditions related to “chemical exposure” at her Apple office in Sunnyvale, California,
      25
                    where more than 100 employees are based. Her office, known as “Stewart 1” within Apple, is
      26            located on what the Environmental Protection Agency refers to as the “TRW Microwave
                    Superfund site,” a location requiring special oversight owing to previous contamination by
      27
      28
            27
                 Nick Turner, Apple Worker Complaints Reviewed by Labor Relations Board, Bloomberg, Sept 2 2021.



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       1         hazardous waste materials in the soil and groundwater beneath the building. In 2016, Apple paid
                 $450,000 to settle state claims that it mishandled hazardous electronic waste at their Cupertino
       2
                 headquarters and Sunnyvale facilities. Gjovik said her concerns were brushed aside and she was
       3         warned against speaking up about them. In her letter to the NLRB, she said Apple’s employee
                 relations department “intimidated me not to speak about my safety concerns,” that a manager
       4
                 advised that she quit Apple and was subject to sexism and a “dramatically increased” workload.
       5         Matters escalated when she took her complaints to Apple’s Slack channels, specifically a 2,000-
                 member forum for female software engineers. She said she was flooded with supportive
       6
                 comments and similar stories of workplace harassment — but she had since been banned from
       7         using Slack as part of her administrative leave.”28
       8
                   116.    The press continued to cover what Apple was doing to Gjovik and a movement starting
       9
            among Apple employees who began speaking out and organizing with each other around work
      10
      11    conditions and human rights. Apple workers, past and present, began publicly sharing their own

      12    stories of discrimination, retaliation, and cover-ups. The press wrote about this too, and Gjovik posted

      13    about it repeatedly on Twitter. Gjovik was not only a catalyst for many employees to come forward,
      14
            but these employees catalyzed Gjovik’s view and protest of Apple’s misconduct.
      15
                   117.    On September 3 2021, Gjovik filed complaints with the U.S. FDA Office of Criminal
      16
            Investigations and U.S. DOJ National Center for Disaster Fraud about Apple’s apparent attempt to
      17
      18    “skip the line” on COVID-19 vaccines and hoard the vaccines.29 On September 3 and 6, 2021, she

      19    posted on Twitter about filing the complaints.
      20           118.    On September 3 2021, Gjovik told the FBI about Apple’s involvement in concealing
      21
            possible sanctions violations and smuggling. In the webform field for “crime”, she wrote: “Possible
      22
            violations of sanctions against Syria, possible cover-up of that knowledge, retaliation for reporting
      23
            concerns about said violation and coverup.” Gjovik posted on Twitter that she had reported the matter
      24
      25    to the FBI.

      26
      27
            28
               Patrick McGee, US labour board examines retaliation claims against Apple, Financial Times, Sept. 2 2021,
      28    https://www.ft.com/content/484fa8be-925e-495c-91ff-54950b112754
            29
               US DOJ, NCDF, COVID-19 Hoarding and Price Gouging Task Force.



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       1           119.    On September 3 2021, Gjovik signed a contract with Business Insider to write an Op-

       2    ed about her situation with Apple and proposals on how Apple can address its systemic issues. Gjovik
       3
            modeled her article and proposals after what she had been learning about Transitional Justice at
       4
            Oxford. (Gjovik received perfect grades in the 2021 Oxford program, and Gjovik’s faculty advisor
       5
            for the program would later be selected to become a member of the U.S. Chemical Safety and Hazard
       6
       7    Investigation Board in 2023).

       8           120.    Okpo contacted Gjovik again on September 3 2021 and September 7 2021, asking to
       9    meet with her on Webex; implicitly denying her request to keep things in writing; and refusing to tell
      10
            her what the meeting was about. Both times Gjovik asked Okpo to keep things in writing due to the
      11
            misrepresentation and intimidation. If he refused, she requested a Business Conduct review of his
      12
            decision, noting he’s a lawyer and there is a power imbalance. Okpo never responded.
      13
      14           121.    On September 6 2021, Gjovik posted on social media about her U.S. NLRB, Cal. Dept.

      15    of Labor, and U.S. EEOC/Cal.DFEH cases with a status update and the report numbers – and also
      16    tweeted about her U.S. SEC whistleblower tip, U.S. FBI, and U.S. Department of Justice complaints.
      17
            On September 6 2021, Gjovik replied to the U.S. EEOC confirming she was working on a draft of
      18
            her complaint and was targeting to submit it to them by September 8 2021. On September 8, 2021,
      19
      20    Gjovik emailed the U.S. EEOC her draft of the language for her charge.

      21           122.    On September 7 2021, a few days before her termination, Gjovik discovered the

      22    second woman to ever report to West had sued Apple over West’s retaliation, constructive termination
      23
            in violation of public policy, and IIED only two years prior. The ex-colleague’s complaint explained
      24
            she witnessed retaliation and intimidation in West’s organization, that West spoke openly about his
      25
            employee’s fear of retaliation, and after she raised concerns to West about this, West began retaliating
      26
      27    against her too. The complaint alleged there were three sham Employee Relations investigations into

      28    her concerns, finding no policy violations related to West’s conduct. Employee Relations put her on




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       1    administrative leave, waited a few weeks, and then told her she can either accept two months of

       2    severance and sign a release of rights to pursue legal action against Apple, or she can return to work
       3
            as things are except that West will be even more angry at her now. The coworker resigned and filed
       4
            suit instead. Apple settled shortly after.30     Gjovik posted on Twitter about it, expressing her
       5
            displeasure.
       6
       7           123.    On September 8 2021, Gjovik replied to the US Department of Labor with copies of

       8    her prior filed complaints to the U.S. EEOC, U.S. NLRB, U.S. EPA, Cal. EPA, and U.S. SEC. Gjovik
       9    noted she was working on answering the investigator’s questions and would reply by the deadline,
      10
            which was September 10 2021. On September 9 2021, at 12:39 PM PST, Gjovik emailed the U.S.
      11
            EEOC investigator assigned to her case and asked the investigator if she needed anything else from
      12
            Gjovik to move forward. Then again, at 1:02 PM, asking US EEOC how she could sign the charge to
      13
      14    meet the deadline.

      15                                       WORKPLACE VIOLENCED
      16           124.    On September 9 2021, at 2:08 PM PST, Gjovik was contacted by Aleks Kagramanov,
      17    an Apple “Workplace Violence and Threat Assessment” investigator demanding to speak with Gjovik
      18
            on the phone “within the hour.” The email had no subject line, and Gjovik had never heard of the
      19
            team. Kagramanov said he was “looking into a sensitive IP matter” and wanted to speak with Gjovik.
      20
            He said Apple “sincerely appreciate [her] prioritizing this call and being flexible.” He never said
      21
      22    Gjovik was under investigation.

      23           125.    Gjovik was sure she was about to be fired, but two minutes later, Gjovik promptly
      24    responded at 2:10 PM PST, saying she was willing to participate but wanted a written record of their
      25
            conversations. She said she will respond as quickly as she can. Kagramanov did not respond, so
      26
      27
      28    30
             Brown v Apple Inc, Case No. 18CV330922, Superior Court of the State of California, County of Santa Clara,
            Complaint (July 2 2018).



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       1    Gjovik replied again. Gjovik responded again at 2:27 PM PST, complaining to the Workplace

       2    Violence interrogator of “witness intimidation the day before her affidavit” and telling him she
       3
            forwarded his emails to her NLRB investigator. Gjovik posted on Twitter complaining of witness
       4
            intimidation and fear of violence from Apple.31
       5
                    126.    Cal.Lab.C. § 6401.9 defines “workplace violence” as the threat or use of physical
       6
       7    force, including incidents involving guns and dangerous weapons. There was no legitimate

       8    explanation why this team was contacting Gjovik.
       9            127.    Gjovik opined about it on Twitter while she waited for Kagramanov’s response,
      10
            posting at 2:34 PM: “...so does he investigate the threats & violence, or is he the one that provides
      11
            that as a service?”
      12
                    128.    Kagramanov replied to Gjovik’s email at 2:50 PM, now saying: “We are investigating
      13
      14    allegations that you improperly disclosed Apple confidential information.” Kagramanov then also

      15    claimed Gjovik refused to “participate” in his farcical investigation and announced he was
      16    suspending all of Gjovik’s Apple account access. He never shared with Gjovik that he was apparently
      17
            partnering with an Apple lawyer who assumably would have been waiting on the call/Webex to speak
      18
            with Gjovik along with Kagramanov. The specific lawyer was previously a New York state criminal
      19
      20    Asst. District Attorney in Manhattan prior to joining Apple a few years prior. It’s unclear what their

      21    plan was if Gjovik was to agree to speak with them.

      22            129.    Gjovik responded to Kagramanov at 3:07 PM, reiterating that she wanted to
      23
            participate. “As mentioned, I am definitely willing to participate in your investigation. I only asked
      24
            that the discussion be kept to email — I said nothing about not participating in the discussion at all.”
      25
            Gjovik added: “I offered to help via email to ensure we have a documented [record] of our
      26
      27
            31
              “Hey #Apple, ‘This feels a little like witness intimidation. I let @NLRB know.’ Love, Ashley. Clutches panic
      28    button & Mace while still laying on the floor pondering the brutality of U.S. capitalism.” -- @ashleygjovik
            (September 9 2021 2:33 PM).



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       1    conversations considering everything that’s currently going on with my investigation and my

       2    complaints to the government… I would really like the opportunity to remedy any actual issues.
       3
            Please let me know what the issues are so I can make a good-faith attempt at that.”
       4
                   130.    Gjovik added in her 3:07 PM email reply to Kagramanov: “In the meantime, without
       5
            any additional context or effort to communicate with me in email, this really does feel like intimidation
       6
       7    and additional retaliation, and I will consider it as such.” Gjovik still did not know what she was

       8    supposedly accused of.
       9           131.    On September 9 2021 at 4:24 PM PST, the U.S. EEOC investigator emailed Gjovik,
      10
            saying she posted the final version of the charge and asked Gjovik to sign the charge. On September
      11
            9 2021, at 4:27 PM PST, Gjovik digitally signed her U.S. EEOC charge against Apple. Then, at 4:47
      12
            PM PST, Gjovik emailed the U.S. Department of Labor with responses to their questions about her
      13
      14    protected activity and Apple’s retaliation. Gjovik replied again at 5:26 PM PST, informing them

      15    Apple’s Workplace Violence interrogator had just suspended her account access and threatened her.
      16           132.    On September 9 2021, at 6:54 PM PST, Yannick Bertolus, Gjovik’s Vice President,
      17
            and West’s close friend, emailed Gjovik with the subject line “Your employment status” and an
      18
            attached letter saying she was terminated for vague reasons. The termination letter repeated an
      19
      20    ambiguous charge of leaking and said she “failed to cooperate and to provide accurate and complete

      21    information during the Apple investigatory process.”

      22           133.    Six days later, on September 15 2021, at 7:40 PM PST, Apple’s lawyers at O’Melveny
      23
            & Myers, via Partner David R. Eberhart emailed Gjovik a letter implying Apple terminated her due
      24
            to her complaining about Apple asking to 3-D scan her ear canals and also because she posted some
      25
            of the surveillance photos Apple secretly took of her through her phone when it was illegally
      26
      27    harvesting her biometrics through its face Gobbler app. Gjovik told Eberhart that none of that was

      28    confidential and that she had the right to protest and discuss it. Eberhart threatened her and demanded




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       1    she delete several Twitter posts but never cited any legal authority (because there’s none). A lawyer

       2    responded to Eberhart more formally a couple of weeks later, on Gjovik’s behalf, warning him about
       3
            Rule 11 sanctions if he attempted to pursue the matter in court as his claims have no basis in fact or
       4
            law. Eberhart never responded.
       5
                    134.    On September 10 2021, Gjovik testified to U.S. NLRB for her first affidavit. On
       6
       7    September 14 2021, Gjovik had the second part of her NLRB affidavit. She posted about it on Twitter.

       8            135.    On December 13, 2021, US DOL docketed Gjovik’s SOX, CERCLA, and OSH Act
       9    cases. A Financial Times article was published on December 13, 2021, which said:
      10
                     "The labour department will examine whether Apple retaliated over claims about
      11             occupational safety and hazardous waste management liability, alongside a third allegation
                     that falls under the Sarbanes-Oxley Act, or Sox, which sets out the rules for financial record
      12
                     keeping. Gjovik pointed to a potential conflict of interest regarding Apple board member
      13             Ronald Sugar, chair of the audit committee, as he was previously chief executive of Northrop
      14             Grumman, the defense company responsible for the dump — and maintenance — of waste
                     materials beneath the Sunnyvale office. Sugar could not be immediately reached for
      15             comment. "Gjovik’s case was “especially unusual” and noteworthy because of the three
      16             separate statutes or laws that may have been broken, said Michael Duff, a former attorney at
                     the National Relations Labor Board. “Federal agencies exercise what in the context of
      17             criminal law is known as prosecutorial discretion,” he said. “They are very careful of what
      18             cases they move forward because they have scarce resources, so they must have a strong
                     reason to believe they can prevail.”32
      19
      20            136.    On September 21 2021, Tim Cook emailed his staff complaining that someone had

      21    spoken publicly to reporters about work conditions. Cook said Apple’s “doing everything in our
      22    power to identify those who leaked.” Cook said, “People who leak confidential information do not
      23
            belong here.”33
      24
                    137.    After Apple fired Gjovik, Gjovik filed additional U.S. NLRB and Cal. Dept. of Labor
      25
      26
      27    32
               Financial Times, “Apple faces probe over whether it retaliated against whistleblower,” Dec. 13 2021.
            33
               Macworld, “Apple’s war against leakers is really a battle against the people that matter most,” Feb. 7 2023.
      28    (“…people who leak confidential information do not belong here. / Tattooed on Tim Cook’s right bicep: ‘Loose
            lips…’ And on his left: ‘…pink slips.’)



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       1    charges about Cook’s email, and Apple’s NDAs and other employment policies, charging they violate

       2    labor laws – and the U.S. NLRB agreed with Gjovik, issuing a Decision of Merit on her charges
       3
            against Apple in January 2023. 34
       4
                             THREATS, INTIMIDATION, COERCION, HARASSMENT
       5
                   138.    From at least July 2021 through current day – Apple employees stalked, harassed, and
       6
            tormented Gjovik with actions including repetitive, unwanted communications to Gjovik; making
       7
       8    false accusations against Gjovik; mailing Gjovik menacing packages; physically surveilling Gjovik;

       9    gathering information about Gjovik; monitoring Gjovik’s activities; harassing Gjovik’s friends; using

      10    threats and scare tactics to frighten Gjovik; publicizing Gjovik’s private information; and encouraging
      11
            others to harass Gjovik.
      12
                   139.    Starting in August 2021 and continuing to this day, hundreds of ‘throwaways and fake
      13
            social media accounts posted about and to Gjovik, making statements that were harassing,
      14
      15    threatening, intimidating, defamatory, insulting, and harassing. There was an extensive digital

      16    harassment campaign against Gjovik. Apple employees harassed Gjovik under their own names, and
      17    other posts were made by Apple employees using aliases, but their real identities were later revealed.
      18
            Further, starting in at least September 2021, and assumed to continue through the current day, Apple
      19
            employees undertook a ‘whisper campaign’ to smear Gjovik’s character and create fear, uncertainty,
      20
            and doubt about Gjovik’s allegations against Apple.
      21
      22           140.    Additional intimidation and coercion included, but was not limited to, aggressive

      23    surveillance (including lurking Private Investigators in Santa Clara, San Francisco, and Albany, NY),
      24    bugging her chattel property (the statue Apple mailed Gjovik from her desk; Gjovik’s fig tree, etc.),
      25
            whatever Apple installed in her attic (photos show cables/cords laid in away landlord denied was
      26
      27
      28    34
              Amanda Silberling, Labor officials found that Apple execs infringed on workers’ rights, TechCrunch,
            January 30 2023.



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       1    them), breaking into her apartment (at least twice in 2021 and 2022), breaking into adjacent

       2    apartments (at least once in 2021), lurking outside her home, stalking her, blocked calls (September
       3
            12, 2021), reports of Gjovik to law enforcement, lurking sedans and SUVs with dark windows, social
       4
            accounts making threatening, harassing, and intimidating statements to Gjovik, and someone handling
       5
            her dog during one of the break-ins (August 2022).
       6
       7           141.    On December 14 2021, the U.S. Dept. of Justice contacted Gjovik, confirming receipt

       8    of a complaint she sent to their antitrust division earlier. On December 26 2021, Gjovik posted on
       9    Twitter about her intention to pursue a Dodd-Frank and witness retaliation claim against Apple. On
      10
            or around January 10 2022, Gjovik filed complaints about witness intimidation and witness retaliation
      11
            to U.S. NLRB, the U.S. Dept. of Labor, and the Cal. Dept. of Labor. Gjovik drafted several legal
      12
            documents, including a legal brief, image exhibits, and a detailed dossier containing the accounts and
      13
      14    posts Gjovik believed to be Apple.

      15           142.    On January 25 2022, Gjovik emailed the U.S. NLRB about her January 10, 2022,
      16    witness intimidation charge and attached a 77-page rough draft of the Evidence Report. On January
      17
            31 2022, Gjovik posted on Twitter that she planned to submit her legal filings about witness
      18
            intimidation to the US Department of Justice and the whistleblower and labor agencies. Gjovik
      19
      20    commented that Apple’s actions were criminal.

      21           143.    Gjovik testified to the U.S. NLRB about it on February 10, 2022. Gjovik also contacted

      22    the Santa Clara District Attorney’s office about the developments with Apple, complaining about
      23
            witness intimidation and witness retaliation on February 21 2022, and December 15 2022.
      24
                   144.    On July 14 2022, Gjovik argued her unemployment insurance appeal. Prior, the case
      25
            was mysteriously closed with inaccurate information. Gjovik won her unemployment insurance
      26
      27    appeal, and a decision was issued by an Administrative Law Judge stating:

      28        Gjovik “received notice from the vice president that she was being discharged. The notice




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       1         was vague and incomplete and stated that the claimant had disclosed confidential information
                 and had not fully participated in some investigation. Although the claimant requested specific
       2
                 information from the employer, no specific information was provided. Before the separation
       3         of the employment the claimant received great performance reviews and prior to the
                 separation the claimant received no oral or written warning notifying her that job was in
       4
                 jeopardy. At all times, the claimant performed her job duties to the best of her ability. In this
       5         matter the evidence shows that the claimant was discharged for reasons other than
                 misconduct connected with the most recent work.”35
       6
       7           145.    On May 20 2022, the US EPA sent a letter to Northrop Grumman about Stewart 1,
       8    instructing that: “EPA requires that one round of indoor air samples be collected... under current
       9
            conditions.”36 The letter included an attached memo from the US EPA’s Quality Assurance branch
      10
            instructing Northrop Grumman (and Apple) that there should be an annual inspection of “verification
      11
      12    that the floor slab and barrier system have not been breached or otherwise compromised; evaluation

      13    to confirm that the building has not been modified in a manner that could compromise the system;

      14    evaluation of changes to building use,” in addition to also inspection roof components.37
      15
                   146.    On May 27, 2022, the US EPA finally admitted to Gjovik, that there had been an
      16
            inspection at her office on August 19, 2021 – Apple had been able to conceal it from Gjovik for nearly
      17
            a year. On July 28 2022, Northrop Grumman told the US EPA they were late in responding to the US
      18
      19    EPA’s questions because Apple and the building owner stopped responding to them for weeks.

      20           147.    In 2022, there was discussion with the US Representative’s office about bringing
      21    Gjovik’s situation with Apple related to environmental violations to a US House Sub-Committee the
      22
            US Representative chaired. On December 30, 2022, the U.S. FTC confirmed they received Gjovik’s
      23
            complaint about Apple’s Face Gobbler and Ear Scans and provided Gjovik with a report tracking
      24
      25
            35
      26       Ashley M Gjovik (Claimant-Appellant); California Unemployment Insurance Appeals Board, Case No.
            7253819, July 14 2022.
            36
      27       US EPA, Re: EPA Technical Comments on the Passive SSDS O&M Plan and SSDS Evaluation,
            825 Stewart Avenue Sunnyvale, CA, TRW Microwave Superfund Site (CERCLIS ID# CAD009159088) (May
      28    20 2022).
            37
               US EPA, Passive Sub Slab Depressurization (SSD) System Operation and Maintenance (April 25 2022).



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       1    number. Gjovik notified U.S. FTC in 2023 that she was taking the matter on herself in this lawsuit.

       2           148.    On January 20 2023, US EPA told Northrop Grumman to plan to do vapor intrusion
       3
            testing at Gjovik’s office in March 2023. Apple still had not done it for over seven years. On August
       4
            31, 2023, the US EPA published a brief letter responding to Apple’s May 2023 vapor intrusion testing
       5
            results at Gjovik’s Apple office, the first testing since December 2015, calling Apple’s testing report
       6
       7    and strategy “fundamentally incorrect,” having “no fundamental basis,” “not accurate,” “confusing,”

       8    and “misleading.”38
       9                            SURPRISE SEMICONDUCTOR FABRICATION
      10           149.    On February 21 2023, Gjovik discovered the semiconductor fabrication activities at
      11
            ARIA. Gjovik posted on Twitter in real-time as she learned about it, expressing severe distress.39
      12
            Until that day, Gjovik did not know it was Apple who was responsible for making her so ill in 2020.
      13
            Further, until that day, Gjovik did not know the chemicals she was exposed to in 2020 were potentially
      14
      15    lethal to human life.

      16           150.    Gjovik began researching the site and Apple's activities, with the findings making
      17    Gjovik feel compelled to file a formal complaint about Apple’s illegal conduct at ARIA. On June 23
      18
            2023, Gjovik filed complaints about ARIA to the US EPA, CalEPA, the city of Santa Clara, and Santa
      19
            Clara County. Gjovik drafted a 28-page memo with dozens of exhibits. Gjovik also posted on Twitter
      20
            that she did so and provided a public link.
      21
      22           151.    The US EPA responded and took the lead on an investigation. Gjovik met with the US

      23    EPA’s RCRA Enforcement & Compliance team several times before they then inspected Apple’s
      24    factory in August 2023 and January 2024. The August 17, 2023 inspection was coded as an RCRA
      25
      26
            38
              US EPA, TRW Microwave Site, Northrop Grumman Vapor Intrusion Evaluation Report, Aug 31 2023.
      27    39
              “APPLE IS DOING LITERAL ACTUAL GODDAMN SILICON FAB 0.2 MILES (0.3 KM) FROM THE
            APARTMENT WHERE I GOT SO SICK I THOUGHT I WAS DYING & APPLE VENTED THAT SHIT
      28    INTO THE AIR FROM THEIR ROOF & THE YARD NEXT TO THEIR "GAS BUNKERS" RIGHT INTO
            MY 3RD FLOOR APARTMENT.” - @ashleygjovik (Feb. 21 2023 11:29 PM).



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       1    “Compliance Evaluation Inspection,” defined as “primarily an on-site evaluation of the compliance

       2    status of the site about all applicable RCRA Regulations and Permits.”40 The January 16, 2024
       3
            inspection was coded as a “Focused Compliance Inspection.”41 Gjovik is still awaiting a report on
       4
            the results. The US EPA notified her they finalized the report but are currently unable to share it with
       5
            her as Apple apparently declared the report of their (assumed) numerous environmental violations is
       6
       7    Apple Confidential. Gjovik has a pending FOIA request as well.

       8                                           VII.    LEGAL CLAIMS
       9              152.   Gjovik hereby incorporates by reference each and every allegation and fact above and
      10
            below, into each section where that allegation and/or facts is required to support the claim at issue.
      11
            Some facts and allegations are not repeated in order to meet page limits.
      12
                      153.   Where any statute of limitations is in question of possibly being expired for an alleged
      13
      14    claim, Gjovik, where reasonable, will argue that the statute of limitations should be tolled due to

      15    Apple’s fraudulent concealment of numerous material facts. Gjovik will also argue, where applicable,
      16    the doctrine of continuing violations, equitable tolling, and the discovery rule.
      17
                   COUNT ONE: WRONGFUL DISCHARGE IN VIOLATION OF PUBLIC POLICY
      18
                                                (California Tamney tort claim)
      19
                      154.   Apple retaliated against Gjovik and discharged Gjovik’s employment for a variety of
      20
            reasons that violated public policy. Among other unlawful reasons, Gjovik was terminated in
      21
            violation of the “strong public interest” reflected “in encouraging employee reports of illegal activity
      22
      23    in the workplace.” Certain concurrent claims are incorporated here as Tamney sub-claims.

      24    Specifically: Cal.Lab.C. §§ 96(k), 98.6, 232, 232.5, 1102.5, and 6310. The following sub-claims are
      25    included in addition:
      26
                      i.     Illegal Data Harvesting [Cal. Const. Article I, Section 1; FTC Act]
      27
      28    40
                 US Environmental Protection Agency, RCRA, Evaluation Types.
            41
                 US Environmental Protection Agency, ECHO, 3250 Scott Blvd # 110001168254.



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       1           155.    Apple’s coercive and unlawful data collection of biometric, genetic, anatomical, and

       2    surveillance data is a gross and egregious violation of Article I Section 1 of the CALIFORNIA
       3
            CONSTITUTION; the CALIFORNIA PRIVACY RIGHTS ACT; the U.S. FTC ACT; Cal.Pen.C. § 637.7, and
       4
            the INTERNATIONAL COVENANT ON CIVIL AND POLITICAL RIGHTS: Article VII on Free Consent.
       5
                   156.    Apple’s supposedly legitimate reason for terminating Gjovik, while false and
       6
       7    pretextual, is an illegality itself. Apple claims it fired Gjovik for complaining about Apple’s

       8    surveillance of employees, including coercive data collection of biometrics and invasive 24/7 video
       9    recording. Apple discriminated against Gjovik (including terminating her employment) due to
      10
            Gjovik’s actions related to her constitutional and statutory right to privacy, which are rights that
      11
            benefit the public, are substantial and fundamental rights, and which were firmly established at the
      12
            time of discharge. Apple’s decision to use this as their excuse for terminating Gjovik reveals Apple’s
      13
      14    animus against California employees' privacy rights.

      15           157.    Apple also intruded into Gjovik’s seclusion, physically and constructively invading
      16    Gjovik’s privacy [Cal. Civ. Code § 1708.8(a), (b), (d)], and Apple surveilled Gjovik and forced
      17
            Gjovik to surveil others with the always-on video camera in her iPhone, including in bathrooms and
      18
            locker rooms in violation of California Labor Code § 435. The Gobbler app did take videos and photos
      19
      20    of Gjovik in the bathroom and Gjovik has copies of those images.

      21           158.    Apple’s use of Gobbler on Gjovik’s phone also forced Gjovik to participate in Apple’s

      22    unlawful acts by facilitating Apple’s secret capture, storage, and processing of photos, videos, and
      23
            biometric information of the public without their knowledge or consent. Apple’s termination of
      24
            Gjovik also stated that if Apple were to warn people what was occurring on her phone, she would be
      25
            fired. Therefore, Apple’s unfair business practices made consent from the public impossible. The
      26
      27    public had a reasonable expectation of privacy for their highly sensitive biometrics.

      28           159.    Apple also violated Section 5 of the FTC Act in unlawfully coercing employees to




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       1    provide personal and sensitive data for commercial product development, which was also engaging

       2    in unfair acts or practices that can harm consumers, cannot be avoided by consumers, and are
       3
            unreasonable, and misleading statements to consumers.42 Employees can be consumers under the FTC
       4
            Act as an employee of Apple who goes out and buys an iPhone is an Apple customer who now owns
       5
            an Apple product with consumer protection laws protecting them. (This sub-claim is connected to the
       6
       7    Cal. B&P Code § 17200 et seq. claim).

       8              ii.    Employment Discrimination [Cal. DFEH; U.S. EEOC]
       9              160.   Gjovik reported and testified about topics including complaints about sex, gender, and
      10
            disability discrimination, which are “fundamental” rights for the purpose of a Tamney claim. Gjovik
      11
            filed Cal. DFEH and U.S. EEOC claims on August 12 2021, and proceeded to testify and provide
      12
            evidence, requesting a Right to Sue letter, which she was granted on September 9 2021, just hours
      13
      14    before Apple fired her.

      15              161.   Apple retaliated against Gjovik for opposing Apple’s discriminatory practices. Gjovik
      16    also reported to U.S. NLRB and the U.S. Department of Justice Civil Rights before her termination.
      17
            Apple discriminated against Gjovik (including terminating her employment) due to Gjovik’s actions
      18
            related to a constitutional and statutory right to be protected from discrimination due to her sex and
      19
            due to her disabilities, which is a right that benefits the public, is a substantial and fundamental right,
      20
      21    and which was firmly established at the time of discharge.

      22              iii.   Crime Victim/Witness Discrimination [Cal. Labor Code § 230(e)]
      23              162.   Apple discriminated against Gjovik (including terminating her employment) due to
      24
            Gjovik’s actions related to a constitutional and statutory right to be protected from crime and seek
      25
            justice for injury caused by crime, which is a right that benefits the public, is a substantial and
      26
            fundamental right, and which was firmly established at the time of discharge [Cal. Lab. Code §
      27
      28
            42
                 US FTC, FTC Act Section 5: Unfair or Deceptive Acts or Practices, Consumer Compliance Handbook



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       1    230(e)]. Gjovik was a “victim of a crime that caused physical injury” and she suffered “physical,

       2    psychological, and financial harm due to the attempted commissions of a crime or delinquent act.”
       3
                   iv.      Legislative Witness Discrimination [Cal. Gov. Code § 9414]
       4
                   163.     Apple knew Gjovik was talking to legislatures about what occurred to her next to
       5
            ARIA, and Apple knew that it was Apple who was responsible for Gjovik’s harm, despite Gjovik not
       6
       7    knowing that fact yet. Apple knew Gjovik may testify at legislative committees about the air pollution

       8    caused by Apple. Apple undertook an effort to ensure Gjovik did not testify and to harass Gjovik

       9    because Gjovik may testify to a committee.
      10
                   164.     Apple also knew Gjovik was talking to elected officials about its retaliation against
      11
            Gjovik after her termination, including a State Senator, a US Representative, and a US Senator. It is
      12
            enough to establish a nexus that Apple had reason to think Gjovik planned to be a witness for an
      13
      14    agency or committee. It is also illegal under California Penal code to intimidate witnesses, or to

      15    threaten witnesses before and/or after testimony. [Cal Penal Code 140(a) 137(b) 136.1].
      16           165.     Further, Apple’s also violated Cal. Gov. Code § 9414 (a misdemeanor public offense)
      17
            by harassing and retaliating against Gjovik, by attempting to prevent and dissuade Gjovik’s testimony
      18
            for a proceeding, and by depriving, threatening, and attempting to deprive or requesting Gjovik not
      19
            be employed due to Gjovik being a witness for a committee, and giving testimony to a committee as
      20
      21    a witness or victim.

      22                 COUNT TWO: CALIFORNIA WHISTLEBLOWER PROTECTION ACT
      23                                     (Violation of Cal.Lab.C. § 1102.5)
      24           166.     Plaintiff re-alleges and incorporates by reference each and every allegation set forth
      25    above, as though fully set forth in this Claim for Relief. Apple violated § 1102.5 when it took adverse
      26
            employment action against Gjovik due to Gjovik’s protected activity in disclosing information to a
      27
            governmental or law enforcement agency, to a person with authority over the employee, or to another
      28




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       1    employee who has authority to investigate, discover or correct the violation; or providing information

       2    to or testifying before, any public body conducting an investigation, hearing, or inquiry.
       3
                   167.    Cal.Lab.C. § 1102.5 also covers Gjovik’s’ public disclosures as due to Apple’s
       4
            extreme power and control over the government agencies who are supposed to be able to regulate it,
       5
            often the only party in a position to force Apple to correct the issue is the public. Many of Gjovik’s
       6
       7    public statements in August and September 2021, and statements to coworkers in June and July 2021,

       8    all before her termination, noted that was why Gjovik was bringing her complaints forward to her
       9    coworkers and the public – so the public pressure may force Apple to do the right thing for once. At
      10
            the very least, Apple was monitoring Gjovik’s social media activity and articles, so Apple was
      11
            informed of her disclosures through that surveillance.
      12
                   168.    Gjovik filed several complaints under multiple laws, which were known to Apple
      13
      14    executives, bosses, and administrators (by Gjovik informing them directly, or by Gjovik speaking

      15    about them publicly on social media and the press, or by Apple’s surveillance of Gjovik before her
      16    termination.
      17
                 −Violations of CERCLA and implementing contracts
      18
                    a) Made complaints to Apple about reporting requirements. Then notification to Apple that
      19               complaints were filed to the government.
                    b) Filed complaints to the US EPA and CalEPA. Complaints to US EPA trigged a
      20
                       proceeding with an inspection and corrective actions due to Gjovik’s disclosures.
      21         −Violations of the RCRA
      22             a) Made complaints to the CalEPA in September 2020 – April 2021 about the soil and
                        groundwater contamination in the property next to ARIA.
      23
                     b) Made complaints to Apple management about Apple’s statements to her directly contract
      24                in a 2016 article about a large settlement Apple made with DTSC over numerous RCRA
                        violations.
      25
                     c) Made complaints to Apple management about Powers and West sabotaging a hardware
      26                reuse program she created, which reduced hazardous waste.
                     d) Wrote article and published in SF Bay View in March 2021 raising concerns about
      27
                        environmental safety violations at her apartment next to ARIA: “I thought I was dying;
      28                my apartment was built on toxic waste.”




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       1        −Violations of the Clean Air Act
                   a) Made complaints to US EPA and CalEPA in September 2020 – April 2021 about the
       2
                      ambient air around Apple’s ARIA.
       3           b) Complaint to California Air Resource Board triggered proceeding with investigator
                      contacting her for information and conducting an inspection.
       4
                −Fraud related to environmental crimes
       5           a) Made complaints and inquiries to the Santa Clara County District Attorney’s office in
       6              April – May 2021.
                   b) Made complaints to the US EPA in July 2021. Made formal complaint to Apple in August
       7              2021.
       8           c) Statutes: 42 U.S.C. §§ 7401-7671; 42 U.S.C. §§ 9601-9675; 42 U.S.C. §§ 11001-11050
                      TSCA), 15 U.S.C. §§ 2601-2692
       9          − Violations of the anti-retaliation provisions of environmental laws
      10           a) 42 U.S.C. § 9610, and 42 U.S.C § 7622, and 15 U.S.C. § 2622
                   b) Filed complaints to the U.S. EPA, CalEPA, and U.S. Dept. of Labor around August 29
      11              2021.
      12          − Violations of the NLRA
                   a) Filed complaints to U.S. NLRB about NLRA § 8(a)(1) violations on August 26 2021.
      13
                   b) Complaints initiated a proceeding with an NLRB field agent contacting Gjovik for an
      14              interview in early September 2021.
                  − Violations of Cal. Labor Code and OSH Act
      15
                   a) Filed complaints to Cal.DOL, CalOSHA, and US Dept. of Labor re: CCR, Title 8, General
      16              Industry Safety Order 5194.
                  − Violations of the OSH Act at 29 U.S.C. § 660
      17
                   a) Filed complaints to CalOSHA, US Dept. of Labor
      18           b) Complaint initiated a proceeding with a Wage & Hour investigator contacting Gjovik for
      19              information in early September 2021.
                  − California Constitution Article 1, § 1 Right to Privacy
      20           a) Made complaint to Apple management in August 2021.
      21           b) Shared concerns with reporter for advocacy article in August 2021: “Apple Cares about
                      Privacy, Unless You’re an Apple Employee.”
      22           c) Made complaints on social media in August – September 2021.
      23          − Anti-Discrimination Laws (Basis of Sex and Disability)
                   a) Filed complaints to U.S. Dept. of Justice Civil Rights in August 2021.
      24           b) Filed complaints to U.S. EEOC and Cal.DFEH in August 2021, Title VII of the Civil
      25              Rights Act of 1964, 42 U.S.C. §2000e; California Government Code § 12920.
                  − Smuggling and Violations of Sanctions
      26
                   a) Made complaints to West and Powers in 2020 and again in July 2021.
      27           b) Filed a complaint to Apple Business Conduct in July 2021.
                   c) Notification to West and Powers she escalated in July 2021.
      28
                   d) Filed a complaint to the US FBI in September 2021.



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       1
                   169.    Apple discharged and discriminated against Gjovik in retaliation for Gjovik’s
       2
            disclosure of information about Apple’s unlawful acts and omissions. Gjovik disclosed Apple’s
       3
       4    violations of numerous laws as incorporated from allegations to government agencies, the public, the

       5    press, and Apple management. Gjovik had a reasonable cause to believe that the information she
       6    disclosed violated the statute and was non-compliant with a rule or regulation.
       7
       8                             COUNT THREE: CAL. LABOR CODE § 6310
       9                                  (Violation of Cal. Labor Code § 6310)

      10           170.    Apple violated § 6310 via discrimination, suspension, discharge, or threat of discharge

      11    against Gjovik for Gjovik complaining about unsafe work conditions or practices, instituting, or
      12
            causing to be instituted proceedings related to her right to safe and healthful working conditions,
      13
            testifying about workplace safety, and exercised her rights under the California OSH Act. Apple also
      14
            took the above negative actions due to fear that Gjovik would engage, or engage further, in the
      15
      16    activities above. Gjovik’s safety complaints and inquiries were a substantial motivation reason for

      17    Apple’s decision to discharge, discipline, and discriminate against Gjovik.
      18           171.    Apple discriminated against and discharged Gjovik because Gjovik complained about
      19
            safety and health conditions or practices at the workplace to Apple managers and her coworkers,
      20
            including chemical exposure. Apple discriminated against and discharged Gjovik because Gjovik
      21
            reported work-related injuries and illnesses, and requested information about work-related injury and
      22
      23    illness reports or records. Apple knew about Gjovik’s complaints through conversations, emails,

      24    meeting notes, internal complaints, external complaints, public interviews, and social media posts.
      25           172.    Gjovik filed a Retaliation claim with the California Department of Labor on August
      26
            29 2021, and Apple was notified of such before her termination. Gjovik complained of unsafe work
      27
            conditions and internal violations of safety laws/rules/standards to Apple, the U.S. EPA, CalEPA, and
      28




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       1    OSHA.

       2            173.    Gjovik complained about violations of, and issues related to, numerous topics,
       3
            including:
       4
                  − HazCom and employee exposure to chemicals [Cal.Lab.C. §§ 6398, 6400-6405, 6408; 8
       5            Cal. Code. Reg. § 340.2; 29 CFR Z; OSH Act § 1910.1020]
       6          − COVID-19 safety and communication [Cal.Labor.C. §§ 6325; 6409.6, 6432]
                  − Wildfire smoke safety [Cal.C.Reg. Title 8, § 5141.1]
       7
                  − Employee injury tracking and reporting [8 Cal.C.Reg. § 14300]
       8          − Efforts to reduce e-waste; and Apple’s prior e-waste (Universal Hazardous Waste)
                    violations. [Cal. Health/Safety; RCRA]
       9
                  − Environmental safety including vapor intrusion exposure [Cal.Lab.C. § 6406;
      10            CERCLA/SARA, RCRA, CAA, CWA, OSH Act HazCom]
      11          − Right to Know [EPCRA; Cal.Lab.C. § 6399.7] and Proposition 65, the Safe Drinking Water
                    and Toxic Enforcement Act of 1986 [Cal. Health & Safety Code §§ 25249.5 to 25249.14].
      12          − OSH Act Workplace Violence [Cal.Lab.C. §§ 6401.7, 6401.9]
      13
                    174.   Apple retaliated against Gjovik preemptively out of fear that Gjovik would file
      14
      15    additional complaints related to health and safety at the workplace. Apple hoped its retaliation would

      16    cause Gjovik to drop her existing complaints out of fear and intimidation, and to prevent Gjovik from

      17    filing additional complaints.
      18
                                     COUNT FOUR: CAL. LABOR CODE § 6399.7
      19                               (Violation of Cal.Lab.C. § 6399.7 via § 6310)
      20
                    175.   In violation of the CALIFORNIA HAZARDOUS SUBSTANCES INFORMATION AND
      21
            TRAINING ACT, Apple did discharge and discriminate against Gjovik because Gjovik filed a
      22
            complaint; because Gjovik instituted, or caused to be instituted, proceedings under or related to the
      23
      24    provisions of this Act; because Gjovik has testified, or was about to testify, in such proceeding; and

      25    because Gjovik exercised rights afforded to her pursuant to the provisions of this Act, on her own
      26
            behalf, and on behalf of others.
      27
                    176.   Gjovik repeatedly complained to Apple about employee’s Right to Know about
      28




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       1    chemical exposure, about Apple’s duty to disclose to workers if they were exposed and if so to what

       2    and how much, and to explain the health impacts of those chemical exposures. Apple EH&S told
       3
            Gjovik that Apple legal decided that Apple employees “have no Right to Know.” Gjovik then
       4
            complained about this to the US EPA and other agencies and told Apple she was complaining about
       5
            them. A violation of the provisions of this section shall be a violation of the provisions of Section
       6
       7    6310.” [Cal.Lab.C. §6399.7]

       8                               COUNT FIVE: CAL. LABOR CODE § 98.6
       9                                      (Violation of Cal.Lab.C. § 98.6)

      10           177.    Apple violated Cal.Lab.C. § 98.6 when Apple did discharge and discriminate against
      11
            Gjovik for engaging in certain activities, including “filing a complaint with the Labor Commissioner
      12
            or testifying in such proceedings.” Gjovik filed a complaint with the California Labor Commissioner
      13
            on August 29 2021 and Apple was notified she did so through her public statements and notification
      14
      15    from the agency.

      16           178.    Apple violated § 98.6 by retaliating against Gjovik due to Gjovik filing a claim with
      17    and causing to be instituted proceedings related to the rights under the jurisdiction of the California
      18
            Labor Commissioner, and for exercising rights provided to her under California Labor Code on behalf
      19
            of herself and on behalf of other employees. Apple punished her for doing so.
      20
                   179.    Animus was shown in many of the comments and communications from Apple
      21
      22    employees, managers, and agents before and after Apple terminated Gjovik. Comments frequently

      23    referenced Gjovik’s protected activities, but claimed Gjovik was lying and acting in bad faith, and
      24    then argued that because Gjovik make the complaints, she should be punished for it.
      25
                   180.    Apple retaliated against Gjovik due to Gjovik’s protected activity, and she suffered
      26
            materially adverse actions with a causal connection to the protected activity. Apple engaged in actions
      27
      28    prohibited by this section (termination, suspension, discipline, harassment, etc.) within 90 days of




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       1    Gjovik’s protected activity.43

       2                             COUNT SIX: CAL. LABOR CODE §§ 232, 232.5
       3                   (Violation of Cal. Labor Code §§ 232, 232.5, 1101, 1102 via § 98.7)
       4           181.    Apple violated Cal.Lab.C. §§ 232, 232.5 when it harassed, disciplined, discriminated
       5
            against, and fired Gjovik due to Gjovik’s discussion of her wages and the wages of Apple employees.
       6
            Gjovik participated in a pay survey with her coworkers in late July 2021, when she suggested the
       7
       8    survey capture information on gender. She also shared her wages on social media and discussed pay

       9    with her coworkers on social media in August 2021.

      10           182.    Apple violated Cal.Lab.C. § 232.5 when disciplining and discharging Gjovik for
      11
            disclosing information about Apple’s working conditions. Gjovik’s protected activities included
      12
            filing complaints about work conditions and discussing work conditions with coworkers and the
      13
            public, all covered under § 232.5. Apple discharged, disciplined, and discriminated against Gjovik
      14
      15    due to her disclosure of information about Apple’s work conditions. This applies to both the true

      16    reason Apple fired Gjovik and Apple’s proffered supposedly legitimate reason for terminating
      17    Gjovik. Apple claims its NDAs prohibit Gjovik from speaking about work conditions and that if
      18
            Gjovik does speak about work conditions, it violates her NDA, and that violation is grounds for
      19
            immediate termination.
      20
                   183.    Apple violated Cal.Lab.C. § 232.5 and §§ 1101, 1102 when it retaliated against Gjovik
      21
      22    for Gjovik’s complaints in June and July 2021 which were about work conditions, and which was

      23    also political speech. Gjovik discussed with coworkers, raised concerns to Apple, petitioned Apple
      24    on behalf of her coworkers, and made statements to her workers about Palestinian and Muslim human
      25
            rights, and concerns about a recent article that was published alleging Apple is using Uyghur forced
      26
      27
      28    43
              Cal. SB-497: Protected employee conduct. Section 1, Section 98.6(b)(1) [Signed October 8 2023; Effective
            January 1 2024].



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       1    labor in its supply chain. Polkes dismissed Gjovik’s concerns and suggested that if Gjovik is still

       2    worried, that Gjovik could give away some of her salary to Apple’s employee-matching benefit
       3
            program. Gjovik told Polkes she did not want to give Apple her money, but instead wanted Apple to
       4
            change its practices.
       5
                    184.   Apple violated Cal.Lab.C. §§ 232.5 and 1101(b) when Apple made, adopted, and
       6
       7    enforced rules and policies that controlled and directed, or tended to control and direct, the political

       8    activities of Gjovik and her coworkers. Apple violated Cal.Lab.C. §§ 232.5 and 1102 when Apple
       9    coerced and influenced and attempted to coerce and influence Gjovik and her workers, through threat
      10
            of discharge, to follow or not follow any particulate course or line of political action or political
      11
            activity.
      12
                                     COUNT SEVEN: CAL. LABOR CODE § 96(K)
      13
                                        (Violation of Cal.Lab.C. § 96(k) via § 98.7)
      14
                    185.   Apple violated Cal.Lab.C. § 96(k) when it demoted, suspended, discharged from
      15
            employment, threatened discharge, or otherwise discriminated against Gjovik for Gjovik’s lawful
      16
      17    conduct occurring during nonworking hours away from the employer's premises when that conduct

      18    involved the exercise of a right protected by the California Constitution.
      19            186.   Gjovik engaged in lawful conduct asserting “recognized constitutional rights” and
      20
            “rights under the Labor Code” occurring during nonworking hours – while she was on leave, away
      21
            from Apple’s premises. Apple put Gjovik on leave. Gjovik did not want to be on leave. Gjovik asked
      22
      23    to come back, and Apple said no. Apple cannot then turn around and claim the “leave” was work time

      24    or the workplace. Apple told Gjovik she had been “removed from the workplace.” Until Apple let

      25    Gjovik return to work, Gjovik was off duty. Gjovik posting about work conditions in her personal
      26
            time does not transform Gjovik’s personal time into work time.
      27
                    187.   Apple terminated Gjovik for a variety of illegal reasons, including many of the public
      28




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       1    statements Gjovik made while on leave in August – September 2021. Gjovik spoke frequently on

       2    social media and to the press about harassment and safety issues at Apple; as was her inherent right
       3
            to be free from discrimination under Cal. Const. Article 1, §§ 8, 31, and her right to physical safety
       4
            under Cal. Const. Article 1, § 1. Gjovik also spoke frequently about the environmental crimes she
       5
            witnessed and was victim to at her apartment in 2020 and with Apple’s conduct at her Superfund
       6
       7    office. Gjovik complained about the intimidation and threats she received and advocated for victim’s

       8    rights – as was her right under Cal. Const. Article 1, § 28. Apple violated Cal.Lab.C. §96(k) when it
       9    retaliated against Gjovik for making these statements, which she had a constitutional right to make,
      10
            and which she made outside of worktime and outside of the workplace.
      11
                   188.    In addition, even Apple’s supposed legitimate justification for firing Gjovik was
      12
            simply retaliation for protected statements made by Gjovik outside of worktime and the workplace,
      13
      14    and about subjects rooted in her constitution rights. Gjovik was complaining about unlawful and

      15    unethical surveillance, and invasions of privacy, by Apple, towards Gjovik and her coworkers. Thus,
      16    Apple’s supposedly legitimate justification is illegitimate. Gjovik has a self-executing right to protest
      17
            invasions of privacy under Cal. Const. Article 1, § 1.
      18
                      COUNT EIGHT: COVENANT OF GOOD FAITH AND FAIR DEALING
      19
                            (Breach of Breach of Covenant of Good Faith and Fair Dealing)
      20
                   189.    Gjovik and Apple entered into an employment relationship in 2015 with a signed,
      21
            written contract and hundreds of supplemental contracts. In addition to the employment agreements
      22
      23    and NDAs, Apple’s work policies also establish expectations for the employment relationship.

      24    Apple’s policies reflect a progressive discipline process. Apple’s policies and communications to
      25    employees frequently promote Apple’s employment benefits including performance bonuses offered
      26
            during the annual review cycle.
      27
                   190.    Gjovik worked at Apple for over six years, received positive performance reviews,
      28




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       1    bonuses, salary increases, and RSU stock grants, and was recently promoted. Gjovik substantially

       2    performed, or tendered performance, for her job duties. During each of Gjovik’s six annual
       3
            performance reviews, she always received a salary increase, a large RSU grant, and a performance
       4
            bonus. All conditions required for Apple’s performance had occurred. Apple breached the covenant
       5
            by intentionally terminating Gjovik when her annual performance review was due, which would have
       6
       7    been accompanied by a performance bonus that she had already earned through her successful

       8    performance in 2020-2021. (The end of the fiscal was June 30 2021).
       9              191.    In violation of the covenant of good faith and fair dealing, Apple deliberately
      10
            undermined Gjovik’s ability to fulfill her contractual obligations, evading the spirit of the agreement,
      11
            and frustrating her ability to benefit from the agreement. Gjovik was damaged due to Apple’s breach
      12
            and is owed the performance bonus due to her, with interest.
      13
      14                           COUNT NINE: CAL. UNFAIR COMPETITION LAW

      15                            (Violation of Cal. Bus. & Prof. Code § 17200, et seq.)44

      16              192.    Apple has engaged in business acts or practices that were unlawful, unfair, deceptive,

      17    or misleading, and therefore violated California’s Unfair Competition Law (“UCL”), Cal. Bus. &
      18    Prof. Code § 17200, et seq. This UCL prohibits any unlawful, unfair, or fraudulent business act or
      19
            practice, including but not limited to any act or practice that constitutes deception, fraud,
      20
            misrepresentation, or the concealment, suppression, or omission of a material fact in a consumer
      21
            transaction, or that is likely to deceive the consuming public.
      22
      23              193.    Apple is unlawfully coercing employees to provide personal data, including

      24    biometrics, which Apple can use for research and development, including training machine learning
      25    models, without actual consent or compensation, and in violation of federal competition laws and
      26
            state and federal data protection laws. Apple’s Whistleblowing Policy acknowledges that reports of
      27
      28
            44
                 The SAC § 17200 claims were previously nested under § 6310 and Tamney claims.



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       1    “anti-competitive conduct” and “attempts to cover up any of these behaviors” are whistleblower

       2    disclosures. Apple should obtain ethical and legal data for product development instead of treating its
       3
            workforce like lab rats.
       4
                   194.    Gjovik suffered an economic and/or property injury due to Apple’s Unfair Business
       5
            Practices. Apple knew or should have known that its wrongful acts and omissions alleged herein were
       6
       7    likely to deceive the consuming public in California and the rest of the United States. Apple

       8    committed those acts and omissions anyway for their financial gain, including improving their
       9    financial condition, increasing the likelihood of receiving new capital from investors, increasing their
      10
            revenue and profits, and increasing the company's value.
      11
                   195.    Apple repeatedly implied to Gjovik that her participation was not option. Gjovik’s
      12
            annual performance reviews made express note of Gjovik’s participation in Apple’s studies and
      13
      14    experiments and praised her for her unpaid labor in facilitating the numerous invasions into her

      15    privacy.
      16           196.    Gjovik participated in several other health, anatomy, and personal data collection
      17
            studies during her time working for Apple. This included a sleep study with Apple placing a sensor
      18
            under her while she slept every night, recording her vitals and movements, and sharing the data with
      19
      20    Apple for commercial purposes. When Gjovik was invited to participate in these events, the team

      21    often would not disclose what the study was until the ‘volunteers’ arrived physically on site to a

      22    secure building where ex-FBI security personal would threaten her and her workers to not even tell
      23
            their friends or family what happens at Apple, and especially studies like these.
      24
                   197.    When Apple asked Gjovik to scan her ears and her ear canals, Gjovik declined
      25
            “indefinitely.” Similarly, Gjovik repeatedly declined Apple’s requests to study and collect data about
      26
      27    her menstruation for product development. Even after Gjovik declined the ear studies, Apple has

      28    claimed its secret they even asked her in the first place.




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       1           198.    Gjovik also attempted to decline participating in the Gobbler program, but she was

       2    tricked into enrollment through Apple’s misrepresentations of the years long study and data collection
       3
            as a one-time social event. Gjovik was only told what the study involved (Gobbler) after she entered
       4
            a locked compounds with several Apple Global Security guards surrounding her, asking her if she
       5
            would ‘consent.’ After that day Gobbler has always been attached to Gjovik’s iCloud account. Gjovik
       6
       7    still sees Gobbler listed as part of her personal account today and no way to remove it.

       8           199.    Further, the way Gobbler works, employees are then also taking videos and gathering
       9    the biometrics of anyone around their iPhones, and per Apple’s termination of Gjovik, Apple’s policy
      10
            is that employees would be fired if they tried to warn consumers and others around them that Apple
      11
            was capturing videos of them and their biometrics for product development. Apple’s declaration that
      12
            it can terminate employees for protesting these invasions and warning the public is “sufficiently
      13
      14    serious in [its] nature, scope, and actual or potential impact to constitute an egregious breach of the

      15    social norms underlying the privacy right.” One must assume Apple also has hundreds of thousands
      16    (or even millions) of non-consensual biometrics and face-prints of non-employees – including
      17
            children – that are used to train Apple’s machine learning models. These photos/videos most certainly
      18
            include nudity, sexual acts, and use of toilets– along with biometric information.
      19
      20           200.    Apple tells consumers it would never do what it is doing with Gobbler. Apple told

      21    employees nothing until after the employees signed the non-disclosure agreements for the program,

      22    and then Apple told employees they could not tell anyone what the program would now be doing on
      23
            their iPhones. Apple was aware Gobbler was not a market-ready product (nor was it intended to be)
      24
            and that the data collection performed by Gobbler was not legitimate data collection for commercial
      25
            research and development, yet Apple used the app anyway while continuing to promise customers
      26
      27    that Apple would never collect their data and biometrics.

      28           201.    Gjovik’s opposition and complaints about Apple’s coercion of employees into unpaid




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       1    labor through aggressive dogfooding (testing internal software/products as if it were a normal

       2    personal device) and Apple’s weird anatomical and medical experiments on employees was all
       3
            protected conduct. In addition, Apple exploited Gjovik’s identity without Gjovik’s consent and for
       4
            commercial purposes, violating California’s common law Right of Publicity. Apple’s unauthorized
       5
            use and appropriation of Gjovik’s identity, likeness, and private information were for Apple’s
       6
       7    commercial advantage, and Gjovik suffered injury because of it. Apple exploited Gjovik’s image and

       8    biometric identifiers for profit and then fired her when she complained, claiming they could fire
       9    employees without notice for protesting these unfair business practices.
      10
                   202.    Apple requested, coerced, and tricked Gjovik into participating in a number of studies,
      11
            experiments, and invasions which Gjovik was not compensated for. The studies also caused Gjovik
      12
            unexpected and otherwise unnecessary expenses. In order to attend these physical meetings, so she
      13
      14    could be threatened and intimidated, and expose even more of her personal data to Apple and to

      15    ensure she obtained a positive performance review. Gjovik had to pay out of pocket for Lyft and Uber
      16    costs for transportation. Gjovik does not have a driver’s license and the company shuttles rarely went
      17
            to these special, secure buildings. Gjovik is owed restitution for all of the transportation costs, and
      18
            other operational costs, she paid with her own money as required for these coercive and exploitive
      19
      20    studies.

      21           203.    Injunction and disgorgement are appropriate here, and the court has broad powers to

      22    issue injunctive relief under California Business and Professions Code §§ 17200, including the power
      23
            to order restitution and disgorgement.
      24
                   204.    Apple coerces employees and tricks consumers into allowing Apple to extract their
      25
            data and exploit it in the research and development of commercial, for-profit products, without
      26
      27    consent, in violation of the FTC Act and § 17200. As a result of Apple’s unfair business practices,

      28    Apple has reaped unfair benefits and illegal profits at the expense of Gjovik, her co-workers, and the




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       1    public. Apple should be required to restore these monies to Gjovik, her former co-workers, and the

       2    public.
       3
                      205.   However, Apple’s extensive use of these illegal practices will make calculating
       4
            damages a challenge. Without injunctive equitable relief, Gjovik and her prior coworkers will suffer
       5
            irreparable injury, which damage remedies cannot readily remedy. Apple should be ordered to
       6
       7    disgorge unlawful data and the fruit of the poisoned data.

       8              206.   Gjovik requests an order that prohibits Apple from using personal employee data in
       9    for-profit product development, including medical experiments, anatomical measurements, and
      10
            imaging, gathering employee biometrics, any use of the Face “Gobbler” application, and other
      11
            conduct violating their rights of privacy.
      12
                      207.   Gjovik also requests in injunctive relief of an order for disgorgement of the unlawfully
      13
      14    and unethically obtained data, at the very least of Gjovik’s data, including any products developed

      15    using Gjovik’s personal data, including Gobbler images.
      16                            COUNT TEN: IIED – OUTRAGEOUS CONDUCT
      17                         (Intentional Infliction of Emotional Distress – Traditional)
      18              208.   The statute of limitations for IIED claims under California state law is two years from
      19
            the date of injury and under New York state law it is one year from the act. Gjovik lived in California
      20
            until August 31 2022 and then lived in the state of New York from September 1 2022 up to the date
      21
            the complaint was filed on September 7 2023. The New York statute of limitations covers Gjovik’s
      22
      23    presence in New York from September 7 2022 through September 7 2023. The California statute of

      24    limitations cover’s Gjovik’s presence in California from September 7 2021 through September 1
      25    2022.45 Apple terminated Gjovik’s employment on September 9 2021 and thus only two days fall
      26
      27
      28    45
              Gjovik also reserves the right to claim IIED under Massachusetts law if Apple continues inflicting emotional
            distress upon her through the trial.



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       1    within this IIED claim’s coverage, and Gjovik’s allegations in the claim do not include any

       2    employment actions or other conduct which would be subject to Worker’s Compensation regulations.
       3
                   209.    Apple’s malicious, fraudulent, oppressive, and extreme/outrageous misconduct was
       4
            directed primarily at Gjovik, and it was calculated to cause Gjovik severe emotional distress, and it
       5
            was done with the knowledge of Gjovik’s presence and with a substantial certainty that Gjovik would
       6
       7    suffer severe emotional injury.

       8           210.    Starting on September 7 2021, Apple engaged in numerous despicable acts designed
       9    to cause Gjovik severe emotional distress. Apple terminated Gjovik’s employment on September 9
      10
            2021, several named Apple employees posted on social media, under their own names, claiming
      11
            Gjovik’s complaints were bogus, that Gjovik was a liar and bad actor, and that Gjovik deserved the
      12
            harm Apple was causing her. Five named employees took an active role in posting defamatory and
      13
      14    harassing things about Gjovik, contacting Gjovik’s friends and associates to speak negatively about

      15    Gjovik and urge them to not associate with her, and to create negative rumors about Gjovik in order
      16    to ostracize and alienate her.
      17
                   211.    One of these employees (R.M.) was an Apple manager during the operative times,
      18
            posted under their own name, and worked in a “security” function at Apple. Some of their posts
      19
      20    included defending Apple’s practices related to Gobbler. An Apple supervisor making public

      21    statements like this represents Apple by the nature of his role.

      22           212.    Another one of these employees, (J.A.), was an Apple employee working in Apple’s
      23
            Global Security team through the end of November 2021. This person repeatedly posted and shared
      24
            that she had reported Gjovik and Gjovik’s actions to “Apple,” made accusations against Gjovik and
      25
            in defense of Apple positioning herself as speaking for Apple, and also repeatedly held herself out as
      26
      27    having insider information into Apple’s retaliatory actions against Gjovik, including the termination.

      28    The function of the Global Security team is to silence workers from speaking publicly about Apple,




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       1    and this person performed those duties in her harassment of Gjovik.

       2           213.    Another employee, (I.S.), was Gjovik’s coworker who sat across the aisle from her at
       3
            Stewart 1 but who was posting on several platforms under an alias. Gjovik did not connect the account
       4
            to the person until 2023. The account made a number of posts accusing Gjovik of lying and being
       5
            insane, claiming Gjovik’s complaints were meritless, and holding himself out as having insider
       6
       7    information about what happened with Gjovik’s complaints. This employee sat in the same office as

       8    Powers and was likely directly involved, or overheard, numerous material conversations about
       9    Gjovik, and felt it appropriate to publicly harass Gjovik in response.
      10
                   214.    There are many more examples. Apple abused its position of power over Gjovik and
      11
            exploited that power differential in its campaign of terror against Gjovik enlisting multiple employees
      12
            to carry out there scheme. Apple has extreme power and control over Gjovik and its other employees
      13
      14    as one of the world's largest and most influential companies. Apple’s conduct was despicable, base,

      15    vile, and contemptible, and subjected Gjovik to cruel and unjust hardship – it was carried out with a
      16    willful and conscious disregard for Gjovik’s rights and safety.
      17
                   215.    In addition to the more traditional severe harassment, Apple engaged in many criminal
      18
            acts which were “outrageous per se,” including witness intimidation, witness retaliation, burglary,
      19
      20    extortion, threats, and surveillance. Apple stalked Gjovik in California and New York, sending people

      21    to sit outside her apartment, follow her around, and take photos/videos of her inside her home from

      22    outside the windows. [Cal.Pen.C. §§ 647(h), 647(i)]. Apple surveilled Gjovik and even bugged her
      23
            property, including, apparently, directly intercepting her home internet. [Cal.Pen.C. §§ 591, 632(a)].
      24
                   216.    Apple repeatedly broke into Gjovik’s home in at least the state of California and
      25
            Commonwealth of Massachusetts, but probably also the state of New York. [Cal.Pen.C. §§ 459,
      26
      27    602.5]. Through all this, Apple went out of its way to act like deranged maniacs whose conduct

      28    exceeded all bounds of decency usually tolerated by society.




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       1            217.    Apple’s conduct was not mere insults, indignities, threats, annoyances, petty

       2    oppressions, or other trivialities. Apple’s misconduct towards Gjovik was/is extreme, outrageous,
       3
            persistent, and omnipresent. Apple’s conduct left Gjovik fearing for her safety, her dog's safety, the
       4
            integrity of her electronics and utilities, and the safety of her chattels – that Gjovik was confined to
       5
            her home. Gjovik was and is under a justified belief that leaving her house or even failing to secure
       6
       7    entry to her home properly would place her in danger, and she could be killed. Gjovik was and is

       8    under a justified belief that leaving her dog at home unattended could result in harm to her dog and
       9    that Apple could kill him.46 Apple did handle him during one of the break-ins, leaving a strong odor
      10
            of cigarettes on his little body.
      11
                    218.    Apple could have acted with some decency and reserve. Still, instead, Apple bugged
      12
            Gjovik’s objects and home, sent her possessions to her in a box with broken glass and threatened it
      13
      14    could contain a severed head, sued her for reporting criminal conduct, reported her to law

      15    enforcement, repeatedly threatened to “ruin” and “destroy” her, and even sent her emails pretending
      16    to be government employees threatening her to stop speaking about Apple’s chemical leaks. [18 USC
      17
            § 912; April 2023; reported to FBI and US EPA]
      18
                    219.    When Gjovik explains to people what Apple has done to her when she shows them
      19
      20    Apple’s communications and exposure records and shows them the evidence she gathered of their

      21    physical intrusions and harassment, the default response is not simply to shake their heads with

      22    disappointment. No, it is to exclaim something such as “Outrageous!!”
      23
                    220.    Further, these actions have caused fear in those around Gjovik and in Gjovik herself.
      24
            Gjovik has lost many friends through this – and she cannot blame them as Apple’s menacing is smoke
      25
            from the fire of actionable threats of violence and mayhem. Apple’s tortious conduct evinced an
      26
      27
            46
              ICAN, Stalking, “Though dogs provide a valuable service as a security agent for our homes, please be
      28    advised that a stalker may harm your animals. If you have a dog, make sure that you keep it indoors when you
            are not home and that you have a secure environment for it when you are home.”



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       1    indifference to or a reckless disregard for the health and safety of others; Gjovik had financial and

       2    medical vulnerability; the conduct involved repeated, systemic actions and schemes; and the harm to
       3
            Gjovik was the result of Apple’s intentional malice, trickery, and deceit.
       4
                   221.    As documented in legal filings, emails, doctor appointments, and therapy sessions
       5
            throughout these two years – Gjovik has suffered severe insomnia, nausea from stress to the point of
       6
       7    vomiting, extreme depression requiring anti-depressants due to suicidal ideation, and crying

       8    uncontrollably for hours every day. Gjovik suffers from paralyzing anxiety, and it has been difficult
       9    even to get up and walk around, with Gjovik generally spending all day in some form of the ‘fetal
      10
            position.’ Gjovik has alternated between overeating and undereating but overall gained over sixty
      11
            pounds in 2020-2022.
      12
                   222.    Apple’s conduct, of course, left Gjovik with “discomfort, worry, anxiety, upset
      13
      14    stomach, concern, and agitation.” However, as a direct and proximate result of Apple’s conduct,

      15    Gjovik also experienced overwhelming anguish, illness, “shock, horror, nausea, fright, grief, shame,
      16    humiliation, embarrassment, anger, chagrin, disappointment.” Apple’s conduct resulted in PTSD and
      17
            anxiety symptoms. Gjovik suffered depersonalization and derealization.
      18
                                        COUNT ELEVEN: PRIVATE NUISANCE
      19
                           (Creation & Maintenance of a Private Nuisance at 3250 Scott Blvd)
      20
                   223.    Apple created and maintained a condition in violation of Cal.Civ.C. § 3479. This
      21
            nuisance was demonstrably injurious to health, which was indecent and offensive to the senses and
      22
      23    obstructed the free use of property. By acting and failing to act, Apple created a condition or permitted

      24    a condition to exist that was harmful to health, offensive to the senses, an obstruction to the free use
      25    of property, and a fire, explosion, and poisoning hazard. Apple’s conduct in acting or failing to act
      26
            was intentional, unreasonable, negligent, and reckless.
      27
                   224.    Apple is continuously casting pollution upon the property of the owner and tenants of
      28




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       1    adjacent properties, as it knew it would do when it constructed its exhaust and HVAC systems and

       2    hazardous waste handling systems. It knew then, as it knows now, that so long as it would continue
       3
            its operation, the pollution would continue to fall, not by accident or mishap, but in conformity with
       4
            the knowledge it had before the construction of the systems. Apple should be presumed to have
       5
            intended its act's natural, known, and reasonable consequences.
       6
       7           225.    Apple’s interference would and did substantially annoy or disturb persons of normal

       8    health and sensibilities in the same community. Apple’s operations at the factory and Superfund site
       9    are both continuing nuisances, and every continuation of the nuisance or trespass gives rise to separate
      10
            damages claims. Apple has the agency and ability to stop the nuisance (it is not permanent), so until
      11
            it does, the nuisance Apple created is continuous. Apple’s conduct was a substantial factor in causing
      12
            Gjovik’s harm. Gjovik did not consent to a defendant’s conduct, and the seriousness of the harm
      13
      14    outweighs the social utility of Apple’s conduct. Apple damaged Gjovik’s property and injured

      15    Gjovik’s person. Due to Apple’s actions, Gjovik’s property was destroyed, the leasehold degraded,
      16    she became very ill, and she suffered severe emotional distress.
      17
                   226.    In or about 2015, Apple constructed, or caused to be constructed, exhaust vents and
      18
            open tanks at ARIA in Santa Clara, near the common border line of the defendant's and Gjovik’s
      19
      20    property. The exhaust vents were installed and maintained negligently, recklessly, and unskillfully.

      21    Apple exhausted through the vents and emptied various materials or substances into the open tanks

      22    that caused a foul, obnoxious, and disagreeable odor and polluted the atmosphere / ambient air of
      23
            Gjovik’s leasehold property.
      24
                   227.    Apple’s facility emits large quantities of vapors, dust, chemicals, and other
      25
            contaminants into the air, which are carried by the natural winds and air currents onto Gjovik’s
      26
      27    property and collect Gjovik’s chattel property and are generally injurious to Gjovik’s health, are

      28    offensive to the senses, and interfered with Gjovik’s comfortable enjoyment of life and property.




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       1    Apple created the nuisance due to unnecessary, unreasonable, and injurious methods of operation of

       2    their business. The emissions were a business decision to be able to report reduced waste sent to
       3
            landfills.
       4
                                COUNT TWELVE: ULTRAHAZARDOUS ACTIVITIES
       5
                            (Strict Liability for Ultrahazardous Activities at 3250 Scott Blvd)
       6
                    228.    Apple’s fabrication activities at ARIA provided a high degree of risk of significant
       7
            harm to people and property, and the exercise of reasonable care could not eliminate the risk; the
       8
       9    activity's benefits do not outweigh the risks, and these activities are inappropriate for the location,

      10    Apple’s activities at ARIA, directly adjacent to High-Density Residential and numerous sensitive

      11    receptors (including parks, schools, and playgrounds) is in violation of city and county zoning rules.
      12
                    229.    Apple’s facility was originally registered simply as an “R&D Facility” (it appears
      13
            Apple went to much effort to ensure no one knew they were doing semiconductor fabrication at the
      14
            location). The ARIA building is located on “Light Industrial” zoned land (18.48), however
      15
      16    semiconductor fabrication is expressly not allowed on any land other than “Heavy Industrial” zoned

      17    land (18.50).    The state Fire Code also includes numerous other regulations targeted at the
      18    semiconductor fabrication processes (see, e.g., Cal. Fire Code Ch. 17 – “Semiconductor Fabrication
      19
            Faculties”).
      20
                    230.    Santa Clara City Code, Santa Clara County Code, and California Fire Code all explain
      21
            that facilities which process raw materials (10.60.090) and require hazardous material and hazardous
      22
      23    waste management, must be located in Heavy Industrial zoned land, must go through an

      24    application/review process, and may still be denied if their activities (and emissions) would create a
      25    nuisance for other industrial facilities in that area. Further, Santa Clara City Code requires that any
      26
            industrial zoned properties be located at least 500 feet away from any Residential zoned properties.
      27
                    231.    Apple stored, used, treated, and released a large quantity of lethal gases at ARIA.
      28




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       1    Apple possessed and used substantial amounts of arsine, phosphine, silane, fluorine, chlorine,

       2    hydrogen chloride, and phosphorus trichloride. In addition, many of Apple's chemicals at the plant
       3
            were characterized as “extremely hazardous substances,”47 “highly toxic gases,”48 and/or “acute and
       4
            extremely hazardous wastes.”49 Regardless of other considerations, California Fire Code requires that
       5
            any storage or processing of highly toxic gases occur no less than twenty feet away from the property
       6
       7    lot line and public sidewalks.

       8           232.    Further, California Fire Code strictly prohibits the storage, use, or treatments of toxic
       9    gases within 75 feet of air intakes in adjacent buildings. This rule applies in Heavy Industrial zoning,
      10
            where these activities should have been conducted. Apple intentionally venting unabated toxic gases
      11
            and lethal chemicals into the ambient air only 250 feet from an open-air children’s playground – is
      12
            exactly the policy justification for Ultrahazardous Activities tort enforcement as a common law
      13
      14    zoning mechanism.

      15           233.    Apple conducted semiconductor fabrication activities, with extremely dangerous
      16    substances, openly dumping its unabated chemical exhaust into the ambient air, only 150 feet from
      17
            High-Density Residential with thousands of apartments, and 250 feet away from two public parks
      18
            and a children’s playground. The storage, use, treatment, and release of large quantities of highly
      19
      20    toxic, extremely poisonous, acutely lethal gases – directly adjacent to an unsuspecting, High Density

      21    Residential area – and directly adjacent to public parks and children’s playgrounds – is an activity

      22    which, even when conducted with the greatest of care and prudence, can still cause severe injuries,
      23
            fatalities, and mass human suffering (e.g. Bhopal). Thus, these activities – in this location, scenario,
      24
            and context – are Ultrahazardous Activities.
      25
                   234.    Apple’s use, storage, and release (intentional and unintentional” of highly toxic gases
      26
      27
            47
               40 CFR § 355 Appendix; 42 U.S.C. § 11002.
      28    48
               Cal. Fire Code § 202, Chapter 60 (2022).
            49
               40 CFR § 261.11(a)(2).



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       1    can produce a dense cloud of lethal gas that would be large enough to engulf the apartments. Such an

       2    emissions could easily cause mass fatalities and severe suffering. The condition Apple created and
       3
            permitted to exist resulted from Ultrahazardous Activities and for which strict liability should also
       4
            exist.
       5
                     235.   Apple violated the spirit of the Clean Air Act, if not the law, which “criminalizes
       6
       7    knowing or negligent “releases into the ambient air [of] any hazardous air pollutant . . . or extremely

       8    hazardous substance” that give rise to imminent danger,” [42 U.S.C. § 7413(c)(4)– (5)]. Similarly,
       9    Apple’s activities likely violated RCRA when Apple “knowingly transports, treats, stores, disposes
      10
            of, or exports any hazardous waste identified or listed under this subchapter . . . in violation of … of
      11
            this section [and] knows at that time that he thereby places another person in imminent danger of
      12
            death or serious bodily injury.” [42 U.S.C. § 6928(e)].
      13
      14             236.   Apple also released chemicals categorized by Cal. Code Regs. Tit. 17, § 93000 as

      15    “Substances Identified as Toxic Air Contaminants,” of which there is no safe level of exposure
      16    without “significant adverse health effects. “Apple released into the air chemicals categorized under
      17
            42 U.S.C. Section 7412(b) as “Hazardous Air Pollutants” and Cal. Code Regs. Tit. 17, § 93001 as
      18
            “Hazardous Air Pollutants Identified as Toxic Air Contaminants.”
      19
      20             237.   Apple was engaged in Ultrahazardous Activities that caused Gjovik to be harmed.

      21    Apple’s activities were the proximate cause of that harm, and Apple is responsible for that harm.

      22    People who engage in ultrahazardous activities are responsible for the harm these activities cause
      23
            others, regardless of how carefully they carry out these activities. Apple damaged Gjovik’s chattel
      24
            property (discoloring, weakening, dissolving glues, causing reactions), degraded her extremely
      25
            expensive leasehold conditions, and harmed Gjovik’s mind and body.
      26
      27                           COUNT THIRTEEN: IIED – FEAR OF CANCER

      28                      (Intentional Infliction of Emotional Distress – Fear of Cancer)




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       1              238.   The statute of limitations for IIED claims under California state law is two years from

       2    the date of injury and under New York state law it is one year from the act. Gjovik lived in California
       3
            until August 31 2022 and then lived in the state of New York from September 1 2022 up to the date
       4
            the complaint was filed on September 7 2023. The New York statute of limitations covers Gjovik’s
       5
            presence in New York from September 7 2022 through September 7 2023. The California statute of
       6
       7    limitations cover’s Gjovik’s presence in California from September 7 2021 through September 1

       8    2022.50
       9              239.   At the time of Apple’s termination of Gjovik’s employment on September 9 2021,
      10
            Gjovik still did not know Apple was responsible for what happened to her in 2020. Apple continued
      11
            harassing and tormenting Gjovik despite and because of it prior to knowingly subjecting Gjovik to
      12
            exposure to a highly toxic substance while purposefully concealing from Gjovik the serious injuries
      13
      14    that might result from such exposure, and in reckless disregard of these risks.

      15              240.   Gjovik’s physical exposure to Apple’s illegal semiconductor fabrication exhaust was
      16    unrelated to her employment and thus Worker’s Compensation does not apply. Further, Apple was
      17
            the operator in control of the facilities at ARIA during the pertinent times, and actions taken related
      18
            to Apple’s hazardous waste can be directly attributed to the corporation.
      19
      20              241.   Apple’s malicious, fraudulent, oppressive, and extreme/outrageous misconduct was

      21    directed primarily at Gjovik, and it was calculated to cause Gjovik severe emotional distress, and it

      22    was done with the knowledge of Gjovik’s presence and with a substantial certainty that Gjovik would
      23
            suffer severe emotional injury. Apple deliberately vented deadly substances on Gjovik and then
      24
            deliberately made false statements to conceal their actions, all of which could be considered criminal
      25
            actions. Apple’s engaged in this conduct with reckless disregard for the injuries certain to be caused
      26
      27
      28    50
              Gjovik also reserves the right to claim IIED under Massachusetts law if Apple continues inflicting emotional
            distress upon her through the trial.



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       1    by that plan of conduct, and knowing people exactly like Gjovik would be exposed to its dangerous,

       2    toxic chemical fumes and vapors.
       3
                   242.    Apple’s conduct caused Gjovik to suffer severe emotional distress when Apple
       4
            exposed Gjovik to carcinogenic chemicals. Apple’s conduct with the carcinogen chemicals was
       5
            outrageous. Apple’s intentional, reckless, and negligent conduct exposed Gjovik to carcinogens,
       6
       7    including TCE, Toluene, Arsine, and Vinyl Chloride. Apple intended to cause Gjovik distress and

       8    acted with reckless disregard for the probability that Gjovik would suffer emotional distress knowing
       9    she was present where there were carcinogenic chemicals. Gjovik suffered severe emotional distress
      10
            from a reasonable fear of developing cancer, and Apple’s conduct was a substantial factor in Gjovik’s
      11
            severe emotional distress.
      12
                   243.    As a proximate result of the acts of the defendant, Gjovik suffered severe emotional
      13
      14    distress, including the fear of developing cancer and an increased risk of developing cancer. Gjovik

      15    also suffered a wide array of physical symptoms attributed to the toxic chemicals at Stewart 1 and
      16    ARIA, including spasms, nausea, hair loss, rashes, hives, burns, heart failure symptoms, asphyxia,
      17
            dizziness, headache, seizures, arrhythmia, etc. Further, the fear and horror of personally being
      18
            exposed to a cloud of poison gas or knowing that family members have been exposed are absolute
      19
      20    emotional trauma in its purest form.

      21           244.    After Apple’s injuries to Gjovik due to chemical exposure in 2020, Gjovik experienced

      22    many new medical issues (e.g., diagnosed hypertension, hypotension, depression, rashes, growths,
      23
            labile blood pressure, etc.), some of which still have not fully healed (e.g., scarred, and damaged skin,
      24
            hair loss, worsened asthma, and breathing troubles, etc.). This all occurred during Gjovik’s 2L and
      25
            3L years of law school, causing her to suffer academically. Gjovik now also faces a significantly
      26
      27    increased risk of contracting cancer and other disease in her lifetime. Further, after Apple’s

      28    psychological and emotional injuries to Gjovik in 2020-2024, Gjovik now suffers from dramatically




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       1    worsened anxiety, PTSD, and concentration issues – as well as new depression, insomnia, panic

       2    attacks, weight gain, suicidal ideation, post-traumatic stress, disordered eating, loneliness, grief,
       3
            crying fits, and moral injury.
       4
                    245.     Corporations who knowingly and intentionally dump hazardous waste or otherwise
       5
            pollute the environment, violating environmental and safety laws, do so because the practice is less
       6
       7    costly and more profitable than complying with the regulation. Apple’s intentional evasion of paying

       8    required fees and costs associated with proper hazardous waste management and disposal allow Apple
       9    to operate its research and development at a much lower cost than its competitors who do follow the
      10
            law. In addition, Apple also recently launched a “zero waste” program where Apple purports to be
      11
            diverting hazardous waste from landfills. Based on Apple’s environmental reports, ARIA is
      12
            responsible for around 30% of Apple’s global corporate hazardous waste and at ARIA, Apple’s
      13
      14    diversions of waste from landfills includes mid-night dumping into apartments and creating toxic

      15    vapor clouds in public parks.
      16            246.     Even worse, Apple also instituted an environment-social-governance (“ESG”)
      17
            modifier for executive pay (bonuses worth multi-millions of dollars) that can increase or decrease
      18
            executive compensation 10% based on environmental and other practices. Apple’s intentional
      19
      20    environmental violations was not just to reduce costs required for properly disposing toxic waste, but

      21    Apple’s midnight-dumping also to increased bonuses for their executives.

      22                                        VIII. PRAYER FOR RELIEF
      23
            WHEREFORE, Gjovik prays that this court enter judgment in her favor on each and every claim for
      24
            relief set forth above and award its relief, including, but not limited to, the relief as follows:
      25
      26      i.    A Judgment entered in her favor, and an award of damages in an amount to be determined at
                    trial.
      27
             ii.    Employee whistleblower’s “make whole relief” with compensatory damages, including lost
      28
                    wages (back pay, lost benefits, lost bonuses and pay raises, lost stock grants and vesting, etc.).



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       1            This should include a refund of Gjovik’s use of Vacation and Sick days in response to Apple’s

       2            misconduct and negligence, payment of those days, and removing negative records from her
                    personnel file.
       3
             iii.   Reinstatement of employment at a prior or higher level, with reestablishment of benefits and
       4
                    seniority, and promise of a respectful and health workplace. If that cannot be provided – then
       5
                    at least ten years of front-pay, or up to retirement age.
       6     iv.    Compensatory damages for pecuniary harm, including lost future wages, lost benefits, lower
       7            earning capacity, past and future medical expenses, counseling, medication, physical and
       8            digital security expenses, reputation management expenses, mental/emotional injury (PTSD,
       9            anxiety, depression, insomnia, disordered eating); property damage, degradation, and

      10            conversion; and moving costs to relocate.
              v.    Compensatory and special damages for non-pecuniary harm, including emotional distress,
      11
                    humiliation, loss of enjoyment, loss of consortium, annoyance, discomfort, inconvenience,
      12
                    disfigurement, pain and suffering, mental anguish, and reputational harm. Gjovik now suffers
      13
                    from permanent psychological trauma and damage because of Gjovik’s actions. Gjovik is
      14            entitled to compensation for any special damages she suffered resulting from Apple’s
      15            outrageous and defamatory acts.
      16     vi.    Compensatory damages for the injury suffered to Gjovik’s body, mind, and property by

      17            Apple’s nuisances and ultrahazardous activities, including cost to replace clothing and other
                    chattel property that were destroyed by Apple’s tortfeasing. Costs for medical monitoring and
      18
                    medical intervention for any lifetime illnesses attributable to exposure to the chemicals Apple
      19
                    exposed her to.
      20
            vii.    Consequential, expectation, reliance, and ‘benefit of the bargain’ damages, where applicable.
      21    viii.   A civil penalty of $10,000 per employee for each violation of Cal.Lab.C. § 98.6 and § 1102.5.
      22            (If this request prevents other damages, this request may be waived).
      23     ix.    Punitive damages for all available claims (Tameny, Cal.Lab.C § 1102.5, Nuisance,
      24            Ultrahazardous Activities, and IIED), with amount to be determined at trial.

      25      x.    Declaratory relief stating Gjovik is a Crime Victim under federal and state law, so Gjovik can
                    be afforded her relevant rights.
      26
             xi.    Injunctive relief under § 17200, including declaratory relief that Apple’s secrecy oaths for
      27
                    their commercial studies are unlawful. This would allow Gjovik and her coworkers to speak
      28
                    freely about their experiences and seek treatment and counseling for the harm inflicted by the



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       1            experiments. Gjovik also requests disgorgement of unlawful data and injunctive orders to

       2            prevent further violations, as the court deems appropriate.
            xii.    Litigation costs, expert witness fees, pro se attorney’s fees, and other reasonable expenses.
       3
                    Pre-judgment and post-judgment interest. Offset for tax bracket increase due to lump sum
       4
                    payment.
       5
            xiii.   Where no damages or other relief are available, entry of declaratory relief and nominal
       6            damages of $1.00 (or $2.00 or $3.00 where double or treble damages apply).
       7    xiv.    Such other and further relief as the Court deems just and proper.
       8
            Plaintiff hereby requests a trial by jury on all issues so triable.
       9
      10    IX.     CERTIFICATION AND CLOSING
                    Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
      11
            knowledge, information, and belief that this complaint is not being presented for an improper purpose,
      12
            such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation; is supported
      13
            by existing law or by a nonfrivolous argument for extending, modifying, or reversing existing law;
      14    the factual contentions have evidentiary support or, if specifically so identified, will likely have
      15    evidentiary support after a reasonable opportunity for further investigation or discovery; and the
      16    complaint otherwise complies with the requirements of Rule 11. I agree to provide the Clerk's Office

      17    with any changes to my address where case-related papers may be served. I declare under penalty of
            perjury under the laws of the United States of America that the foregoing is true and correct.
      18
      19
            Respectfully submitted,
      20
                    Executed on:                    JUNE 18, 2024
      21
      22
      23
      24            Signature of Plaintiff          _________________________________

      25            Printed Name of Plaintiff       Ashley M. Gjovik
      26
                    Address: 2108 N St. Ste. 4553, Sacramento, CA 95816
      27            Email: legal@ashleygjovik.com
      28            Phone: (408) 883-4428




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            Ashley M. Gjovik, JD
            Pro Se Plaintiff
      1
            2108 N St. Ste. 4553
      2     Sacramento, CA, 95816
            (408) 883-4428
      3     legal@ashleygjovik.com
      4                               UNITED STATES DISTRICT COURT
      5                               NORTHERN DISTRICT OF CALIFORNIA
      6                                              Case No. 3:23-cv-04597-EMC

      7                                              Filed: September 7, 2023

      8                                              District Judge: Honorable Edward Chen

      9                                              THIRD AMENDED COMPLAINT
            ASHLEY GJOVIK, an individual,
     10                                              PLAINTIFF’S CLAIMS:
                         Plaintiff,
     11                                              A. The RICO Act,
                         v.                             18 U.S.C. §§ 1962(a), (c), (d)
     12                                              B. Sarbanes-Oxley Act Whistleblower,
                                                        18 U.S.C. § 1514A
     13     APPLE INC, a corporation, et al,
                                                     C. Dodd-Frank Act Whistleblower,
     14                  Defendant.                     15 U.S.C. § 78u-6(h)(1)(A)(iii)
                                                     D. Private Nuisance & Nuisance Per Se
     15                                                 Cal. Civil Code § 3479
     16                                              E. Ultrahazardous / Abnormally Dangerous
                                                        Activities (California Strict Liability)
     17                                              F. Bane Civil Rights Act,
                                                        Cal. Civ Code § 52.1
     18
                                                     G. Ralph Civil Rights Act,
     19                                                 Cal. Civ Code § 51.7

     20                                              H. Cal. Whistleblower Protection Act, Cal.
                                                        Labor Code § 1102.5
     21                                              I.   Retaliation for Filing Complaints,
                                                          Cal. Labor Code § 98.6
     22
                                                     J. Retaliation for Safety Activities,
     23                                                 Cal. Labor Code § 6310
                                                     K. Termination in Violation of Public Policy
     24                                                 California Tamney claim
     25                                              L. Breach of Implied Contract & Covenant of
                                                        Good Faith & Fair Dealing
     26                                              M. Infliction of Emotional Distress (IIED/NIED)
     27                                              N. Unfair Competition Law,
                                                          Cal. Business & Professional Code § 17200
     28

                                               DEMAND FOR JURY TRIAL

                                                           1
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      1            1.      Ashley Gjovik (“Plaintiff”) alleges that Apple Inc (“Defendant”) has violated numerous

      2     federal laws that directly caused her injury, including the RACKETEER INFLUENCED AND CORRUPT

      3     ORGANIZATIONS ACT [18 U.S.C. § 96] (with predicate acts of wire fraud, mail fraud, securities fraud,

      4     witness intimidation, witness retaliation, and non-peaceful use of chemical weapons), SARBANES OXLEY

      5     ACT [18 U.S.C. § 1514A], and DODD-FRANK ACT [15 U.S.C. § 78u-6(h)(1)(A)(iii]. Additionally, Plaintiff

      6     alleges Apple violated several California Labor Codes, including § 1102.5, § 98.6, and § 6310, and several

      7     California toxic torts, including private nuisance and ultrahazardous activities. Finally, Plaintiff also

      8     alleges Apple intentionally and negligently inflicted emotional distress upon her in the states of California

      9     and New York, and the Commonwealth of Massachusetts.

     10                                        I.      JURISDICTION & VENUE
     11            2.      This court has jurisdiction over both subject matter and diversity claims. The United States
     12     District Courts have original and exclusive jurisdiction over whistleblower retaliation claims under THE
     13     SARBANES-OXLEY ACT AND THE DODD-FRANK ACT. This US District Court has federal question
     14     jurisdiction over “all civil actions arising under the Constitution, laws, or treaties of the United States”
     15     [28 U.S.C. § 1331], which provides original jurisdiction over several claims and issues in this case.
     16            3.      The United States District Courts also have diversity jurisdiction over this case because the
     17     amount in controversy exceeds $75,000 and the parties are of diverse state citizenship. [28 U.S.C. § 1332].
     18     When the complaint was filed, Plaintiff was domiciled in the state of New York and is now domiciled in
     19     the Commonwealth of Massachusetts. Defendant is a corporation headquartered in California.
     20            4.      The federal courts have an independent basis for federal jurisdiction on this case; thus, they
     21     may also exercise supplemental jurisdiction because the claims arise from the same case and controversy,
     22     share a common nucleus of operative fact, and would ordinarily be expected to be tried in one judicial
     23     proceeding. [28 U.S.C. § 1367; Osborn v. Haley]. The state claims here require analysis of many of the
     24     same facts and legal questions as the federal claims.
     25            5.      Venue is proper in the District Court of Northern California because Apple is
     26     headquartered and operates in this district. Many of Gjovik’s claims arose from acts, omissions, and
     27     injuries within the District of Northern California. The plaintiff filed this complaint with the San Francisco
     28     Division; however, the San Jose and San Francisco Divisions are proper. [Civil L.R. 3-5(b)].

                                                         II.     PARTIES
                                                                 2
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      1               6.      Ashley Gjovik, (pronounced “JOE-vik”), (“Plaintiff”), was an Apple employee and a

      2     covered person under applicable statutes in this complaint. Gjovik is a natural person domiciled in

      3     Massachusetts, holding a Juris Doctor, and appearing Pro Se. Gjovik lived in Santa Clara from February

      4     2020 through October 2020 and August 2021 through August 2022. Gjovik lived and worked in San

      5     Francisco County from October 2020 through August 2021. Gjovik established a consulting LLC in

      6     California in 2022, which she continues to manage with a virtual office in Sacramento at 2108 N St. Ste.

      7     4553 Sacramento, CA, 95816. (The LLC address is used on papers for privacy.)

      8               7.      Apple Inc., (“Defendant”), is a business engaged in and affecting interstate commerce and

      9     a covered entity under the statutes at issue here. Apple is a corporation headquartered at One Apple Park

     10     Way in Cupertino, California. “Apple” refers to its successors and assigns; controlled subsidiaries,

     11     divisions, groups, affiliates, partnerships, and joint ventures; and their directors, officers, managers,

     12     agents, and employees. Apple is engaged in interstate and foreign commerce and has offices, stores, call

     13     centers, and other facilities in numerous US states and foreign countries. Apple’s business consists of

     14     “design, manufacture, and marketing” products and sales of “various related services.” As of December

     15     2023, Apple Inc. claimed a market cap of $3.021 trillion and annual revenue of $383.29 billion. 1 Apple’s

     16     stock ticker symbol is AAPL. At all pertinent times, Apple was the tenant and operator controlling the

     17     facilities at 825 Stewart Drive in Sunnyvale and 3250 Scott Boulevard in Santa Clara, California.

     18                             III.    NOTICE OF PENDENCY & CONFLICT OF LAWS
     19               8.      Gjovik left her CERCLA (“Superfund”) and OSH Act whistleblower retaliation cases with
     20     the US Department of Labor as the claim’s exclusive jurisdiction is with the US Department of Labor,
     21     and there is no way to remove the two charges to the US district courts for a de novo trial. The OSH Act
     22     charge is under the “Request for Review” process with the Directorate of Whistleblower Protection
     23     Programs, and her CERCLA charge is docketed with the US DOL Office of Administrative Law Judges
     24     under 2024-CER-00001 in Boston.
     25               9.      Gjovik has six pending NLRB charges. NLRB cases cannot be removed to court for de
     26     novo hearings, as the NLRB has exclusive jurisdiction to adjudicate cases under the NLRA. The NLRB
     27     issued a Decision of Merit on two of Gjovik’s charges in January 2023, (thus the NLRB will issue a
     28

            1
                Apple Inc, 2023 10K,.
                                                                 3
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      1     complaint and sue Apple if Apple does not settle first). Gjovik’s two meritorious charges included Apple’s

      2     Business Conduct Policy, NDAs, Intellectual-Property Agreement, and an email CEO Tim Cook sent his

      3     staff in September 2021, shortly after Gjovik was fired.2 Gjovik’s four other charges allege unfair labor

      4     practices. Three were under review with the General Counsel’s Division of Advice office for some time.3

      5     The fourth charge was recently filed due to Apple’s out-of-court conduct related to this case, including

      6     promulgating unlawful work rules.4

      7                                          IV.     STATEMENT OF FACTS
      8             10.     The Plaintiff, Ashley Gjovik, is a 37-year-old woman residing in Boston, Massachusetts.
      9     Gjovik holds a Bachelor of Science in Liberal Studies and a Juris Doctor degree awarded in June 2022.
     10     Gjovik also has a certificate in Public International Law and participated in a ‘summer abroad’ studying
     11     international law and transitional justice at the University of Oxford in 2021 and worked for a term for a
     12     non-profit organization as a legal caseworker for refugees and asylum seekers in 2021.
     13             11.     Gjovik worked at Apple from 2015 to 2021. At the time of her termination, her title was
     14     Senior Engineering Program Manager, and her base salary was $169,000 annually. In the last full year,
     15     Gjovik worked at Apple (2020), her total W-2 compensation was $386,382. Gjovik was the co-founder of
     16     a large women’s community group at Apple. Gjovik worked in a rotation position within Apple’s Legal
     17     department in 2019-2020, primarily supporting the Government Affairs and Software Product Legal
     18     teams’ efforts to establish Apple’s first company-wide Artificial Intelligence Ethics and Social
     19     Responsibility policy.
     20             12.     Since September 2023, Gjovik has been a program manager for an air pollution research
     21     project at a non-profit research university. The role is temporary and does not utilize her legal or
     22     engineering experience. After two years of searching and hundreds of applications, it was the first and
     23     only job offer she could obtain. The role is a far lower seniority than her role at Apple, and in this first job
     24     after Apple, Gjovik’s salary was reduced by 41% and total compensation lowered by 74%.
     25
                    i.      Gjovik’s Employment at Apple
     26
                    13.     Gjovik joined Apple on February 23, 2015, as an Engineering Project Manager in the
     27
     28
            2
              32-CA-284441 and 32-CA-284428 (Oct. 12 2021).
            3
              32-CA-282142 (Aug. 26 2021), 32-CA-283161 (Sept. 16 2021), 32-CA-288816 (Jan. 10 2022).
            4
              01-CA-332897 (Dec. 29 2023).
                                                                  4
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      1     Software Project Management Office until January 2017. She reported to several managers under the same

      2     Director (Venkat Memula) during this time. Gjovik experienced severe harassment, discrimination,

      3     bullying, and an untenable hostile work environment during those two years, primarily from her

      4     coworkers, Rob Marini and Brad Reigel. Memula repeatedly failed to correct their behavior.

      5            14.     Marini bragged that he was known to executives as their “Little Gestapo.” He quickly made

      6     a work tracking ticket titled “Make Ashley’s Life a Living Hell,” then assigned it to Reigel. Marini often

      7     planned and orchestrated malicious schemes to harass Gjovik and cause her distress, including getting

      8     multiple members of the team to physically attack Gjovik, spreading rumors about Gjovik, secretly

      9     recording Gjovik and sharing recordings with their team (a crime in California), and frequently pressuring

     10     Gjovik to drink hard alcohol at work. Marini made cruel comments. He once noticed Gjovik made a typo

     11     in an XML and told Gjovik that her mother should have had an abortion. Both Marini and Reigel cursed

     12     at Gjovik, called her names, and wrote harassing statements and nicknames on whiteboards about her.

     13     Memula assigned Gjovik to share an office with Marini. Marini told Gjovik in the first week that all of

     14     his prior officemates either quit the company, left the country, or killed themselves. Marini asked Gjovik

     15     which path she would choose. Marini once told Gjovik he targeted her with harassment and bullying

     16     because she was ‘joyful,’ and he wanted to ‘extinguish’ her light.

     17            15.     Reigel was an active police officer, had ammunition in his office, allegedly physically

     18     ‘flipped a table’ in a meeting, and supposedly kept a gun in his car at times. Reigel once kept Gjovik in a

     19     conference room with the door closed and berated her for a prolonged period while she wept and begged

     20     him to stop. He sometimes made ‘joking’ comments, like he’d ‘smack her’ if she did not do what he said.

     21            16.     Gjovik’s first manager, Linda Keshishoglou, tried to bribe Gjovik in exchange for Gjovik

     22     providing a positive review to Keshishoglou’s manager, Memula. Gjovik reported it to Memula and

     23     Human Resources. When Keshishoglou left the organization, Gjovik was transferred to report to Reigel.

     24     Gjovik attempted to move to a different team but was thwarted and blocked by Reigel, who provided

     25     negative feedback about her to the hiring manager and could not explain why.

     26            17.     Gjovik was then transferred under Evan Buyze and Shandra Rica (in Memula’s

     27     organization) to run Early Field Failure Analysis for the company, where she received very positive

     28     feedback and praise until one specific field issue which led to a retaliatory constructive termination.
            Gjovik’s managers had become upset at Gjovik because Gjovik was earnestly trying to investigate a trend

                                                                5
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      1     of battery failures in the field, and Gjovik’s managers preferred to “ignore it and hope it goes away” and

      2     told Gjovik to also “ignore it,” which Gjovik refused to do. Buyze and Rica told Gjovik not to tell people

      3     why she was leaving their organization, with Rica saying she “doesn’t like people who talk shit.” This

      4     battery failure issue and Apple’s resulting response would be nicknamed “Batterygate.”

      5            18.     Gjovik joined Product Systems Quality in Hardware Engineering in January 2017 after

      6     leaving Software Engineering. Gjovik now reported to Dan West (Senior Director) and David Powers

      7     (Director) as a Senior Engineering Program Manager and chief of staff. Both West and Powers engaged

      8     in harassing, discriminatory, and inappropriate conduct toward Gjovik – including remarks and decisions

      9     that discriminated against Gjovik based on sex, gender, and disability. In December 2017, West also

     10     attempted to coerce Gjovik to engage in a romantic relationship with one of West’s business partners,

     11     which would benefit West personally. Gjovik complained then and later, and in January 2021, West

     12     admitted it was “one of the worst things [he’s] ever done.”

     13            19.     Other leaders in West’s organization also discriminated against Gjovik, including John

     14     Basanese, who frequently complained that Gjovik was not married and did not have kids, and during

     15     company social events, often pressured Gjovik to ‘settle down’ and ‘have kids.’ Gjovik complained to

     16     Basanese and West about the statements, but Basanese persisted for years. In addition, Powers’ US-based

     17     team was 90% men, and all of Powers’ other direct reports (other than Gjovik) were men.

     18            20.     While Gjovik’s performance reviews were positive, outside the reviews, Powers and West

     19     frequently gave Gjovik ‘feedback’ like she was too ‘emotional,’ ‘aggressive,’ or ‘expressive. Gjovik gave

     20     both men ‘feedback’ in response to their feedback, complaining about inappropriate comments. West

     21     would usually listen and thank her for being honest with him. Powers did not respond well and frequently

     22     berated her. In two meetings, Powers criticized Gjovik, making her cry, and then berated her about her

     23     crying, making her cry more.

     24            21.     Before Apple’s unlawful actions towards Gjovik, Gjovik wanted to continue working at

     25     Apple even after she graduated from law school in June 2022. She intended to stay at Apple indefinitely

     26     if she could transfer to a better role, not in a hostile work environment like her current role. Gjovik had

     27     initiated friendships with leadership in Apple Legal in 2018, hoping she could intern with them (which

     28     she did in 2019) and convince them to hire her upon graduation. She continued mentioning this plan into
            2021. Meanwhile, Gjovik’s supervisor, West, frustrated several of Gjovik’s attempts to transfer to roles

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      1     focused on law/legislation/policy – including directly blocking an offer in December 2020 for Gjovik to

      2     work on Apple’s implementation of circular economy legislation.

      3            ii.     Apple’s Secret Semiconductor Fabrication at 3250 Scott Blvd (“Aria”)
      4            22.     In early 2015, Apple started stealth semiconductor fabrication activities in a facility located
      5     at 3250 Scott Boulevard in Santa Clara, California, which Apple codenamed “ARIA.” The factory is less
      6     than three hundred feet from thousands of homes where Gjovik lived in 2020. Apple intentionally vented
      7     its fabrication exhaust – unabated – and consisting of toxic solvent vapors, gases, and fumes – into the
      8     ambient outdoor air. The factory was only one story, while the apartments were four stories tall, creating
      9     a high likelihood that Apple’s factory exhaust entered the interior air of the apartments through open
     10     windows and the 'fresh air intake' vents.
     11            23.     Apple Inc. was fully aware of this facility and its operations, including the vast amount of
     12     hazardous materials and hazardous waste, as every year, Apple submits a financial assurance document
     13     to the Santa Clara Fire Department & Haz Mat agency, which details hazardous waste treatment and
     14     disposal operations, and is personally signed by Apple’s Chief Financial Officer, Luca Maestri – including
     15     affixing a company seal. Each financial assurance filing attached a detailed confirmation letter from
     16     Apple’s third-party auditor, E&Y. Maestri, who was also on the email distribution list for notification of
     17     hazardous waste violations at the facility.
     18            24.     Upon initiating operations, Apple was quickly cited for building, environmental,
     19     health/safety, and fire code violations at ARIA in at least 2015 (stop work order due to construction
     20     without permits), 2016 (spill of cooling water, fire code and CalASPA violations, health & safety code
     21     violations), 2019 (phosphine and silane spill, phosphine leak, wastewater testing violations), 2020 (fire
     22     code violations, using two EPA identification numbers, inaccurate hazmat inventory data, Tetraethyl
     23     Orthosilicate spill, no spill plans or training, no business permit, no signature from supervisor on records),
     24     2021 (ozone leak, another phosphine leak), and 2022 (fluorine gas leak and Hexafluorobutadiene leak).
     25            25.     In February 2020, Gjovik moved into an apartment building at 3255 Scott Blvd and became
     26     severely ill. Gjovik suffered severe fainting spells, dizziness, chest pain, palpitations, stomach aches,
     27     exhaustion, fatigue, and strange sensations in her muscles and skin. Gjovik also suffered bradycardia (slow
     28     heart rate), volatile blood pressure with both hypertension and hypotension and a high frequency of
            premature ventricular contractions (an arrhythmia). From February 2020 through September 2020, Gjovik

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      1     was screened for multiple severe and fatal diseases and disorders, including Multiple Sclerosis, brain

      2     tumors, deadly arrhythmias, and Neuromyelitis Optica – instead, all of Gjovik’s symptoms were consistent

      3     with chemical exposure. Due to the solvent exposure, Gjovik also suffered skin rashes, burns, and hives,

      4     and her hair fell out and she had a shaved head for most of 2022 as the bald patches grew back.

      5            26.     Gjovik visited the Emergency Room on February 13, 2020, and Urgent Care (at AC

      6     Wellness, Apple’s for-profit in-house clinic) on February 20, 2020. Gjovik subsequently consulted with

      7     dozens of doctors, who screened her for all sorts of diseases, subjecting Gjovik to extensive blood draws,

      8     urine samples, injections, and scans – including potentially dangerous procedures like MRI and CT scans

      9     with contrast, of which Gjovik had multiple. Gjovik was too sick to work and went on disability.

     10            27.     Gjovik transitioned her medical care to a different clinic and provider after her Apple

     11     primary care provider at AC Wellness refused to help her triage her 2020 medical issues (due to exposure

     12     to Apple’s factory exhaust) and instead suggested Gjovik could be suffering from anxiety and enrolled

     13     Gjovik in an Apple internal user study related to blood pressure, requiring Gjovik share her iPhone medical

     14     and fitness data with Apple, and participate in weekly life coaching sessions (while being exposed to

     15     Apple’s solvent vapor and gas exhaust).

     16            28.     While sick in 2020, Gjovik would wake up occasionally at 3 AM feeling like she was dying

     17     and with symptoms of heart failure and asphyxia. Heart monitoring showed arrhythmias, bradycardia, and

     18     low blood pressure. All of these symptoms match Phosphine and Arsine gas exposure, which can quickly

     19     become lethal. Apple has a significant quantity of Arsine gas on site, and Gjovik’s medical tests from

     20     September 2020, the morning after one of the 3 AM attacks, revealed significant arsenic in her blood with

     21     no other explanation than Arsine gas exposure within the prior eight hours.5

     22            29.     On September 2, 2020, Gjovik discovered high levels of volatile organic compounds in her

     23     indoor air when she was feeling severely ill. Gjovik sought out multiple occupational and environmental

     24     exposure doctors, who told Gjovik that all of her symptoms were consistent with solvent and other

     25     chemical exposures. After Gjovik discovered her medical issues at the apartment were due to a chemical

     26     emergency, Gjovik quickly filed complaints with Santa Clara City HazMat/Fire Department, California

     27     EPA, and US EPA. She also called poison, who said what she described also sounded like Benzene

     28

            5 US CDC, NIOSH, Arsine Emergency Response.

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      1     exposure. Gjovik notified several Apple executives of her findings and activities, including her managers

      2     Powers (Director) and West (Sr. Director), her friends J.C. (Senior Director) and A.A. (Senior Manager).

      3               30.     In September 2020, Gjovik hired an industrial hygienist to test the indoor air at her

      4     apartment. It returned results showing a number of the chemicals in use by Apple at ARIA including

      5     Acetone, Acetonitrile, Acetaldehyde, Benzene, 1,2-Dichloroethane, Ethanol, Ethylbenzene, Hexane,

      6     Isopropanol, Isopropyl toluene, Methylene Chloride, Toluene, 1,2,4-TMB, and Xylene. However, the TO-

      7     17 test only returned chemicals for ½ of the total VOCs it accounted for. The testing panel did not test for

      8     NMP, arsine, phosphorus, silane, or chlorine – they may have also been present. In September 2020,

      9     Gjovik’s blood and urine medical tests showed industrial chemicals, including Arsenic/Arsine, Toluene

     10     (Hippuric Acid), and Xylene (2-3-4 Methyl hippuric Acid (2, -3-,4-MHA) in her urine.

     11               31.     In September 2020, Gjovik set up additional air monitors to observe the levels of VOCs in

     12     her apartment next to the ARIA factory (though she was not aware of the factory exhaust at that time).

     13     The results of the data validated what Gjovik had noticed with her symptoms and ad hoc testing – that the

     14     VOCs mostly spiked early in the morning and late at night as if they were being exhausted from an

     15     automated mechanical system (which it was).

     16               32.     Gjovik noticed an Apple facility at 3250 Scott Boulevard across the street, which was also

     17     on the Superfund groundwater plume. Gjovik mentioned the facility to Apple on at least September 8, 9,

     18     10, and 13, 2020 – inquiring if anyone was familiar with the area because Apple had an office there. Apple

     19     EH&S had at least two phone calls with a woman who responded who was also actually in charge of Real

     20     Estate/EH&S teams involved in Gjovik’s Superfund office at 825 Stewart Drive (“Stewart 1”) and the

     21     activities at ARIA. The Apple Real Estate manager suggested that Gjovik use a special paid leave to move

     22     out of the apartment called ‘extreme condition leave’ designated for disasters. A couple months later,

     23     Apple changed the charcoal/carbon in their exhaust filters for the first time in December 2020. (these

     24     should have been replaced at least every six months instead of five years).

     25               33.     On. On March 26, 2021, the SF Bay View newspaper published an article Gjovik wrote

     26     about her chemical exposure experience with the air around 3250 Scott. 6 More victims and witnesses

     27     promptly came forward; some were also Apple employees. On April 5, 2021, Gjovik told West about the

     28     other victims, and West warned her she was “kicking a hornet’s nest.” West asked Gjovik not to send

            6
                Ashley Gjovik, I thought I was dying: My apartment was built on toxic waste, SF Bay View (March 26 2021)
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      1     information about Gjovik’s chemical exposure at 3255 Scott Blvd to his personal work email, saying:

      2     “Can you send that stuff to my Gmail instead of work? My mail account is routinely scanned for lawsuits.”

      3            34.     On April 5, 2021, Gjovik notified Osman Akhtar, Director of Apple “AC Wellness”

      4     employee medical Centers and Clinical Engineering, that after her article was published, more people

      5     came forward from the 3255 Scott Blvd apartments reporting illness. “Two are Apple employees. At least

      6     one went through AC Wellness, but no one could figure out what was wrong with them.” Gjovik suggested

      7     Akhtar direct the clinic to “screen local folks” with unexplained symptoms that match solvent exposure.

      8            35.     On April 29, 2021, Gjovik visited an occupational exposure doctor about her apparent

      9     chemical exposure in the apartments next to Apple’s ARIA factory and at Stewart 1.7 The UCSF visit

     10     notes summarized Gjovik’s 2020 medical symptoms saying:

     11            “She was experiencing severe dizzy spells, a large decrease in resting heart rate, palpitations,
                  hypotension, fatigue, chest pain, numbness, spasms, rash, shortness of breath, multiple
     12
                  growths (mole, polyp, nodules), nausea, paresthesias, blurry vision, abnormal vaginal
     13           bleeding, and swollen glands” The visit notes warned: “there remains a concern about
                  potential pathways for residential exposures, and the county and State environmental
     14
                  agencies should address these…. she also notes an unexplained episode of fainting at work
     15           in Sept 2019 at her office on a Superfund site with a long history of vapor intrusion issues..."
     16            36.     Gjovik emailed the US EPA and CalEPA about the issues from September 2020 through
     17     April 2021; many Apple leaders knew she did so. Starting in early 2021, Gjovik also contacted and met
     18     with local, state, and federal politicians about what occurred to her next to ARIA – and Apple was aware
     19     of this. For example, Gjovik met with Senator Bob Weickowski and his staff on April 7, 2021. Gjovik
     20     also met with Assembly Member Lee’s staff once and Mayor Lisa Gillmor several times. On April 7,
     21     2021, Gjovik told West about the meetings. On April 9, 2021, Gjovik contacted the County District
     22     Attorney’s office, talked to Bud Porter, Supervising Deputy District Attorney for Environmental Crimes,
     23     and met with him on April 16, 2021.
     24            37.     Around the summer of 2021, Apple reported to the US EPA that in the year 2020, they
     25     released 7.8 tons (15,608 pounds) of volatile organic compounds and 260 pounds of the combustible
     26     solvent N-Methyl-2-pyrrolidone (NMP) into the exterior air from the ARIA factory. In 2022, the US EPA
     27     severely restricted the legal use of NMP as “it presents an unreasonable risk of injury to human health”
     28
            7
              Dr. Robert Harrison, MD – who directs the UCSF Occupational Health Services department and the Worker
            Investigation Program for California Department of Public Health.
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      1     under TSCA. Many of Apple's chemicals at the plant were characterized as “extremely hazardous” or

      2     “acutely hazardous” materials. [8 CCR § 5189(b)(1), (c)]

      3            38.     On July 27, 2021, a non-profit organization asked Gjovik to testify as a witness to state

      4     Senator Dave Cortese about her experience with hazardous waste clean-up sites in Santa Clara County,

      5     and Gjovik accepted. On August 15, 2021, Gjovik posted on Twitter that she had met with US

      6     Representatives, state Senators, Assembly Members, and Mayors about 3255 Scott Blvd. In 2022, there

      7     was a discussion with the US Representative’s office about bringing Gjovik’s situation with Apple related

      8     to environmental violations to a US House Sub-Committee.

      9            39.     On February 21, 2023, Gjovik discovered the semiconductor fabrication activities at ARIA.

     10     Gjovik posted on Twitter in real-time as she learned about it, expressing severe distress.8 Gjovik began

     11     researching the site and Apple's activities, with the findings making Gjovik feel compelled to file a formal

     12     complaint about Apple’s illegal conduct at ARIA. On June 23, 2023, Gjovik filed complaints about ARIA

     13     to the US EPA, CalEPA, the city of Santa Clara, and Santa Clara County. Gjovik drafted a 28-page memo

     14     with dozens of exhibits. Gjovik also posted on Twitter that she did so and provided a public link.

     15            40.     The US EPA responded and took the lead on an investigation. Gjovik met with the US

     16     EPA’s RCRA Enforcement & Compliance team several times before they then inspected Apple’s factory

     17     in August 2023 and January 2024. The August 17, 2023 inspection was coded as an RCRA “Compliance

     18     Evaluation Inspection,” defined as “primarily an on-site evaluation of the compliance status of the site

     19     about all applicable RCRA Regulations and Permits.”9 The January 16, 2024 inspection was coded as a

     20     “Focused Compliance Inspection.”10 Gjovik is still awaiting a report on the results.

     21            iii.    Gjovik’s Office at The TRW Microwave Superfund Site
     22            41.     Gjovik’s Apple office from 2017 until her termination was located at 825 Stewart Drive in
     23     Sunnyvale, California, also known as the “TRW Microwave” Superfund site, part of the US EPA “Triple
     24     Site.”11 The “Triple Site” is the collective name for three adjacent Superfund sites in Sunnyvale that have
     25
     26
            8
              “APPLE IS DOING LITERAL ACTUAL GODDAMN SILICON FAB 0.2 MILES (0.3 KM) FROM THE APARTMENT
     27     WHERE I GOT SO SICK I THOUGHT I WAS DYING & APPLE VENTED THAT SHIT INTO THE AIR FROM THEIR
            ROOF & THE YARD NEXT TO THEIR "GAS BUNKERS" RIGHT INTO MY 3RD FLOOR APARTMENT.”
     28     - @ashleygjovik
            9
              US EPA RCRA, Evaluation Types.
            10
               US EPA ECHO, 3250 Scott Blvd # 110001168254.
            11
               US EPA, Triple Site Profile – Background.
                                                                11
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      1     jointly contributed to a mile-long groundwater solvent plume. In addition, the “Offsite Operable Unit” is

      2     roughly a one-hundred-acre area of groundwater contamination from TRW Microwave. It “includes four

      3     schools and over 1,000 residences.”

      4            42.     The “TRW Microwave” Superfund site is a former industrial semiconductor fabrication

      5     and manufacturing facility at 825 Stewart Drive (“Stewart 1”). The primary contaminants in the

      6     groundwater contamination plume are chlorinated volatile organic compounds, including the carcinogen

      7     trichloroethene (“TCE”) and its daughter products cis-1,2-dichloroethene and vinyl chloride. The

      8     contaminated groundwater under 825 Stewart Drive is as shallow as only 2.6 feet below the ground

      9     surface, with shallow TCE concentrations up to 1,400 μg/L and vinyl chloride up to 51 μg/L. 12

     10            43.     Northrop Grumman conducted an initial vapor intrusion evaluation at Stewart 1 in 2003

     11     and 2004, which indicated that TCE concentrations in indoor air present an inhalation risk exceeding

     12     acceptable health and safety levels, with results at 5.1 µg/m3 and 5.2 µg/m3 respectively.13 Indoor air

     13     pollution due to vapor intrusion worsened over time, and indoor air concentrations increased to 7.7 µg/m3

     14     in 2013, the “accelerated action level” for TCE in commercial buildings.

     15            44.     In May 2015, Northrop Grumman installed a “sub-slab” ventilation system inside the

     16     building. (The “slab” refers to the concrete foundation, and “sub-slab” is under the “slab.”) Northrop

     17     Grumman installed a ventilation system (horizontal “collection pipes”) beneath the slab foundation, which

     18     allows vapors to move laterally, and connected the collection pipes to vertical vent risers that vent to the

     19     roof to provide a preferred pathway for hazardous waste vapors “that allow sub-slab contaminant vapors

     20     to discharge to the atmosphere.” The risers vent to the rooftop via wind-powered turbines.

     21            45.     Apple became a tenant in 2015. Apple’s installation of a new HVAC system for the

     22     building in late 2015 included Apple sawing the sub-slab exhaust vent stacks on the main building roof

     23     down from three feet to one foot and then installing the HVAC system intakes in “close proximity” to the

     24     sub-slab vapor exhaust vents, “without consideration for the function of the [sub-slab] system vents and

     25     their function.”14 The HVAC intakes for the area of the building where Gjovik worked were in “the

     26
     27     12
               AECOM and GES for Northrop Grumman, 2021 Annual Groundwater Monitoring Report (March 17, 2022).
            13
     28        Fifth Five Year at pg4; AECOM for Northrop Grumman, 2021 Annual Groundwater Monitoring Report Former
            TRW Microwave Site, 825 Stewart Drive, Sunnyvale, CA, March 17 2022.
            14
               AECOM for Northrop Grumman, Evaluation of Passive Sub-Slab Depressurization System, Former TRW
            Microwave Site, page 1 (April 15 2022).
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      1     assumed sphere of influence” of the vent exhaust, including the chemicals TCE and vinyl chloride.

      2            46.     Apple’s tampering with the exhaust stacks and indifference towards the exhaust’s

      3     proximity to HVAC intakes resulted in a significant risk of re-entrainment of the hazardous waste vapors

      4     and gases into the HVAC system, and thus into the indoor air of the building where Gjovik and her

      5     coworkers would be exposed. California Labor Code § 5143(a)(1) and § 5143(c)(1) prohibit the exhaust

      6     of gas and vapor in a way that causes harmful exposure to employees. California Labor Code §

      7     5154.1(e)(4)(d) requires that these types of stacks exhaust upward from at least seven feet above the

      8     highest portion of the roof. California Mechanical Code § 407.2.1 requires outdoor air intakes be placed

      9     at least 25 feet away from any “exhaust outlets of ventilating systems… that may collect …. noxious

     10     fumes.” Apple constructed the HVAC intakes only ten feet away from the exhaust vents.

     11            47.     In May 2015, Northrop Grumman’s vapor intrusion testing at Stewart 1 reported indoor air

     12     pollution of TCE, 1,2-DCE, Toluene, Chloroform, Methylene Chloride, and Ethylbenzene. 15 From

     13     December 2015 to January 2016, Apple managed and submitted a second vapor intrusion testing report to

     14     the US EPA.16 Apple’s December 2015 vapor intrusion testing results showed an increase in indoor air

     15     pollution and the sub-slab ventilation system compared to the May 2015 results.17 The highest indoor air

     16     reading of TCE doubled between May and December 2015. In May 2015, it was 0.58 µg/m³, and the

     17     highest indoor air TCE reading in December 2015 was 1.2 µg/m³.18 Apple’s report also noted a “noticeable

     18     increase” of TCE, PCE, and chloroform in the sub-slab venting system and high levels of toluene and

     19     ethylbenzene in the indoor air.19 Apple moved employees in and never tested again.

     20            48.     The US EPA issued a formal letter to the current building owner in 2016 explaining that if

     21     there were any issues with the integrity of the slab, such as cracks, the EPA must be notified, consulted,

     22     and oversee the repairs and subsequent evaluation that the repairs were successful.

     23            49.     On March 17, 2021, Apple announced to Gjovik and Powers’ management team that it

     24     would test Stewart 1 for “vapor intrusion” but said nothing more. Gjovik informed her coworkers that

     25     their office was a Superfund site on March 17, 2021, providing a link to the US EPA website for the office

     26
     27     15
               US EPA, TRW Microwave, Site Documents, Vapor Intrusion.
            16
     28        AECOM for Apple, Vapor Intrusion Evaluation Report, Former TRW Microwave Site, supra.
            17
               US EPA, December 2015 VI Evaluation Report, https://semspub.epa.gov/work/09/1158560.pdf
            18
               Id at pages 26-25.
            19
               AECOM for Apple, Vapor Intrusion Evaluation Report, Former TRW Microwave Site, supra at pg11.
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      1     and two recent news articles about the site referring to the office as a “paved over environmental disaster

      2     zone.” 20 Gjovik explained what vapor intrusion was, told them to take it seriously, and expressed concerns

      3     that Apple employees “should be better informed about these types of environmental risks at our offices.”

      4     Gjovik added, “The chemicals under [the Stewart 1 office], if in high enough quantities, can cause

      5     cancer.” Gjovik asked in her email for details of what type of testing was to be performed and for what

      6     duration, if there would be a risk assessment, and if EH&S would share the findings with the employees

      7     in the building. EH&S initially agreed to meet with Gjovik to discuss her concerns.

      8               50.     Gjovik’s coworkers thanked her for sharing this information and informing them about the

      9     site. Two of Gjovik’s friends, a manager and senior manager at Apple, texted her, affirming her concerns

     10     were reasonable and appropriate. One called it “a really important life-threatening situation,” and another,

     11     after reviewing documentation for the site, questioned, “Why is the building still open?” One of the

     12     managers noted: “What is crazy is … they say no daycare, no elder care, no residential, etc. So, it is fine

     13     & dandy for everyone else to get slowly poisoned?… So glad you are digging into this stuff for all of us.”

     14     Around this time, Gjovik also raised concerns about COVID-19 safety, wildfire smoke safety, Right to

     15     Know/Prop 65, and Apple’s reporting/tracking of injuries.

     16               51.     In late March, Gjovik repeatedly raised concerns about the site to her supervisors. After

     17     reviewing hundreds of pages of documentation for the site, Gjovik advised that Apple had been negligent,

     18     the site was not safe, and Apple seemed unwilling to comply with CERCLA and health/safety regulations.

     19     She said she now believed her fainting spell in 2019 in her office was due to vapor intrusion. She was also

     20     shocked and distressed to see the ‘hot spot’ for the building was her desk with 1,900ug/m3 of TCE in the

     21     sub-slab ventilation system. Powers threatened her and ordered her to stop talking with her coworkers

     22     about her concerns. He said she must believe whatever EH&S tells her. West first claimed the poisonous

     23     gas was sealed under the floor but, after learning the floor was cracked, told Gjovik to quit Apple.

     24               52.     Gjovik met with EH&S thrice on April 2, May 17, and July 7. For some reason, Employee

     25     Relations was also there (Jenna Waibel). Gjovik asked questions about the status of the site and the

     26     rationale for certain design and monitoring decisions. Gjovik expressed that she was disappointed with

     27     some of the answers. EH&S (Michael Stieger) told her Apple Legal and EH&S intentionally do not tell

     28     employees if they work on Superfund sites. Apple deliberately does not train workers about safety

            20
                 Alexis C. Madrigal, Not Even Silicon Valley Escapes History, The Atlantic (July 23 2013).
                                                                    14
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      1     procedures related to toxic waste exposure from clean-up sites. Gjovik said that was both unsafe and

      2     unwise. Gjovik also complained that the prior testing used insufficient durations and methods, had

      3     concerning results, there were known open risks for vapor intrusion vectors (such as ‘compromised’ sub-

      4     slab ports), and the land use covenant is outdated. It must be updated, and they should have tested the

      5     indoor air more frequently than every six years. Gjovik also contacted the US EPA on April 22, 2021,

      6     asking to consult with their manager for the site and emailed back and forth with the US EPA CERCLA

      7     and public relations teams from April through August 2021, and Apple knew she was doing so.

      8            53.     EH&S and Employee Relations notified Gjovik on June 2, 2021, that the foundation of

      9     Stewart 1 is cracked and they need to repair it, and then after, they will test the air. Gjovik told them they

     10     needed to notify the US EPA, have the US EPA oversee the repair and testing plan, and test the air before

     11     and after the repairs. (US EPA later confirmed this). Apple refused and told Gjovik they do not have to

     12     tell US EPA anything; they will repair the floor but will not provide details on how/when, and now they

     13     may not test the indoor air. Gjovik reported Apple’s failure to notify and consult with the US EPA about

     14     the cracked slab to the US EPA. Gjovik notified Apple that she was snitching on them to US EPA.

     15            54.     Gjovik also complained to a senior ethics leader at Apple and their friend, Dr. Cohen, that

     16     what Apple was doing related to environmental compliance and employee chemical exposure was

     17     “morally wrong,” and Apple was publicly misrepresenting their actual operations. Gjovik also complained

     18     to Apple’s I&D team about the disparate impact of chemical exposure to non-white and non-male people.

     19     The I&D business partner asked Gjovik to write a business case for not poisoning Black people. Gjovik

     20     also complained to a friend in Lisa Jackson’s Environmental lobbying team about what was going on at

     21     her office and complained Apple’s public statements seemed fraudulent, and her coworker agreed, saying:

     22     “"uhhh... I kind of feel the need to make sure Lisa is aware. I'm about to present a proposal to several

     23     execs on an Environmental Justice program and this kind of feels like not consistent with that.”

     24            55.     In response to Gjovik’s concerns and escalations, Powers and Waibel issued gag orders

     25     against Gjovik. Waibel went so far as to provide Gjovik with a five-point balancing test if Gjovik wanted

     26     to make statements about Superfund sites or workplace safety to her coworkers and ultimately told Gjovik

     27     that there should be no discussions about workplace safety with her coworkers. In their final meeting about

     28     the site on July 7, 2021, Waibel and Steiger told Gjovik that Stweart 1 is safe because they say it is safe,



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      1     they still have no plans to test the air now, and they will not answer any more of her questions about the

      2     site or workplace safety ever again.

      3            56.     Waibel also responded by opening a non-consensual sexism investigation into Gjovik’s

      4     bosses, where she did not investigate anything but told at least three leaders that Gjovik complained about

      5     them, harassed Gjovik’s friends, and bullied Gjovik to the extent that she repeatedly made Gjovik cry.

      6     Waibel also told Gjovik she had to submit an ADA accommodation request if she did not want to be

      7     exposed to the vapor intrusion, attempted to get Gjovik to release all of her medical requests to “Apple

      8     Inc.,” and then suggested Apple get her an air purifier at her desk for the TCE.

      9            57.     Gjovik complained about Waibel in May and June 2021 to no avail and then began meeting

     10     with Waibel’s manager, Antonio Lagares, in mid-June 2021. Gjovik complained that Apple was acting

     11     insane, and if this is usually how Apple handles employee concerns, then Apple is lying to its employees

     12     and the public that it acts in good faith. Lagares agrees with Gjovik and said Apple’s marketing makes

     13     “his job harder.” Gjovik asked what type of issues his team would take seriously, and he responded when

     14     managers “send pics of their junk.” Gjovik complained to Lagares that Waibel had already ruined her

     15     career at Apple, that she was already constructively terminated by West, that Powers was harassing her

     16     more than ever, and that he should have to investigate all of the terrible things Apple’s done to her for

     17     nearly seven years.

     18            58.     In July 2021, Gjovik discovered that West had been reassigning her best projects (things

     19     that would help her receive a positive review). Then Powers suddenly quadrupled her workload with

     20     highly unfavorable projects (things that were certain to upset people and fail). Powers was snapping at her

     21     and harassing her, West was ignoring her, and Gjovik reported these issues to Lagares and Waibel and the

     22     HR business partner Helen Polkes. Still, they did nothing, or they also harassed Gjovik. Gjovik became

     23     more vocal about her concerns about systemic retaliation and fraud at Apple on Apple’s Slack discussion

     24     tool and also began threatening Lagares that she planned to sue Apple for what they’ve done to her and

     25     that she is also talking to the press (NYT) about Apple, which led Lagares to assign a new investigator

     26     (Ekelemchi Okpo) and open a new investigation into all of Gjovik’s concerns going back to 2015.

     27            59.     By late July, Gjovik was openly complaining on Slack, to reporters, with coworkers, and

     28     now also on Twitter about Apple’s terrible behavior, including intimidation, retaliation, cover-ups, and
            fraud. Gjovik complained about the Superfund and safety issues, Apple’s offensive use of ADA

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      1     accommodations, the persistent suggestion that she take FMLA leave in response to their harassment,

      2     Apple’s illegal NDAs and gag orders, and Apple’s antagonistic and obstinate attitude towards legitimate

      3     and important concerns. Gjovik repeatedly told Lagares, Okpo, Waibel, and Polkes that she refused to

      4     take leave in response to retaliation and harassment; instead, they needed to fix the issues.

      5            60.     On July 26, 2021, Gjovik posted on Apple’s Slack discussion tool complaining that Apple’s

      6     response to her concerns was to retaliate against her and intimidate her into silence. Gjovik asked if anyone

      7     else had been retaliated against for raising concerns. Many of Gjovik’s coworkers responded that they had

      8     also experienced retaliation from Apple for raising real and reasonable concerns. Okpo then swiftly

      9     interrogated Gjovik for over an hour about her Slack posts and the responses she received from coworkers

     10     – repeatedly asking her to stop posting about her concerns and to stop encouraging other employees to

     11     post their concerns and instead direct all employees to speak with Okpo privately. Gjovik told him no, and

     12     she would not help him retaliate against her coworkers.

     13            61.     Apple and Northrop Grumman were notified on July 26, 2021, that the US EPA was

     14     demanding an inspection of Stewart 1 due to Gjovik’s reports about the cracked slab and Apple’s obstinate

     15     and obstructive response and because they discovered what Apple did with the hacksaw, vents, and HVAC

     16     on the roof of Stewart 1 in 2015, with the US EPA QA team exclaiming it was “not appropriate” and

     17     asking for air samples. In response, on August 2nd, Apple suddenly announced they were doing

     18     maintenance at Stewart 1 on August 4th. On August 3rd, Lisa Jackson’s team scheduled a PR blitz about

     19     how safe and thoughtful Apple is, actually. 21 Apple also attempted to make the US EPA sign a four-page

     20     single-spaced NDA about the inspection of Stewart 1 that would prohibit the US EPA from speaking about

     21     the inspection, and the US EPA declined to sign the NDA.

     22            62.     On July 28, 2021, Gjovik emailed Okpo and Lagares about her discussions with coworkers,

     23     discovering a pattern of discrimination and harassment issues across Apple; and what appeared to be

     24     systemic cover-ups of those issues instead of actually resolving the problems. She complained Apple

     25     fraudulently holds itself out publicly as caring about human rights and the law. It was clear to Gjovik that

     26     Okpo would not investigate in good faith and Apple was still trying to get her to quit or else would fire

     27     her, and she began fervently complaining about their bad faith behavior and culture of intimidation.

     28

            21 FOIA; Axios, Exclusive: EPA administrator visits Apple HQ to talk climate, environmental justice.

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      1            63.     Apple said they may give her a severance package of around $600,000 if Gjovik would

      2     sign a preemptive litigation waiver. Apple agreed Gjovik would not have to sign another NDA but did

      3     make the severance negotiation contingent on Gjovik executing a waiver of all claims, while Apple

      4     concurrently intentionally concealed material facts about harm Apple caused to Gjovik through chemical

      5     exposure at her office and her apartment. Gjovik expressed concerns about the settlement amount and her

      6     potential medical costs if she were to get cancer from the exposure at her office, not even yet knowing

      7     about the factory at ARIA or what Apple did to the HVAC at Stewart 1. Apple wanted all claims waived

      8     and denied the severance on those conditions, violating California law. [Cal. Gov't Code § 12964.5(a)].

      9            64.     When Gjovik saw Apple’s EH&S notice on August 2nd about maintenance at Stewart 1,

     10     she quickly arranged for coworkers in the office to gather evidence of the cracks, warning them that Apple

     11     was trying to cover up environmental and safety issues. Gjovik’s coworkers gathered photos of the cracks

     12     for Gjovik on August 3rd and the morning of August 4th. They also asked many questions Gjovik had asked

     13     EH&S. Gjovik shared EH&S’s responses, and they were concerned about Apple’s position and conduct.

     14            65.     The next day, on the 4th, Okpo immediately forced Gjovik on indefinite administrative

     15     leave and refused to provide any ETA for the next steps. Okpo informed her Apple removed her “from

     16     the workplace and all workplace interactions.” Gjovik was very upset and protested, arguing she just

     17     wanted to stop interactions with West and Powers while Okpo investigated because of the work

     18     assignment changes and harassment. Gjovik also complained that it was illegal for them to tell her to stop

     19     talking to her coworkers. Okpo made it clear he also wanted her off Slack. Gjovik told Okpo he could not

     20     keep her off Twitter. Gjovik set her out of the office to say Apple put her on indefinite administrative

     21     leave and told her to stay off Slack. She also posted a message on Slack about it. Within hours, it was

     22     covered in the news worldwide. Okpo sent her several bitter emails about her continuing to speak out, and

     23     he was clearly reading her Twitter posts complaining about Apple’s conduct.

     24            66.     The night after Gjovik was put on leave, West suddenly scheduled meetings with Gjovik’s

     25     women’s group. Gjovik also heard conversations within her team that confirmed she would be fired soon.

     26     Starting around August 5, 2021, the managers in West’s organization started raising the “Ashley Issue” as

     27     a discussion topic in staff meetings. The managers say if anyone has concerns about the “Ashley Issue,”

     28     they should talk to Helen Polkes. They and West mention West’s plans to “discuss the Ashley Issue” at



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      1     the upcoming October All Hands meeting. Gjovik realized they would not be discussing the “Ashley Issue”

      2     at a future all-hands meeting if she was there, and West was already sure Gjovik was about to be fired.

      3            67.     Gjovik saw emails come in steadily while she was on leave about EH&S activities at the

      4     building. EH&S sent notices that they would be on-site for prolonged periods: August 4, 6, 7, 8, 11, 13,

      5     14, 15, 18, 19, 20, 21, 22, 27, 28, 29, and September 3, 4, 5. When the US EPA inspected, they noted

      6     “freshly sealed cracks.” On August 9, 2021, the US EPA sent travel approval requests to visit Gjovik’s

      7     office, and the justification for the visit cited Gjovik’s disclosures. The US EPA’s justification for

      8     inspecting was: “A site visit to an Apple office building is necessary to conduct a visual inspection of the

      9     building’s vapor intrusion mitigation measures. An Apple employee recently contacted EPA and notified

     10     EPA that there were cracks in the building’s foundation. If true and cracks are significant, this could

     11     impact the effectiveness of the VI mitigation system and the protectiveness of human health.”

     12            68.     On August 19, 2021, the US EPA conducted an onsite inspection of Gjovik’s Apple office

     13     due to Gjovik’s complaints to the US EPA. Notes from the August 19, 2021, site visit and inspection

     14     included concerns and issues with the HVAC, sub-slab ventilation system, missing sub-slab ports,

     15     integrity of the slab, and lack of documentation for slab/crack inspections. On August 23, 2021, EPA

     16     CERCLA Quality Assurance submitted notes: "Significant, visible slab cracks, gaps, and penetrations

     17     had been sealed… However, large test equipment is bolted to the slab, and it is unclear if these

     18     installations penetrate the slab.” He added that related to the sub-slab exhaust on the roof above Gjovik’s

     19     desk, “vapors could be building up on the roof near the HVAC intake.”

     20            69.     On May 20, 2022, the US EPA sent a letter to Northrop Grumman about Stewart 1,

     21     instructing that: “EPA requires that one round of indoor air samples be collected... under current

     22     conditions.”22 The letter included an attached memo from the US EPA’s Quality Assurance branch

     23     instructing Northrop Grumman (and Apple) that there should be an annual inspection of “verification that

     24     the floor slab and barrier system have not been breached or otherwise compromised; evaluation to

     25     confirm that the building has not been modified in a manner that could compromise the system; evaluation

     26     of changes to building use,” in addition to also inspection roof components.23 The US EPA finally admitted

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            22
     28        US EPA, Re: EPA Technical Comments on the Passive SSDS O&M Plan and SSDS Evaluation,
            825 Stewart Avenue Sunnyvale, CA, TRW Microwave Superfund Site (CERCLIS ID# CAD009159088) (May 20
            2022).
            23
               US EPA, Passive Sub Slab Depressurization (SSD) System Operation and Maintenance (April 25 2022).
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      1     to Gjovik on May 27, 2022, that there had been an inspection at her office on August 19, 2021 – Apple

      2     had been able to conceal it from Gjovik for nearly a year.

      3               70.     On July 28, 2022, Northrop Grumman told the US EPA they were late in responding to the

      4     US EPA’s questions because Apple and the building owner stopped responding to them for weeks. On

      5     January 20, 2023, US EPA told Northrop Grumman to plan to do vapor intrusion testing at Gjovik’s office

      6     in March 2023. Apple still had not done it for over seven years. On August 31, 2023, the US EPA

      7     published a brief letter responding to Apple’s May 2023 vapor intrusion testing results at Gjovik’s Apple

      8     office, the first testing since December 2015, calling Apple’s testing report and strategy “fundamentally

      9     incorrect,” having “no fundamental basis,” “not accurate,” “confusing,” and “misleading.”24

     10               iv.     Gjovik’s 2021 Complaints and Disclosures
     11               71.     On July 23, 2021, Gjovik was quoted by the New York Times, where Gjovik criticized
     12     Apple’s COVID-19 response. On July 24, 2021, New York Times made Gjovik’s quote “Quotation of the
     13     Day” for the entire NYT.25 Apple Employee Relations expressed that they were upset that Gjovik did this.
     14     Gjovik told Lagares she was taking Labor Law and learned she could speak about her work conditions
     15     regardless of NDAs. Lagares told her it is annoying to Apple when employees “figure that out.”
     16               72.     On July 30, 2021, Gjovik posted on Twitter complaining about Apple. “They offered EAP
     17     and suggested medical leave after I spoke up about sexism, discrimination, and a hostile work
     18     environment. They also suggested requesting ADA disability accommodations after I raised concerns
     19     about unsafe work conditions.” After posting this, ex-Apple employees contact Gjovik to share they had
     20     similar experiences. Other Big Tech and ex-Apple employees supported Gjovik for speaking out, sending
     21     her many encouraging and grateful messages and comments. Gjovik then decided to start sharing more of
     22     what was happening between her and Apple on social media to help others understand the issues so they
     23     could advocate for employees, hoping it may pressure Apple to act more reasonably.
     24               73.     On July 30, 2021, Gjovik posted on Apple’s Slack tool complaining in detail about Apple’s
     25     misconduct, including retaliation, unsafe work conditions, and cover-ups. Around this time, Gjovik
     26     created a new, private Slack group for her coworkers to discuss concerns about Apple retaliating against
     27
     28
            24
                 US EPA, TRW Microwave Site, Re: Northrop Grumman Vapor Intrusion Evaluation Report, Aug 31 2023,
            25
                 New York Times, “Quotation of the Day: Virus Surge Complicates Return-to-Office Plans,” July 24 2021.
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      1     them for raising concerns, but with more privacy due to fear of more retaliation. Many women asked to

      2     join the group, and they had just started a discussion around the time when Gjovik was put on leave.

      3             74.     On August 2 2021, out of frustration with Okpo and Lagares refusing to re-investigate

      4     anything Waibel said was fine – Gjovik proceeded to start posting on Twitter about several of the more

      5     minor things she complained to Waibel about. She told Okpo and Lagares that it was work conditions,

      6     and they claimed they investigated and found no problems, so she is free to talk about it and she would do

      7     so. Gjovik posted several examples of the evidence on Twitter, and her posts quickly went viral.

      8             75.     On August 4, 2021, a reporter at The Verge contacted Gjovik after Gjovik’s coworkers told

      9     the reporter what Gjovik had posted. The reporter wanted to write an article about what Apple did to

     10     Gjovik. Gjovik agreed to let her write an article about Gjovik being put on leave. Gjovik also posted on

     11     Twitter about it herself first, and other press picked up the story.26 Apple responded to the media: "We

     12     are and have always been deeply committed to creating and maintaining a positive and inclusive

     13     workplace. We take all concerns seriously and thoroughly investigate whenever a concern is raised; out

     14     of respect for the privacy of any individuals involved, we do not discuss specific employee matters."

     15             76.     On August 12 -13, 2021, Gjovik filed complaints with US EEOC and California DFEH. In

     16     August, Gjovik also shared concerns on social media and with the press, including experiences with her

     17     team in 2015, what Apple did to her around Batterygate and related harassment, and her concerns about

     18     Apple’s long history of criminal and corrupt behavior. On August 17, 2021, Business Insider published

     19     an article about some of Gjovik’s complaints based on Gjovik’s Twitter posts and embedded Gjovik’s

     20     Twitter posts in the article. 27 The article also noted: “Insider approached Apple for comment.”

     21             77.     On August 26, 2021, Gjovik filed an NLRB charge against Apple and posted on Twitter

     22     that she did so. On August 26, 2021, a news article discussed Apple’s employment practices and wrote:

     23     "One Apple employee, Ashley Gjovik, has been very vocal on Twitter by stating multiple problems that

     24     have occurred within Apple. She alleges a powerful cover-up culture within Apple that led to her eventual

     25     administrative leave."

     26
     27     26 The Telegraph, “Apple worker who complained about sexism and 'hostile' workplace put on paid leave,” Aug 5

     28     2021; Yahoo Finance, “Senior Apple employee alleges sexism at work, is put on indefinite leave,” Aug 5 2021;
            Fox News, “Apple exec says she was placed on leave after raising sexism concerns, other workplace issues.”
            27
               Business Insider, An Apple employee on leave after publicly alleging sexism says co-workers kept a scoreboard
            to make her quit (August 17 2021).
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      1            78.     On August 29, 2021, Gjovik filed a formal complaint to the US EPA about Apple and her

      2     office at Stewart 1, complaining of Apple’s “lack of due diligence,” complaining about “negligence,” and

      3     “recklessness,” and “violations of Right to Know & OSHA.” Gjovik complained, “Apple's response has

      4     been to misrepresent their activities and the site, intimidate me to not speak about workplace safety

      5     concerns related to the site, and have refused to notify the Federal EPA of changed circumstances at the

      6     site.” Gjovik did not know about the US EPA safety inspection ten days prior.

      7            79.     On Sunday, August 29, 2021, at 11:32 AM PST, Gjovik filed a Whistleblower Protection

      8     Program complaint with the US Department of Labor, reference number ECN76833. On August 29, 2021,

      9     Gjovik filed retaliation and labor code violation charges to the California Department of Labor. (This

     10     lawsuit replaced the California Department of Labor DIR case Ashley Gjovik v Apple Inc, RCI-CM-

     11     842830). On September 1, 2021, Gjovik posted on Twitter that she had filed a complaint with the

     12     California Department of Labor. A question asked: How did your employer know about the protected

     13     right you exercised? Gjovik wrote, “I kept saying, ‘Stop it, you guys. There’s Labor laws about this.’”

     14            80.     Gjovik began complaining that Apple frequently requested that Gjovik and her coworkers

     15     participate in invasive, oppressive, and humiliating medical studies, anatomical studies (like ear scans),

     16     DNA tests, biometrics data collection (like the Gobbler app), and other highly personal studies. Apple did

     17     not disclose the details of the experiments until after Gjovik signed a secrecy oath and ‘consented’ to the

     18     activity, and then repeatedly threatened Gjovik with termination if she was to speak about it even to a

     19     doctor or attorney (as was expressly written in the noted Deed Poll). For example, while Gjovik was stuck

     20     on leave, Apple had emailed her three times to ask if they could capture three-dimensional scans of her

     21     ears and ear canals, and Gjovik complained that Apple’s requests were harassing and invasive.

     22            81.     On August 30 and 31, 2021, Gjovik posted on social media sharing an article she was

     23     interviewed for called “Apple Cares about Privacy Unless You Work at Apple.” 28 In Gjovik’s posts, she

     24     complained of Apple’s surveillance of workers, its exploitation of workers, and Apple’s culture of

     25     intimidation and retaliation, and she compared working at Apple to being in a panopticon.

     26            82.     On August 31, 2021, at 7:16 AM PST, the US Department of Labor contacted Gjovik to

     27     start intake for Gjovik’s Whistleblower Retaliation charges. Gjovik had her interview with the US EEOC

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            28
              The Verge, Apple Cares about Privacy, Unless You Work at Apple, Aug 30 2021,
            https://www.theverge.com/22648265/apple-employee-privacy-icloud-id
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      1     on September 2, 2021. Gjovik did not request an investigation but did request a Right to Sue letter, which

      2     she received on 9, 2021, before her termination. Apple was made aware of Gjovik’s US EEOC and Cal.

      3     DFEH complained that she was testifying to US EEOC and Cal. DFEH about what Apple did to her by at

      4     least August 12, 2021. Gjovik Tweeted about her appointment with the US EEOC.

      5            83.     On September 2-3, 2021, numerous papers were written about Gjovik’s charges against

      6     Apple. Bloomberg reported about Gjovik’s NLRB, US Dept of Labor, California Dept of Labor, and

      7     EEOC charges against Apple. Bloomberg wrote,

      8          “Ashley Gjovik, a senior engineering program manager at Apple, said that she filed the Aug. 26
                 complaint, which cited harassment by a manager, a retaliatory investigation, and forced paid
      9
                 administrative leave. Gjovik’s situation began with fears about whether pollution had made her
     10          office a dangerous place to work. She says she was then retaliated against for voicing her concerns.
                 “I should be able to raise concerns about safety and public policy,” she said in an interview
     11
                 Thursday. Gjovik has also filed complaints with the Occupational Safety and Health Administration,
     12          California’s labor commissioner’s office, and the Equal Employment Opportunity Commission,
                 according to documents she provided. Gjovik said her goal is to bring light to systematic problems
     13
                 at Apple and try to improve policies. “I want to pierce the veil of intimidation and secrecy,” she said
     14          in the interview. “The employees are terrified to speak up about their concerns.” 29
     15     On September 2, 2021, Financial Times wrote about Gjovik:
     16          “Gjovik’s specific complaints against Apple date back to mid-March, when she cited unsafe working
     17          conditions related to “chemical exposure” at her Apple office in Sunnyvale, California, where more
                 than 100 employees are based. Her office, known as “Stewart 1” within Apple, is located on what
     18
                 the Environmental Protection Agency refers to as the “TRW Microwave Superfund site,” a location
     19          requiring special oversight owing to previous contamination by hazardous waste materials in the soil
                 and groundwater beneath the building. In 2016, Apple paid $450,000 to settle state claims that it
     20
                 mishandled hazardous electronic waste at their Cupertino headquarters and Sunnyvale facilities.
     21          Gjovik said her concerns were brushed aside and she was warned against speaking up about them.
                 In her letter to the NLRB, she said Apple’s employee relations department “intimidated me not to
     22
                 speak about my safety concerns,” that a manager advised that she quit Apple and was subject to
     23          sexism and a “dramatically increased” workload. Matters escalated when she took her complaints to
                 Apple’s Slack channels, specifically a 2,000-member forum for female software engineers. She said
     24
                 she was flooded with supportive comments and similar stories of workplace harassment — but she
     25          had since been banned from using Slack as part of her administrative leave.” 30
     26
                   84.     On September 3, 2021, Gjovik filed complaints with the FDA Office of Criminal
     27
     28
            29
              Nick Turner, Apple Worker Complaints Reviewed by Labor Relations Board, Bloomberg, Sept 2 2021.
            30
              Patrick McGee, US labour board examines retaliation claims against Apple, Financial Times, Sept. 2 2021,
            https://www.ft.com/content/484fa8be-925e-495c-91ff-54950b112754
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      1     Investigations and DOJ National Center for Disaster Fraud about Apple’s apparent attempt to “skip the

      2     line” on COVID-19 vaccines and hoard the vaccines.31 On September 3 and 6, 2021, she posted on Twitter

      3     about filing the complaints. On September 3, 2021, Gjovik told the FBI about Apple’s involvement in

      4     concealing possible sanctions violations and smuggling. In the crime field, she wrote: “Possible violations

      5     of sanctions against Syria, possible cover-up of that knowledge, retaliation for reporting concerns about

      6     said violation and coverup.” Gjovik posted on Twitter that she had reported the matter to the FBI. Gjovik

      7     had reported the issue to West and Powers, then Business Conduct in July 2021.

      8               85.    On September 3, 2021, Gjovik signed a contract with Business Insider to write an Op-ed

      9     about her situation with Apple and proposals on how Apple can address its systemic issues. Gjovik

     10     modeled her article and proposals after what she had been learning about Transitional Justice at Oxford.

     11     On September 6, 2021, Gjovik posted on social media about her NLRB, CalDOL, and EEOC/DFEH cases

     12     with a status update and the report numbers – and also tweeted about her SEC whistleblower tip, FBI, and

     13     US Department of Justice complaints.

     14               86.    On September 6, 2021, Gjovik replied to the US EEOC confirming she was working on a

     15     draft of her complaint and was targeting to submit it to them by September 8, 2201. On September 8,

     16     2021, Gjovik emailed the US EEOC her draft of the language for her US EEOC charge. On September

     17     8, 2021, Gjovik replied to the US Department of Labor with copies of her prior filed complaints to the US

     18     EEOC, US NLRB, US EPA, CalEPA, and US SEC. Gjovik noted she was working on answering the

     19     investigator’s questions and would reply by the deadline, which was September 10th.

     20               87.    The press continued to cover what Apple was doing to Gjovik and a growing movement

     21     among Apple employees who began speaking out and organizing with each other around work conditions

     22     and human rights. Apple workers, past and present, began publicly sharing their own stories of

     23     discrimination, retaliation, and cover-ups. The press wrote about this, too, and Gjovik posted about it

     24     repeatedly on Twitter. Gjovik was not only a catalyst for many employees to come forward, but these

     25     employees catalyzed Gjovik’s view and protest of Apple’s misconduct.

     26               88.    On September 9, 2021, at 12:39 PM PST, Gjovik emailed the US EEOC and asked the

     27     investigator if she needed anything else from Gjovik to move forward. Then again, at 1:02 PM, asking US

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            31
                 US DOJ, NCDF, COVID-19 Hoarding and Price Gouging Task Force.
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      1     EEOC how she could sign the charge to meet the deadline. At 2:08 PM, Apple sent a Workplace Violence

      2     interrogator to threaten Gjovik, and he suspended her Apple account access at 2:50 PM.

      3               89.     On September 9, 2021, at 4:24 PM PST, the US EEOC investigator emailed Gjovik, saying

      4     she posted the final version of the charge and asked Gjovik to sign the charge. On September 9, 2021, at

      5     4:27 PM PST, Gjovik digitally signed her EEOC charge against Apple.

      6               90.     On September 9, 2021, at 4:47 PM PST, Gjovik emailed the US Department of Labor with

      7     responses to their questions about her protected activity and Apple’s retaliation. Gjovik replied at 5:26

      8     PM PST, informing them Apple’s Workplace Violence interrogator had just suspended her account access

      9     and threatened her. At 6:54 PM PST, Apple fired Gjovik. At 11:42 PM PST, Gjovik replied to the US

     10     Dept. of Labor, informing them Apple fired her.

     11               91.     On September 10, 2021, Gjovik testified to NLRB for her first affidavit. On September 14,

     12     2021, Gjovik had the second part of her NLRB affidavit. She posted about it on Twitter. On December

     13     13, 2021, US DOL docketed Gjovik’s SOX, CERCLA, and OSH Act cases. A Financial Times article

     14     was published on December 13, 2021, which said:

     15                "The labour department will examine whether Apple retaliated over claims about occupational
                       safety and hazardous waste management liability, alongside a third allegation that falls under the
     16
                       Sarbanes-Oxley Act, or Sox, which sets out the rules for financial record keeping. Gjovik pointed
     17                to a potential conflict of interest regarding Apple board member Ronald Sugar, chair of the audit
                       committee, as he was previously chief executive of Northrop Grumman, the defense company
     18
                       responsible for the dump — and maintenance — of waste materials beneath the Sunnyvale office.
     19                Sugar could not be immediately reached for comment. "Gjovik’s case was “especially unusual”
                       and noteworthy because of the three separate statutes or laws that may have been broken, said
     20
                       Michael Duff, a former attorney at the National Relations Labor Board. “Federal agencies
     21                exercise what in the context of criminal law is known as prosecutorial discretion,” he said. “They
                       are very careful of what cases they move forward because they have scarce resources, so they
     22
                       must have a strong reason to believe they can prevail.”32
     23
                      92.     On December 14, 2021, the US DOJ contacted Gjovik, confirming receipt of a complaint
     24
            she sent to their antitrust division earlier. On December 26, 2021, Gjovik posted on Twitter about her
     25
            intention to pursue a Dodd-Frank and witness retaliation claim against Apple, citing 18 USC § 1513. On
     26
            June 7, 2022, Gjovik first met with the SEC’s Enforcement team about her Apple charges.
     27
     28

            32
                 Financial Times, “Apple faces probe over whether it retaliated against whistleblower,” Dec 13 2021.
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      1            93.     On or around January 10, 2022, Gjovik filed complaints about witness intimidation and

      2     witness retaliation to NLRB, the US Department of Labor, and the California Department of Labor. Gjovik

      3     drafted several legal documents, including a legal brief, image exhibits, and a detailed dossier containing

      4     the accounts and posts Gjovik believed to be Apple. On January 25, 2022, Gjovik emailed the NLRB

      5     about her January 10, 2022, witness intimidation charge and attached a 77-page rough draft of the

      6     Evidence Report.

      7            94.     On January 31, 2022, Gjovik posted on Twitter that she planned to submit her legal filings

      8     about witness intimidation to the US Department of Justice and the whistleblower and labor agencies.

      9     Gjovik commented that Apple’s actions were “criminal.” Gjovik also testified to the NLRB about it on

     10     February 10, 2022. Gjovik also contacted Bud Porter at the Santa Clara District Attorney’s office about

     11     the developments with Apple, complaining about witness intimidation and witness retaliation on February

     12     21, 2022, and December 15, 2022.

     13            95.     On July 14, 2022, Gjovik argued her unemployment insurance appeal. Prior, the case was

     14     mysteriously closed with inaccurate information. Gjovik won her unemployment insurance appeal, and a

     15     decision was issued by an Administrative Law Judge stating:

     16          Gjovik “received notice from the vice president that she was being discharged. The notice was vague
                 and incomplete and stated that the claimant had disclosed confidential information and had not fully
     17
                 participated in some investigation. Although the claimant requested specific information from the
     18          employer, no specific information was provided. Before the separation of the employment the
                 claimant received great performance reviews and prior to the separation the claimant received no oral
     19
                 or written warning notifying her that job was in jeopardy. At all times, the claimant performed her
     20          job duties to the best of her ability. In this matter the evidence shows that the claimant was discharged
                 for reasons other than misconduct connected with the most recent work.” 33
     21
     22            96.     After Apple fired Gjovik, she filed additional NLRB and California Department of Labor
     23     charges about Apple’s NDAs and other employment policies, charging they violate labor laws – and the
     24     US NLRB agreed with Gjovik, issuing a Decision of Merit on her charges against Apple in January 2023.
     25
                   v.      Apple Decides to Investigate Gjovik Instead of Her Concerns.
     26            97.     Starting on August 4, 2021, Gjovik began receiving harassing and threatening replies and
     27     comments from clearly fake social media accounts. On the 4th, one posted about Gjovik, that she: “needs
     28
            33
              Ashley M Gjovik (Claimant-Appellant); California Unemployment Insurance Appeals Board, Case No.
            7253819, July 14 2022
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      1     psychiatric help and confinement” and that Gjovik “is a psychopath and frankly is a danger to other Apple

      2     Employees!” The account went on to call Gjovik an “ambulance chasing psychopath” and said, “Apple

      3     needs to bring the hammer and make an example of people like this.” Thousands of posts like this followed

      4     and continue to this day – causing Gjovik severe distress.

      5            98.     While Gjovik was stuck on leave, she repeatedly asked Okpo for updates about her office,

      6     and he refused to provide any updates. Gjovik often complained about retaliation and that she did not want

      7     to be on leave, but Okpo ignored her. Between August 16-23, 2021, Okpo sent a first draft of an “Issue

      8     Confirmation” document that supposedly captured all of Gjovik’s complaints that he was investigating,

      9     and Gjovik revised it and sent him a final revised version on August 23, 2021. Gjovik also filed a Business

     10     Conduct complaint about her concerns about Ronald Sugar, TRW Microwave, and her office. She attached

     11     the Issue Confirmation and notified Okpo of the ticket. Gjovik’s 33-page version of the Issue Confirmation

     12     included detailed complaints of fraud, organized witness tampering, obstruction of justice, toxic torts,

     13     corruption, negligence, conflicts of interest, racketeering, and environmental crimes. Starting August 17,

     14     2021, Gjovik insisted that all communication with Okpo and Apple be in writing because he repeatedly

     15     misrepresented her statements. Okpo ignored her.

     16            99.     Gjovik had previously registered for a three-part training about racial justice with Apple

     17     University and wanted to attend. The class was led by her friend Dr. Cohen, and he confirmed he was

     18     happy to have her attend as long as Employee Relations approved and did not discipline her for attending.

     19     On August 20, 2021, Gjovik asked Okpo if she could attend, and Okpo said she could not participate

     20     “because she’s on leave.” Gjovik complained about retaliation. On August 27, 2021, Apple’s Business

     21     Conduct team closed Gjovik’s complaint about Ronald Sugar and Gjovik’s Superfund office. The message

     22     posted said: “…we have shared them with the appropriate internal teams for review and investigation,”

     23     with the ticket updated to say, “Request is closed. This request is closed and can't be reopened.”

     24            100.    Okpo contacted Gjovik twice more (Sept. 3 and Sept. 7, 2021) before Gjovik was fired,

     25     asking to meet with her on Webex (denying her request to keep things in writing) and not telling her what

     26     the meeting was about. Both times, Gjovik asked Okpo to keep things in writing due to the request

     27     misrepresentation and intimidation. If he refused, she requested a Business Conduct review of his decision,

     28     noting he’s a lawyer and there is a power imbalance. Okpo never responded.



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      1               101.   On September 9 2021, at 2:08 PM PST, Gjovik was contacted by Aleks Kagramanov, an

      2     Apple “Workplace Violence and Threat Assessment” investigator demanding to speak with Gjovik on the

      3     phone “within the hour.” The email had no subject line, and Gjovik had never heard of the team. He said

      4     he was “looking into a sensitive IP matter” and wanted to speak with Gjovik. He said Apple “sincerely

      5     appreciate [her] prioritizing this call and being flexible.” He never said Gjovik was under investigation.

      6               102.   Gjovik was sure she was about to be fired, but two minutes later, Gjovik promptly

      7     responded at 2:10 PM PST, saying she was willing to participate but wanted a written record of their

      8     conversations. She said she will respond as quickly as she can. Kagramanov did not respond, so Gjovik

      9     replied again. Gjovik responded again at 2:27 PM PST, complaining to the Workplace Violence

     10     interrogator of “witness intimidation the day before her affidavit” and telling him she forwarded his emails

     11     to her NLRB investigator. Gjovik posted on Twitter complaining of witness intimidation at 2:33 PM PST.

     12               103.   Kagramanov responded at 2:50 PM, saying, “We are investigating allegations that you

     13     improperly disclosed Apple confidential information,” and claimed she refused to ‘participate’ in his

     14     farcical investigation. Kagramanov then said he was suspending all of Gjovik’s account access.

     15               104.   Gjovik responded to Kagramanov at 3:07 PM, reiterating that she wanted to participate.

     16     “As mentioned, I am definitely willing to participate in your investigation. I only asked that the discussion

     17     be kept to email — I said nothing about not participating in the discussion at all.” Gjovik added: “I offered

     18     to help via email to ensure we have a documented [record] of our conversations considering everything

     19     that’s currently going on with my investigation and my complaints to the government.” “I would really

     20     like the opportunity to remedy any actual issues. Please let me know what the issues are so I can make a

     21     good-faith attempt at that.” Gjovik added in her 3:07 PM email reply to Kagramanov: “In the meantime,

     22     without any additional context or effort to communicate with me in email, this really does feel like

     23     intimidation and additional retaliation, and I will consider it as such.” Gjovik still did not know what she

     24     was supposedly accused of.

     25               105.   At 6:54 PM PST, Yannick Bertolus, Gjovik’s Vice President, West’s friend, emailed

     26     Gjovik with the subject line “Your employment status” and an attached letter saying she was terminated

     27     for vague reasons. The termination letter repeated an ambiguous charge of leaking and said she “failed to

     28     cooperate and to provide accurate and complete information during the Apple investigatory process.” 34

            34
                 Gizmodo, Apple Fires Program Manager Who Accused Bosses of Harassment, Sept 10 2021.
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      1            106.    On September 15, 2021, at 7:40 PM PST, Apple’s lawyers at O’Melveny & Myers, via

      2     Partner David R. Eberhart emailed Gjovik a letter implying Apple terminated her due to her complaining

      3     about Apple asking to 3-D scan her ear canals and also because she posted some of the surveillance photos

      4     Apple secretly took of her through her phone when it was illegally harvesting her biometrics through its

      5     face Gobbler app. Gjovik told Eberhart that none of that was confidential and that she had the right to

      6     protest and discuss it. Eberhart threatened her and demanded she delete several Twitter posts but never

      7     cited any legal authority (because there’s none). A lawyer responded to Eberhart more formally a couple

      8     of weeks later, on Gjovik’s behalf, warning him about Rule 11 sanctions if he attempted to pursue the

      9     matter in court as his claims have no basis in fact or law. Eberhart never responded. On December 30,

     10     2022, the US FTC confirmed they received Gjovik’s complaint about Apple’s Face Gobbler and Ear Scans

     11     and provided Gjovik with a report tracking number.

     12            vi.     Threats, Intimidation, Coercion, Harassment
     13            107.    From at least July 2021 through current day – Apple stalked, harassed, and tormented
     14     Gjovik with actions including repetitive, unwanted communications to Gjovik; making false accusations
     15     against Gjovik; mailing Gjovik menacing packages; physically surveilling Gjovik; gathering information
     16     about Gjovik; monitoring Gjovik’s activities; harassing Gjovik’s friends; using threats and scare tactics to
     17     frighten Gjovik; publicizing Gjovik’s private information; and encouraging others to harass Gjovik.
     18            108.    Starting in August 2021 and continuing to this day, hundreds of ‘throwaways’ and fake
     19     social media accounts posted about and to Gjovik, making statements that were harassing, threatening,
     20     intimidating, defamatory, insulting, and harassing. There was an extensive digital harassment campaign
     21     against Gjovik, even with Apple employees harassing Gjovik under their own names, and other posts were
     22     made by Apple employees using aliases, but their real identities were later revealed. Further, starting in at
     23     least September 2021 and assumed to continue through the current day, Apple employees undertook a
     24     ‘whisper campaign’ to smear Gjovik’s character and create fear, uncertainty, and doubt about Gjovik’s
     25     allegations against Apple. Apple Global Security employees also sued Gjovik and requested a gag order
     26     against Gjovik, saying it was because Gjovik filed an NLRB charge against Apple and because of Gjovik’s
     27     federal filings to the NLRB and other agencies and DA’s office. Gjovik won and it was dismissed.
     28            109.    On September 21, 2021, Tim Cook emailed his staff complaining that someone had spoken
            publicly to reporters about work conditions. Cook said Apple’s “doing everything in our power to identify

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      1     those who leaked.” Cook said, “People who leak confidential information do not belong here.” On January

      2     30, 2023, the US NLRB issued a Decision of Merit to Gjovik that Cook’s email violated federal law.

      3            110.    Additional intimidation and coercion included, but was not limited to, aggressive

      4     surveillance (including lurking Private Investigators in Santa Clara, San Francisco, and Albany, NY),

      5     bugging her chattel property [the statue Apple mailed Gjovik from her desk; Gjovik’s fig tree, etc.),

      6     whatever Apple installed in her attic (photos show cables/cords laid in away landlord denied was them),

      7     breaking into her apartment (at least once in 2021 and 2022), breaking into adjacent apartments (at least

      8     once in 2021), lurking outside her home, stalking her, blocked calls (September 12, 2021), retaliatory

      9     litigation (January 31, 2022), reports of Gjovik to law enforcement (January 2022, May 2023)., lurking

     10     sedans and SUVs with dark windows, social accounts making threatening, harassing, and intimidating

     11     statements to Gjovik, doxing and attempting to SWAT Gjovik (2021-2023), and someone handling her

     12     dog during one of the break-ins (August 2022).

     13                                V.      CAUSES OF ACTION & LEGAL CLAIMS
     14            111.    Gjovik hereby incorporates by reference each and every allegation and fact. Claims and
     15     allegations against “Apple” are made broadly to include corporate liability for relevant actors as
     16     appropriate for each statute/law and circumstance, including Respondeat superior; labor law’s
     17     “supervisor” theory; agency theory for agents; negligence theories; the creation a risk which allowed the
     18     conduct to arise; acts taken to benefit Apple or which provided benefit to Apple; acts that had become
     19     customary; and by concealment and cover-up. Concurrently and in the alternative, Apple may be
     20     responsible via aiding, conspiring, inciting, orchestrating, condoning, negligence, permission, condoning,
     21     ratifying, authorizing, and other theories. Where any statute of limitations is in question of possibly being
     22     expired for an alleged claim, Gjovik, where reasonable, will argue that the statute of limitations should be
     23     tolled due to Apple’s fraudulent concealment of numerous material facts. Gjovik will also argue, where
     24     applicable, the doctrine of continuing violations, equitable tolling, the discovery rule, etc.
     25                                           FIRST CAUSE OF ACTION
     26                                            (Violation of the RICO Act)
     27            112.    Plaintiff re-alleges and incorporates by reference each and every allegation set forth above,
     28     as though fully set forth in this Claim for Relief. Apple engaged in RICO Predicate Acts, knowing that
            the conduct was illegal. Apple’s racketeering affects interstate and foreign commerce under 18 U.S. Code

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      1     § 1962 through interstate mail and wires, and other instrumentalities of interstate commerce. RICO

      2     Predicate Acts within occurred in multiple states and across state lines and defrauded the US government.

      3            113.    In all counts, the defendant, Apple, is employed by the Enterprise, associated with the

      4     Enterprise, conducts the enterprise’s affairs, leads the enterprise, and participates in a pattern of

      5     racketeering with the enterprise. Apple is heavily involved in the operation and maintenance of the

      6     enterprise. Gjovik’s injuries from all Predicate Acts and racketeering were “because of” a RICO violation

      7     and of a tortious character. Apple’s racketeering led directly to the plaintiff's injuries.

      8            i.      Apple as the Enterprise-as-Person who Launders Money
      9            114.    In all Predicate Acts and schemes here within, Apple violated 18 U.S. Code § 1962(a) as
     10     both the “person” and the “enterprise.” As an Enterprise-as-Person and principal culpable for a pattern of
     11     predicate offenses, Apple has used and invested the income from its racketeering to establish, operate, and
     12     acquire an interest in an enterprise in and affecting interstate commerce. Apple also played an active role
     13     in the pattern of racketeering by initiating and benefiting from the activity. As an Enterprise-as-Person,
     14     Apple benefited from the racketeering activity because corrupt corporate employees, officers, and agents
     15     directly and indirectly used illegal income to operate and establish an enterprise. Apple acquired money
     16     through a pattern of racketeering. For 1962(a) claims, Gjovik was directly injured by both Apple’s
     17     investment in the enterprise and predicate acts themselves.
     18            115.    Corporations and individuals who knowingly and intentionally dump hazardous waste or
     19     otherwise pollute the environment, violating environmental and public safety laws, do so because the
     20     practice is less costly and more profitable than complying with the regulations. Apple’s intentional evasion
     21     of paying required fees and costs associated with proper hazardous waste management and disposal
     22     allowed Apple to operate its research and development and fabrication of semiconductor technology at a
     23     much lower cost than its competitors who do follow the law. As such, Apple gained a financial advantage,
     24     increasing its profits, which it invested in its enterprise. Apple’s Acts of Wire and Mail Fraud increased
     25     Apple’s profits under false pretenses and false statements – including increased sales of products,
     26     subscriptions to services, and brand loyalty based on a supposed (and false) progressive image.
     27            116.    Examples of Apple’s investment of racketeering profits (i.e., Apple’s money laundering)
     28     include Apple’s investment in progressive non-profit organizations for marketing purposes, despite
            systemically and intentionally violating the laws and norms those groups aim to enforce and violating the

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      1     rights those groups seek to protect. (e.g., ChemFORWARD, GreenAmerica, etc.) and Apple then uses the

      2     tangible outcome of those investments (e.g., formal partnerships, press releases, etc.) to further mislead

      3     the public, government, and press about Apple’s actual operations through additional Acts of Wire Fraud

      4     and Mail Fraud by Apple, with the apparent credibility of Apple’s materially false claims then bolstered

      5     by Apple’s new farcical partnerships which were funded by racketeering profits. Apple’s investment in

      6     non-profit organizations also allowed Apple to ‘capture’ those groups and ensure the groups do not assist

      7     witnesses/informants/victims like Gjovik when attempting to hold Apple accountable.

      8            117.    In addition, Apple instituted an “ESG modifier” for executive pay that can increase or

      9     decrease Executive Compensation by 10% based on environmental and other practices. Apple’s

     10     intentional environmental violations were not just to save money on properly disposing of waste but also

     11     to increase bonuses for the executives who would then invest the money in other businesses and

     12     enterprises. Apple is giving executives bigger bonuses for illegally disposing of hazardous waste.

     13            ii.     The Worldwide Loyalty Association-in-Fact Enterprise
     14            118.    In violation of Section 1962(c), Apple (a “Person” under the RICO Act) conducted and
     15     participated in the conduct of an associated enterprise (the “Worldwide Loyalty Enterprise” – an enterprise
     16     sufficiently distinct from Apple) through a pattern of racketeering activity. Apple and the Worldwide
     17     Loyalty Association-In-Fact Enterprise engaged in and effected interstate and foreign commerce through
     18     activities including interstate and foreign travel, purchases, documents sent and received via physical mail
     19     and shipping, financial transactions, telephone calls, and internet communications.
     20            119.    Each Association-in-Fact Enterprise member is a person or legally incorporated entity
     21     conducting business activities throughout the United States and overseas. Members committed, aided,
     22     abetted, and conspired to commit violations of Predicate Acts. Apple participated in and directed the
     23     formation of the Worldwide Loyalty Association-In-Fact Enterprise. This ongoing organization functions
     24     as a continuing unit, including individuals, partnerships, corporations, associations, groups, and other
     25     entities and individuals. The Worldwide Loyalty enterprise entities play different roles in the Acts and
     26     scheme, including victim, prize, instrument, and perpetrator of the violation.
     27            120.    For 1962(c) and (d), Apple and the enterprise are distinct and separate entities. The
     28     Association-In-Fact Enterprise includes Apple, the corporation, and employees, along with external
            lawyers (e.g., Jessica Perry, David Eberhardt, etc.), law firms (e.g., Orrick, Morgan Lewis, OMM, MWE,

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      1     etc.), trade and non-profit organization (e.g., ChemFORWARD, Omidyar Network, etc.), certain media

      2     companies and publishers, certain tech reporters, companies and third-party administrators (e.g.,

      3     Sedgwick, Northrop Grumman, Oaktree Capital, etc.), certain government employees and agencies, law

      4     enforcement officers and agencies (e.g., Santa Clara County Sheriff’s Office, Cupertino Police

      5     Department, Santa Clara HazMat, etc.), doctors and clinics (e.g., A.C. Wellness Center, etc.), and

      6     environmental consultants (e.g. EKI, ACT Environmental, etc.).

      7            iii.    Apple & the RICO Conspiracy
      8            121.    Apple agreed with others to invest in, acquire, and conduct the affairs of a commercial
      9     enterprise in a manner that violates 18 U.S.C. § 1962(a), (b), and (c). Apple knowingly agreed to facilitate
     10     a scheme that includes a RICO enterprise's operation or management. Apple adopted the goal of furthering
     11     and facilitating the conspiracy. Two or more people agreed to commit a substantive RICO offense, and
     12     Apple knew of and agreed to the overall objective. In Violation of Section 1962(d), Apple conspired "to
     13     conduct or participate, directly or indirectly, in the conduct of an enterprise's affairs through a pattern of
     14     racketeering activity." Apple undertook criminal acts with the “intent to commit, and to aid and abet and
     15     in connection with another federal crime.” Apple conspired to violate one or more substantive RICO
     16     provisions, and members of the conspiracy committed overt acts that constituted a predicate act of
     17     racketeering to further the conspiracy.
     18
                   iv.     Relatedness, Pattern, Scheme
     19
                   122.    Apple’s predicate acts have similarities related to purposes, results, participants, victims,
     20
            methods of commission, and other distinguishing characteristics (e.g., agency capture, intimidation and
     21
            censorship, obstruction of investigations into Apple’s conduct, manipulation of the press and public
     22
            discourse, lying about labor and environmental practices, whistleblower retaliation, etc.).
     23
                   123.     The goal of Apple’s racketeering does not have an end date, as much of Apple’s
     24
            racketeering conduct is performed to conceal its prior racketeering activity. Apple continues to engage in
     25
            egregious criminal conduct while frantically working to cover up its prior criminal conduct by engaging
     26
            in even more criminal conduct. Cover-ups, by their nature, present a distinct threat of long-term
     27
            continuation. The threat of Apple’s continuing illegal activity extends indefinitely into the future. Apple
     28
            and the “Worldwide Loyalty” Enterprise are engaged in systemic criminal conduct in pursuit of enabling
            Apple’s race to the bottom on regulatory compliance and use of intimidation, threats, and false statements
                                                                 33
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      1     about its actual practices to increase profits and create and maintain a positive reputation. Apple’s scheme

      2     has three prongs:

      3        a) Apple intends to refrain from expending the resources required for basic regulatory compliance in
                  most of its basic dealings, thus increasing profits.
      4
               b) Apple intends to increase profits further and obtain other financial benefits through a knowingly
      5           false reputation of strong regulatory compliance in all its dealings (i.e., promoting itself as an
                  industry leader in environmental responsibility, etc.)
      6
               c) Apple intends to bridge the gap between its actual practices and what it reports to its customers,
      7           the public and press, and the government about its practices through a scheme of witness
                  intimidation and tampering, systemic retaliation against employees and contractors who report
      8
                  issues, unlawful NDAs and over restrictive policies, threats of specific and unspecific reprisals for
      9           gathering evidence or reporting issues, and coercing others to assist in these activities to cover-up
                  the Apple’s unlawful activities and fraudulent misrepresentations.
     10
     11            124.    Apple transmits knowingly false information (or omits and fails to transmit required
     12     information) via communications with government agencies, the press, and the public via email, paper
     13     mailings, electronic filing systems, phone calls, websites, print and digital commercials and
     14     advertisements, and other interstate communication methods. These false statements and omissions often
     15     lead to a complete lack of environmental sustainability, regulatory oversight, and reporting, despite
     16     statutory requirements for oversight and reporting based on the actual facts of Apple’s activities.
     17            125.    Apple’s self-proclaimed competitive edge requires “aggressive price competition and
     18     resulting downward pressure on gross margins.” Apple adds that some competitors compete by “us[ing]
     19     illegitimate means” to develop products. Apple has also stated that its “global operations are subject to
     20     complex and changing laws and regulations on subjects, including privacy; consumer protection;
     21     advertising; … artificial intelligence; labor and employment; anticorruption; … and environmental,
     22     health and safety…” Apple adds that “compliance with these laws and regulations is onerous and
     23     expensive… laws and regulations can adversely affect [Apple’s] business by increasing … costs.” Apple
     24     admits that to succeed, it must cut costs wherever possible, compete with businesses that engage in illegal
     25     activities, and that laws and regulations threaten Apple’s business model.
     26            126.    Apple’s conduct is neither lawful nor legitimate nor simply garden-variety common law
     27     crimes or torts. Here, Apple engaged in a complex, cold, and calculated conspiracy to enable and conceal
     28     their systemic, long-running, intentional violations of basic environmental, health/safety, and labor laws
            – and censorship, obstruction, and concealment of these acts to profit from a progressive brand.

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      1             127.    Apple has engaged in a series of related predicate acts extending over a substantial period

      2     of multiple decades. Further, Apple started a series of related predicate acts and will continue these acts

      3     until there is intervention. Apple’s misconduct is so persistent and egregious, dependent on continued

      4     intimidation of witnesses to keep witnesses quiet about what they know, that it is impracticable that Apple

      5     would ever voluntarily stop their schemes. Apple’s conduct and “Worldwide Loyalty” endeavors are

      6     comparable to the inertia of organized crime – with both closed-ended and open-ended continuity.

      7             v.      Predicate Act 1: Criminal Bribery of Executive Officer (Cal. Penal Code § 67)
      8             128.    Tom Moyer was Apple’s Director of Employment Law until September 2009, when he
      9     became Chief Compliance Officer and Head of Global Security. 35 Moyer allegedly committed criminal
     10     bribery by paying bribes to public officials in exchange for concealed carry handgun permits for Apple
     11     employees. The California Court of Appeals affirmed the evidence of Moyer’s corrupt intent with factors
     12     including undisclosed “clandestine” meetings at the Apple Park Visitor’s Center, removing
     13     whistleblowers from the matter, ignoring ‘red flag’ warnings from those whistleblowers, and the
     14     fabrication of a pretextual paper trail after the fact. 36
     15             129.    Two Apple Global Security Directors flipped on Moyer and Apple, turning state’s evidence
     16     and testifying against him/Apple in exchange for immunity.37 Among other elements and theories of
     17     liability, Moyer engaged in the bribe as part of his job, on behalf of Apple, using Apple assets at Apple
     18     locations and to benefit Apple. Further, even after Moyer was charged, Apple defended him: "After
     19     learning of the allegations, we conducted a thorough internal investigation and found no wrongdoing."38
     20     Yet, there were numerous signs of misconduct and foul play. Gjovik was directly injured as Moyer’s teams
     21     threatened and obstructed her.
     22
                    vi.     Predicate Act 2: Tampering with a Witness, Victim, or an Informant (18 U.S. Code §
     23                     1512)
     24             130.    Apple and agents made repeated statements, publicly and privately, explaining that they
     25     were taking actions to harm Gjovik because of Gjovik’s actions as a federal witness, victim, and informant.
     26
     27     35
               US DOJ, Second Report of the External Compliance Monitor, United States v. Apple, Inc., et al., No. 1:12-CV-
     28     2826, and Texas, et al. v. Penguin Group, et al., No. 1:12-CV-3394 (October 15 2014).
            36
               State v Moyer at 26.
            37
               Mercury News, Main witness in Santa Clara County concealed-gun bribery case pleads guilty/
            38
               Ars Technica, Apple security chief maintains innocence after bribery charges, (Nov. 24 2020).
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      1     Apple violated 18 U.S.C. 1512(a)(2)-(3) when it used the threat of physical force against Gjovik or

      2     attempted to do so with intent to influence, delay, or prevent the testimony of Gjovik in an official

      3     proceeding (US NLRB, US DOL, US EEOC, etc); or cause or induce Gjovik to withhold testimony, or

      4     withhold a record, document, or another object, from an official proceeding; or alter, destroy, mutilate, or

      5     conceal an object with intent to impair the integrity or availability of the object for use in an official

      6     proceeding; and hinder, delay, or prevent Gjovik’s communication to a law enforcement officer of

      7     information relating to the commission or possible commission of a Federal offense.

      8            131.    Apple committed Obstruction by Intimidation, an indictable offense under §1512(b) of

      9     tampering with a witness, violating federal law. Apple knowingly used intimidation, threatened, and

     10     corruptly persuaded Gjovik, attempted to do so, or engaged in misleading conduct toward Gjovik. Apple

     11     violated 18 U.S.C. 1512(b) when it acted with intent to influence, delay, and prevent the testimony of

     12     Gjovik federal agencies and law enfrocement; or cause or induce Gjovik to withhold testimony and

     13     withhold document from the same, or cause or induce Gjovik to alter, destroy, mutilate, or conceal an

     14     object with intent to impair the object’s integrity or availability for use in the same

     15            132.    Apple executed this with break-ins, stalking, destruction of property, physical and digital

     16     harassment, lawsuits, reports to police and FBI (SWATing), and threats of physical violence sent over

     17     wires such as threatening to decapitate one of Gjovik’s loved ones, or that Gjovik would be found dead of

     18     “suicide” but “never mind the double-tap.”

     19            133.    Apple employees and assumed agents of Apple Inc. suggested Apple Inc. should / will sue

     20     Gjovik for corporate espionage, disinformation, reputational bias, defamation, blackmail, and federal

     21     crimes, among other things. Employees and agents suggested appropriate consequences for Gjovik’s

     22     protected activity included jail, the death penalty, “suing her into oblivion,” “ending her,” “destroying

     23     her,” “ruining her,” and bankrupting her. Apple managers & agents of Apple Inc referred publicly to the

     24     retaliation she faced from Apple Inc, including termination of her employment, as “invited upon herself”

     25     like “walking down a dark alley,” “finding out” for “fucking around,” a “self-fulfilling prophecy,” and

     26     the “consequence” of “airing Apple’s dirty laundry.” Apple Inc. agents threatened to denylist Gjovik

     27     from the technology, engineering, and legal employment fields, including “never working in the tech

     28     industry again, never working for a large corporation again, never getting a job as a lawyer, failing the
            California Bar Association’s Moral Character investigation, and never getting a job anywhere again

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      1     other than working in fast food.” Many communications instructed Gjovik to drop her cases/charges or

      2     modify her testimony/evidence.

      3            134.    In April 2023, Apple engaged in various schemes intending to frighten, frustrate, and

      4     intimidate Gjovik about the information she recently discovered about ARIA and its air emissions. In one

      5     of these schemes, Apple sent her an email via the webform on her website claiming to be ex-US EPA

      6     enforcement (Comrade Jones) threatened her to stop talking about the NMP release and vapor intrusion

      7     at her office. This email, among other felonies, was potentially “False Impersonation of Federal Officer

      8     or Employee” (18 U.S.C. § 912).39 Apple also maliciously and unlawfully threatened, intimidated, and

      9     coerced Gjovik through physical activities, including:

     10           a. Entered Gjovik’s apartment without the consent of Gjovik, and Apple had no lawful reason to
                     do so [California Penal Code § 602.5]
     11
                  b. Broke into Gjovik’s home and damaged/obstructed/disconnected part of a
     12              telephone/cable/electrical line, or equipment connected to the line – and Apple maliciously and
                     unlawfully made an unauthorized connection with part of a line used to conduct electricity or
     13
                     equipment connected to the line [California Penal Code § 591]
     14           c. Took unwanted photos and videos of Gjovik looking into Gjovik’s home windows with an
                     intent to intimidate [California Penal Code § 647i]
     15
                  d. Delayed, lingered, prowled, and wandered on the private property of Gjovik’s apartments
     16              [California Penal Code § 647(h)]
                  e. Entered Gjovik’s apartment with intent to commit a crime [California Penal Code § 459]
     17
                  f. Fled the scene when caught by a neighbor who said she would call police officers.
     18           g. Used social media accounts to harass Gjovik about the real-world events she was experiencing
     19              in real-time.
                  h. To follow her when she ran errands [stalking]
     20           i. Drive up to her New York apartment, capture videos/photos of her, and send someone.
     21           j. J. Loitered on her New York sidewalk until she left the apartment and notified Gjovik that the
                     person was watching her.
     22           k. Intentionally listened to or recorded a conversation/communication without consent from all
     23              individuals [Cal. Penal Code 632(a)]
                  l. Planted listening devices in Gjovik’s property to spy on Gjovik [California Penal Code § 632(a)]
     24
     25            135.    Apple violated 18 U.S.C. 1512(c) when Apple corruptly altered, destroyed, and concealed

     26     a record, document, or other object or attempted to do so with the intent to impair the object’s integrity or

     27     availability for use in an official proceeding or otherwise, obstructed, influenced, or impeded any official

     28
            39
              False Impersonation of Federal Officer or Employee (18 U.S.C. § 912). United States v. Aguilar, 756 F.2d 1418
            (9th Cir. 1985).
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      1     proceeding, or attempted to do so. Many environmental crimes involve deception, both before the offense

      2     is committed and later when the defendant tries to cover his tracks. 40

      3             136.    Gjovik was concerned that Apple knowingly altered and concealed a tangible object (e.g.,

      4     the cracked slab, etc.) with the intent to impede, obstruct, or influence an actual or contemplated

      5     investigation of a matter within the jurisdiction of any department or agency of the United States (e.g., US

      6     EPA, etc.) in violation of 18 U.S.C. § 1519. Gjovik was concerned Apple was or was attempting to,

      7     corruptly alter and conceal (e.g., re-seal, etc.) an object (e.g., the slab, etc.) with the intent to impair the

      8     object’s availability for use in an official proceeding (e.g., US EPA inspection of the cracks in the slab,

      9     etc.) in violation of 18 U.S.C. § 1512(c)(1). Gjovik was concerned that Apple knowingly and willfully

     10     concealed and covered up by trick/scheme/device (e.g., retaliation, witness intimidation, frantic repairs,

     11     etc.) a material fact (e.g., the cracked slab, etc.) in violation of 18 U.S.C. § 1001.

     12             137.    When Gjovik suffered harassment and intimidation that was openly said to be due to her

     13     federal cases, the focus was often Gjovik’s NLRB charges. The interference extended to a lawsuit against

     14     Gjovik ‘because of’ Gjovik’s NRLB charges, emails to Gjovik demanding she alter her testimony, emails

     15     demanding Gjovik omit specific evidence, and direct interference with the NLRB investigators overseeing

     16     Gjovik’s charges and the resulting investigation. (NLRB investigators are considered Federal Officers

     17     under criminal statutes).41 Appleseed repeatedly tried to delete, and did get deleted, Gjovik’s posts and

     18     filings, including a copy of a federal legal filing. This occurred when Appleseed was an active Apple

     19     employee and after she supposedly quit Apple in late 2021.

     20             138.    Apple violated 18 U.S.C. 1512(d) when Apple knowingly used intimidation, threatened,

     21     and corruptly persuaded Gjovik, attempted to do so, or engaged in misleading conduct toward Gjovik.

     22     Apple acted with intent to influence, delay, and prevent Gjovik from communicating information relating

     23     to the commission or possible commission of an offense to federal officers and law enforcement

     24     authorities. There is a reasonable likelihood that at least one of Gjovik’s communications targeted by

     25     Apple would have been made to a federal officer. The information that Gjovik would have communicated

     26     related to the possible commission of a federal offense.

     27
     28
            40
               United States Department of Justice Executive Office for United States Attorneys, Environmental Crimes–
            2012, Volume 60, Number 4, pg89 (July 2012).
            41
               9-139.800 Interference with National Labor Relations Board Agent (29 U.S.C. § 162).
                                                                  38
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      1            139.    Apple managers, employees, and agents have referred to Gjovik’s complaints to the federal

      2     and state government about Apple Inc as “unsubstantiated,” “meritless,” “baseless,” “dead in the water,”

      3     and that there’s “no case.” Apple’s agents referred to Gjovik as an “ambulance chaser” and her cases as

      4     “shakedown lawsuits.” Apple manager Ricky Mondello and ex-Apple employees Joanna Appleseed and

      5     Shantini Vyas have publicly called Gjovik a “liar,” “predator,” “racist,” “inconsequential,” “not a real

      6     whistleblower.” These parties have described Gjovik’s protected activities as a “vendetta,” “warpath,”

      7     “perjury,” “fabricated nonsense,” “misleading rhetoric,” and “misinformation.” One wrote, “You're

      8     beyond pathetic. It will be fun to watch you disappear after you lose everything.”

      9            vii.    Predicate Act 3: Retaliating against a Witness, Victim, or an Informant (18 U.S. Code
     10                    § 1513)

     11            140.    In violation of § 1513(b)(1), Apple engaged in conduct and thereby caused bodily injury

     12     to Gjovik and damaged the tangible property of Gjovik, and threatened to do so, with intent to retaliate

     13     against Gjovik for the attendance as a witness or party at an official proceeding, and any testimony given

     14     or any record, document, or other object produced by a witness in an official proceeding. In violation of

     15     § 1513(e), Apple, with the intent to retaliate, took any action harmful to Gjovik, including interference

     16     with the lawful employment or livelihood of Gjovik, for providing to a law enforcement officer any

     17     truthful information relating to the commission or possible commission of any Federal offense. Apple also

     18     conspired to commit one or more § 1513(b) offenses.

     19            141.    Gjovik put her career and physical safety at risk to obtain evidence of what she believed to

     20     be criminal acts and violations of federal law related to the air emissions at ARIA and the slab at Stewart

     21     1. Apple retaliated against a Federal Witness & Informant in violation of § 1513(e). Apple knowingly,

     22     with the intent to retaliate, took actions harmful to Gjovik, including interference with the lawful

     23     employment or livelihood of Gjovik, for Gjovik providing to a law enforcement officer truthful

     24     information relating to the commission or possible commission of any Federal offense. Apple also

     25     conspired to commit one or more § 1513(e) offenses.

     26            viii.   Predicate Act 4: NMP- Wire Fraud (18 US Code § 1343)
     27            142.    When Apple filed a Toxics Release Inventory Form R report to the US EPA on June 30,
     28     2021, claiming treatment, disposal, and transportation of N-Methyl-2-pyrrolidone (“NMP”) waste, Apple
            devised and attempted to devise a scheme or an artifice (falsifying transportation records) to defraud (lying

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      1     to the government) to obtain money or property (money it would have otherwise spent on legal disposal),

      2     knowingly and willingly participated in the scheme with the specific intent to defraud, and used the mails

      3     and interstate wires in furtherance of the scheme in violation of 18 U.S.C. § 1343 and EPCRA 313.

      4            143.    The report was submitted for ARIA and the report’s completeness and accuracy were

      5     certified under 40 CFR Section 372 by Apple EH&S manager Susan Creighton. The TRI filing noted that

      6     260.17 pounds of NMP were emitted via “stack or point air emissions,” and 2,341.51 pounds of NMP

      7     “gaseous waste stream” were treated onsite. At issue is Apple’s notation that 14,742.82 pounds of NMP

      8     were transported offsite from ARIA to two disposal facilities. The problem is – that both supposed

      9     destination vendors are well-established TSDF waste processing companies that would ensure the use of

     10     manifests. Yet, no manifests were ever filed for these three supposed transports. Under information and

     11     belief, Apple did not send that NMP to those three waste facilities and instead disposed of it in some other

     12     way, but falsified the TRI filing to make it appear as if Apple did send it to the waste facilities. It is a

     13     criminal violation of the Clean Air Act to make false statements and representations, omit material

     14     information, and alter or conceal a required document. [42 US Code 7413(c)(2)(A); 18 U.S. Code § 371.]

     15            ix.     Predicate Act 5: “Zero Waste” - Wire Fraud (18 US Code § 1343)
     16            144.    Starting in 2021, Apple intentionally devised or intended to devise a scheme to defraud
     17     using materially false or fraudulent pretenses (e.g., use of the word ‘diversion’ to mean illegal dumping,
     18     etc.), representations (e.g., claiming they are recycling or reducing waste, etc.), or promises (e.g., “zero
     19     waste,” etc.) over interstate wire communications related to Apple’s hazardous waste creation and disposal
     20     practices. Apple told the public and government that it is engaging in environmentally friendly practices
     21     to reduce waste. However, Apple is only reducing the paper trail and cost of its waste by illegally disposing
     22     of dangerous chemicals in neighborhoods. Apple’s scheme to defraud under environmental laws was
     23     undertaken with a reckless disregard for the truth or falsity of its hazardous waste representations.
     24            145.    Apple reported in its annual Environmental Report, a formal document they transmitted
     25     and published over interstate wires, that Apple transported 1,599 tons of hazardous waste in 2021 and
     26     1,839 tons in 2020 to disposal facilities from Apple’s corporate facilities globally. Based on California
     27     DTSC tracked manifests, 32% (512 tons) of Apple’s global hazardous waste transported to
     28



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      1     landfills/disposal facilities came from Apple’s semiconductor fabrication factory at ARIA. 42 Statements

      2     and activities related to waste at this facility are material for Apple Inc.

      3             146.    Apple’s Environmental Progress Report is a formal document Apple transmits over

      4     interstate wires. Apple reports on the amount of waste that Apple allegedly “diverted from landfills.”

      5     Apple highlighted this number in the report under the program called “Zero Waste” and claimed Apple is

      6     moving towards “waste-free operations.”43 Apple said, “We maintain our commitment to the safe and

      7     responsible management of hazardous waste, both onsite and offsite.” 44 In 2019, Apple published a press

      8     release over interstate wires stating, “Apple has…strengthened its efforts to…reduce pollution. In

      9     prioritizing Zero Waste to Landfill, Apple suppliers diverted 1 million tons of garbage in three years.” 45

     10             147.    Apple’s statements are false and misleading. They are not reducing pollution—Apple is

     11     creating incredible amounts of pollution, at least at ARIA, that is an acute danger to public health. Apple

     12     is also not innocently ‘diverting’ waste from landfills – Apple is ‘diverting’ waste by exhausting unabated

     13     solvent vapors, fumes, and toxic gases from their one-story exhaust vents – which created dense gas and

     14     vapor plumes that surrounded the nearby four-story apartments with thousands of residents, as well as an

     15     open-air children’s playground and making many people sick.46

     16             148.    On August 15, 2021, Alisha Johnson (who reports to Lisa Jackson) emailed over the wire

     17     to the US EPA a document with Apple’s talking points about Apple’s environmental practices. Including:

     18     “In fiscal year 2020, we diverted more than 70% of waste across Apple facilities …. We have active Zero

     19     Waste to Landfill goals for retail, corporate facilities, and our supply chain.” [FOIA document]. Again,

     20     these are false and misleading statements. In 2020, at least some of that 70% of ‘diverted’ waste was the

     21     NMP fumes Apple blasted into Gjovik’s home. This also explains that Apple’s illegal dumping was at the

     22     direction of the Board of Directors and executives as a formal “goal.”

     23             x.      Predicate Act 6: E-Waste - Wire Fraud (18 US Code § 1343)
     24             149.    In 2015-2016, Apple intentionally devised or intended to devise a scheme to defraud using
     25     materially false or fraudulent pretenses (e.g., use of the word ‘diversion’ to mean illegal dumping, etc.),
     26
     27     42
               Apple, 2022, Environmental Progress Report, pg 87.
            43
     28        Apple, 2021, Environmental Progress Report, pg 51.
            44
               Apple, 2021 Environmental Progress Report, pg 70.
            45
               Apple, Apple releases 13th annual Supplier Responsibility Progress Report, March 6 2019.
            46
               Apple, 2022 Environmental Progress Report, pg 87.
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      1     representations (e.g., claiming they only use licensed TSDFs, etc.), or promises (e.g., compliance with

      2     hazardous waste export laws, etc.) over interstate wire communications related to Apple’s electronic waste

      3     practices. Apple’s fraud was for obtaining money or property, and Apple knowingly and willingly

      4     participated in the scheme intending to defraud and used the interstate wires to further the scheme.

      5               150.    In 2013, the California EPA DTSC started investigating Apple for violating e-waste

      6     regulations in 2011-2012. In 2016, based on the investigation results, Apple agreed to a five-year consent

      7     decree and was fined by CalEPA DTSC for $450,000 over hazardous/universal waste violations. 47 “To

      8     settle the allegations, Apple has agreed to increase inspections at its facilities in Cupertino and Sunnyvale,

      9     according to C[alifornia ]EPA’s Department of Toxic Substances Control (DTSC).” Apple was found to

     10     have operated off-book waste processing plants, transporting waste without manifests and failing to take

     11     proper employee safety precautions. These violations surely included wire and mail fraud elements to pull

     12     off such an operation for so long.

     13               151.    In Apple’s 2015 Environment Report (a formal document they transmitted and published

     14     via wires), Apple said, “Since 1994, we have diverted more than 508 million pounds of equipment from

     15     landfills.” Apple apparently referred partially to the e-waste it had been illegally disposing of in Santa

     16     Clara County.

     17               152.    DTSC caught Apple using unlicensed TSDF transporters, yet Apple’s 2016 Environmental

     18     Responsibility Report (a formal document they transmitted and published via wires) said, “Apple disposes

     19     of hazardous waste responsibly. We complete regular audits of the Transportation, Disposal, and Storage

     20     Facilities (TSDF), where the hazardous waste is ultimately sent to be treated, incinerated, or recycled.

     21     Only facilities we audit and approve can accept and treat the hazardous waste we generate, which was 1

     22     million pounds in fiscal year 2015.”48 In the 2016 complaint and settlement, DTSC complained that Apple

     23     used unlicensed waste disposers, and it is unclear where the waste was transported to.

     24               153.    In Apple’s 2015 and 2016 Environmental Responsibility Reports, the formal document

     25     they transmitted and published via wires, Apple said: “All electronic waste we collect worldwide is

     26     processed in the region where it is collected— nothing is shipped overseas for disposal. The vast majority

     27     of our recycling is handled in-region, so we can make sure our recycled materials are not being dumped

     28
            47
                 California DTSC, Apple Agrees to Pay $450,000 to Settle Hazardous Waste Violations, 2016.
            48
                 Apple, Environmental Responsibility Report, 2016.
                                                                   42
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      1     unsafely.”49 In the 2016 DTSC complaint and settlement, DTSC noted Apple was illegally shipping e-

      2     waste to Canada.

      3            154.    Apple’s false statements had a natural tendency to influence, or are capable of influencing,

      4     the decision of the decision-making body to which it was addressed. Major publishers covered the 2016

      5     DTSC fine, and Lisa Jackson’s ex-US EPA team made false and misleading statements in their comments,

      6     which were transmitted over wire:50

      7            “An Apple spokesperson, Alisha Johnson, said: ‘This matter involves an oversight in filing
                   paperwork to close one of our recycling facilities as part of our expansion to a larger site. We have
      8
                   worked closely with the DTSC to ensure that going forward, we have the proper permits for our
      9            current site…As we do with all our facilities, we followed our stringent set of health and safety
                   standards, which go well beyond the legal requirements.”
     10
            Yet, in 2021, Apple told Gjovik they only do the bare minimum of what is required (and Gjovik discovered
     11
            they still need to do that). Further, the conduct was not an ‘oversight in filing paperwork’. Gjovik
     12
            complained about this before termination as part of her SOX and Dodd-Frank claims.
     13
     14            xi.     Predicate Act 7: “Green” Energy – Wire Fraud (18 US Code § 1343)

     15            155.    Apple intentionally devised or intended to devise a scheme to defraud using materially

     16     false pretenses (e.g., claims of using ‘green’ energy, etc.), representations (e.g., they were using ‘green’

     17     energy, etc.), or promises (e.g., they were trying to use ‘green’ energy, etc.) over interstate wire related to

     18     Apple’s energy practices. Apple has an energy company subsidiary registered with FERC called “Apple

     19     Energy LLC,” so Apple's statements about energy are material and subject to high scrutiny.

     20            156.    In 2018, Apple wrote to the EPA, "Apple generates 100% of our operational load through

     21     clean energy.”51 For years, Apple’s “environmental” branding has centered around a claim of running on

     22     “Green Energy.” In 2015, it was exposed that Apple’s claims about its data center in Maiden, North

     23     Carolina, running on 100% green energy, were false. Apple had claimed they did not use fossil fuels at

     24     the facility, and it was 100% “green,” but records showed they did use fossil fuels, and only <1% of the

     25     energy was “green.” 52

     26
     27     49
               Apple, Environmental Responsibility Report, 2015; Environmental Responsibility Report, 2016
            50
     28        Reuters, California EPA says settled with Apple on hazardous waste claims (Dec 6, 2016).
            51
               US EPA, Docket ID No. EPA-HQ-OAR-2017-0355, Apple Comments on EPA Proposal re Emission
            Guidelines for Greenhouse Gas Emissions … (at 83 FR 45588, September 18, 2018).
            52
               Analysts Call Apple Renewable Energy Claims ‘Lies,’ The Carolina Journal, 2015.
                                                                 43
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      1             xii.    Predicate Act 8: Compliance – Wire Fraud (18 US Code § 1343)

      2             157.    Apple intentionally devised or intended to devise a scheme to defraud using materially

      3     false or fraudulent pretenses (e.g., that Apple tries to follow the law, etc.), representations (e.g., that Apple

      4     does not break the law, etc.), or promises (e.g., that Apple cares about following the law, etc.) over

      5     interstate wire communications related to Apple’s regulatory compliance practices. Apple devised and

      6     attempted to devise a scheme or an artifice to defraud to obtain money or property, knowingly and

      7     willingly participated in the scheme with the specific intent to defraud, and used the mail and interstate

      8     wires in furtherance of the scheme.

      9             158.    Apple’s Global Whistleblowing Policy states: “Apple conducts business ethically,

     10     honestly, and in compliance with applicable laws and regulations.”53 Apple’s website has a homepage

     11     for “Ethics and Compliance” that leads with a prominent statement, similarly saying: “Apple conducts

     12     business ethically, honestly, and in full compliance with the law.”54 Apple's “Business Conduct Policy,”

     13     produced by Tom Moyer’s team, starts with: “Apple conducts business ethically, honestly, and in full

     14     compliance with applicable laws and regulations. This applies to every business decision in every

     15     company area worldwide.” 55

     16             159.    Apple states a conclusive, definite fact that the company is ethical, honest, and never

     17     violates laws or regulations. Apple’s statement is false, as well as preemptive threats against

     18     whistleblowers speaking out, as if Apple is never doing anything wrong; there is nothing to blow the

     19     whistle about. Reviewing the long list of criminal and civil charges, decisions, and settlements against

     20     Apple – it is clear that not “every business decision in every area of the company worldwide” is ethical,

     21     honest, or in full compliance with the law.

     22             xiii.   Predicate Act 9: Apple/Levoff -- Securities Fraud (15 USC § 78) & Wire Fraud
     23             160.    Gene Levoff, member of the Worldwide Loyalty Enterprise and officer and agent of Apple,
     24     violated Section 17(a)(1) of the Securities Act [15 U.S.C. § 77q(a)(1)] and Section 10(b) of the Exchange
     25     Act and Rule 10b-5.56 Gene Levoff was Apple’s head of Corporate Law and one of three officers for
     26     Braeburn Capital (Apple’s $100B+ internal hedge fund subsidiary in Reno, Nevada). Among other duties,
     27
            53
     28        Apple, Global Whistleblowing Policy.
            54
               Apple, Ethics and Compliance.
            55
               Apple, Business Conduct Policy, August 2022.
            56
               US SEC v Gene Daniel Levoff, 2:19-cv-05536, pg12-13, United States District Court, District of NJ (2019).
                                                                  44
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      1     Levoff was responsible for “Apple’s compliance with securities laws, including providing legal advice in

      2     connection with Apple’s SEC filings and financial reporting, and for managing Apple’s corporate

      3     subsidiary structure.”57 He also made numerous false SEC filings about Apple’s environmental practices.

      4             161.    Levoff was an Apple executive and associate General Counsel and engaged in unlawful

      5     conduct that was precisely the type of his job at Apple, which he was supposedly responsible for

      6     preventing and monitoring. Levoff even sent emails to Apple employees warning them not to engage in

      7     conduct, which he then turned around and did himself, knowing the violation, and prepared to conceal and

      8     obstruct any inquiries into his conduct through his role as the person ultimately responsible for the

      9     compliance concerns.

     10             162.    In violation of 18 U.S.C. Section 1962(c), Apple participated in and enabled Levoff’s

     11     commission of RICO Acts of Securities Fraud and Wire Fraud by continuing to employ him, disclose

     12     confidential information to him, and instruct him to send notices to the company that Apple knew Levoff

     13     himself was violating. In violation of 18 U.S.C. Section 1962(d), Apple adopted the goal of furthering and

     14     facilitating a conspiracy to commit RICO Acts of Securities Fraud and Wire Fraud. Two or more people

     15     (Gene Levoff and DOE58) agreed to commit a substantive RICO offense, and Apple knew of and agreed

     16     to the overall objective of the RICO offense. 59

     17             xiv.    Predicate Act 10: Relating to Chemical Weapons [18 USC § 229; §2332(b)(g)(5)(B)]
     18             163.    At ARIA in Santa Clara, Apple knowingly possessed chemicals not intended for peaceful
     19     purposes, protective purposes, unrelated military purposes, or law enforcement purposes, as described in
     20     18 U.S.C. § 229F(7) – and those purposes were malicious and were not socially beneficial. Apple intended
     21     to release dangerous chemicals in a way that could cause imminent danger of death, serious bodily injury,
     22     and mass suffering. These chemicals were toxic and “through their chemical action on life processes can
     23     cause death, temporary incapacitation or permanent harm to humans or animals.” [OPCW Section 299].
     24     Apple attempted to and did acquire, transfer, receive, stockpile, retain, own, possess, use, and threaten to
     25
     26
            57
     27        US SEC v Gene Daniel Levoff, 2:19-cv-05536, pg4, United States District Court, District of New Jersey (2019).
            58
               Additional person(s) named DOE until identity(s) revealed during discovery – it is implausible that Levoff was
     28     able to engage in so much fraud without a single person noticing for five years.
            59
               Pending discovery, there appears to only be two options: first, Apple’s Audit function did notice Levoff’s
            conduct and condoned/ratified it by inaction, similar to the executive direction in Banko v Apple related to
            Embezzlement), or Levoff deleted records of his activities, which would another Predict Act.
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      1     use chemical weapons. Apple assisted or induced another person to do the same or attempted to conspire

      2     to do the same.

      3             164.    Apple used/stored/released chemicals on Treaty Annex II, including Phosphorus

      4     Trichloride, noted in their chemical inventories, and white/yellow/red phosphorus waste, indicated on

      5     their manifests. Apple also used chemicals listed on the Department of Homeland Security list of

      6     “Chemicals of Mass Effect,” including arsine, phosphine, and chlorine gases. 60 Apple repeatedly leaked

      7     phosphine gases from the factory at ARIA in 2019 and 2023, at least.

      8             165.    Like other 18 USC 229 cases, highly volatile and poisonous substances were repeatedly

      9     released into highly trafficked areas, placing many people at risk of severe harm and mass suffering. Apple

     10     also has a history of gassing its employees with Chlorine. At least two chlorine gas leaks have been

     11     reported at Apple facilities. In 2012, there was a chlorine gas leak at an Apple factory, which killed one

     12     worker and injured another four workers.61 There was a chlorine gas leak at an Apple data center in 2015,

     13     resulting in an evacuation, HazMat response, and multiple employees taken to the hospital. 62 At ARIA,

     14     Apple’s use, storage, and release (intentional and unintentional) of very toxic gases can produce a dense

     15     cloud of lethal gas that would be large enough to engulf the apartments. Such an emission, if it has not

     16     already occurred, could easily cause injuries and death.

     17                                           SECOND CAUSE OF ACTION

     18                             (Violation of Sarbanes-Oxley Whistleblower Protection)

     19             166.    Plaintiff re-alleges and incorporates by reference each and every allegation set forth above,

     20     as though fully set forth in this Claim for Relief. At the time of the events alleged in this complaint,

     21     Apple’s officers, employees, and agents discharged, demoted, suspended, threatened, harassed, and

     22     otherwise discriminated against Gjovik in the terms and conditions of her employment because Gjovik

     23     provided information, caused information to be provided, and otherwise assisted in an investigation

     24     regarding conduct which Gjovik reasonably believed constituted a violation of securities laws or which

     25     included fraud on shareholders. Gjovik provided information she thought related to fraud or securities

     26     violations as defined in 18 U.S.C. § 1514A(a)(1).

     27
            60
     28        DHS CISA, Chemicals of Interest.
            61
               NBC News, Report: Deadly gas leak at Apple supplier's plant in China, July 2012.
            62
               The Register, Chlorine gas horror leak at Apple data center puts five in hospital, June 2015; The Guardian,
            Five injured in chlorine gas leak at Apple data centre, June 2015.
                                                                   46
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      1            167.    Gjovik complained to Apple about conflicts of interest related to a board member and

      2     decision about her office, about apparent self-dealing by corporate insiders including an interested party

      3     transaction, Apple’s false public statements about Apple’s environmental and labor practices, including

      4     false statements by a prior government official and now Apple executive; concerns that Apple’s internal

      5     controls were inadequate; Apple appeared to be silencing and retaliating against whistleblowers and

      6     people raising concerns, in order to cover up the issues instead of investigate or resolve problems; Gjovik’s

      7     complaints about the safety of her office and about the complaint process generally would be overseen by

      8     the Board Committee chaired by an officer Gjovik was complaining about; false statements to government

      9     and shareholders; material fraudulent conduct; inadequate internal controls; complaints about smuggling

     10     and violations of sanctions; and witness intimidation and obstruction of justice.

     11            168.    Gjovik complained about these issues in emails, complaints, and texts, including formal

     12     Business Conduct complaints in July 2021 (smuggling/sanctions) and August 2021 (Ronald

     13     Sugar/Conflict of Interest and Fraud); the issue confirmation with Okpo in August 2021; complaints to

     14     Senior Director Dr. Cohen about the vaccine skipping the line issues in December 2020, Apple’s

     15     fraudulent conduct in April-May 2021; complaints to Gjovik’s friend (N.C.) on Lisa Jackson’s team about

     16     fraudulent statements about environmental practices in April 2021 and systemic retaliation and coverups

     17     in July-August 2021; and additional comments to the press and on social media before her termination.

     18            169.    Gjovik filed an SEC whistleblower tip on August 31, 2021, and directly notified Apple via

     19     Twitter, coworkers, and directly to Dr. Cohen, all prior to her termination. Before her termination, Gjovik

     20     informed Dr. Cohen directly about her FBI complaint about smuggling/sanctions and FDA/DOJ tip about

     21     vaccines. The SOX case was docketed with the US Department of Labor on December 12, 2021.63

     22            170.    Gjovik’s concerns about fraud and securities rules related to Ronald Sugar and her office

     23     were material as Apple makes statements about the conditions of its properties, compliance with

     24     regulations, and environmental practices in its SEC filings and communications to shareholders. Gjovik’s

     25     complaints were reasonable as the allegations included all the essential elements of fraud and even used

     26     the word ‘fraud.’ The property at issue in Gjovik’s July-September 2021 complaints is worth $40M+, had

     27     a dedicated US EPA webpage for the clean-up, and another company with a property on the Triple Site

     28
            63
              Ashley Gjovik v Apple Inc, Apple Inc./Gjovik/9-3290-22-051; OSHA 11(c) Procedures: 29 CFR Part 1977, EPA
            Procedures: 29 CFR Part 24, SOX Procedures: 29 CFR Part 1980
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      1     found the clean-up material enough to file a copy of a remediation agreement, which also notes the TRW

      2     Microwave Superfund site, to the US SEC.64

      3               171.   Sugar worked at TRW Microwave Inc (headquartered at 825 Stewart Drive) when the site

      4     created pollution and clean-up orders were issued. As CFO, he would have signed financial assurance

      5     documents. It’s improbable that Ronald Sugar was not personally involved in TRW Microwave use and

      6     disposal of industrial hazardous materials at Gjovik’s office or not personally involved in the

      7     environmental clean-up of spills/dumping of those chemicals at Gjovik’s office. Gjovik witnesses Apple

      8     committing fraud at Stewart 1 when it refused to report issues to the US EPA it was required to report and

      9     when it attempted to conceal the problems before she (or the US EPA) could inspect. Gjovik inquired if

     10     Ronald Sugar was involved in the fraud due to his conflicts of interest related to the property.

     11                                            THIRD CAUSE OF ACTION

     12                               (Violation of Dodd-Frank Whistleblower Protection)

     13               172.   Plaintiff re-alleges and incorporates by reference each and every allegation set forth above,

     14     as though fully set forth in this Claim for Relief. Apple directly and indirectly discharged, demoted,

     15     threatened, suspended, harassed, and otherwise discriminated against Gjovik in the terms and conditions

     16     of her employment because Gjovik lawfully provided information to the Commission with her SEC

     17     whistleblower tip (filed August 31, 2021), made disclosures to the US SEC led to several meetings with

     18     US SEC investigators about her disclosures, and made other protected disclosures.          The 2nd Cause of

     19     Action for SOX whistleblower retaliation is incorporated and restated here.

     20                                          FOURTH CAUSE OF ACTION

     21              (Creation & Maintenance of a Private Nuisance; Nuisance Per Se; Absolute Nuisance)

     22               173.   Plaintiff re-alleges and incorporates by reference each and every allegation set forth above,

     23     as though fully set forth in this Claim for Relief. Apple created and maintained a condition in violation of

     24     California Civil Code Section 3479. This nuisance was demonstrably injurious to health, which was

     25     indecent and offensive to the senses and obstructed the free use of property. By acting and failing to act,

     26     Apple created a condition or permitted a condition to exist that was harmful to health, offensive to the

     27     senses, an obstruction to the free use of property, and a fire, explosion, and poisoning hazard. Apple’s

     28     conduct in acting or failing to act was intentional, unreasonable, negligent, and reckless.


            64
                 US SEC, Remediation Agreement (AMD, Fujitsu and FASL), EX-10.15.
                                                                 48
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      1             174.    Apple is continuously casting pollution upon the property of the owner and tenants of the

      2     Santa Clara Square Apartments and the employees who work inside Stewart 1, as it knew it would do

      3     when it constructed its exhaust and HVAC systems and hazardous waste handling systems. It knew then,

      4     as it knows now, that so long as it would continue its operation, the pollution would continue to fall, not

      5     by accident or mishap, but in conformity with the knowledge it had before the construction of the systems.

      6     Apple should be presumed to have intended its act's natural, known, and reasonable consequences.

      7             175.    Apple’s interference would and did substantially annoy or disturb persons of normal health

      8     and sensibilities in the same community. Apple’s operations at the factory and Superfund site are both

      9     continuing nuisances, and every continuation of the nuisance or trespass gives rise to separate damages

     10     claims. Apple has the agency and ability to stop the nuisance (it is not permanent), so until it does, the

     11     nuisance Apple created is continuous. Apple’s conduct was a substantial factor in causing Gjovik’s harm.

     12     Gjovik did not consent to a defendant’s conduct, and the seriousness of the harm outweighs the social

     13     utility of Apple’s conduct. Apple damaged Gjovik’s property and injured Gjovik’s person. Due to Apple’s

     14     actions, Gjovik’s property was destroyed, the leasehold degraded, she became very ill, and she suffered

     15     severe emotional distress.

     16             176.    Private Nuisance Per Se: Further, Apple’s knowing and intentional releases of hazardous

     17     waste into the air and environment around ARIA., in violation of several laws, triggers strict liability under

     18     the nuisance claim, or “nuisance per se.” Apple’s solvent vapor and gas exhausts released dangerous

     19     chemicals just feet from thousands of homes, violating federal laws, state laws like Proposition 65, and

     20     local toxic gas and nuisance ordinances. For example, the Clean Air Act “criminalizes knowing or

     21     negligent “releases into the ambient air [of] any hazardous air pollutant . . . or extremely hazardous

     22     substance” that give rise to imminent danger,” [42 U.S.C. § 7413(c)(4)– (5)]. Further, Apple also violated

     23     RCRA when “knowingly transports, treats, stores, disposes of, or exports any hazardous waste identified

     24     or listed under this subchapter . . . in violation of … of this section [and] knows at that time that he thereby

     25     places another person in imminent danger of death or serious bodily injury.” [42 U.S.C. § 6928(e)].

     26             177.    At ARIA and Stewart 1, Apple discharged air contaminants that caused injury, detriment,

     27     nuisance, or annoyance to a considerable number of persons or the public and which endangered the

     28     comfort, repose, health, or safety of any of those persons or the public in violation of Cal. Health & Safety
            Code § 41700. Apple’s release of air contaminants did cause actual injury to Gjovik and others, and those

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      1     injuries required prescriptions, surgeries, and special monitoring; thus, Apple also violated Cal. Health &

      2     Safety Code § 42400, a misdemeanor. In addition, Apple’s excessive and improperly treated wastewater

      3     discharge into the municipal sewer is water pollution and a nuisance under Cal. Water Code, § 13050.

      4            178.    Absolute Nuisance: The rule of strict liability stated in § 519 frequently is applied by many

      5     courts in these cases under the name of “absolute nuisance,” even when the harm that results is physical

      6     harm to person, land, or chattels.” The condition Apple created and permitted to exist resulted from

      7     abnormally dangerous activity for which strict liability should also exist. The Ultrahazardous activities

      8     section is incorporated here for both properties.

      9            xv.     Part A. – Nuisance at 3250 Scott Blvd, Santa Clara

     10            179.    In or about 2015, Apple constructed, or caused to be constructed, exhaust vents and open

     11     tanks at ARIA in Santa Clara, near the common border line of the defendant's and Gjovik’s property at

     12     3390 Octavius Drive in Santa Clara. The exhaust vents were installed and maintained negligently,

     13     recklessly, and unskillfully. Apple exhausted through the vents and emptied various materials or

     14     substances into the open tanks that caused a foul, obnoxious, and disagreeable odor and polluted the

     15     atmosphere / ambient air of Gjovik’s leasehold property.

     16            180.    Apple’s silicon fabrication plant emits large quantities of vapors, dust, chemicals, and other

     17     contaminants into the air, which are carried by the natural winds and air currents onto Gjovik’s property

     18     and collect Gjovik’s chattel property and are generally injurious to Gjovik’s health, are offensive to the

     19     senses, and interfered with Gjovik’s comfortable enjoyment of life and property. Apple created the

     20     nuisance due to unnecessary, unreasonable, and injurious methods of operation of their business. The

     21     emissions were a business decision to be able to report reduced waste sent to landfills.

     22            xvi.    Part B.– Nuisance at 825 Stewart Drive, Sunnyvale
     23            181.    In or about 2015, Apple constructed, or caused to be built, exhaust vents and HVAC
     24     equipment at Stewart 1, where Gjovik’s Apple office was. The exhaust vents were installed and
     25     maintained recklessly and negligently. Apple exhausted through the vents and re-entrained into the HVAC
     26     system and then into the building’s indoor air, various substances that caused a foul, obnoxious, and
     27     disagreeable odor and polluted the air where Gjovik was assigned by her employer to work.
     28            182.    Apple has conducted its business at Stewart 1 in such a manner as to constitute a nuisance
            in that the Superfund site groundwater mega-plume emits large quantities of vapors, chemicals, and other

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      1     contaminants into the air. Beneath the building, they are carried by an intentionally designed sub-slab

      2     vapor collection system, deliberately routed to the roof, and then re-entrained through the HVAC intake

      3     and into Gjovik’s office and collect Gjovik’s chattel property, and are generally injurious to Gjovik’s

      4     health, are offensive to the senses, and interfered with Gjovik’s comfortable enjoyment of life and

      5     property. Apple created the nuisance due to unnecessary, unreasonable, and injurious methods of

      6     operation of their business and failed to correct it for years after the US EPA complained.

      7                                            FIFTH CAUSE OF ACTION

      8                     (Strict Liability for Ultrahazardous / Abnormally Dangerous Activities)

      9             183.    Plaintiff re-alleges and incorporates by reference each and every allegation set forth above,

     10     as though fully set forth in this Claim for Relief. Apple’s activities at ARIA and Stewart 1 provided a high

     11     degree of risk of significant harm to people and property, and the exercise of reasonable care could not

     12     eliminate the risk; the activity's benefits do not outweigh the risks, and these activities are inappropriate

     13     for the location and are not common.Apple was engaged in an ultrahazardous activity that caused Gjovik

     14     to be harmed. Apple’s activities were the proximate cause of that harm, and Apple is responsible for that

     15     harm. People who engage in ultrahazardous activities are responsible for the harm these activities cause

     16     others, regardless of how carefully they carry out these activities. Apple damaged Gjovik’s chattel

     17     property (discoloring, weakening, dissolving glues, causing reactions), degraded her extremely expensive

     18     leasehold conditions, and harmed Gjovik’s mind and body.

     19             xvii.   Part A. – Ultrahazardous Activities at 3250 Scott Blvd, Santa Clara
     20             184.    Operating a silicon fabrication factory is an ultrahazardous activity when there is a high
     21     degree of risk of some harm to people, land, and chattels; a likelihood that the harm will be severe; there
     22     is an inability to eliminate the risk by the exercise of reasonable care; the activity is not a matter of common
     23     usage; the activities were inappropriate for the locations where they were carried on. Semiconductor
     24     fabrication adjacent to a residential area is an ultrahazardous activity. For decades, it has been known to
     25     require pyrophoric gases, which have a “serious fire hazard,” combustible and flammable chemicals that
     26     must be “carefully monitored and handled by experienced personnel.” These chemicals were used only a
     27     few hundred feet from homes, and the chemicals in question were emitted from vents. The storage, use,
     28     and release of dangerous, highly poisonous gas in a residential area is an activity which, even when



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      1     conducted with the greatest of care and prudence, could cause damage to others in the neighborhood and

      2     thus is ultrahazardous, and Apple knew.

      3               185.    The close proximity to residential areas makes Apple’s activities ultrahazardous. Apple’s

      4     insistence on keeping the existence of the factory secret, Apple failed to put anyone around the facility on

      5     notice that Apple’s ultrahazardous activities could harm them. Apple’s secrecy increases the danger of its

      6     activities as well as concealing from victims the cause of their injuries. Apple released chemicals

      7     categorized by Cal. Code Regs. Tit. 17, § 93000 as “Substances Identified as Toxic Air Contaminants,”

      8     of which there is no safe level of exposure without “significant adverse health effects. “Apple released

      9     into the air chemicals categorized under 42 U.S.C. Section 7412(b) as “Hazardous Air Pollutants” and

     10     Cal. Code Regs. Tit. 17, § 93001 as “Hazardous Air Pollutants Identified as Toxic Air Contaminants.”

     11               xviii. Part B. – Ultrahazardous Activities at 825 Stewart Drive, Sunnyvale
     12               186.    Stewart 1 is part of a Superfund mega-plume, merging with other megaplumes and
     13     impacting a large community with emissions. Operating a business on a Superfund mega-site with a
     14     pathway for vapor intrusion and contaminants of concern, including TCE and Vinyl Chloride, is an
     15     ultrahazardous activity. The activity has a high degree of risk of some harm to people, land, and chattels;
     16     a likelihood that the harm will be severe; there is an inability to eliminate the risk by the exercise of
     17     reasonable care; the activity is not a matter of common usage; the activities were inappropriate for the
     18     locations where they were carried on. Recovery from unexpected exposure to toxic fumes in an office
     19     building or other building has been recognized as a legitimate legal claim, even where the effects upon
     20     the occupants are not permanent.CERCLA sites already have strict liability for hazardous waste
     21     contamination. CERCLA imposes strict liability for environmental contamination upon, among others,
     22     the owner and operator of a facility – which, in this case, is Northrop Grumman and Apple, respectively.
     23     [42 U. S. C. §9607(a).] Superfund sites are relatively uncommon. As of September 2023, there are only
     24     1,336 active Superfund National Priority List sites in the United States. 65
     25                                              SIXTH CAUSE OF ACTION
     26                            (Violation of the Bane Civil Rights Act - Cal. Civ. Code § 52.1)
     27               187.    Plaintiff re-alleges and incorporates by reference each and every allegation set forth above,
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                 US EPA, Superfund: National Priorities List (NPL),
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      1     as though fully set forth in this Claim for Relief. Apple violated the Bane Act when Apple “interfere[d],

      2     or tries to do so, by threats, intimidation, or coercion, with [Gjovik’s] exercise or enjoyment of rights

      3     secured by federal or state law." Apple violated the Bane Act with "an attempted or completed act of

      4     interference with a legal right, accompanied by a form of coercion" with specific intent to violate Gjovik’s

      5     rights and a reckless disregard for Gjovik’s rights. Apple intended to cause harm, but Gjovik was harmed,

      6     and Apple’s actions were a substantial factor in causing Gjovik’s harm.

      7             188.    Apple committed violence and made threats of violence against Gjovik and her property,

      8     including threatening messages and social media posts about guns, ruin/destruction, and even her death;

      9     sending threatening and dangerous packages in the mail; tampering with Gjovik’s chattels to the extent of

     10     conversion; surveilling and stalking Gjovik; hacking Gjovik’s electronics and utilities; destroying

     11     Gjovik’s chattels; trespassing and burglarizing Gjovik’s home; and other inherently violent misconduct.

     12             189.    Any reasonable person would feel terrorized by Apple’s actions, and that was Apple’s

     13     intent when their Global Security & Legal teams used their background and training to formulate a

     14     psychological torture campaign. Apple’s intimidation, threats, and terrorization efforts of Gjovik were

     15     operated around the clock and the world, with Apple messaging, calling, and posting about Gjovik at all

     16     hours of the day, in multiple languages, and from dozens of countries around the world. Apple’s

     17     harassment of Gjovik came from all corners of the internet, including forums, social media sites, email,

     18     texts, website webform, phone calls, blog posts, news articles, and other mediums.

     19             190.    Apple’s actions threatened violence and created a reasonable fear of imminent harm. Apple

     20     attempted to interfere with Gjovik’s exercise of her civil rights through threats, intimidation, and coercion.

     21     Apple made threats of violence against Gjovik and her property, which she reasonably believed would be

     22     carried out if she exercised her civil rights. Apple acted violently against Gjovik and her property to

     23     prevent her from exercising her rights and to retaliate against her for doing so.

     24             191.    In an attempt to prevent Gjovik from exercising her civil rights and to retaliate against her

     25     for trying to exercise her civil rights, in violation of Gjovik’s civil rights, Apple has maliciously terrorized

     26     Gjovik with threats, intimidation, and coercion that interferes with her constitutional and statutory rights.

     27     Apple tried to prevent Gjovik from doing things she had a right to do under the law and to force Gjovik

     28     to do things she was not required to do. Apple interfered and attempted to interfere by threat, intimidation,



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      1     coercion, or with reckless disregard for, Gjovik’s exercise and enjoyment of a constitutional or other right

      2     under California or federal law. 66

      3             192.    A. Right to Provide Testimony to Agencies: Apple intimidated Gjovik to prevent her

      4     from giving testimony. Apple threatened Gjovik after Gjovik’s testimony. Apple interfered and attempted

      5     to interfere with Gjovik’s testimony to labor agencies by threatening her with violence and intimidation,

      6     including termination her employment in 2021 and the day before she was to testify to the government

      7     about Apple, and sued her in 2022 days before she was to testify to the NLRB about witness intimidation

      8     by Apple, and all of which is her right to exercise her labor rights and engage with the government as a

      9     citizen of California (at that time) and of the United States.

     10             193.    B. Right to Meet with Legislatures and Appear as a Legislative Witness: Starting in

     11     late 2021, Gjovik began contacting and meeting with state and federal politicians about all of Apple’s

     12     unlawful conduct, including to get help with her cases. Apple’s threats and intimidation interfered and

     13     attempted to interfere with Gjovik’s right to appear as a witness before a legislative committee, violating

     14     Govt.C. § 9414(a)(1). Apple’s harassment of Gjovik was motivated by the fact that Gjovik was or may be

     15     a witness before a legislative committee in violation of Govt.C. § 9414(b). Apple’s threats and intimidation

     16     before Gjovik’s termination and Apple’s termination of Gjovik were motivated by Gjovik becoming a

     17     witness before a legislative committee in violation of Govt.C. § 91414(a)(2). Apple knowingly and

     18     maliciously prevented, dissuaded, and attempted to prevent and dissuade Gjovik, a witness and victim,

     19     from giving testimony at legal proceedings and inquiries in violation of California Penal Code § 136.1(a).

     20             194.    C. Right to Report Criminal Acts to Law Enforcement: Apple attempted to prevent and

     21     dissuade Gjovik, who was a victim of a crime and a witness to a crime, from making reports of that

     22     victimization to peace officers and law enforcement and prosecuting agencies from causing a complaint

     23     to be sought and prosecuted, and seeking the arrest of persons in connection with her victimization. in

     24     violation of California Penal Code § 136.1(b). Gjovik was a crime victim under several civil and criminal

     25     statutes, including RCRA, CERCLA, CAA, 18 USC 1502, 18 USC 1503, and more.

     26             195.    E. Constitutional Right to Privacy: Apple’s supposed justification for terminating Gjovik

     27     and Apple’s conduct (ear scans, face Gobbling, etc.) all violate the California Constitution Article 1 right

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            66
              Intimidating a Witness - California Penal Code 136.1; Threatening a Witness Prior to Testimony - California
            Penal Code § 137(b); Threatening a Witness After Testimony – Cal. Penal Code § 140(a)
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      1     to privacy. Gjovik had the right and continues to have the right to protest invasions of her privacy, and

      2     Apple’s pretextual termination for firing Gjovik and harassing letter from their law firm threatens, coerces,

      3     and intimidates Gjovik to refrain from exercising her Constitutional rights.

      4            196.    G. Right to Free Speech & Assembly: Apple interfered and attempted to interfere with

      5     Gjovik’s civil rights under state and federal law, including her right to participate lawfully in speech and

      6     peaceful assembly, opposing any denial of the opportunity to participate in federal civil rights. [18 U.S.C.

      7     § 245(b)(5)]. For example, Apple’s retaliatory litigation, retaliatory reports to law enforcement, and

      8     malicious gag order prohibited Gjovik from doing so, including prohibiting her from sharing public

      9     records and her legal filings, from complaining (even privately) about the retaliatory lawsuit and gag order,

     10     and violating her right to free speech under the US Constitution, causing irreparable damage to Gjovik.

     11     [U.S. Constitution 1st Amendment; California Constitution Article 1; California Labor Code; NLRA, etc.]

     12                                        SEVENTH CAUSE OF ACTION

     13                        (Violation of the Ralph Civil Rights Act - Cal. Civ. Code §51.7)

     14            197.    Plaintiff re-alleges and incorporates by reference each and every allegation set forth above,

     15     as though fully set forth in this Claim for Relief. In violation of the Ralph Civil Rights Act, Apple

     16     threatened and committed violent acts against the Gjovik. Apple was motivated by its perception of

     17     Gjovik’s protected characteristics (including its position in a labor dispute). In addition, Gjovik was

     18     harmed, and Apple’s conduct was a substantial factor in causing the plaintiff's harm.

     19            198.    Apple intimidated Gjovik by the threat of violence against Gjovik and her property, and

     20     the substantial motiving reason for Apple’s conduct was Apple’s perception of Gjovik’s position in

     21     protected groups of people. A reasonable person in Gjovik’s position would have believed that Apple

     22     would carry out its threat and been intimidated by Apple’s conduct. Apple’s acts of violence and threats

     23     were substantial factors in causing Gjovik harm and did cause Gjovik harm to her property and person.

     24            199.    A. Position in a Labor Dispute: Apple violated The Ralph Act when it threatened violence

     25     and committed violence against Gjovik and her property. Apple’s actions were motivated by Apple’s

     26     perception of Gjovik’s position in a labor dispute. Apple made numerous statements about this to Gjovik,

     27     including directly complaining about Gjovik’s NLRB, EEOC, US DOL, CalDOL, and US DOJ Civil

     28     Rights complaints. Undue Influence was present as Apple threatened to seek criminal prosecution of
            Gjovik for an alleged crime and when Gjovik was entirely innocent of that or any other crime, causing the

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      1     Gjovik to fear arrest and imprisonment and the damage that would result to Gjovik’s business and

      2     reputation, Apple also aided, conspired, and incited these acts. Apple incited and aided with the meritless

      3     litigation and police reports against Gjovik and conspired to harass and threaten Gjovik about it.

      4               200.    B. Sex/Gender/Family Status/Class: Apple violated The Ralph Act when it threatened

      5     violence and committed violence against Gjovik and her property, and Apple’s actions were motivated by

      6     Apple’s perception of Gjovik’s female sex and gender, race, and socioeconomic standing. Apple ‘s

      7     harassment repeatedly referenced Gjovik’s gender/sex (e.g., woman, chick, b***h, c**t, Karen,

      8     SuperKaren, Karenx100, etc.) and family status (not married and no children) in derogatory ways and as

      9     a basis for harassing Gjovik.

     10               201.    C. Disabilities/Medical Conditions: Apple violated The Ralph Act when it threatened

     11     violence and committed violence against Gjovik and her property, and Apple’s actions were motivated by

     12     Apple’s perception of Gjovik’s disabilities and medical conditions (PTSD, ADHD, autism spectrum,

     13     anxiety, depression, syndrome/recovery from solvent exposure). Apple made negative comments about

     14     Gjovik and claimed to be harassing Gjovik because of her disabilities. Apple also accused Gjovik of being

     15     insane in hundreds/thousands of posts.

     16               202.    D. Activism: Apple violated The Ralph Act when it threatened violence and committed

     17     violence against Gjovik and her property, and Apple’s actions were motivated by Apple’s perception of

     18     Gjovik’s activism around environmental health and chemical exposure and membership in environmental

     19     and activist organizations.violated The Ralph Act when it threatened violence and committed violence

     20     against Gjovik and her property. Apple’s actions were motivated by Apple’s perception of Gjovik’s

     21     activism around privacy rights.

     22               203.    E. Victim of Crime: Apple violated The Ralph Act when it threatened violence and

     23     committed violence against Gjovik and her property, and Apple’s actions were motivated by Apple’s

     24     perception of Gjovik’s membership in a protected class of ‘victims of environmental crime. ‘Under

     25     California law, by April 2021, and as early as February 2020, Gjovik was an environmental crime victim

     26     because she was a “victim of a crime that caused physical injury” and suffered “physical, psychological,

     27     and financial harm due to the attempted commission of a crime or delinquent act.”67 Under federal law,

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            67
                 Cal. Lab. Code §§ 230, 230.5; Cal. Gov Code §§ 13951, 13955. “Regardless of whether anyone is arrested.”
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      1     by April 2021 and as early as February 2020, Gjovik was an environmental crime victim who suffered

      2     direct physical, emotional, or financial harm as a result of the commission of a federal crime.

      3                                          EIGHTH CAUSE OF ACTION

      4            (Violation of the California Whistleblower Protection Act - Cal. Labor Code § 1102.5)

      5            204.    Plaintiff re-alleges and incorporates by reference each and every allegation set forth above,

      6     as though fully set forth in this Claim for Relief. Apple violated § 1102.5 when it took adverse employment

      7     action against Gjovik due to Gjovik’s protected activity in disclosing information to a governmental or

      8     law enforcement agency, to a person with authority over the employee, or to another employee who has

      9     authority to investigate, discover or correct the violation; or providing information to or testifying before,

     10     any public body conducting an investigation, hearing, or inquiry.

     11            205.    Section 1102.5 also covers Gjovik’s’ public disclosures as due to Apple’s extreme power

     12     and control over the government agencies who are supposed to be able to regulate it, often the only party

     13     in a position to force Apple to correct the issue is the public. Many of Gjovik’s public statements in August

     14     and September 2021, and statements to coworkers in June and July 2021, all before her termination, noted

     15     that was why Gjovik was bringing her complaints forward to her coworkers and the public – so the public

     16     pressure may force Apple to do the right thing for once.

     17            206.    Gjovik filed several complaints under multiple laws, which were known to Apple

     18     executives, bosses, and administrators (by Gjovik informing them directly, or by Gjovik speaking about

     19     them publicly on social media and the press, or by Apple’s surveillance of Gjovik before her termination.

     20     Complaints to the US EPA and CalEPA, complaints to the Santa Clara County district attorney’s office

     21     about environmental crimes, complaints to politicians about environmental crimes and public corruption,

     22     complaints to US EEOC and DFEH, complaints to US NLRB and CalDOL, and complaints to US DOL

     23     about environmental violations, health/safety issues, and securities fraud.

     24            207.    Apple discharged and discriminated against Gjovik in retaliation for Gjovik’s disclosure

     25     of information about Apple’s unlawful acts and omissions. Gjovik disclosed Apple’s violations of

     26     numerous laws as incorporated from allegations to government agencies, the public, the press, and Apple

     27     management. Gjovik had a reasonable cause to believe that the information she disclosed violated the

     28     statute and was non-compliant with a rule or regulation.



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      1                     1) §1102.5: Reporting Unlawful Labor/Employment Conduct

      2             208.    Before her termination, Gjovik provided information to public bodies (including the US

      3     and California Department of Labor, US NLRB, California DFEH, US EEOC, etc.) about Apple’s

      4     violations of labor and employment laws, and several agencies were already conducting an inquiry based

      5     on Gjovik’s information. Gjovik testified before public bodies (US EEOC, US Department of Labor) and

      6     was scheduled to testify before public bodies (US NLRB) conducting investigations. Gjovik had

      7     reasonable cause to believe that the information provided to and testimony before the public body

      8     disclosed a violation of statute and noncompliance with a rule or regulation. Apple knew Gjovik was

      9     engaged in protected activity, and Apple retaliated against Gjovik because of her protected activity.

     10             209.    Gjovik had a legal right to protest the Gobbler application, Apple wanting to scan her ear

     11     canals, and Apple’s unlawful and unethical data collection practices. Face Gobbler violates numerous

     12     laws, including the California Constitution Article 1 Right to Privacy and the prohibition on video

     13     recording in bathrooms in Cal. Labor Code § 435, and the prohibition on retaliation for Political Activity

     14     found in Cal. Labor Code §§ 1101-1102. Employees can refuse to participate in unlawful studies.

     15                     2) §1102.5: Reporting Environmental & Safety Violations

     16             210.    Before her termination, Gjovik reported violations of environmental and safety laws

     17     (CERCLA, OSH Act, etc.) at Stewart 1 to the US EPA from April through August 2021, to the California

     18     EPA in August 2021, and to the US Department of Labor OSHA in August through September 2021.

     19     Gjovik also reported violations of environmental laws (RCRA, CAA) to the US EPA and California EPA

     20     and legislatures (city mayor, county commissioner, state senator, state assemblyman) about ARIA from

     21     September 2020 through July 2021. Gjovik also reported environmental violations at Stewart 1 and ARIA

     22     to her coworkers, the press, and the public.

     23                     3) §1102.5: Refusal to Participate in Unlawful Conduct

     24             211.    California Labor Code 1102.5 prohibits employers from terminating employees due to the

     25     employee refusing to participate in an activity that would violate state or federal statute, rule, or regulation.

     26     Gjovik refused to engage in unlawful acts including participating in Apple’s obstruction of justice,

     27     violations of environmental law, and Apple’s unlawful surveillance and AI data collection. All of these

     28     reference constitutional or statutory rights that benefit the public, substantial and fundamental rights firmly
            established at the time of Gjovik’s discharge.

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      1            212.    Gjovik refused to help Apple in its efforts to conceal and obstruct investigations and

      2     reporting of employee complaints, including apparently civil and criminal legal violations.             Okpo

      3     repeatedly told Gjovik to stop posting about it. Gjovik had reasonable cause to believe that her

      4     participation in the cover-up would result in a violation of statute and non-compliance with rules or

      5     regulations. Apple discharged and discriminated against Gjovik, and Gjovik’s disclosures and refusal to

      6     participate in Apple’s cover-up contributed to Apple’s decision to discharge Gjovik.

      7                                           NINTH CAUSE OF ACTION

      8                     (Violation of Cal. Labor Code § 98.6 including § 96k, 232, and 232.5)

      9            213.    Plaintiff re-alleges and incorporates by reference each and every allegation set forth above,

     10     as though fully set forth in this Claim for Relief. Under California Labor Code § 98.6, employers may not

     11     discharge or discriminate against an employee for engaging in certain activities, including “filing a

     12     complaint with the Labor Commissioner or testifying in such proceedings.” Gjovik exercised labor rights

     13     provided under the California Labor Code for herself and other employees. Apple retaliated against Gjovik

     14     due to Gjovik’s protected activity, and she suffered materially adverse actions with a causal connection to

     15     the protected activity. Apple engaged in actions prohibited by this section (termination, suspension,

     16     discipline, harassment, etc.) within 90 days of Gjovik’s protected activity. 68

     17            214.    Apple violated Section 98.6 by retaliating against Gjovik due to Gjovik filing a claim with

     18     the California Labor Commissioner on August 29, 2021, and instituting and causing to be instituted

     19     proceedings related to the rights under the jurisdiction of the California Labor Commissioner, exercising

     20     rights provided under California Labor Code on behalf of herself and on behalf of other employees.

     21            215.    Apple violated California Labor Code Section 96(k) when it demoted, suspended,

     22     discharged from employment, threatened discharge, or otherwise discriminated against Gjovik for

     23     Gjovik’s lawful conduct occurring during nonworking hours away from the employer's premises when

     24     that conduct involved the exercise of a right protected by the Labor Code or Constitution. Gjovik spoke

     25     about work conditions and the terms and conditions of her employment (including pay, complaints of

     26     discrimination and harassment, complaints about workplace safety, complaints about retaliation,

     27     complaints about employer surveillance and unlawful invasions of employee privacy, complaints about

     28
            68
              Cal. SB-497: Protected employee conduct. Section 1, Section 98.6(b)(1) [Signed October 8 2023; Effective
            January 1 2024].
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      1     criminal conduct by Apple executives, encouraging employees or organize and report illegal conduct to

      2     the government, and about her reports to the government about Apple).

      3            216.    Gjovik engaged in lawful conduct asserting “recognized constitutional rights” and “rights

      4     under the Labor Code” occurring during nonworking hours – while she was on leave, away from Apple’s

      5     premises. Apple retaliated against Gjovik and supposedly discharged Gjovik because of some of this

      6     protected conduct. While the reason was a pretext, Apple’s admission further implicates its animus and

      7     lawlessness. Apple put Gjovik on leave. Gjovik did not want to be on leave. Gjovik asked to come back,

      8     and Apple said no. Apple cannot then turn around and claim the “leave” was work time or the workplace.

      9     Apple told Gjovik she had been “removed from the workplace.” Until Apple let Gjovik return to work,

     10     Gjovik was off duty. Gjovik posting about work conditions in her personal time does not transform

     11     Gjovik’s personal time into work time.

     12            217.    Apple violated Cal. Labor Code Section 232 when it harassed, disciplined, discriminated

     13     against, and fired Gjovik due to Gjovik’s discussion of her wages and the wages of Apple employees.

     14     Gjovik participated in a pay survey with her coworkers in late July 2021, when she suggested the survey

     15     capture information on gender. She also shared her wages on social media and discussed pay with her

     16     coworkers on social media in August 2021.

     17            218.    Apple violated California Labor Code § 232.5 when disciplining and discharging Gjovik

     18     for disclosing information about Apple’s working conditions. Gjovik’s protected activities included filing

     19     complaints about work conditions and discussing work conditions with coworkers and the public, all

     20     covered under § 232.5. Apple discharged, disciplined, and discriminated against Gjovik due to her

     21     disclosure of information about Apple’s work conditions. This applies to both the true reason Apple fired

     22     Gjovik and Apple’s proffered supposedly legitimate reason for terminating Gjovik. Apple claims its

     23     NDAs prohibit Gjovik from speaking about work conditions and that if Gjovik does speak about work

     24     conditions, it violates her NDA, and that violation is grounds for immediate termination.

     25                                         TENTH CAUSE OF ACTION

     26                                      (Violation of Cal. Labor Code § 6310)

     27            219.    Plaintiff re-alleges and incorporates by reference each and every allegation set forth above,

     28     as though fully set forth in this Claim for Relief. Apple violated § 6310 via discrimination, suspension,
            discharge, or threat of discharge against Gjovik for Gjovik complaining about unsafe work conditions or

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      1     practices, instituting, or causing to be instituted proceedings related to her right to safe and healthful

      2     working conditions, testifying about workplace safety, and exercised her rights under the California OSH

      3     Act. Apple also took the above negative actions due to fear that Gjovik would engage, or engage further,

      4     in the activities above. Gjovik’s safety complaints and inquiries were a substantial motivation reason for

      5     Apple’s decision to discharge, discipline, and discriminate against Gjovik.

      6             220.    Gjovik filed a Retaliation claim with the California Department of Labor on August 29,

      7     2021, and Apple was notified of such before her termination. Gjovik complained of unsafe work

      8     conditions and internal violations of safety laws/rules/standards to Apple, the US EPA, CalEPA, and

      9     OSHA. Apple retaliated against Gjovik preemptively out of fear that Gjovik would file additional

     10     complaints related to health and safety at the workplace, hoping the retaliation would cause Gjovik to drop

     11     her existing complaint out of fear and intimidation and not file additional complaints. Apple swiftly

     12     retaliated against Gjovik due to Gjovik’s complaints about an unsafe workplace.

     13             221.    Apple discriminated against and discharged Gjovik because Gjovik complained about

     14     safety and health conditions or practices at the workplace to Apple managers and her coworkers. Apple

     15     discriminated against and discharged Gjovik because Gjovik reported work-related injuries and illnesses

     16     and requested information about work-related injury and illness reports or records. Apple knew about

     17     Gjovik’s complaints through conversations, emails, meeting notes, internal complaints, external

     18     complaints, public interviews, and social media posts. Gjovik complained about possible violations of and

     19     issues related to:

     20               a. Employee Exposure to Chemicals [Cal.Lab.C. §§ 6398, 6400-6405, 6408; 8 Cal. Code.Reg.

     21                    § 340.2; 29 CFR Z; OSH Act § 1910.1020]
                      b. COVID-19 Safety & Communication [Cal.Labor.C. §§ 6325; 6409.6, 6432]
     22
                      c. Wildfire Smoke Safety [Cal.C.Reg. Title 8, § 5141.1]
     23
                      d. Injury Reporting [8 Cal.C.Reg. § 14300]
     24
                      e. Retaliation for Complaining about e-Waste Violations. [Cal. Health/Safety]
     25               f. Right-to-Know Protection [Cal. Labor Code §6399.7]
     26               g. California Proposition 65 [Cal. Code of Reg. §5194(b)(6)]
     27               h. Federal Environmental Statutes [e.g., CERCLA, RCRA, CAA, CWA, SARA, NESHAP]
     28               i. OSH Act Workplace Violence [Cal.Lab.C. §§ 6401.7, 6401.9]



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      1            222.    Apple also terminated Gjovik due to Gjovik’s complaints and protests about injuries due

      2     to Apple’s fraudulent business practices. Apple also attempted to obtain a waiver of future claims from

      3     Gjovik through fraud.

      4                                       ELEVENTH CAUSE OF ACTION

      5                         (Wrongful Discharge in Violation of Public Policy - Tamney)

      6            223.    Plaintiff re-alleges and incorporates by reference each and every allegation set forth above,

      7     as though fully set forth in this Claim for Relief. Apple retaliated against Gjovik and discharged Gjovik’s

      8     employment for a variety of reasons that violated public policy. Among other unlawful reasons, Gjovik

      9     was terminated in violation of the “strong public interest” reflected in California Labor Code § 1102.5,

     10     “in encouraging employee reports of illegal activity in the workplace,” and the purpose of § 6310 to work

     11     in a safe and healthful workplace. Gjovik reported and testified about topics including employment

     12     discrimination, an unsafe workplace, refusing to sign a waiver of liability, improper business practices,

     13     discussing wages and equal pay with coworkers, and making political statements – all of which implicate

     14     public policy for the purpose of a Tamney claim.

     15            xix.    Part A. Data Collection for AI Development
     16            224.    Apple’s coercive and unlawful data collection of biometric, genetic, anatomical, and
     17     surveillance data is a gross and egregious violation of Cal. Labor Code section 435, section 1102.5 of the
     18     California Labor Code, section 17200 of the Business and Professions 2 Code, the CALIFORNIA PRIVACY
     19     RIGHTS ACT, US FTC Act, Article I Section 1 of the California Constitution, Section 637.7 of the
     20     California Penal Code, and INTERNATIONAL COVENANT ON CIVIL AND POLITICAL RIGHTS (OHCHR):
     21     Article VII on Free Consent.
     22            225.    Apple’s supposedly legitimate reason for terminating Gjovik, while false and pretextual, is
     23     an illegality itself. Apple claims it fired Gjovik for complaining about Apple surveillance of employees,
     24     including coercive data collection of biometrics and invasive 24/7 video recording. Apple discriminated
     25     against Gjovik (including terminating her employment) due to Gjovik’s actions related to the
     26     constitutional and statutory right to privacy, which are rights that benefit the public, are substantial and
     27     fundamental rights, and which were firmly established at the time of discharge. While this reason is
     28     pretextual and false, Apple’s decision to use it as their excuse for terminating Gjovik reveals Apple’s
            animus against California employees' privacy rights.

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      1               226.   Apple also intruded into Gjovik’s seclusion, physically and constructively invading

      2     Gjovik’s privacy [Cal. Civ. Code § 1708.8(a), (b), (d)], and Apple surveilled Gjovik and forced Gjovik to

      3     surveil others with the always-on video camera in her iPhone, including in bathrooms and locker rooms

      4     in violation of California Labor Code § 435.

      5               227.   Apple’s use of Gobbler on Gjovik’s phone also forced Gjovik to participate in Apple’s

      6     unlawful acts by facilitating Apple’s secret capture, storage, and processing of photos, videos, and

      7     biometric information of the public without their knowledge or consent. Apple’s termination of Gjovik

      8     also stated that if Apple were to warn people what was occurring on her phone, she would be fired.

      9     Therefore, Apple’s unfair business practices made consent from the public impossible. The public had a

     10     reasonable expectation of privacy for their highly sensitive biometrics.

     11               228.   Apple also violated Section 5 of the FTC Act in unlawfully coercing employees to provide

     12     personal and sensitive data for commercial product development, which was also engaging in unfair acts

     13     or practices that can harm consumers, cannot be avoided by consumers, and are unreasonable, and

     14     misleading statements to consumers.69 Employees can be consumers under the FTC Act as an employee

     15     of Apple who goes out and buys an iPhone is an Apple customer who now owns an Apple product with

     16     consumer protection laws protecting them.

     17               xx.    Part B. Reporting Crime
     18               229.   Apple discriminated against Gjovik (including terminating her employment) due to
     19     Gjovik’s actions related to her constitutional or statutory rights to report suspected crimes to law
     20     enforcement and to district attorneys, which is a right that benefits the public, is a substantial and
     21     fundamental right, and which was firmly established at the time of discharge. Apple retaliated against
     22     Gjovik because Apple knew, and Apple suspected, that Gjovik had reported suspected criminal activity
     23     by Apple to law enforcement, district attorneys, and Apple. Witness Retaliation statutes forbid retaliation
     24     (including termination) against witnesses for providing testimony and cooperating in investigations, and
     25     it is captured in state and federal statutes, which include criminal penalties. Thus, this Tamney claim for
     26     retaliation due to reporting criminal conduct implicates public policy.
     27
     28

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                 US FTC, FTC Act Section 5: Unfair or Deceptive Acts or Practices, Consumer Compliance Handbook
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      1            xxi.    Part C. Employment Discrimination & Retaliation

      2            230.    Gjovik reported and testified about topics including complaints about sex/gender and

      3     disability discrimination, which are “fundamental” rights for the purpose of a Tamney claim. Gjovik filed

      4     DFEH and EEOC claims on August 12, 2021, and proceeded to testify and provide evidence, requesting

      5     a Right to Sue letter, which she was granted on September 9, 2021, just hours before Apple fired her.

      6     Apple retaliated against Gjovik for opposing Apple’s discriminatory practices. Gjovik also reported to

      7     NLRB and the US Department of Justice Civil Rights before her termination. Apple discriminated against

      8     Gjovik (including terminating her employment) due to Gjovik’s actions related to a constitutional and

      9     statutory right to be protected from discrimination due to her sex and due to her disabilities, which is a

     10     right that benefits the public, is a substantial and fundamental right, and which was firmly established at

     11     the time of discharge.

     12            231.    Part D. Environmental & Health/Safety: Apple discriminated against and disciplined

     13     Gjovik because Gjovik reported and testified about workers’ health and safety laws, public health, and

     14     safety laws. Gjovik reported CERCLA violations to Apple, the US EPA, and other agencies where Apple’s

     15     misconduct resulted in several vectors of hazardous waste vapor exposure at Stewart 1.

     16            xxii.   Part E. Victim/Witness Discrimination
     17            232.    Apple discriminated against Gjovik (including terminating her employment) due to
     18     Gjovik’s actions related to a constitutional and statutory right to be protected from crime and seek justice
     19     for injury caused by crime, which is a right that benefits the public, is a substantial and fundamental right,
     20     and which was firmly established at the time of discharge [Cal. Lab. Code § 230(e)]. Further, Apple’s also
     21     violated Cal. Gov. Code § 9414 (a misdemeanor public offense) by harassing and retaliating against
     22     Gjovik, by attempting to prevent and dissuade Gjovik’s testimony for a proceeding, and by depriving,
     23     threatening, and attempting to deprive or requesting Gjovik not be employed due to Gjovik being a witness
     24     for a committee, and giving testimony to a committee as a witness or victim.
     25            233.    Apple knew Gjovik was talking to legislatures about what occurred to her next to ARIA,
     26     and Apple knew that it was Apple who was responsible for Gjovik’s harm, despite Gjovik not knowing
     27     that fact yet. Apple knew Gjovik may testify at legislative committees about the air pollution caused by
     28     Apple. Apple undertook an effort to ensure Gjovik did not testify and to harass Gjovik because Gjovik
            may testify to a committee. Apple also knew Gjovik was talking to politicians about its retaliation against

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      1     Gjovik after her termination, including a State Senator, a US Representative, and a US Senator. Suppose

      2     an employer has reason to think the employee plans to be a witness for an agency or committee. In that

      3     case, that is enough to protect the employee’s related conduct from retaliation.

      4                                          TWELFTH CAUSE OF ACTION

      5               (Breach of Implied Contract & Breach of Covenant of Good Faith and Fair Dealing)

      6               234.    Plaintiff re-alleges and incorporates by reference each and every allegation set forth above,

      7     as though fully set forth in this Claim for Relief. 70 Gjovik and Apple entered into an employment

      8     relationship in 2015 with a signed, written contract. Gjovik substantially performed, or tendered

      9     performance, for her job duties. All conditions required for Apple’s performance had occurred. Gjovik

     10     was no longer an at-will employee and could only be fired by Apple for cause, as Gjovik had a reasonable

     11     belief, due to Apple’s words or conduct, that she would only be discharged for good cause. Gjovik worked

     12     at Apple for over six years, received positive performance reviews, bonuses, salary increases, and RSU

     13     stock grants, and was recently promoted. Apple’s policies are implied contracts and reflect a progressive

     14     discipline process.

     15               235.    Further, she was frequently reassured of her continued employment. For instance,

     16     in her 2017 annual review, West told Gjovik he “appreciates her willingness to speak truth to authority”

     17     and told her to “keep doing this, and good things will continue to follow.” This was a promise to Gjovik

     18     that if she reported unethical and unlawful conduct and held leaders to account, she would have continued

     19     employment at Apple. Apple intentionally breached its contract with Gjovik, and Gjovik was damaged

     20     due to Apple’s breach. Further, in violation of the covenant of good faith and fair dealing, Apple

     21     deliberately undermined Gjovik’s ability to fulfill her contractual obligations, frustrating her ability to

     22     benefit from the agreement. Because Gjovik could only be fired for cause due to an implied contract

     23     making her no longer an at-will employee, Apple had a duty to execute the contract's purposes in good

     24     faith and could only fire Gjovik in good faith and based on a fair and honest reason.

     25               236.    Apple terminated Gjovik in bad faith, and the decision to terminate Gjovik was trivial,

     26     arbitrary, inconsistent with usual practices, and unrelated to business goals (know was described as

     27     ‘irreplaceable’ and a ‘key performer’). Apple fired Gjovik for dishonest reasons (lying about Gjovik’s

     28     interactions with the interrogator and concocting a post-hoc rationalization a week later).

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                 The SAC Breach of Contract/Covenant claims were previously nested under the Tamney claim.
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      1            237.    In addition, Apple also breached the employment contract and covenant by intentionally

      2     terminating Gjovik right shortly after her annual performance review was due, which would be

      3     accompanied by a performance bonus that she had already earned through her successful performance in

      4     2020-2021 (end of the fiscal was June 30, 2021). Further and more maliciously, Apple also intentionally

      5     intended to run out the statute of limitations for her claims before her termination, as they almost did for

      6     the 30-day CERCLA and the OSH Act. Apple did not act reasonably and in good faith; instead, it acted

      7     in bad faith to prevent Gjovik from enjoying the benefits of her employment contract, thus causing Gjovik

      8     damage.

      9                                        THIRTEENTH CAUSE OF ACTION

     10                                     (Intentional Infliction of Emotional Distress)

     11            238.    Plaintiff re-alleges and incorporates by reference each and every allegation set forth above,

     12     as though fully set forth in this Claim for Relief. Apple’s conduct was despicable, base, vile, and

     13     contemptible, and subjected Gjovik to cruel and unjust hardship – it was carried out with a willful and

     14     conscious disregard for Gjovik’s rights and safety. Apple could have acted with some decency and reserve.

     15     Still, instead, Apple bugged Gjovik’s objects and home, sent her possessions to her in a box with broken

     16     glass and threatened it could contain a severed head, sued her for reporting criminal conduct, reported her

     17     to law enforcement, repeatedly threatened to “ruin” and “destroy” her, and even sent her emails pretending

     18     to be government employees threatening her to stop speaking about Apple’s chemical leaks. Through all

     19     this, Apple went out of its way to act like deranged maniacs whose conduct exceeded all bounds of decency

     20     usually tolerated by society.

     21            239.    Part A. Intentional Acts – Retaliation, Interrogation, & Termination (Cal.): Apple

     22     abused its position of power over Gjovik and exploited that power differential in its campaign of terror

     23     against Gjovik. Apple has extreme power and control over Gjovik and its other employees as one of the

     24     world's largest and most influential companies. Apple retaliated against an employee for reporting safety

     25     concerns by opening a sham investigation and coercing coworkers to falsely accuse the whistleblower of

     26     unlawful conduct, including harassment and falsifying documents, all for the sole purpose of retaliating

     27     against the employee, is sufficient to constitute extreme and outrageous behavior, and maliciously

     28     interrogating the employee.



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      1            240.    Apple’s conduct was not mere insults, indignities, threats, annoyances, petty oppressions,

      2     or other trivialities. Apple’s misconduct towards Gjovik was/is extreme, outrageous, persistent, and

      3     omnipresent. Apple’s conduct left Gjovik fearing for her safety, her dog's safety, the integrity of her

      4     electronics and utilities, and the safety of her chattels – that Gjovik was confined to her home. Gjovik was

      5     and is under a justified belief that leaving her house or even failing to secure entry to her home properly

      6     would place her in danger, and she could be killed. Gjovik was and is under a justified belief that leaving

      7     her dog at home unattended could result in harm to her dog and that Apple could kill him.71 Apple’s many

      8     criminal acts were “outrageous per se,” including witness intimidation, witness retaliation, burglary,

      9     extortion, threats, and surveillance.

     10            241.    Part B. Intentional Acts – Gobbler (Cal. & NY): Apple’s supposed (but pretextual)

     11     reason for firing Gjovik was two topics Gjovik had spoken about because Gjovik was so distressed by

     12     Apple’s original conduct, but then Apple claimed Gjovik’s outcry was an offense worthy of immediate

     13     termination, despite Apple’s original conduct (the Face “Gobbler” app and the ear canal scans).

     14            242.    Gjovik protested “Gobbler” for, among other reasons, it was taking photos of her while

     15     undressed and using the bathroom and engaged in sexual activity. Gjovik complained of misconduct, and

     16     Apple then implicitly threatened to sue Gjovik if she were to protest the misconduct again. Apple blamed

     17     its highly unlawful retaliation against Gjovik on Gjovik’s outcry about the prior unlawful conduct and her

     18     associated trauma. Apple traumatized Gjovik by continuing to insist they fired her over Gobbler and that

     19     the Gobbler photos were secret, retraumatizing Gjovik about the photos Apple took of her in the bathroom,

     20     all while Gjovik lived in New York.

     21            243.    Part C. Intentional Acts & Fear of Cancer (Cal.): Apple’s malicious, fraudulent,

     22     oppressive, and extreme/outrageous misconduct was directed primarily at Gjovik, and it was calculated to

     23     cause Gjovik severe emotional distress, and it was done with the knowledge of Gjovik’s presence and

     24     with a substantial certainty that Gjovik would suffer severe emotional injury. Apple deliberately vented

     25     deadly substances on Gjovik and then deliberately made false statements to conceal their actions, all of

     26     which could be considered criminal actions.

     27
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            71
              ICAN, Stalking, “Though dogs provide a valuable service as a security agent for our homes, please be advised
            that a stalker may harm your animals. If you have a dog, make sure that you keep it indoors when you are not
            home and that you have a secure environment for it when you are home.”
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      1             244.   Apple’s conduct caused Gjovik to suffer severe emotional distress when Apple exposed

      2     Gjovik to carcinogenic chemicals. Apple’s conduct with the carcinogen chemicals was outrageous.

      3     Apple’s intentional, reckless, and negligent conduct exposed Gjovik to carcinogens, including TCE,

      4     Toluene, Arsine, and Vinyl Chloride. Apple intended to cause Gjovik distress and acted with reckless

      5     disregard for the probability that Gjovik would suffer emotional distress knowing she was present where

      6     there were carcinogenic chemicals. Gjovik suffered severe emotional distress from a reasonable fear of

      7     developing cancer, and Apple’s conduct was a substantial factor in Gjovik’s severe emotional distress.

      8             245.   As a proximate result of the acts of the defendant, Gjovik suffered severe emotional

      9     distress, including the fear of developing cancer and an increased risk of developing cancer. Gjovik also

     10     suffered a wide array of physical symptoms attributed to the toxic chemicals at Stewart 1 and ARIA,

     11     including spasms, nausea, hair loss, rashes, hives, burns, heart failure symptoms, asphyxia, dizziness,

     12     headache, seizures, arrhythmia, etc. Further, the fear and horror of personally being exposed to a cloud of

     13     poison gas or knowing that family members have been exposed are absolute emotional trauma in its purest

     14     form.

     15             246.   Part C. Intentional Acts, Carcinogens, and Concealment (NY): Apple continued

     16     harassing and tormenting Gjovik despite and because of it prior to knowingly subjecting Gjovik to

     17     exposure to a highly toxic substance while purposefully concealing from Gjovik the serious injuries that

     18     might result from such exposure, and in reckless disregard of these risks. Gjovik learned about the 3250

     19     Scott exposure while living in New York.

     20             247.   Part D. Intentional Acts – Lawsuit (CA & NY): Apple’s retaliatory litigation filed

     21     against Gjovik (filed in 2022 with Gjovik in California and not dismissed until 2022-2023 while Gjovik

     22     was in NY) was admittedly due to Gjovik’s complaints about witness intimidation and harassment by

     23     Apple, including by Appleseed. The point of the lawsuit and request for the gag order was to prohibit

     24     Gjovik from speaking out about the trauma she was experiencing with the threat of incarceration if she

     25     were even to complain privately. Apple’s actions were so outrageous in character and extreme in degree

     26     as to go beyond all possible bounds of decency and be regarded as atrocious and utterly intolerable in a

     27     civilized community.

     28             248.   Injuries: When Gjovik explains to people what Apple has done to her when she shows
            them Apple’s communications and exposure records and shows them the evidence she gathered of their

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      1     physical intrusions and harassment, the default response is not simply to shake their heads with

      2     disappointment. No, it is to exclaim something such as “Outrageous!!” Further, these actions have caused

      3     fear in those around Gjovik and in Gjovik herself. Gjovik has lost many friends through this – and she

      4     cannot blame them as Apple’s menacing is smoke from the fire of actionable threats of violence and

      5     mayhem. Apple’s tortious conduct evinced an indifference to or a reckless disregard for the health and

      6     safety of others; Gjovik had financial and medical vulnerability; the conduct involved repeated, systemic

      7     actions and schemes; and the harm to Gjovik was the result of Apple’s intentional malice, trickery, and

      8     deceit.

      9               249.   Apple’s conduct, of course, left Gjovik with “discomfort, worry, anxiety, upset stomach,

     10     concern, and agitation.” However, as a direct and proximate result of Apple’s conduct, Gjovik also

     11     experienced overwhelming anguish, illness, “shock, horror, nausea, fright, grief, shame, humiliation,

     12     embarrassment, anger, chagrin, disappointment.” Apple’s conduct resulted in Post-Traumatic Stress

     13     Disorder and anxiety symptoms. Gjovik suffered depersonalization and derealization.

     14               250.   As documented in legal filings, emails, doctor appointments, and therapy sessions

     15     throughout these two years – Gjovik has suffered severe insomnia, nausea from stress to the point of

     16     vomiting, extreme depression requiring anti-depressants due to suicidal ideation, and crying

     17     uncontrollably for hours every day. Gjovik suffers from paralyzing anxiety, and it has been difficult even

     18     to get up and walk around, with Gjovik generally spending all day in some form of the ‘fetal position.’

     19     Gjovik has alternated between overeating and undereating but overall gained over sixty pounds in 2020-

     20     2022.

     21               251.   After Apple’s injuries to Gjovik due to chemical exposure in 2020, Gjovik experienced

     22     many new medical issues (e.g., diagnosed hypertension, hypotension, depression, rashes, growths, labile

     23     blood pressure, etc.), some of which still have not fully healed (e.g., scarred, and damaged skin, hair loss,

     24     worsened asthma, and breathing troubles, etc.). This all occurred during Gjovik’s 2L and 3L years of law

     25     school, causing her to suffer academically. Gjovik now also faces a significantly increased risk of

     26     contracting cancer and other disease in her lifetime. Further, after Apple’s psychological and emotional

     27     injuries to Gjovik in 2020-2024, Gjovik now suffers from dramatically worsened anxiety, PTSD, and

     28     concentration issues – as well as new depression, insomnia, panic attacks, weight gain, suicidal ideation,
            post-traumatic stress, disordered eating, loneliness, grief, crying fits, and moral injury.

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      1                                        FOURTEENTH CAUSE OF ACTION

      2                               (Negligent Infliction of Emotional Distress / Negligence)

      3               252.    Plaintiff re-alleges and incorporates by reference each and every allegation set forth above,

      4     as though fully set forth in this Claim for Relief. Defendants had a duty to their consumers to exercise a

      5     degree of care a reasonable person in the like position would exercise, and Defendants failed to do so. The

      6     plaintiff incorporates and restates the 13th Cause of Action for IIED.

      7                                         FIFTEENTH CAUSE OF ACTION

      8                                (Violation of Cal. Bus. & Prof. Code § 17200, et seq)72

      9               253.    Plaintiff re-alleges and incorporates by reference each and every allegation set forth above,

     10     as though fully set forth in this Claim for Relief. California’s Unfair Competition Law (“UCL”), Cal. Bus.

     11     & Prof. Code § 17200, et seq., prohibits any unlawful, unfair, or fraudulent business act or practice,

     12     including but not limited to any act or practice that constitutes deception, fraud, misrepresentation, or the

     13     concealment, suppression, or omission of a material fact in a consumer transaction, or that is likely to

     14     deceive the consuming public. Apple has engaged in business acts or practices that were unlawful, unfair,

     15     deceptive, or misleading, and therefore violated Business and Professions Code section 17200. Gjovik

     16     suffered an economic injury due to Apple’s Unfair Business Practices.

     17               254.    Defendant knew or should have known that its wrongful acts and omissions alleged herein

     18     were likely to deceive the consuming public in California. The rest of the United States and Defendant

     19     committed those acts and omissions anyway for their financial gain, including improving their financial

     20     condition, increasing the likelihood of receiving new capital from investors, increasing their revenue and

     21     profits, and increasing the company's value.

     22               xxiii. Part A. – Unfair and Unethical Use of Employee Biometric Data Collection for
     23                      Commercial Profit (“The Face Gobbler”)
                      255.    Apple is unlawfully coercing employees to provide personal data, including biometrics,
     24
            which Apple can use for research and development, including training machine learning models, without
     25
            actual consent or compensation, and in violation of federal competition laws and state and federal data
     26
            protection laws.      Apple exploited Gjovik’s identity without Gjovik’s consent and for commercial
     27
            purposes, violating California’s common law Right of Publicity. Apple’s unauthorized use and
     28

            72
                 The SAC § 17200 claims were previously nested under § 6310 and Tamney claims.
                                                                  70
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      1     appropriation of Gjovik’s identity, likeness, and private information were for Apple’s commercial

      2     advantage, and Gjovik suffered injury because of it. Apple exploited Gjovik’s image and biometric

      3     identifiers for profit and then fired her when she complained, claiming they could fire employees without

      4     notice for protesting these unfair business practices.

      5            256.    Further, the way Gobbler works, employees are then also taking videos and gathering the

      6     biometrics of anyone around their iPhones, and per Apple’s termination of Gjovik, Apple’s policy is that

      7     employees would be fired if they tried to warn consumers and others around them that Apple was capturing

      8     videos of them and their biometrics for product development. Apple’s declaration that it can terminate

      9     employees for protesting these invasions and warning the public is “sufficiently serious in [its] nature,

     10     scope, and actual or potential impact to constitute an egregious breach of the social norms underlying

     11     the privacy right.” One must assume Apple also has hundreds of thousands (or even millions) of non-

     12     consensual biometrics and face-prints of non-employees – including children – that are used to train

     13     Apple’s machine learning models. These photos/videos most certainly include nudity, sexual acts, and use

     14     of toilets– along with biometric information.

     15            257.    Apple tells consumers it would never do what it is doing with Gobbler. Apple told

     16     employees nothing until after the employees signed the ICFs and NDAs for the program, and Apple told

     17     employees they could not tell anyone what the program would now be doing on their iPhones. Apple was

     18     aware Gobbler was not a market-ready product (nor was it intended to be) and that the data collection

     19     performed by Gobbler was not legitimate data collection for commercial research and development, yet

     20     Apple used the app anyway while continuing to promise customers that Apple would never collect their

     21     data and biometrics.

     22            xxiv. Part B. – Unfair and Unethical Use of Employees for Medical and Invasive User
     23                  Studies to Gather Data for Product Development

     24            258.    Gjovik’s opposition and complaints about Apple’s coercion of employees into unpaid labor

     25     through aggressive dogfooding (testing internal software/products as if it were a normal personal device)

     26     and Apple’s weird anatomical and medical experiments on employees were protected conduct. Apple

     27     knew it, but Apple fired her anyway and claimed it was because she protested Apple’s incessant request

     28     to scan her ear canals. Apple’s Whistleblowing Policy acknowledges that reports of “anti-competitive



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      1     conduct” and “attempts to cover up any of these behaviors” are whistleblower disclosures. Apple should

      2     obtain ethical and legal data for product development instead of treating its workforce like lab rats.

      3            xxv.    Part C. – Unfair and Unethical Use of Company Medical Doctors
      4            259.    At some point before 2018, Apple launched primary care clinics for employees called AC
      5     Wellness Network LLC. Apple now runs its primary-care medical service for employees with Apple-
      6     employed doctors at its clinics. In 2020, Gjovik’s Apple “AC Wellness” doctor was dismissive of Gjovik’s
      7     medical issues due to the solvent exposure and even tried to blame Gjovik’s injuries on “anxiety.” Gjovik
      8     had to pay a ‘co-pay’ when she visited “AC Wellness,” which she did several times in 2020, as Apple
      9     profited from her user study data while failing to treat her injuries caused by Apple. It is illegal for a
     10     physician or medical facility to bill a worker if they know the injury may be work-related. [California
     11     Labor Code section 3751(b)] Similarly, Apple was grossly abusing the ADA process for non-ADA issues
     12     to obtain personal information about the employees. Requiring an employee “to disclose medications that
     13     he or she is currently taking” or to authorize the employer “to acquire information concerning the internal
     14     state of the tested individual's body” intrudes upon privacy interests protected by the state Constitution.
     15     Apple should be enjoined from continuing these practices.
     16            260.    Parts A-C – Disgorgement: Injunction and disgorgement are appropriate here, and the
     17     court has broad powers to issue injunctive relief under California Business and Professions Code §§
     18     17200, including the power to order restitution and disgorgement. Apple coerces employees and tricks
     19     consumers into allowing Apple to extract their data and exploit it in the research and development of
     20     commercial, for-profit products, without consent, in violation of the FTC Act and § 17200. As a result of
     21     Apple’s unfair business practices, Apple has reaped unfair benefits and illegal profits at the expense of
     22     Gjovik, her co-workers, and the public. Apple should be required to restore these monies to Gjovik, her
     23     former co-workers, and the public. However, Apple’s extensive use of these illegal practices will make
     24     calculating damages a challenge. Without injunctive equitable relief, Gjovik and her prior coworkers will
     25     suffer irreparable injury, which damage remedies cannot readily remedy. Apple should be ordered to
     26     disgorge unlawful data and the fruit of the poisoned data.
     27            261.    Gjovik requests an order that prohibits Apple from using personal employee data in for-
     28     profit product development, including medical experiments, anatomical measurements, and imaging,
            gathering employee biometrics, any use of the Face “Gobbler” application, and other conduct violating

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      1     their rights of privacy. Gjovik also requests in injunctive relief of an order for disgorgement of the

      2     unlawfully and unethically obtained data, at the very least of Gjovik’s data, including any products

      3     developed using Gjovik’s personal data, including Gobbler images.

      4                                           VI.    PRAYER FOR RELIEF
      5
            WHEREFORE, Gjovik prays that this court enter judgment in her favor on each and every claim for relief
      6
            set forth above and award its relief, including but not limited to an Order:
      7
              a.      Enter judgment in her favor and award damages in an amount to be determined at trial.
      8
              b.      Double (Dodd-Frank) and Treble (RICO, Bane, Ralph) damages.
      9
              c.      “Make whole relief” with compensatory damages, including lost wages (back pay, lost benefits,
     10
                      lost bonuses and pay raises, lost stock grants and vesting, etc.). This should include a refund of
     11               Gjovik’s use of Vacation and Sick days in response to Apple’s misconduct and negligence,
     12               payment of those days, and removing negative records from her personnel file.
     13       d.      At least ten years of front-pay (up to retirement age) or a reinstatement of employment at a prior

     14               or higher level, with reestablishment of benefits and seniority.
              e.      Consequential, expectation, reliance, and ‘benefit of the bargain’ damages.
     15
              f.      A civil penalty of $25,000 per violation under each Bane Act and Ralph Act. (If this request
     16
                      prevents other damages, this request may be waived).
     17
              g.      A civil penalty of $10,000 per employee for each violation of Cal. Labor Code § 98.6. (If this
     18
                      request prevents other damages, this request may be waived).
     19       h.      Compensatory damages for pecuniary harm, including lost future wages, lower earning
     20               capacity, past and future medical expenses, counseling, medication, physical and digital
     21               security expenses, reputation management expenses, mental/emotional injury (PTSD, anxiety,

     22               depression, insomnia, disordered eating); property damage, degradation, and conversion; and
                      moving costs to relocate.
     23
              i.      Compensatory and special damages for non-pecuniary harm, including emotional distress,
     24
                      humiliation, loss of enjoyment, loss of consortium, annoyance, discomfort, inconvenience,
     25
                      disfigurement, pain and suffering, mental anguish, and reputational harm. Gjovik now suffers
     26               from permanent psychological trauma and damage because of Gjovik’s actions. Gjovik is
     27               entitled to compensation for any special damages she suffered resulting from Apple’s
     28               outrageous and defamatory acts.
              j.      Punitive/Exemplary damages to be determined at trial.

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      1       k.      Medical Monitoring coverage for Gjovik, including any needed medical intervention.

      2       l.      Pre-judgment and post-judgment interest.
              m.      Offset for tax bracket increase due to lump sum payment.
      3
              n.      Declaratory relief stating Gjovik is a Crime Victim under federal and state law.
      4
              o.      Order injunctive relief as noted under the Fifteen Cause of Action (17200).
      5
              p.      Declaratory relief that Apple’s ‘user study’ secrecy oaths are unlawful. This would allow Gjovik
      6               and her coworkers to speak freely about their experiences and seek treatment and counseling
      7               for the harm inflicted by the experiments.
      8       q.      Where no damages or other relief are available, entry of declaratory relief and nominal damages
      9               of $1.00 (or $3.00 where treble damages apply).

     10       r.      Court /litigation costs, expert witness fees, pro se attorney’s fees, and other reasonable expenses.
              s.      Such other and further relief as the Court deems just and proper.
     11
     12
     13     Plaintiff hereby demands a trial by jury on all issues so triable.
     14
     15                                                    Respectfully submitted,

     16
     17
                                                           By___________________________
     18
                                                             Ashley M. Gjovik
     19                                                      Pro Se Complainant
     20                                                       Signed: February 27 2024
     21
     22
     23
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     25
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     28



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      1     VII.   CERTIFICATION AND CLOSING
      2
                   448. Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
      3
            knowledge, information, and belief that this complaint is not being presented for an improper purpose,
      4
            such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation; is supported by
      5
      6     existing law or by a nonfrivolous argument for extending, modifying, or reversing existing law; the factual

      7     contentions have evidentiary support or, if specifically so identified, will likely have evidentiary support
      8     after a reasonable opportunity for further investigation or discovery; and the complaint otherwise complies
      9
            with the requirements of Rule 11. I agree to provide the Clerk's Office with any changes to my address
     10
            where case-related papers may be served.
     11
                   450. I declare under penalty of perjury under the laws of the United States of America that the
     12
     13     foregoing is true and correct.

     14
     15
                   Executed on                    FEBRUARY 27, 2024
     16
     17
     18
     19            Signature of Plaintiff         _________________________________

     20            Printed Name of Plaintiff      Ashley M. Gjovik
     21            Address: 2108 N St. Ste. 4553, Sacramento, CA 95816
     22
                   Email: legal@ashleygjovik.com
     23
                   Phone: (408) 883-4428
     24
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     28



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                   legal@ashleygjovik.com
              4
              5                        UNITED STATES DISTRICT COURT
              6                        NORTHERN DISTRICT OF CALIFORNIA
              7                                         Case No. 3:23-cv-04597-EMC
              8                                         Filed: September 7 2023
              9                                         District Judge: Honorable Edward Chen
             10                                         SECOND AMENDED COMPLAINT
                   ASHLEY GJOVIK, an individual,        WITH EXHIBITS
             11
                                Plaintiff,              PLAINTIFF’S CLAIMS
             12
                                v.                      1. Sarbanes-Oxley Act Whistleblower,
             13                                             18 U.S.C. §1514A
             14                                         2. Dodd-Frank Act Whistleblower,
                   APPLE INC, a corporation,                15 U.S.C. §78u-6(h)(1)(A)(iii)
             15                 Defendant.              3. Bane Civil Rights Act,
                                                            Cal. Civ Code § 52.1
             16
                                                        4. Ralph Civil Rights Act,
             17                                             Cal. Civ Code § 51.7
                                                        5. Racketeer Influenced & Corrupt
             18                                             Organizations Act,
                                                            18 U.S.C. §§ 1962(a), (c), (d)
             19
                                                        6. Ultrahazardous Activities
             20                                         7. Whistleblower Protection Act,
                                                            Cal. Labor Code § 1102.5
             21
                                                        8. Retaliation for Filing Complaints,
             22                                             Cal. Labor Code § 98.6
                                                        9. Retaliation for Safety Activities,
             23                                             Cal. Labor Code §§ 6310
             24                                         10. Termination in Violation of Public Policy
             25                                         11. Private Nuisance; Per Se Nuisance
                                                            Cal. Civil Code § 3479
             26                                         12. Intentional & Negligent Infliction of
                                                            Emotional Distress
             27
             28
                                               DEMAND FOR JURY TRIAL
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              6                        NORTHERN DISTRICT OF CALIFORNIA
              7                                         Case No. 3:23-cv-04597-CRB
              8                                         Filed: September 7 2023
              9                                         District Judge: Honorable Charles R. Breyer
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             13                                             18 U.S.C. §1514A
             14                                         2. Dodd-Frank Act Whistleblower,
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                                       UNITED STATES DISTRICT COURT
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              7
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             12                 Plaintiff,                 18 U.S.C. §1514A

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                                 UNITED STATES COURT OF APPEALS                         FILED
                                        FOR THE NINTH CIRCUIT                           OCT 25 2024
                                                                                   MOLLY C. DWYER, CLERK
                                                                                     U.S. COURT OF APPEALS
             ASHLEY M. GJOVIK,                               No. 24-6058
                                                             D.C. No.
                          Plaintiff - Appellant,             3:23-cv-04597-EMC
                                                             Northern District of California,
              v.                                             San Francisco
             APPLE INC.,                                     ORDER

                          Defendant - Appellee.

             Before: W. FLETCHER, BERZON, and RAWLINSON, Circuit Judges.

                   A review of the record demonstrates that this court lacks jurisdiction over

             this appeal because the order challenged in the appeal is not final or appealable.

             See 28 U.S.C. § 1291; Fed. R. Civ. P. 54(b); Chacon v. Babcock, 640 F.2d 221,

             222 (9th Cir. 1981) (order disposing of fewer than all claims against all parties not

             immediately appealable unless district court directs entry of judgment pursuant to

             Fed. R. Civ. P. 54(b)); see also WMX Techs., Inc. v. Miller, 104 F.3d 1133, 1136

             (9th Cir. 1997) (en banc) (dismissal of complaint with leave to amend is not

             appealable). Consequently, this appeal is dismissed for lack of jurisdiction.

                   All pending motions are denied as moot.

                   DISMISSED.




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             In Propria Persona
             2108 N St. Ste. 4553
             Sacramento, CA, 95816
             (408) 883-4428
             legal@ashleygjovik.c om




                        United States Court of Appeals
                                             9th Circuit




             ASHLEY GJOVIK, an individual,                Case No. 3:23 -CV-04597-EMC; 24-6058

                   Plaintiff,

                                                          MOTION TO RECONSIDER

                 vs.                                      Dismissal: Oct. 25 2024

                                                          Motion Filed: Oct. 25 2024

             APPLE INC, a corporation,

                   Defendant.




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             Motion Requesting Reconsideration of D ismissal

                    Appellant is respec tfully requesting reconsideration of the immediate
             dismissal of Case no. 24-6058. Appellant paid six hundred and five dollars in
             exchange for an oppor tunity to be heard by the U.S. Court of Appeals, and has not
             been allowed to file a brief, or a respond to the motion to dismiss, prior to her case
             being closed. Appellant should have an opportunity to be heard, please.
                    Appellant/plaintiff strongly believes there is jurisdiction under multiple
             theories including the denial of an injunction that is effectively unreviewable
             later; a true collateral order related to discovery procedure ; dismissal with
             prejudice of core p arts of the lawsuit based on purely discretionary reasons and
             which create a death knell, and a repeated and ongoing errors of dismissing claims
             due to discretionary reasons unrelated to the merit and in violation of FRCP.
                    I ask to please be allowed to file my opening brief, or file a response to the
             motion, in order to be heard a s to why I think there’s jurisdiction and why this
             case is a unique and important opportunity for the court to weigh in on significant,
             novel, undecided legal questions .
                     If still uncertain, I ask the court to please read the Motion to Stay I filed
             to the district court (copy filed to this docket too), which includes an overview of
             the reasons I believe there’s jurisdiction and that its imperative that this matter
             be heard now and not later.


             Thank you,




                   /s/ Ashley M. Gjovik
                   Pro Se Plaintiff

                   Email: legal@ashleygjovik.com
                   Physical Address : Boston, Massachusetts
                   Mailing Address: 2108 N St. Ste. 4553 Sacramento, CA, 95816
                   Phone: (408) 883-4428



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   Clerk of Court                                                                        OCT 4 2024
                                                                                     MOLLY C. DWYER, CLERK
                                                                                      U.S. COURT OF APPEALS

                                              DOCKETING NOTICE


          Docket Number:           24-6058
          Originating Case Number: 3:23-cv-04597-EMC
          Short Title:             Gjovik v. Apple Inc.

         Dear Appellant/Counsel


         A copy of your notice of appeal/petition has been received in the Clerk's office of the
         United States Court of Appeals for the Ninth Circuit. The U.S. Court of Appeals docket
         number shown above has been assigned to this case. You must indicate this Court of
         Appeals docket number whenever you communicate with this court regarding this case.
         Motions filed along with the notice of appeal in the district court are not automatically
         transferred to this court for filing. Any motions seeking relief from this court must be
         separately filed in this court's docket.
         Please furnish this docket number immediately to the court reporter if you place an order,
         or have placed an order, for portions of the trial transcripts. The court reporter will need
         this docket number when communicating with this court.
         Failure of the appellant to comply with the time schedule order may result in
         dismissal of the appeal.
         Please read the enclosed materials carefully.




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   Molly C. Dwyer
   Clerk of Court



                                        TIME SCHEDULE ORDER


           Docket Number:           24-6058
           Originating Case Number: 3:23-cv-04597-EMC
           Case Title:              Gjovik v. Apple Inc.



           Wednesday, November 13, 2024
           Ashley M. Gjovik                                      Appeal Opening Brief (No
                                                                 Transcript Due)

           Friday, December 13, 2024
           Apple Inc.                                            Appeal Answering Brief (No
                                                                 Transcript Due)


          If there were reported hearings, the parties shall designate and, if necessary, cross-
          designate the transcripts pursuant to 9th Cir. R. 10-3. If there were no reported hearings,
          the transcript deadlines do not apply.
          The optional reply may be filed within 21 days of service of the answering brief. See
          Fed. R. App. P. 31 and 9th Cir. R. 31-2.1.
          Failure of the appellant to comply with the time schedule order may result in
          automatic dismissal of the appeal. See 9th Cir. R. 42-1.




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    Clerk of Court                                                                         MAR 27 2025
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                                                                                         U.S. COURT OF APPEALS

                                           DOCKETING NOTICE


           Docket Number:           25-2028
           Originating Case Number: 3:23-cv-04597-EMC
           Short Title:             Gjovik v. Apple Inc.

          Dear Appellant/Counsel
          A copy of your notice of appeal/petition has been received in the Clerk's office of the
          United States Court of Appeals for the Ninth Circuit. The U.S. Court of Appeals docket
          number shown above has been assigned to this case. You must indicate this Court of
          Appeals docket number whenever you communicate with this court regarding this case.
          Motions filed along with the notice of appeal in the district court are not automatically
          transferred to this court for filing. Any motions seeking relief from this court must be
          separately filed in this court's docket.
          Please furnish this docket number immediately to the court reporter if you place an order,
          or have placed an order, for portions of the trial transcripts. The court reporter will need
          this docket number when communicating with this court.
          You must file a Disclosure Statement (Form 34) within 14 days of this notice if your
          case: (1) involves a non-governmental corporation, association, joint venture, partnership,
          limited liability company, or similar entity; (2) is a bankruptcy case; (3) is a criminal case
          involving an organizational victim; or (4) involves review of state court proceedings. See
          Ninth Circuit Rule 26-1.1.

          Failure of the appellant to comply with the time schedule order may result in
          dismissal of the appeal.
          Please read the enclosed materials carefully.




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                                        TIME SCHEDULE ORDER


           Docket Number:           25-2028
           Originating Case Number: 3:23-cv-04597-EMC
           Case Title:              Gjovik v. Apple Inc.



           Tuesday, May 6, 2025
           Ashley M. Gjovik                                      Appeal Opening Brief (No
                                                                 Transcript Due)

           Thursday, June 5, 2025
           Apple Inc.                                            Appeal Answering Brief (No
                                                                 Transcript Due)


          If there were reported hearings, the parties shall designate and, if necessary, cross-
          designate the transcripts pursuant to 9th Cir. R. 10-3. If there were no reported hearings,
          the transcript deadlines do not apply.
          The optional reply may be filed within 21 days of service of the answering brief. See
          Fed. R. App. P. 31 and 9th Cir. R. 31-2.1.
          Failure of the appellant to comply with the time schedule order may result in
          automatic dismissal of the appeal. See 9th Cir. R. 42-1.




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                                                                                   ADRMOP,APPEAL,E-ProSe,ProSe,REFDIS,REFSET-AGT

                                                        U.S. District Court
                                            California Northern District (San Francisco)
                                         CIVIL DOCKET FOR CASE #: 3:23-cv-04597-EMC


      Gjovik v. Apple Inc.                                                                  Date Filed: 09/07/2023
      Assigned to: Judge Edward M Chen                                                      Jury Demand: Plaintiff
      Referred to: Magistrate Judge Kandis A. Westmore                                      Nature of Suit: 470 Racketeer/Corrupt
                  Magistrate Judge Alex G. Tse (Settlement)                                 Organization
      Case in other court: United States Court of Appeals, 25-02028                         Jurisdiction: Federal Question
                          USCA, 24-06058
      Cause: 18:1962 Racketeering (RICO) Act
      Plaintiff
      Ashley M Gjovik                                                         represented by Ashley M Gjovik
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                                                                                             Ste 4553
                                                                                             Sacramento, CA 95816
                                                                                             415-964-6272
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                                                                                             PRO SE


      V.
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      Apple Inc.                                                              represented by Kathryn Grzenczyk Mantoan
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                                                                                             Melinda S. Riechert
                                                                                             Orrick, Herrington & Sutcliffe LLP
                                                                                                                ER Ver. VI 259
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                                                                                                              1000 Marsh Road
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                                                                                                              Email: rbooms@orrick.com
                                                                                                              ATTORNEY TO BE NOTICED


       Date Filed          #    Docket Text
       05/07/2025        208 NOTICE by Ashley M Gjovik re 179 Order on Motion to Dismiss, 170 Order,,, 175 Order on Motion
                             to Disqualify Counsel, 204 Order on Motion for Entry of Judgment under Rule 54(b), 160 Order on
                             Administrative Motion per Civil Local Rule 7-11,,, NOTICE OF NINTH CIRCUIT APPELLATE
                             BRIEF AND MOTION FOR INJUNCTIVE RELIEF (STAY AND PROTECTIVE ORDER)
                             (Attachments: # 1 Exhibit Opening Appellate Brief and Addendum, # 2 Exhibit Motion for Injunctive
                             Relief (Stay & Protective Order), # 3 Exhibit Docket for Case No. 25-2028)(Gjovik, Ashley) (Filed on
                             5/7/2025) (Entered: 05/07/2025)
       04/17/2025        207 Plaintiffs Reply in Support of her Request for Judicial Notice In Support of Plaintiffs Motion to Strike
                             & Motion for a More Definite Statement - REPLY (re 192 First MOTION to Strike 183 Answer to
                             Amended Complaint , 193 First MOTION for More Definite Statement re: Defendant's Answer )
                             REPLY TO DEFENDANT'S OBJECTIONS RE: REQUEST FOR JUDICIAL NOTICE OF
                             TRILATERAL NATIONAL CONSENT DECREE BETWEEN DEFENDANT, PLAINTIFF, AND THE
                             US GOVERNMENT filed by Ashley M Gjovik. (Gjovik, Ashley) (Filed on 4/17/2025) Modified on
                             4/22/2025 (kmg, COURT STAFF). (Entered: 04/17/2025)
       04/17/2025        206 REPLY in Support of Motion to Strike (re 192 First MOTION to Strike 183 Answer to Amended
                             Complaint ) filed by Ashley M Gjovik. (Gjovik, Ashley) (Filed on 4/17/2025) Modified on 4/21/2025
                             (kmg, COURT STAFF). (Entered: 04/17/2025)
       04/17/2025        205 REPLY in Support of Motion (re 193 First MOTION for More Definite Statement re: Defendant's
                             Answer ) filed by Ashley M Gjovik. (Gjovik, Ashley) (Filed on 4/17/2025) Modified on 4/21/2025
                             (kmg, COURT STAFF). (Entered: 04/17/2025)
       04/15/2025        204 ORDER by Judge Edward M. Chen denying 189 Plaintiff's Motion for Entry of Partial Final
                             Judgment. (emclc2, COURT STAFF) (Filed on 4/15/2025)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 04/15/2025)
       04/15/2025        203 NOTICE Of Pendency by Ashley M Gjovik: Final National Trilateral Settlement Agreement; &
                             Defendant's Compliance Requirements in Plaintiff's NLRB Case No. 32-CA-284428 (confidentiality
                             rules, surveillance, employment contracts, and work policies) (Gjovik, Ashley) (Filed on 4/15/2025)
                             (Entered: 04/15/2025)
       04/14/2025        202 REPLY (re 189 First MOTION for Entry of Judgment under Rule 54(b) ) filed byAshley M Gjovik.
                             (Attachments: # 1 Exhibit Appellate Docket)(Gjovik, Ashley) (Filed on 4/14/2025) (Entered:
                             04/14/2025)
       04/10/2025        201 OBJECTIONS to re 194 Request for Judicial Notice in Support of Plaintiff's Motion to Strike and
                             Motion for a more Definite Statement. by Apple Inc.. (Riechert, Melinda) (Filed on 4/10/2025)
                             Modified on 4/11/2025 (kmg, COURT STAFF). (Entered: 04/10/2025)


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       04/10/2025        200 OPPOSITION/RESPONSE (re 193 First MOTION for More Definite Statement re: Defendant's
                             Answer ) filed byApple Inc.. (Riechert, Melinda) (Filed on 4/10/2025) (Entered: 04/10/2025)
       04/10/2025        199 OPPOSITION/RESPONSE (re 192 First MOTION to Strike 183 Answer to Amended Complaint )
                             filed byApple Inc.. (Riechert, Melinda) (Filed on 4/10/2025) (Entered: 04/10/2025)
       04/07/2025        198 DEFENDANT APPLE INC.S OPPOSITION TO PLAINTIFFS MOTION REQUESTING
                             CERTIFICATION OF APPEALABILITY UNDER FED. R. CIV. P. 54(B)-OPPOSITION/RESPONSE
                             (re 189 First MOTION for Entry of Judgment under Rule 54(b) ) filed by Apple Inc.. (Riechert,
                             Melinda) (Filed on 4/7/2025) Modified on 4/8/2025 (kmg, COURT STAFF). (Entered: 04/07/2025)
       04/03/2025        197 CLERK'S NOTICE RESCHEDULING TIME OF MOTION HEARING.

                                Motions Hearing as to 189 First MOTION for Entry of Judgment under Rule 54(b); 192 First
                                MOTION to Strike 183 Answer to Amended Complaint and 193 First MOTION for More
                                Definite Statement re: Defendant's Answer reset from 6/12/2025, at 1:30 PM to 6/12/2025, at
                                10:30 AM in San Francisco, Courtroom 05, 17th Floor before Judge Edward M Chen.

                                ALL COUNSEL PARTICIPATING IN THE HEARING ARE REQUIRED TO LOG INTO
                                ZOOM NO LATER THAN 10:15 AM TO CHECK-IN WITH THE COURTROOM DEPUTY.

                                (This is a text-only entry generated by the court. There is no document associated with this entry.)
                                (vla, COURT STAFF) (Filed on 4/3/2025)

                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 04/03/2025)
       03/28/2025        195 Transcript of Proceedings held on 2/21/2025, before Judge Edward M. Chen. Court
                             Reporter/Transcriber Beth A. Krupa, RMR, CRR, Email beth_krupa@scd.uscourts.gov. Per General
                             Order No. 59 and Judicial Conference policy, this transcript may be viewed only at the Clerk's Office
                             public terminal or may be purchased through the Court Reporter/Transcriber until the deadline for the
                             Release of Transcript Restriction. After that date it may be obtained through PACER. Any Notice of
                             Intent to Request Redaction, if required, is due no later than 5 business days from date of this filing.
                             (Re 186 Transcript Order ) Redaction Request due 4/18/2025. Redacted Transcript Deadline set for
                             4/28/2025. Release of Transcript Restriction set for 6/26/2025. (Related documents(s) 186 ) (Krupa,
                             Beth) (Filed on 3/28/2025) (Entered: 03/28/2025)
       03/28/2025        194 Request for Judicial Notice re 192 First MOTION to Strike 183 Answer to Amended Complaint , 193
                             First MOTION for More Definite Statement re: Defendant's Answer ; NOTICE OF NLRB
                             SETTLEMENT AGREEMENT IN CASE NO. 32-CA-284428 filed byAshley M Gjovik. (Related
                             document(s) 192 , 193 ) (Gjovik, Ashley) (Filed on 3/28/2025) (Entered: 03/28/2025)
       03/27/2025        196 USCA Case Number 25-2028 United States Court of Appeals for 124 USCA Order. (kmg, COURT
                             STAFF) (Filed on 3/27/2025) (Entered: 04/02/2025)
       03/27/2025        193 First MOTION for More Definite Statement re: Defendant's Answer filed by Ashley M Gjovik.
                             Motion Hearing set for 6/12/2025 01:30 PM in San Francisco, Courtroom 05, 17th Floor before Judge
                             Edward M Chen. Responses due by 4/10/2025. Replies due by 4/17/2025. (Attachments: # 1 Proposed
                             Order)(Gjovik, Ashley) (Filed on 3/27/2025) (Entered: 03/27/2025)
       03/27/2025        192 First MOTION to Strike 183 Answer to Amended Complaint filed by Ashley M Gjovik. Motion
                             Hearing set for 6/12/2025 01:30 PM in San Francisco, Courtroom 05, 17th Floor before Judge Edward
                             M Chen. Responses due by 4/10/2025. Replies due by 4/17/2025. (Attachments: # 1 Proposed Order)
                             (Gjovik, Ashley) (Filed on 3/27/2025) (Entered: 03/27/2025)
       03/26/2025        191 CLERK'S NOTICE RESCHEDULING MOTION HEARING.

                                Motion Hearing as to 189 First MOTION for Entry of Judgment under Rule 54(b) reset from
                                5/8/25 to 6/12/2025, at 1:30 PM in San Francisco, Courtroom 05, 17th Floor before Judge
                                Edward M Chen.

                                COUNSEL IS REQUIRED TO ARRIVE IN COURTROOM 5, 17TH FLOOR NO LATER
                                THAN 1:10 PM TO CHECK-IN WITH THE COURTROOM DEPUTY.
                                                                                                                                             ER Ver. VI 261
    https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?143497338413783-L_1_0-1                                                                                                         3/23
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                           Case: 25-2028, 05/09/2025, DktEntry: 17.6, Page 262 of 281
    5/9/25, 11:27 AM                                                                               CAND-ECF
                                (This is a text-only entry generated by the court. There is no document associated with this entry.)
                                (vla, COURT STAFF) (Filed on 3/26/2025)

                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 03/26/2025)
       03/25/2025        190 PLAINTIFF'S PROTECTIVE NOTICE OF APPEAL - NOTICE OF APPEAL to the 9th Circuit Court
                             of Appeals filed by Ashley M Gjovik. Appeal of Order on Motion to Dismiss, 179 , First MOTION for
                             Entry of Judgment under Rule 54(b) 189 (Appeal fee of $605 receipt number ACANDC-20493214
                             paid.) (Gjovik, Ashley) (Filed on 3/25/2025) Modified on 3/26/2025 (kmg, COURT STAFF).
                             (Entered: 03/25/2025)
       03/23/2025        189 First MOTION for Entry of Judgment under Rule 54(b) filed by Ashley M Gjovik. Motion Hearing set
                             for 5/8/2025 01:30 PM in San Francisco, Courtroom 05, 17th Floor before Judge Edward M Chen.
                             Responses due by 4/7/2025. Replies due by 4/14/2025. (Attachments: # 1 Proposed Order)(Gjovik,
                             Ashley) (Filed on 3/23/2025) (Entered: 03/23/2025)
       03/23/2025        188 ORDER by Judge Edward M. Chen denying 184 Plaintiff's Motion for Rule 54(b) Certification
                             without prejudice. Plaintiff improperly framed the motion as an administrative motion. A Rule
                             54(b) motion is not an administrative matter but rather a substantive motion, and therefore
                             should be treated as a regularly noticed motion as provided for in Civil Local Rule 7-2. Plaintiff
                             may renotice her motion if she so chooses in compliance with the Civil Local Rules. (This is a
                             text-only entry generated by the court. There is no document associated with this entry.) (emclc2,
                             COURT STAFF) (Filed on 3/23/2025)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 03/23/2025)
       03/21/2025        187 REPLY (re 184 First MOTION for Certificate of Appealability of certain dismissed claims under
                             FRCP Rule 54(B) ) Reply with Objections to Defendant's Opposition Statement filed byAshley M
                             Gjovik. (Gjovik, Ashley) (Filed on 3/21/2025) (Entered: 03/21/2025)
       03/21/2025        186 TRANSCRIPT ORDER for proceedings held on 02/21/2025 before Judge Edward M Chen by Ashley
                             M Gjovik, for Court Reporter Beth Krupa. (Gjovik, Ashley) (Filed on 3/21/2025) (Entered:
                             03/21/2025)
       03/20/2025        185 DEFENDANT APPLE INC.S OPPOSITION TO PLAINTIFFS ADMINISTRATIVE MOTION FOR
                             RULE 54(B) CERTIFICATION OPPOSITION/RESPONSE (re 184 First MOTION for Certificate of
                             Applicability of certain dismissed claims under FRCP Rule 54(B) ) filed by Apple Inc.. (Riechert,
                             Melinda) (Filed on 3/20/2025) Modified on 3/20/2025 (kmg, COURT STAFF). (Entered: 03/20/2025)
       03/18/2025        184 First MOTION for Certificate of Appealability of certain dismissed claims under FRCP Rule 54(B)
                             filed by Ashley M Gjovik. (Attachments: # 1 Proposed Order)(Gjovik, Ashley) (Filed on 3/18/2025)
                             (Entered: 03/18/2025)
       03/13/2025        183 ANSWER to Amended Complaint DEFENDANT APPLE INC.'S ANSWER TO PLAINTIFF'S FIFTH
                             AMENDED COMPLAINT by Apple Inc.. (Riechert, Melinda) (Filed on 3/13/2025) (Entered:
                             03/13/2025)
       03/11/2025        182 ORDER by Judge Kandis A. Westmore terminating 180 Discovery Letter Brief in light of 181
                             Order denying Motion for Leave to File a Motion for Reconsideration. (This is a text-only entry
                             generated by the court. There is no document associated with this entry.) (kawlc1, COURT STAFF)
                             (Filed on 3/11/2025)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 03/11/2025)
       03/11/2025        181 Order. Signed 3/11/2025 by Magistrate Judge Kandis A. Westmore denying 171 Motion for
                             Leave to File a Motion for Reconsideration. (klh, COURT STAFF) (Filed on 3/11/2025)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                Erroneously filed as a First Discovery Letter Brief (Entered: 03/11/2025)

       02/28/2025        180 Discovery Letter BriefObjections to Opposition at Dkt. No 178 filed by Ashley M Gjovik. (Gjovik,
                             Ashley) (Filed on 2/28/2025) Modified on 2/28/2025 (kam2, COURT STAFF). (Entered: 02/28/2025)

                                                                                                                                             ER Ver. VI 262
    https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?143497338413783-L_1_0-1                                                                                                         4/23
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    5/9/25, 11:27 AM                                                                               CAND-ECF

       02/27/2025        179 ORDER by Judge Edward M. Chen granting in part and denying in part 145 Defendant's
                             Motion to Dismiss; and denying 155 Plaintiff's Motion to Amend. (emclc2, COURT STAFF)
                             (Filed on 2/27/2025)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 02/27/2025)
       02/27/2025        178 OPPOSITION/RESPONSE re: 171 First Discovery Letter Brief Motion for Reconsideration filed by
                             Apple Inc. (Riechert, Melinda) (Filed on 2/27/2025) Modified on 2/27/2025 (kam2, COURT STAFF).
                             (Entered: 02/27/2025)
       02/27/2025        177 NOTICE re: 145 Notice of Intent To File Motion To Strike Dkt 176 (Gjovik, Ashley) by Ashley M
                             Gjovik (Filed on 2/27/2025) Modified on 2/27/2025 (kam2, COURT STAFF). (Entered: 02/27/2025)
       02/26/2025        176 Declaration of Cher S. Scarlett filed by Non Party (kam2, COURT STAFF) (Filed on 2/26/2025)
                             (Entered: 02/27/2025)
       02/24/2025        175 ORDER by Judge Edward M. Chen denying 156 Plaintiff's Motion to Disqualify Counsel.
                             (emclc2, COURT STAFF) (Filed on 2/24/2025)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 02/24/2025)
       02/24/2025        174 Declaration of Ashley Marie Gjovik in Support of 172 Reply to Opposition/Response, 156 First
                             MOTION to Disqualify Counsel Orrick, Herrington & Sutcliffe with Exhibits A-I filed byAshley M
                             Gjovik. (Related document(s) 172 , 156 ) (Gjovik, Ashley) (Filed on 2/24/2025) (Entered: 02/24/2025)
       02/21/2025        173 Minute Entry for proceedings held before Judge Edward M Chen: Motion Hearing held on
                             2/21/2025 re 145 MOTION to Dismiss Portions of Plaintiff's Fifth Amended Complaint

                                Total Time in Court: 36 Minutes. Court Reporter: Beth Krupa. (vla, COURT STAFF) (Date
                                Filed: 2/21/2025) (Entered: 02/21/2025)
       02/21/2025        172 REPLY re: 156 First MOTION to Disqualify Counsel Orrick, Herrington & Sutcliffe filed by Ashley
                             M Gjovik. (Gjovik, Ashley) (Filed on 2/21/2025) Modified on 2/24/2025 (kam2, COURT STAFF).
                             (Entered: 02/21/2025)
       02/20/2025        171 First Discovery Letter BriefMOTION FOR RECONSIDERATION filed by Ashley M Gjovik.
                             (Attachments: # 1 Exhibit Exhibits: July 16 2024 Transcripts; NLRB Charges 01-CA-332897 etc; Feb
                             18 2025 Proof of Service of Chambers Copies)(Gjovik, Ashley) (Filed on 2/20/2025) (Entered:
                             02/20/2025)
       02/20/2025        170 ORDER TERMINATING PLAINTIFF'S UNILATERAL DISCOVERY LETTERS RE: re 165
                             Fourth Discovery Letter BriefRe: Disputes about Attorney-Client Privilege Claims, Confidentiality
                             & Protective Orders, & Basic Discovery Planning & Communication filed by Ashley M Gjovik,
                             164 Third Discovery Letter BriefMotion to Compel Disclosures filed by Ashley M Gjovik, 162
                             First Discovery Letter BriefRequest for Discovery Dispute Conference filed by Ashley M Gjovik,
                             163 Second Discovery Letter BriefMotion to Compel Production & Request for Clarification filed
                             by Ashley M Gjovik. Signed by Magistrate Judge Kandis A. Westmore on 2/19/2025. (klh,
                             COURT STAFF) (Filed on 2/20/2025)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 02/20/2025)
       02/19/2025        169 NOTICE of Withdrawal filed by Kate Elsa Juvinall, no longer appearing on behalf of Apple Inc. in
                             this case (Juvinall, Kate) (Filed on 2/19/2025) (Entered: 02/19/2025)
       02/14/2025        168 RESPONSE re: 162 First Discovery Letter Brief Request for Discovery Dispute Conference, 163
                             Second Discovery Letter Brief Motion to Compel Production & Request for Clarification, 164 Third
                             Discovery Letter Brief Motion to Compel Disclosures, 165 Fourth Discovery Letter Brief Re: Disputes
                             about Attorney-Client Privilege Claims, Confidentiality & Protective Orders, & Basic Discovery
                             Planning & Communication by Apple Inc. (Riechert, Melinda) (Filed on 2/14/2025) Modified on
                             2/18/2025 (kam2, COURT STAFF). (Entered: 02/14/2025)
       02/14/2025        167 OPPOSITION/RESPONSE re 156 First MOTION to Disqualify Counsel Orrick, Herrington &
                             Sutcliffe filed by Apple Inc.. (Attachments: # 1 Perry Declaration in Support of Opposition to Motion
                             to Disqualify, # 2 Exhibit A to Perry Declaration, # 3 Exhibit B to Perry Declaration, # 4 Exhibit C to
                                                                                                                                             ER Ver. VI 263
    https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?143497338413783-L_1_0-1                                                                                                         5/23
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    5/9/25, 11:27 AM                                                                               CAND-ECF
                                Perry Declaration, # 5 Exhibit D to Perry Declaration)(Riechert, Melinda) (Filed on 2/14/2025)
                                Modified on 2/18/2025 (kam2, COURT STAFF). Modified on 2/18/2025 (kam2, COURT STAFF).
                                (Entered: 02/14/2025)
       02/11/2025        166 JOINT CASE MANAGEMENT STATEMENT filed by Apple Inc.. (Riechert, Melinda) (Filed on
                             2/11/2025) (Entered: 02/11/2025)
       02/11/2025        165 Fourth Discovery Letter BriefRe: Disputes about Attorney-Client Privilege Claims, Confidentiality &
                             Protective Orders, & Basic Discovery Planning & Communication filed by Ashley M Gjovik.
                             (Attachments: # 1 Proposed Order)(Gjovik, Ashley) (Filed on 2/11/2025) (Entered: 02/11/2025)
       02/11/2025        164 Third Discovery Letter BriefMotion to Compel Disclosures filed by Ashley M Gjovik. (Attachments:
                             # 1 Proposed Order Motion to Compel Disclosures)(Gjovik, Ashley) (Filed on 2/11/2025) (Entered:
                             02/11/2025)
       02/11/2025        163 Second Discovery Letter BriefMotion to Compel Production & Request for Clarification filed by
                             Ashley M Gjovik. (Attachments: # 1 Proposed Order Motion to Compel Prod.)(Gjovik, Ashley) (Filed
                             on 2/11/2025) (Entered: 02/11/2025)
       02/11/2025        162 First Discovery Letter BriefRequest for Discovery Dispute Conference filed by Ashley M Gjovik.
                             (Attachments: # 1 Proposed Order Req. for Disc. Conf.)(Gjovik, Ashley) (Filed on 2/11/2025)
                             (Entered: 02/11/2025)
       02/07/2025        161 REPLY re 145 154 MOTION to Dismiss Portions of Plaintiff's Fifth Amended Complaint filed by
                             Apple Inc.. (Riechert, Melinda) (Filed on 2/7/2025) Modified on 2/7/2025 (kam2, COURT STAFF).
                             (Entered: 02/07/2025)
       02/05/2025        160 ORDER by Judge Edward M. Chen granting 158 Defendant's Administrative Motion to Stay;
                             and denying 159 Plaintiff's Administrative Motion to Stay. (emclc2, COURT STAFF) (Filed on
                             2/5/2025)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 02/05/2025)
       02/03/2025        159 First ADMINISTRATIVE MOTION Stay Pending Motion to Dismiss re: Dkt Nos. 156 150 158 155
                             142 155 142 filed by Ashley M Gjovik. Responses due by 2/7/2025. (Attachments: # 1 Declaration)
                             (Gjovik, Ashley) (Filed on 2/3/2025) Modified on 2/4/2025 (kam2, COURT STAFF). (Entered:
                             02/03/2025)
       01/31/2025        158 ADMINISTRATIVE MOTION (First) and Proposed Order to Stay Defendant's Deadline to Respond
                             to Plaintiff's Motion to Amend & Supplement Complaint re 155 First MOTION to Amend/Correct 142
                             Amended Complaint filed by Apple Inc. Responses due by 2/4/2025. (Attachments: # 1 Declaration)
                             (Juvinall, Kate) (Filed on 1/31/2025) Modified on 2/3/2025 (kam2, COURT STAFF). (Entered:
                             01/31/2025)
       01/31/2025        157 CLERK'S NOTICE RESCHEDULING MOTIONS HEARING FOR FAILURE TO COMPLY
                             WITH CIVIL LOCAL RULE 7-2(a).

                                Motions Hearing as to 155 First MOTION to Amend/Correct 142 Amended Complaint and 156
                                First MOTION to Disqualify Counsel Orrick, Herrington & Sutcliffe reset from 2/27/2025 to
                                3/13/2025, at 1:30 PM in San Francisco, Courtroom 05, 17th Floor before Judge Edward M
                                Chen.

                                ALL PARTIES PARTICIPATING IN THE HEARING ARE REQUIRED TO ARRIVE IN
                                COURTROOM 5, 17TH FLOOR NO LATER THAN 1:00 PM TO CHECK-IN WITH THE
                                COURTROOM DEPUTY.

                                (This is a text-only entry generated by the court. There is no document associated with this entry.)
                                (vla, COURT STAFF) (Filed on 1/31/2025)

                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 01/31/2025)
       01/31/2025        156 First MOTION to Disqualify Counsel Orrick, Herrington & Sutcliffe filed by Ashley M Gjovik.
                             Motion Hearing set for 2/27/2025 01:30 PM in San Francisco, Courtroom 05, 17th Floor before Judge
                                                                                                                                             ER Ver. VI 264
    https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?143497338413783-L_1_0-1                                                                                                         6/23
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    5/9/25, 11:27 AM                                                                               CAND-ECF
                                Edward M Chen. Responses due by 2/14/2025. Replies due by 2/21/2025. (Attachments: # 1
                                Supplement Memo, # 2 Proposed Order)(Gjovik, Ashley) (Filed on 1/31/2025) (Entered: 01/31/2025)
       01/31/2025        155 First MOTION to Amend/Correct 142 Amended Complaint filed by Ashley M Gjovik. Motion
                             Hearing set for 2/27/2025 09:00 AM in San Francisco, Courtroom 05, 17th Floor before Judge Edward
                             M Chen. Responses due by 2/14/2025. Replies due by 2/21/2025. (Attachments: # 1 Supplement
                             Memo, # 2 Supplement Judicial Notice, # 3 Proposed Order)(Gjovik, Ashley) (Filed on 1/31/2025)
                             (Entered: 01/31/2025)
       01/31/2025        154 Request for Judicial Notice re 150 Opposition/Response to Motion, In support of P's Opp to D's MTD
                             filed byAshley M Gjovik. (Attachments: # 1 Supplement Cal Labor Code Tolling, # 2 Supplement
                             Toxic Tort Tolling)(Related document(s) 150 ) (Gjovik, Ashley) (Filed on 1/31/2025) (Entered:
                             01/31/2025)
       01/29/2025        153 CLERK'S NOTICE RESCHEDULING FURTHER CASE MANAGEMENT CONFERENCE
                             AND MOTION HEARING.

                                Motion Hearing as to 145 MOTION to Dismiss Portions of Plaintiff's Fifth Amended Complaint
                                reset from 2/13/2025 to 2/21/2025, at 9:00 AM in San Francisco, Courtroom 05, 17th Floor
                                before Judge Edward M Chen.

                                Joint Case Management Statement due by 2/11/2025.

                                Further Case Management Conference reset from 2/13/2025 to 2/21/2025, at 9:00 AM in San
                                Francisco, Courtroom 05, 17th Floor.

                                (This is a text-only entry generated by the court. There is no document associated with this entry.)
                                (vla, COURT STAFF) (Filed on 1/29/2025)

                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 01/29/2025)
       01/28/2025        152 OPPOSITION/RESPONSE re 145 MOTION to Dismiss Portions of Plaintiff's Fifth Amended
                             Complaint Defendant Apple Inc.s Reply in Support of filed by Apple Inc.. (Riechert, Melinda) (Filed
                             on 1/28/2025) Modified on 1/29/2025 (kam2, COURT STAFF). Modified on 1/29/2025 (kam2,
                             COURT STAFF). (Entered: 01/28/2025)
       01/22/2025        151 NOTICE by Ashley M Gjovik Notice of Pendency: US NLRB Hearing Scheduled for Unlawful
                             Threats, Suspension, and Termination (Case # 32-CA-282142 & 32-CA-283161); US NLRB Hearing
                             Cancelled per Settlement Conversations (Case # 32-CA-284428); BAAQMD Notice of Violations for
                             Illegal Air Emissions at 3250 Scott Blvd, Santa Clara, CA. (Gjovik, Ashley) (Filed on 1/22/2025)
                             (Entered: 01/22/2025)
       01/22/2025        150 OPPOSITION/RESPONSE (re 145 MOTION to Dismiss Portions of Plaintiff's Fifth Amended
                             Complaint ) Final Version - Please Use this Version - Sorry! filed by Ashley M Gjovik. (Attachments:
                             # 1 Proposed Order)(Gjovik, Ashley) (Filed on 1/22/2025) (Entered: 01/22/2025)
       01/21/2025        149 OPPOSITION/RESPONSE (re 145 MOTION to Dismiss Portions of Plaintiff's Fifth Amended
                             Complaint ) filed by Ashley M Gjovik. (Gjovik, Ashley) (Filed on 1/21/2025) (Entered: 01/22/2025)
       01/13/2025        148 Minute Entry for proceedings held before Magistrate Judge Alex G. Tse: Settlement Conference
                             held on 1/13/2025. Case did not settle. (Not Reported.)

                                Pro Se Plaintiff: Ashley M Gjovik.
                                Defendant Attorneys: Melinda S. Riechert, Kathryn G. Mantoan, and Jessica Perry.

                                (This is a text-only entry generated by the court. There is no document associated with this entry.)
                                (shy, COURT STAFF) (Date Filed: 1/13/2025) (Entered: 01/13/2025)
       01/09/2025        147 CLERKS NOTICE RESCHEDULING SETTLEMENT CONFERENCE.

                                The parties are hereby notified that the Settlement Conference is rescheduled to 1/13/2025 at 2:00 PM
                                (PST) before Magistrate Judge Alex G. Tse. This proceeding will be held via a non-public Zoom
                                meeting.
                                                                                                                                             ER Ver. VI 265
    https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?143497338413783-L_1_0-1                                                                                                         7/23
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    5/9/25, 11:27 AM                                                                               CAND-ECF
                                Zoom Meeting Access: : Information on how to join the conference can be found on the Court's
                                website under the subheading Joining Non-Public Hearings (Settlement Conferences, etc.) at
                                https://www.cand.uscourts.gov/judges/tse-alex-g-agt/

                                General Order 58. Persons granted access to court proceedings held by telephone or videoconference
                                are reminded that photographing, recording, and rebroadcasting of court proceedings, including
                                screenshots or other visual copying of a hearing, is absolutely prohibited.

                                Zoom Guidance and Setup: https://www.cand.uscourts.gov/zoom/.

                                (This is a text-only entry generated by the court. There is no document associated with this entry.)
                                (shy, COURT STAFF) (Filed on 1/9/2025) (Entered: 01/09/2025)
       01/07/2025        146 Request for Judicial Notice in Support re 145 MOTION to Dismiss Portions of Plaintiff's Fifth
                             Amended Complaint filed by Apple Inc.. (Attachments: # 1 Exhibits 1-6, # 2 Proposed Order)(Related
                             document(s) 145 ) (Riechert, Melinda) (Filed on 1/7/2025) Modified on 1/27/2025 (slh, COURT
                             STAFF). (Entered: 01/07/2025)
       01/07/2025        145 MOTION to Dismiss Portions of Plaintiff's Fifth Amended Complaint ; MEMORANDUM OF
                             POINTS AND AUTHORITIES IN SUPPORT THEREOF filed by Apple Inc.. Motion to Dismiss
                             Hearing set for 2/13/2025 01:30 PM in San Francisco, Courtroom 05, 17th Floor. Responses due by
                             1/21/2025. Replies due by 1/28/2025. (Attachments: # 1 Proposed Order)(Riechert, Melinda) (Filed on
                             1/7/2025) Modified on 1/27/2025 (slh, COURT STAFF). (Entered: 01/07/2025)
       12/04/2024        144 ORDER by Judge Edward M. Chen denying 117 Plaintiff's Motion to Stay. (emclc2, COURT
                             STAFF) (Filed on 12/4/2024)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 12/04/2024)
       12/02/2024        143 CLERK'S NOTICE VACATING HEARING.

                                The Court HEREBY VACATES 117 Motion to Stay set for 12/19/2024.

                                (This is a text-only entry generated by the court. There is no document associated with this entry.)
                                (vla, COURT STAFF) (Filed on 12/2/2024)

                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 12/02/2024)
       11/26/2024        142 AMENDED COMPLAINT 5AC against Apple Inc.. Filed by Ashley M Gjovik. (Gjovik, Ashley)
                             (Filed on 11/26/2024) (Entered: 11/27/2024)
       11/20/2024        141 NOTICE by Ashley M Gjovik re 138 Amended Complaint Notice of Plaintiff's Intent to File a Revised
                             5AC by November 26 (Gjovik, Ashley) (Filed on 11/20/2024) (Entered: 11/20/2024)
       11/20/2024        140 ORDER by Judge Edward M. Chen denying 139 Plaintiff's Motion for Leave to File a Motion
                             for Reconsideration. (emclc2, COURT STAFF) (Filed on 11/20/2024)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 11/20/2024)
       11/20/2024        139 First MOTION for Leave to File a Motion Requesting Reconsideration of the Order at Dkt. 137 filed
                             by Ashley M Gjovik. (Attachments: # 1 Exhibit Proposed Motion to Reconsider)(Gjovik, Ashley)
                             (Filed on 11/20/2024) (Entered: 11/20/2024)
       11/20/2024        138 AMENDED COMPLAINT Abbreviated 5-AC per Dkt. 137 against Ashley M Gjovik. Filed by Ashley
                             M Gjovik. (Attachments: # 1 Errata Diff between 5AC at Dkt. 138 and at Dkt.128)(Gjovik, Ashley)
                             (Filed on 11/20/2024) (Entered: 11/20/2024)
       11/19/2024        137 ORDER by Judge Edward M. Chen denying 131 Defendant's Motion to Dismiss; and finding as
                             moot 132 Defendant's Motion to Shorten Time. (emclc2, COURT STAFF) (Filed on 11/19/2024)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 11/19/2024)

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       11/19/2024        136 REPLY (re 131 MOTION to Dismiss for Failure to Comply with Court Order ) filed byApple Inc..
                             (Juvinall, Kate) (Filed on 11/19/2024) (Entered: 11/19/2024)
       11/15/2024        135 ORDER. Previously, the Court ordered Plaintiff to respond to 132 Defendant's motion to
                             shorten time on an expedited basis. The Court did not order Plaintiff to respond to Defendant's
                             underlying 131 motion to dismiss on an expedited basis. Plaintiff chose to file an opposition that
                             essentially addressed both the motion to shorten time and the motion to dismiss. If Defendant
                             wishes to file a reply in support of its motion to dismiss, it shall do so by noon, 11/19/2024.
                             Signed by Judge Edward M. Chen on 11/15/2024. (This is a text-only entry generated by the court.
                             There is no document associated with this entry.) (emclc2, COURT STAFF) (Filed on 11/15/2024)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 11/15/2024)
       11/15/2024        134 OPPOSITION/RESPONSE (re 131 MOTION to Dismiss for Failure to Comply with Court Order,
                             132 MOTION to Shorten Time Re: 131 Apple's Motion to Dismiss Plaintiff's Fifth Amended
                             Complaint Pursuant to FRCP 41(B) ) Response to both the MTD and Motion to Shorten Time filed
                             byAshley M Gjovik. (Gjovik, Ashley) (Filed on 11/15/2024) (Entered: 11/15/2024)
       11/13/2024        133 ORDER. Plaintiff shall file a response to 132 Defendant's motion for shortened time by 5:00
                             p.m., November 15, 2024. Signed by Judge Edward M. Chen on 11/13/2024. (This is a text-only
                             entry generated by the court. There is no document associated with this entry.) (emclc2, COURT
                             STAFF) (Filed on 11/13/2024)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 11/13/2024)
       11/13/2024        132 MOTION to Shorten Time Re: 131 Apple's Motion to Dismiss Plaintiff's Fifth Amended Complaint
                             Pursuant to FRCP 41(B) filed by Apple Inc.. (Attachments: # 1 Declaration, # 2 Proposed Order)
                             (Riechert, Melinda) (Filed on 11/13/2024) (Entered: 11/13/2024)
       11/13/2024        131 MOTION to Dismiss for Failure to Comply with Court Order filed by Apple Inc.. Motion to Dismiss
                             Hearing set for 1/2/2025 01:30 PM in San Francisco, Courtroom 05, 17th Floor. Responses due by
                             11/27/2024. Replies due by 12/4/2024. (Attachments: # 1 Proposed Order)(Riechert, Melinda) (Filed
                             on 11/13/2024) (Entered: 11/13/2024)
       11/12/2024        130 CLERKS NOTICE SETTING SETTLEMENT CONFERENCE. The parties are hereby notified that a
                             Settlement Conference is set for 1/13/2025 10:00 AM before Magistrate Judge Alex G. Tse. This
                             proceeding will be held via a non-public Zoom meeting.

                                Zoom Meeting Access: Information on how to join the conference can be found on the Court's
                                website under the subheading Joining Non-Public Hearings (Settlement Conferences, etc.) at
                                https://www.cand.uscourts.gov/judges/tse-alex-g-agt/

                                General Order 58. Persons granted access to court proceedings held by telephone or videoconference
                                are reminded that photographing, recording, and rebroadcasting of court proceedings, including
                                screenshots or other visual copying of a hearing, is absolutely prohibited.

                                Zoom Guidance and Setup: https://www.cand.uscourts.gov/zoom/.

                                (shy, COURT STAFF) (Filed on 11/12/2024) (Entered: 11/12/2024)
       11/12/2024        129 Minute Entry for pre-settlement conference held on 11/12/2024 before Magistrate Judge Alex G.
                             Tse. Discussion held regarding scheduling a settlement conference. (Not Reported.)

                                Plaintiff Attorney: Ashley M Gjovik.
                                Defendant Attorney: Melinda S. Riechert.

                                (This is a text-only entry generated by the court. There is no document associated with this entry.)
                                (shy, COURT STAFF) (Date Filed: 11/12/2024) (Entered: 11/12/2024)
       11/07/2024        128 AMENDED COMPLAINT Fifth Amended Complaint against Ashley M Gjovik. Filed by Ashley M
                             Gjovik. (Gjovik, Ashley) (Filed on 11/7/2024) (Entered: 11/07/2024)


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       11/06/2024        127 NOTICE by Ashley M Gjovik Notice of Intent to file 5AC by EOD Nov 6 2024; Notice Ninth Circuit
                             Appeal is Still Pending (Gjovik, Ashley) (Filed on 11/6/2024) (Entered: 11/06/2024)
       11/06/2024        126 OPPOSITION/RESPONSE (re 117 MOTION to Stay re 115 Emergency MOTION for Extension of
                             Time to Amend 112 Order on Motion to Dismiss,, Order on Motion to Strike,,, Request for
                             Extension/Stay of Deadline for Fifth Amended Complaint (currently due Oct 29 2024)., [11 ) filed
                             byApple Inc.. (Juvinall, Kate) (Filed on 11/6/2024) (Entered: 11/06/2024)
       10/28/2024        125 ERRATA re 124 USCA Order FYI: Motion to Reconsider Filed to 9th Circuit on Oct 25 2024; Motion
                             Pending by Ashley M Gjovik. (Gjovik, Ashley) (Filed on 10/28/2024) (Entered: 10/28/2024)
       10/25/2024        124 ORDER of USCA as to 113 Notice of Appeal to the Ninth Circuit filed by Ashley M. Gjovik. (gba,
                             COURT STAFF) (Filed on 10/25/2024) (Entered: 10/28/2024)
       10/25/2024        123 ORDER by Judge Edward M. Chen denying 115 Plaintiff's Motion for Extension. (emclc2,
                             COURT STAFF) (Filed on 10/25/2024)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 10/25/2024)
       10/25/2024        122 ORDER by Judge Edward M. Chen re 116 Plaintiff's Motion for Clarification and Correction.
                             (emclc2, COURT STAFF) (Filed on 10/25/2024)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 10/25/2024)
       10/24/2024        121 OPPOSITION/RESPONSE (re 115 Emergency MOTION for Extension of Time to Amend 112 Order
                             on Motion to Dismiss,, Order on Motion to Strike,,, Request for Extension/Stay of Deadline for Fifth
                             Amended Complaint (currently due Oct 29 2024). ) filed byApple Inc.. (Riechert, Melinda) (Filed on
                             10/24/2024) (Entered: 10/24/2024)
       10/24/2024        120 Statement of Non-Opposition re 116 First ADMINISTRATIVE MOTION Clarification of court order;
                             addendum to Aug. 28 transcripts re 106 Transcript,,, 104 Terminate Hearings,,, Case Management
                             Conference - Further,,, Motion Hearing,,, Case Referred to Magistrate Judge for Settlement filed
                             byApple Inc.. (Related document(s) 116 ) (Riechert, Melinda) (Filed on 10/24/2024) (Entered:
                             10/24/2024)
       10/24/2024         119 ORDER. If Defendant wishes to file a response to 116 Plaintiff's motion for
                              clarification/correction, it shall file its responsive brief by Monday, October 28, 2024. Signed by
                              Judge Edward M. Chen on 10/24/2024. (This is a text-only entry generated by the court. There is
                              no document associated with this entry.) (emclc2, COURT STAFF) (Filed on 10/24/2024)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 10/24/2024)
       10/23/2024         118 ORDER. Defendant shall file a response to 115 Plaintiff's motion for an extension by Friday,
                              10/25/2024, at 9:00 a.m. There shall be no reply. Signed by Judge Edward M. Chen on
                              10/23/2024. (This is a text-only entry generated by the court. There is no document associated with
                              this entry.) (emclc2, COURT STAFF) (Filed on 10/23/2024)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 10/23/2024)
       10/23/2024         117 MOTION to Stay re 115 Emergency MOTION for Extension of Time to Amend 112 Order on Motion
                              to Dismiss,, Order on Motion to Strike,,, Request for Extension/Stay of Deadline for Fifth Amended
                              Complaint (currently due Oct 29 2024)., 114 USCA Case Number Motion to Stay District Court
                              Proceedings Pending Appeal filed by Ashley M Gjovik. Motion Hearing set for 12/19/2024 01:30 PM
                              in San Francisco, Courtroom 05, 17th Floor before Judge Edward M Chen. Responses due by
                              11/6/2024. Replies due by 11/13/2024. (Attachments: # 1 Proposed Order)(Gjovik, Ashley) (Filed on
                              10/23/2024) (Entered: 10/23/2024)
       10/23/2024         116 First ADMINISTRATIVE MOTION Clarification of court order; addendum to Aug. 28 transcripts re
                              106 Transcript,,, 104 Terminate Hearings,,, Case Management Conference - Further,,, Motion
                              Hearing,,, Case Referred to Magistrate Judge for Settlement Conference,, filed by Ashley M Gjovik.
                              Responses due by 11/4/2024. (Attachments: # 1 Proposed Order)(Gjovik, Ashley) (Filed on
                              10/23/2024) (Entered: 10/23/2024)

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       10/22/2024         115 Emergency MOTION for Extension of Time to Amend 112 Order on Motion to Dismiss,, Order on
                              Motion to Strike,,, Request for Extension/Stay of Deadline for Fifth Amended Complaint (currently
                              due Oct 29 2024). filed by Ashley M Gjovik. (Attachments: # 1 Declaration, # 2 Proposed Order)
                              (Gjovik, Ashley) (Filed on 10/22/2024) (Entered: 10/22/2024)
       10/04/2024         114 USCA Case Number 24-6058 for 113 Notice of Appeal to the Ninth Circuit filed by Ashley M Gjovik.
                              (gba, COURT STAFF) (Filed on 10/4/2024) (Entered: 10/07/2024)
       10/01/2024         113 NOTICE OF APPEAL to the 9th Circuit Court of Appeals filed by Ashley M Gjovik. (Pay.gov Agency
                              Tracking ID 76845565451.) (Attachments: # 1 Errata Notice of Appeal fee payment receipt)(Gjovik,
                              Ashley) (Filed on 10/1/2024) (Entered: 10/01/2024)
       10/01/2024         112 ORDER by Judge Edward M. Chen granting in part and denying in part 78 Defendant's Motion
                              to Dismiss; denying 79 Defendant's Motion to Strike; and granting 101 Plaintiff's Motion to
                              Strike. (emclc2, COURT STAFF) (Filed on 10/1/2024)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 10/01/2024)
       09/30/2024         111 NOTICE by Ashley M Gjovik Notice of Pendency of Administrative Action, Apple, NLRB Case No.
                              32-CA-284428 (Employment Policies & Contracts), 1/22/25 ALJ Hearing (Gjovik, Ashley) (Filed on
                              9/30/2024) (Entered: 09/30/2024)
       09/12/2024         110 CLERKS NOTICE SETTING FURTHER PRE-SETTLEMENT SCHEDULING CONFERENCE.
                              The parties are hereby notified that a Further Scheduling Conference is set for 11/12/2024 at 11:00
                              AM before Magistrate Judge Alex G. Tse. This proceeding will be held via a non-public Zoom
                              meeting.

                                Zoom Meeting Access: Information on how to join the conference can be found on the Court's
                                website under the subheading Joining Non-Public Hearings (Settlement Conferences, etc.) at
                                https://www.cand.uscourts.gov/judges/tse-alex-g-agt/

                                General Order 58. Persons granted access to court proceedings held by telephone or videoconference
                                are reminded that photographing, recording, and rebroadcasting of court proceedings, including
                                screenshots or other visual copying of a hearing, is absolutely prohibited.

                                Zoom Guidance and Setup: https://www.cand.uscourts.gov/zoom/.

                                (This is a text-only entry generated by the court. There is no document associated with this entry.)
                                (shy, COURT STAFF) (Filed on 9/12/2024) (Entered: 09/12/2024)
       09/11/2024        109 Minute Entry for pre-settlement conference held on 9/11/2024 before Magistrate Judge Alex G.
                             Tse. The Court shall schedule a further pre-settlement conference to take place in 60 days. (Not
                             Reported.)

                                Plaintiff: Ashley M Gjovik.
                                Defendant Attorney: Melinda S. Riechert.

                                (This is a text-only entry generated by the court. There is no document associated with this entry.)
                                (shy, COURT STAFF) (Date Filed: 9/11/2024) (Entered: 09/12/2024)
       09/04/2024        108 CLERKS NOTICE CONTINUING THE PRE-SETTLEMENT SCHEDULING CONFERENCE.

                                The Scheduling Conference is hereby continued to 9/11/2024 at 1:30 PM before Magistrate Judge
                                Alex G. Tse. This proceeding will be held via a non-public Zoom meeting.

                                Zoom Meeting Access: Information on how to join the conference can be found on the Court's
                                website under the subheading Joining Non-Public Hearings (Settlement Conferences, etc.) at
                                https://www.cand.uscourts.gov/judges/tse-alex-g-agt/

                                General Order 58. Persons granted access to court proceedings held by telephone or videoconference
                                are reminded that photographing, recording, and rebroadcasting of court proceedings, including
                                screenshots or other visual copying of a hearing, is absolutely prohibited.

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                                Zoom Guidance and Setup: https://www.cand.uscourts.gov/zoom/.

                                (This is a text-only entry generated by the court. There is no document associated with this entry.)
                                (shy, COURT STAFF) (Filed on 9/4/2024) (Entered: 09/04/2024)
       09/03/2024        107 CLERKS NOTICE SETTING PRE-SETTLEMENT SCHEDULING CONFERENCE. The parties are
                             hereby notified that a Scheduling Conference is set for 9/9/2024 at 1:30 PM before Magistrate Judge
                             Alex G. Tse. This proceeding will be held via a non-public Zoom meeting.

                                Zoom Meeting Access: Information on how to join the conference can be found on the Court's
                                website under the subheading Joining Non-Public Hearings (Settlement Conferences, etc.) at
                                https://www.cand.uscourts.gov/judges/tse-alex-g-agt/

                                General Order 58. Persons granted access to court proceedings held by telephone or videoconference
                                are reminded that photographing, recording, and rebroadcasting of court proceedings, including
                                screenshots or other visual copying of a hearing, is absolutely prohibited.

                                Zoom Guidance and Setup: https://www.cand.uscourts.gov/zoom/.

                                (This is a text-only entry generated by the court. There is no document associated with this entry.)
                                (shy, COURT STAFF) (Filed on 9/3/2024) (Entered: 09/03/2024)
       09/02/2024        106 Transcript of Proceedings held on 8/28/2024, before Judge Edward M. Chen. Court
                             Reporter/Transcriber Kelly Shainline, Official Court Reporter, telephone number (510)828-9404,
                             Email: kelly_shainline@cand.uscourts.gov. Per General Order No. 59 and Judicial Conference policy,
                             this transcript may be viewed only at the Clerk's Office public terminal or may be purchased through
                             the Court Reporter/Transcriber until the deadline for the Release of Transcript Restriction. After that
                             date it may be obtained through PACER. Any Notice of Intent to Request Redaction, if required, is
                             due no later than 5 business days from date of this filing. (Re 102 Transcript Order, 103 Transcript
                             Order ) Release of Transcript Restriction set for 12/2/2024. (Related documents(s) 102 , 103 )
                             (Shainline, Kelly) (Filed on 9/2/2024) (Entered: 09/02/2024)
       08/29/2024        103 TRANSCRIPT ORDER for proceedings held on 8/28/2024 before Judge Edward M Chen by Ashley
                             M Gjovik, for Court Reporter Kelly Shainline. (Gjovik, Ashley) (Filed on 8/29/2024) (Entered:
                             08/29/2024)
       08/29/2024        102 TRANSCRIPT ORDER for proceedings held on 08/24/2024 before Judge Edward M Chen by Apple
                             Inc., for Court Reporter Kelly Shainline. (Juvinall, Kate) (Filed on 8/29/2024) (Entered: 08/29/2024)
       08/28/2024        105 CLERK'S NOTICE SCHEDULING FURTHER CASE MANAGEMENT CONFERENCE.

                                Joint Case Management Statement due by 2/4/2025.

                                Further Case Management Conference set for 2/11/2025, at 2:30 PM in San Francisco, -
                                Videoconference Only. This proceeding will be held via a Zoom webinar.

                                ALL PARTIES PARTICIPATING IN THE HEARING ARE REQUIRED TO LOG INTO
                                ZOOM NO LATER THAN 2:20 PM

                                Webinar Access: All counsel, members of the public, and media may access the webinar
                                information at https://www.cand.uscourts.gov/emc

                                General Order 58. Persons granted access to court proceedings held by telephone or
                                videoconference are reminded that photographing, recording, and rebroadcasting of court
                                proceedings, including screenshots or other visual copying of a hearing, is absolutely prohibited.

                                Zoom Guidance and Setup: https://www.cand.uscourts.gov/zoom/.

                                (This is a text-only entry generated by the court. There is no document associated with this entry.)
                                (vla, COURT STAFF) (Filed on 8/28/2024)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 08/29/2024)

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       08/28/2024        104 Minute Entry for proceedings held before Judge Edward M Chen:

                                Further Case Management Conference held on 8/28/2024.

                                Motion Hearing held on 8/28/2024 re 78 MOTION to Dismiss DEFENDANT APPLE INC.'S
                                NOTICE OF MOTION AND MOTION TO DISMISS PORTIONS OF PLAINTIFF'S FOURTH
                                AMENDED COMPLAINT; and 79 MOTION to Strike 76 Amended Complaint DEFENDANT
                                APPLE INC.'S NOTICE OF MOTION AND MOTION TO STRIKE PORTIONS OF
                                PLAINTIFF'S FOURTH AMENDED COMPLAINT.

                                CASE REFERRED to Magistrate Judge for Settlement Conference to be completed within 120-
                                150 days.

                                Total Time in Court: 30 Minutes. Court Reporter: Kelly Shainline. (vla, COURT STAFF) (Date
                                Filed: 8/28/2024) (Entered: 08/29/2024)
       08/27/2024        101 First MOTION to Strike 99 Declaration in Opposition Improper and Unauthorized Non-Party Filing
                             filed by Ashley M Gjovik. Motion Hearing set for 8/28/2024 09:30 AM in San Francisco, Courtroom
                             05, 17th Floor before Judge Edward M Chen. Responses due by 8/28/2024. Replies due by 8/28/2024.
                             (Attachments: # 1 Supplement Memorandum of P&A, # 2 Declaration, # 3 Proposed Order)(Gjovik,
                             Ashley) (Filed on 8/27/2024) (Entered: 08/27/2024)
       08/27/2024        100 NOTICE by Ashley M Gjovik re 97 Joint Case Management Statement Notice of Pendency of
                             Administrative Action, EPA/DOL, ARB-2024-0060 (Gjovik, Ashley) (Filed on 8/27/2024) (Entered:
                             08/27/2024)
       08/22/2024          98 ORDER denying 93 Plaintiff's Motion for Leave to File Sur-Reply. Signed by Judge Edward M.
                              Chen on 8/22/2024. (emclc2, COURT STAFF) (Filed on 8/22/2024)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 08/22/2024)
       08/20/2024          97 JOINT CASE MANAGEMENT STATEMENT filed by Apple Inc.. (Perry, Jessica) (Filed on
                              8/20/2024) (Entered: 08/20/2024)
       08/19/2024          96 Request for Judicial Notice re 85 Opposition/Response to Motion, 86 Opposition/Response to
                              Motion,,, RJN and Notice of New 9th Circuit Precedent on Workplace Harassment filed byAshley M
                              Gjovik. (Related document(s) 85 , 86 ) (Gjovik, Ashley) (Filed on 8/19/2024) (Entered: 08/19/2024)
       08/18/2024          95 Request for Judicial Notice re 93 Opposition/Response to Motion,, 89 Reply to Opposition/Response,
                              90 Reply to Opposition/Response, Request for Judicial Notice in Support of Opposition II filed
                              byAshley M Gjovik. (Related document(s) 93 , 89 , 90 ) (Gjovik, Ashley) (Filed on 8/18/2024)
                              (Entered: 08/18/2024)
       08/18/2024          94 DECLARATION of Ashley Gjovik in Opposition to 93 Opposition/Response to Motion,, 89 Reply to
                              Opposition/Response, 90 Reply to Opposition/Response, Declaration in Opposition to MTD filed
                              byAshley M Gjovik. (Related document(s) 93 , 89 , 90 ) (Gjovik, Ashley) (Filed on 8/18/2024)
                              (Entered: 08/18/2024)
       08/18/2024          93 OPPOSITION/RESPONSE (re 78 MOTION to Dismiss DEFENDANT APPLE INC.'S NOTICE OF
                              MOTION AND MOTION TO DISMISS PORTIONS OF PLAINTIFF'S FOURTH AMENDED
                              COMPLAINT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF, 79
                              MOTION to Strike 76 Amended Complaint DEFENDANT APPLE INC.'S NOTICE OF MOTION
                              AND MOTION TO STRIKE PORTIONS OF PLAINTIFF'S FOURTH AMENDED COMPLAINT;
                              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT ) Motion for Leave to file Sur-
                              Reply and Attached Proposed Sur-reply Brief filed byAshley M Gjovik. (Gjovik, Ashley) (Filed on
                              8/18/2024) (Entered: 08/18/2024)
       08/16/2024          99 DECLARATION of Cher S. Scarlett in Objection to 93 Opposition/Response to Motion,, 96 Request
                              for Judicial Notice, filed byAshley M Gjovik. (Related document(s) 93 , 96 ) (far, COURT STAFF)
                              (Filed on 8/16/2024) (Entered: 08/27/2024)
       08/12/2024          92 CLERK'S NOTICE RESCHEDULING FURTHER CASE MANAGEMENT CONFERENCE.

                                Joint Case Management Statement due by 8/20/2024.
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    https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?143497338413783-L_1_0-1                                                                                                         13/23
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                                Further Case Management Conference reset from 8/22/2024 to 8/28/2024, at 9:30 AM in San
                                Francisco, Courtroom 05, 17th Floor.

                                (This is a text-only entry generated by the court. There is no document associated with this entry.)
                                (vla, COURT STAFF) (Filed on 8/12/2024)

                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 08/13/2024)

       08/12/2024          91 CLERK'S NOTICE RESCHEDULING MOTIONS HEARING.

                                Motions Hearing as to 78 MOTION to Dismiss DEFENDANT APPLE INC.'S NOTICE OF
                                MOTION AND MOTION TO DISMISS PORTIONS OF PLAINTIFF'S FOURTH AMENDED
                                COMPLAINT; AND 79

                                MOTION to Strike 76 Amended Complaint DEFENDANT APPLE INC.'S NOTICE OF
                                MOTION AND MOTION TO STRIKE PORTIONS OF PLAINTIFF'S FOURTH AMENDED
                                COMPLAINT; is reset from 8/22/2024 to 8/28/2024, at 9:30 AM in San Francisco, Courtroom 05,
                                17th Floor before Judge Edward M Chen.

                                ALL PARTIES ARE REQUIRED TO APPEAR IN COURTROOM 5, 17TH FLOOR NO
                                LATER THAN 9:00 AM TO CHECK-IN WITH THE COURTROOM DEPUTY.

                                (This is a text-only entry generated by the court. There is no document associated with this entry.)
                                (vla, COURT STAFF) (Filed on 8/12/2024)

                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 08/12/2024)
       08/05/2024          90 REPLY (re 79 MOTION to Strike 76 Amended Complaint DEFENDANT APPLE INC.'S NOTICE OF
                              MOTION AND MOTION TO STRIKE PORTIONS OF PLAINTIFF'S FOURTH AMENDED
                              COMPLAINT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT ) filed byApple
                              Inc.. (Perry, Jessica) (Filed on 8/5/2024) (Entered: 08/05/2024)
       08/05/2024          89 REPLY (re 78 MOTION to Dismiss DEFENDANT APPLE INC.'S NOTICE OF MOTION AND
                              MOTION TO DISMISS PORTIONS OF PLAINTIFF'S FOURTH AMENDED COMPLAINT;
                              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF ) filed byApple Inc..
                              (Perry, Jessica) (Filed on 8/5/2024) (Entered: 08/05/2024)
       08/05/2024          88 Transcript of Proceedings held on July 16, 2024, before Judge Edward M. Chen. Court Reporter
                              Kendra Steppler, telephone number 406-489-3498. Per General Order No. 59 and Judicial Conference
                              policy, this transcript may be viewed only at the Clerk's Office public terminal or may be purchased
                              through the Court Reporter until the deadline for the Release of Transcript Restriction. After that date,
                              it may be obtained through PACER. Any Notice of Intent to Request Redaction, if required, is due no
                              later than 5 business days from date of this filing. (Re 81 Transcript Order ) Release of Transcript
                              Restriction set for 11/4/2024. (Related documents(s) 81 ) (Steppler, Kendra) (Filed on 8/5/2024)
                              (Entered: 08/05/2024)
       07/31/2024          87 Declaration of Ashley Gjovik in Support of 85 Opposition/Response to Motion, 86
                              Opposition/Response to Motion,,, 84 Opposition/Response to Motion, Declaration in Support of
                              Plaintiff's Filings filed byAshley M Gjovik. (Related document(s) 85 , 86 , 84 ) (Gjovik, Ashley)
                              (Filed on 7/31/2024) (Entered: 07/31/2024)
       07/31/2024          86 OPPOSITION/RESPONSE (re 78 MOTION to Dismiss DEFENDANT APPLE INC.'S NOTICE OF
                              MOTION AND MOTION TO DISMISS PORTIONS OF PLAINTIFF'S FOURTH AMENDED
                              COMPLAINT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF, 79
                              MOTION to Strike 76 Amended Complaint DEFENDANT APPLE INC.'S NOTICE OF MOTION
                              AND MOTION TO STRIKE PORTIONS OF PLAINTIFF'S FOURTH AMENDED COMPLAINT;
                              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT ) REQUEST FOR JUDICIAL
                              NOTICE IN SUPPORT OF P'S OPPOSITION filed byAshley M Gjovik. (Attachments: # 1 Exhibit
                              Exhibit A - RCRA Inspection Report, # 2 Exhibit Exhibit N - Modeling Toxic Gas Releases, # 3

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                                Exhibit Exhibit O - Int Fire Code Semiconductor Fab)(Gjovik, Ashley) (Filed on 7/31/2024) (Entered:
                                07/31/2024)
       07/31/2024          85 OPPOSITION/RESPONSE (re 79 MOTION to Strike 76 Amended Complaint DEFENDANT APPLE
                              INC.'S NOTICE OF MOTION AND MOTION TO STRIKE PORTIONS OF PLAINTIFF'S FOURTH
                              AMENDED COMPLAINT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT )
                              Opposition filed byAshley M Gjovik. (Gjovik, Ashley) (Filed on 7/31/2024) (Entered: 07/31/2024)
       07/31/2024          84 OPPOSITION/RESPONSE (re 78 MOTION to Dismiss DEFENDANT APPLE INC.'S NOTICE OF
                              MOTION AND MOTION TO DISMISS PORTIONS OF PLAINTIFF'S FOURTH AMENDED
                              COMPLAINT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF )
                              Opposition filed byAshley M Gjovik. (Gjovik, Ashley) (Filed on 7/31/2024) (Entered: 07/31/2024)
       07/26/2024          83 ORDER REFERRING CASE to Magistrate Judge for Discovery purposes. Signed by Judge
                              Edward M. Chen on 7/26/2024. (vla, COURT STAFF) (Filed on 7/26/2024)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 07/26/2024)
       07/23/2024          82 TRANSCRIPT ORDER for proceedings held on 07/16/2024 before Judge Edward M Chen by Ashley
                              M Gjovik, for Court Reporter Kendra Steppler. (Gjovik, Ashley) (Filed on 7/23/2024) (Entered:
                              07/23/2024)
       07/23/2024          81 TRANSCRIPT ORDER for proceedings held on July 16, 2024 before Judge Edward M Chen by
                              Apple Inc., for Court Reporter Kendra Steppler. (Juvinall, Kate) (Filed on 7/23/2024) (Entered:
                              07/23/2024)
       07/16/2024          80 Minute Entry for proceedings held before Judge Edward M Chen: Initial Case Management
                              Conference held on 7/16/2024.

                                Joint Case Management Statement due by 8/15/2024.

                                Further Case Management Conference set for 8/22/2024, at 1:30 PM in San Francisco, -
                                Videoconference Only. This proceeding will be held via a Zoom webinar.

                                ALL PARTIES PARTICIPATING IN THE HEARING ARE REQUIRED TO LOG INTO
                                ZOOM NO LATER THAN 1:15 PM.

                                Webinar Access: All counsel, members of the public, and media may access the webinar
                                information at https://www.cand.uscourts.gov/emc

                                General Order 58. Persons granted access to court proceedings held by telephone or
                                videoconference are reminded that photographing, recording, and rebroadcasting of court
                                proceedings, including screenshots or other visual copying of a hearing, is absolutely prohibited.

                                Zoom Guidance and Setup: https://www.cand.uscourts.gov/zoom/.

                                Total Time in Court: 24 Minutes. Court Reporter: Kendra Steppler.

                                (vla, COURT STAFF) (Date Filed: 7/16/2024) (Entered: 07/22/2024)
       07/15/2024          79 MOTION to Strike 76 Amended Complaint DEFENDANT APPLE INC.'S NOTICE OF MOTION
                              AND MOTION TO STRIKE PORTIONS OF PLAINTIFF'S FOURTH AMENDED COMPLAINT;
                              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT filed by Apple Inc.. Motion
                              Hearing set for 8/22/2024 01:30 PM in San Francisco, Courtroom 05, 17th Floor before Judge Edward
                              M Chen. Responses due by 7/29/2024. Replies due by 8/5/2024. (Attachments: # 1 Exhibit A, # 2
                              Proposed Order)(Perry, Jessica) (Filed on 7/15/2024) (Entered: 07/15/2024)
       07/15/2024          78 MOTION to Dismiss DEFENDANT APPLE INC.'S NOTICE OF MOTION AND MOTION TO
                              DISMISS PORTIONS OF PLAINTIFF'S FOURTH AMENDED COMPLAINT; MEMORANDUM OF
                              POINTS AND AUTHORITIES IN SUPPORT THEREOF filed by Apple Inc.. Motion to Dismiss
                              Hearing set for 8/22/2024 01:30 PM in San Francisco, Courtroom 05, 17th Floor. Responses due by
                              7/29/2024. Replies due by 8/5/2024. (Attachments: # 1 Proposed Order)(Perry, Jessica) (Filed on
                              7/15/2024) (Entered: 07/15/2024)

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       07/09/2024          77 CASE MANAGEMENT STATEMENT First Joint Case Mgmt Statement filed by Ashley M Gjovik.
                              (Gjovik, Ashley) (Filed on 7/9/2024) (Entered: 07/09/2024)
       06/18/2024          76 AMENDED COMPLAINT 4AC against Apple Inc.. Filed by Ashley M Gjovik. (Attachments: # 1
                              Errata TAC 4AC Delta)(Gjovik, Ashley) (Filed on 6/18/2024) (Entered: 06/18/2024)
       05/23/2024          75 Transcript of Proceedings held on 05/16/2024, before Judge Edward M. Chen. Court Reporter Jennifer
                              Pancratz, telephone number 602-322-7198. Per General Order No. 59 and Judicial Conference policy,
                              this transcript may be viewed only at the Clerk's Office public terminal or may be purchased through
                              the Court Reporter until the deadline for the Release of Transcript Restriction. After that date it may be
                              obtained through PACER. Any Notice of Intent to Request Redaction, if required, is due no later than
                              5 business days from date of this filing. (Re 71 Transcript Order ) Release of Transcript Restriction set
                              for 8/21/2024. (Related documents(s) 71 ) (Pancratz, Jennifer) (Filed on 5/23/2024) (Entered:
                              05/23/2024)
       05/20/2024          74 CLERK'S NOTICE SETTING INITIAL CASE MANAGEMENT CONFERENCE.

                                Joint Case Management Statement due by 7/9/2024.

                                Initial Case Management Conference set for 7/16/2024, at 1:30 PM in San Francisco, -
                                Videoconference Only. This proceeding will be held via a Zoom webinar.

                                ALL PARTIES PARTICIPATING IN THE HEARNG ARE REQUIRED TO LOG INTO
                                ZOOM NO LATER THAN 1:20 PM.

                                Webinar Access: All counsel, members of the public, and media may access the webinar
                                information at https://www.cand.uscourts.gov/emc

                                General Order 58. Persons granted access to court proceedings held by telephone or
                                videoconference are reminded that photographing, recording, and rebroadcasting of court
                                proceedings, including screenshots or other visual copying of a hearing, is absolutely prohibited.

                                Zoom Guidance and Setup: https://www.cand.uscourts.gov/zoom/.

                                (This is a text-only entry generated by the court. There is no document associated with this entry.)
                                (vla, COURT STAFF) (Filed on 5/20/2024)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 05/20/2024)
       05/20/2024          73 ORDER by Judge Edward M. Chen granting in part and denying in part 48 Defendant's Motion
                              to Dismiss; denying 49 Defendant's Motion to Strike; and granting 64 Plaintiff's Motion to
                              Strike. (emclc2, COURT STAFF) (Filed on 5/20/2024)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 05/20/2024)
       05/20/2024          72 ***PLEASE DISREGARD, FILED IN ERROR. COURT REPORTER WAS PRESENT FOR
                              PROCEEDINGS. ONLY A TRANSCRIPT IS AVAILABLE OF THESE PROCEEDINGS.
                              AUDIO RECORDINGS ORDER (requesting docket(s): 69 ), by Ashley M Gjovik. Court will send to
                              Ashley Gjovik at legal@ashleygjovik.com a link to the files requested in this order. ( Filing fee $ 34,
                              receipt number ACANDC-19432235). (Gjovik, Ashley) (Filed on 5/20/2024) Modified on 5/23/2024
                              (knm, COURT STAFF). (Entered: 05/20/2024)
       05/20/2024          71 TRANSCRIPT ORDER for proceedings held on 05/16/2024 before Judge Edward M Chen by Ashley
                              M Gjovik, for Court Reporter Jennifer Pancratz. (Gjovik, Ashley) (Filed on 5/20/2024) (Entered:
                              05/20/2024)
       05/20/2024          70 TRANSCRIPT ORDER for proceedings held on May 16, 2024 before Judge Edward M Chen by
                              Apple Inc., for Court Reporter Jennifer Pancratz. (Juvinall, Kate) (Filed on 5/20/2024) (Entered:
                              05/20/2024)
       05/16/2024          69 Minute Entry for proceedings held before Judge Edward M Chen: Motion Hearing held on
                              5/16/2024, re 48 MOTION to Dismiss and 49 MOTION to Strike 47 Amended Complaint.

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                                Total Time in Court: 31 Minutes. Court Reporter: Jennifer Pancratz.

                                (vla, COURT STAFF) (Date Filed: 5/16/2024) (Entered: 05/20/2024)
       05/08/2024          68 CLERK'S NOTICE CONVERTING MOTIONS HEARING FROM IN-PERSON TO ZOOM.

                                Motions Hearing as to 48 MOTION to Dismiss DEFENDANT APPLE INC.'S NOTICE OF
                                MOTION AND MOTION TO DISMISS PLAINTIFF'S THIRD AMENDED COMPLAINT and 49
                                MOTION to Strike 47 Amended Complaint set 5/16/2024, at 1:30 PM in San Francisco, -
                                Videoconference Only before Judge Edward M Chen. This proceeding will be held via a Zoom
                                webinar.

                                ALL PARTIES PARTICIPATING IN THE HEARING ARE REQUIRED TO LOG INTO
                                ZOOM NO LATER THAN 1:20 PM.

                                Webinar Access: All counsel, members of the public, and media may access the webinar
                                information at https://www.cand.uscourts.gov/emc

                                General Order 58. Persons granted access to court proceedings held by telephone or
                                videoconference are reminded that photographing, recording, and rebroadcasting of court
                                proceedings, including screenshots or other visual copying of a hearing, is absolutely prohibited.

                                Zoom Guidance and Setup: https://www.cand.uscourts.gov/zoom/.

                                (This is a text-only entry generated by the court. There is no document associated with this entry.)
                                (vla, COURT STAFF) (Filed on 5/8/2024)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 05/08/2024)
       05/01/2024          67 Supplemental Brief re 64 First MOTION to Strike 58 Reply to Opposition/Response, 48 MOTION to
                              Dismiss DEFENDANT APPLE INC.'S NOTICE OF MOTION AND MOTION TO DISMISS
                              PLAINTIFF'S THIRD AMENDED COMPLAINT; MEMORANDUM OF POINTS AND
                              AUTHORITIES IN SUPPORT THEREO, 62 Declaration in Support, 66 Received Document
                              OBJECTIONS TO SECOND NON-PARTY AMICUS DECLARATION AT DOCKET NO 66 filed
                              byAshley M Gjovik. (Related document(s) 64 , 62 , 66 ) (Gjovik, Ashley) (Filed on 5/1/2024) (Entered:
                              05/01/2024)
       04/30/2024          66 Supplemental Declaration of Cher Swan Scarlett (Attachments: # 1 Envelope)(ark, COURT STAFF)
                              (Filed on 4/30/2024) (Entered: 05/01/2024)
       04/25/2024          65 ERRATA re 61 Request for Judicial Notice, 63 Opposition/Response to Motion, REFILING
                              DOCUMENTS IN DOCKET NO 63 DUE TO FILE ERRORS by Ashley M Gjovik. (Attachments: # 1
                              Exhibit Exhibits - Copies of Banko v Apple Case Documents from Docket 3:13-cv-02977, # 2
                              Declaration Declaration Authenticating Exhibits)(Gjovik, Ashley) (Filed on 4/25/2024) (Entered:
                              04/25/2024)
       04/24/2024          64 First MOTION to Strike 58 Reply to Opposition/Response, 48 MOTION to Dismiss DEFENDANT
                              APPLE INC.'S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF'S THIRD
                              AMENDED COMPLAINT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
                              THEREOF, 59 Reply to Opposition/Response, 49 MOTION to Strike 47 Amended Complaint
                              DEFENDANT APPLE INC.'S NOTICE OF MOTION AND MOTION TO STRIKE PORTIONS OF
                              PLAINTIFF'S THIRD AMENDED COMPLAINT; MEMORANDUM OF POINTS AND
                              AUTHORITIES IN SUPPORT, 62 Declaration in Support, MOTION TO STRIKE IMPROPER
                              AMICUS DECLARATION BY NON-PARTY filed by Ashley M Gjovik. Motion Hearing set for
                              5/16/2024 01:30 PM in San Francisco, - Videoconference Only before Judge Edward M Chen.
                              Responses due by 5/8/2024. Replies due by 5/15/2024. (Attachments: # 1 Declaration Declaration in
                              Support with Exhibits, # 2 Proposed Order Proposed Order Granting Motion)(Gjovik, Ashley) (Filed
                              on 4/24/2024) (Entered: 04/24/2024)
       04/24/2024          63 OPPOSITION/RESPONSE (re 48 MOTION to Dismiss DEFENDANT APPLE INC.'S NOTICE OF
                              MOTION AND MOTION TO DISMISS PLAINTIFF'S THIRD AMENDED COMPLAINT;
                              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF ) Response to Def's

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                                New 4/16/24 Motion Requesting Judicial Notice filed byAshley M Gjovik. (Attachments: # 1
                                Declaration Declaration in Support)(Gjovik, Ashley) (Filed on 4/24/2024) (Entered: 04/24/2024)
       04/19/2024          62 Declaration of Cher S. Scarlett in Support of Defendant's Moton to Strike 61 Request for Judicial
                              Notice, 56 Declaration in Opposition, filed byAshley M Gjovik. (Attachments: # 1 Envelope) (Related
                              document(s) 61 , 56 ) (kmg, COURT STAFF) (Filed on 4/19/2024) (Entered: 04/23/2024)
       04/16/2024          61 Request for Judicial Notice re 58 Reply to Opposition/Response, in Support of Motion to Dismiss
                              Plaintiffs Third Amended Complaint filed byApple Inc.. (Attachments: # 1 Exhibit A, # 2 Proposed
                              Order Proposed Order)(Related document(s) 58 ) (Perry, Jessica) (Filed on 4/16/2024) (Entered:
                              04/16/2024)
       04/16/2024          60 REPLY (re 48 MOTION to Dismiss DEFENDANT APPLE INC.'S NOTICE OF MOTION AND
                              MOTION TO DISMISS PLAINTIFF'S THIRD AMENDED COMPLAINT; MEMORANDUM OF
                              POINTS AND AUTHORITIES IN SUPPORT THEREOF ) [Reply in Support of RJN re Motion to
                              Dismiss] filed byApple Inc.. (Perry, Jessica) (Filed on 4/16/2024) (Entered: 04/16/2024)
       04/16/2024          59 REPLY (re 49 MOTION to Strike 47 Amended Complaint DEFENDANT APPLE INC.'S NOTICE OF
                              MOTION AND MOTION TO STRIKE PORTIONS OF PLAINTIFF'S THIRD AMENDED
                              COMPLAINT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT ) filed byApple
                              Inc.. (Perry, Jessica) (Filed on 4/16/2024) (Entered: 04/16/2024)
       04/16/2024          58 REPLY (re 48 MOTION to Dismiss DEFENDANT APPLE INC.'S NOTICE OF MOTION AND
                              MOTION TO DISMISS PLAINTIFF'S THIRD AMENDED COMPLAINT; MEMORANDUM OF
                              POINTS AND AUTHORITIES IN SUPPORT THEREOF ) filed byApple Inc.. (Perry, Jessica) (Filed
                              on 4/16/2024) (Entered: 04/16/2024)
       04/16/2024          57 DECLARATION of Ashley Gjovik in Opposition to 54 Opposition/Response to Motion, 48 MOTION
                              to Dismiss DEFENDANT APPLE INC.'S NOTICE OF MOTION AND MOTION TO DISMISS
                              PLAINTIFF'S THIRD AMENDED COMPLAINT; MEMORANDUM OF POINTS AND
                              AUTHORITIES IN SUPPORT THEREOF filed byAshley M Gjovik. (Related document(s) 54 , 48 )
                              (Gjovik, Ashley) (Filed on 4/16/2024) (Entered: 04/16/2024)
       04/16/2024          56 DECLARATION of Ashley Gjovik in Opposition to 49 MOTION to Strike 47 Amended Complaint
                              DEFENDANT APPLE INC.'S NOTICE OF MOTION AND MOTION TO STRIKE PORTIONS OF
                              PLAINTIFF'S THIRD AMENDED COMPLAINT; MEMORANDUM OF POINTS AND
                              AUTHORITIES IN SUPPORT, 53 Opposition/Response to Motion, filed byAshley M Gjovik. (Related
                              document(s) 49 , 53 ) (Gjovik, Ashley) (Filed on 4/16/2024) (Entered: 04/16/2024)
       04/16/2024          55 DECLARATION of Ashley Gjovik in Opposition to 50 Request for Judicial Notice,, 52
                              Opposition/Response to Motion, filed byAshley M Gjovik. (Related document(s) 50 , 52 ) (Gjovik,
                              Ashley) (Filed on 4/16/2024) (Entered: 04/16/2024)
       04/10/2024          54 OPPOSITION/RESPONSE (re 48 MOTION to Dismiss DEFENDANT APPLE INC.'S NOTICE OF
                              MOTION AND MOTION TO DISMISS PLAINTIFF'S THIRD AMENDED COMPLAINT;
                              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF ) OPP'N TO MOTION
                              TO DISMISS filed byAshley M Gjovik. (Attachments: # 1 Proposed Order PROPOSED ORDER
                              DENYING MTD)(Gjovik, Ashley) (Filed on 4/10/2024) (Entered: 04/10/2024)
       04/10/2024          53 OPPOSITION/RESPONSE (re 49 MOTION to Strike 47 Amended Complaint DEFENDANT APPLE
                              INC.'S NOTICE OF MOTION AND MOTION TO STRIKE PORTIONS OF PLAINTIFF'S THIRD
                              AMENDED COMPLAINT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT )
                              OPP'N TO MOTION TO STRIKE filed byAshley M Gjovik. (Attachments: # 1 Proposed Order
                              PROPOSED ORDER DENYING MTS)(Gjovik, Ashley) (Filed on 4/10/2024) (Entered: 04/10/2024)
       04/09/2024          52 OPPOSITION/RESPONSE (re 48 MOTION to Dismiss DEFENDANT APPLE INC.'S NOTICE OF
                              MOTION AND MOTION TO DISMISS PLAINTIFF'S THIRD AMENDED COMPLAINT;
                              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF ) OPPOSITION TO
                              REQUEST FOR JUDICIAL NOTICE filed byAshley M Gjovik. (Attachments: # 1 Proposed Order
                              DENYING RJN)(Gjovik, Ashley) (Filed on 4/9/2024) (Entered: 04/09/2024)
       03/26/2024          51 NOTICE of Change of Address by Ryan Booms (Booms, Ryan) (Filed on 3/26/2024) (Entered:
                              03/26/2024)


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       03/26/2024          50 Request for Judicial Notice re 48 MOTION to Dismiss DEFENDANT APPLE INC.'S NOTICE OF
                              MOTION AND MOTION TO DISMISS PLAINTIFF'S THIRD AMENDED COMPLAINT;
                              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF DEFENDANT APPLE
                              INC.'S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS PLAINTIFF'S
                              THIRD AMENDED COMPLAINT filed byApple Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                              Proposed Order)(Related document(s) 48 ) (Perry, Jessica) (Filed on 3/26/2024) (Entered: 03/26/2024)
       03/26/2024          49 MOTION to Strike 47 Amended Complaint DEFENDANT APPLE INC.'S NOTICE OF MOTION
                              AND MOTION TO STRIKE PORTIONS OF PLAINTIFF'S THIRD AMENDED COMPLAINT;
                              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT filed by Apple Inc.. Motion
                              Hearing set for 5/16/2024 01:30 PM in San Francisco, Courtroom 05, 17th Floor before Judge Edward
                              M Chen. Responses due by 4/9/2024. Replies due by 4/16/2024. (Attachments: # 1 Exhibit A, # 2
                              Proposed Order)(Perry, Jessica) (Filed on 3/26/2024) (Entered: 03/26/2024)
       03/26/2024          48 MOTION to Dismiss DEFENDANT APPLE INC.'S NOTICE OF MOTION AND MOTION TO
                              DISMISS PLAINTIFF'S THIRD AMENDED COMPLAINT; MEMORANDUM OF POINTS AND
                              AUTHORITIES IN SUPPORT THEREOF filed by Apple Inc.. Motion to Dismiss Hearing set for
                              5/16/2024 01:30 PM in San Francisco, Courtroom 05, 17th Floor. Responses due by 4/9/2024. Replies
                              due by 4/16/2024. (Attachments: # 1 Proposed Order)(Juvinall, Kate) (Filed on 3/26/2024) (Entered:
                              03/26/2024)
       02/27/2024          47 AMENDED COMPLAINT Plaintiff's Third Amended Complaint (75 Pages) against Apple Inc.. Filed
                              by Ashley M Gjovik. (Gjovik, Ashley) (Filed on 2/27/2024) (Entered: 02/27/2024)
       01/30/2024          46 ORDER by Judge Edward M. Chen denying 35 , 37 Plaintiff's Motion for Judicial Notice as
                              moot and sua sponte dismissing Plaintiff's Second Amended Complaint with leave to amend. 41 ,
                              42 Defendant's Motion to Dismiss and Motion to Strike the Second Amended Complaint are
                              denied as moot. (emclc2, COURT STAFF) (Filed on 1/30/2024)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 01/30/2024)
       01/25/2024          45 REPLY (re 37 MOTION for Judical Notice, 35 MOTION for Judicial Notice with [Proposed Order] )
                              Reply to Apple's Response filed byAshley M Gjovik. (Gjovik, Ashley) (Filed on 1/25/2024) (Entered:
                              01/25/2024)
       01/19/2024          44 NOTICE by Ashley M Gjovik re 41 MOTION to Dismiss DEFENDANT APPLE INC.'S NOTICE OF
                              MOTION AND MOTION TO DISMISS PLAINTIFF'S SECOND AMENDED COMPLAINT;
                              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF, 42 MOTION to Strike
                              32 Amended Complaint DEFENDANT APPLE INC.'S NOTICE OF MOTION AND MOTION TO
                              STRIKE PORTIONS OF PLAINTIFF'S SECOND AMENDED COMPLAINT; MEMORANDUM OF
                              POINTS AND AUTHORITIES IN SUPPORT, 43 Opposition/Response to Motion Notice of Intent to
                              file Reply by 1/26/24 and Oppositions by 2/1/24 (Gjovik, Ashley) (Filed on 1/19/2024) (Entered:
                              01/19/2024)
       01/19/2024          43 OPPOSITION/RESPONSE (re 37 MOTION for Judical Notice, 35 MOTION for Judicial Notice with
                              [Proposed Order] ) filed byApple Inc.. (Perry, Jessica) (Filed on 1/19/2024) (Entered: 01/19/2024)
       01/18/2024          42 MOTION to Strike 32 Amended Complaint DEFENDANT APPLE INC.'S NOTICE OF MOTION
                              AND MOTION TO STRIKE PORTIONS OF PLAINTIFF'S SECOND AMENDED COMPLAINT;
                              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT filed by Apple Inc.. Motion
                              Hearing set for 2/29/2024 01:30 PM in San Francisco, Courtroom 05, 17th Floor before Judge Edward
                              M Chen. Responses due by 2/1/2024. Replies due by 2/8/2024. (Attachments: # 1 Exhibit A, # 2
                              Proposed Order)(Perry, Jessica) (Filed on 1/18/2024) (Entered: 01/18/2024)
       01/18/2024          41 MOTION to Dismiss DEFENDANT APPLE INC.'S NOTICE OF MOTION AND MOTION TO
                              DISMISS PLAINTIFF'S SECOND AMENDED COMPLAINT; MEMORANDUM OF POINTS AND
                              AUTHORITIES IN SUPPORT THEREOF filed by Apple Inc.. Motion to Dismiss Hearing set for
                              2/29/2024 01:30 PM in San Francisco, Courtroom 05, 17th Floor. Responses due by 2/1/2024. Replies
                              due by 2/8/2024. (Attachments: # 1 Proposed Order)(Perry, Jessica) (Filed on 1/18/2024) (Entered:
                              01/18/2024)



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    https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?143497338413783-L_1_0-1                                                                                                         19/23
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       01/12/2024          40 CLERK'S NOTICE SETTING MOTION HEARING VIA ZOOM.

                                Motion Hearing as to 37 MOTION for Judicial Notice set for for 2/15/2024, at 1:30 PM in San
                                Francisco, - Videoconference Only before Judge Edward M Chen. This proceeding will be held
                                via a Zoom webinar.

                                ALL PARTIES PARTICIPATING IN THE HEARING ARE REQUIRED TO LOG INTO
                                ZOOM NO LATER THAN 1:20 PM.

                                Webinar Access: All counsel, members of the public, and media may access the webinar
                                information at https://www.cand.uscourts.gov/emc

                                General Order 58. Persons granted access to court proceedings held by telephone or
                                videoconference are reminded that photographing, recording, and rebroadcasting of court
                                proceedings, including screenshots or other visual copying of a hearing, is absolutely prohibited.

                                Zoom Guidance and Setup: https://www.cand.uscourts.gov/zoom/.

                                (This is a text-only entry generated by the court. There is no document associated with this entry.)
                                (vla, COURT STAFF) (Filed on 1/12/2024)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 01/12/2024)
       01/09/2024          39 Renotice motion hearing re 37 MOTION for Judical Notice, 35 MOTION for Judicial Notice with
                              [Proposed Order] re-NOTICE OF MOTION for 2/15/24 filed byAshley M Gjovik. (Related
                              document(s) 37 , 35 ) (Gjovik, Ashley) (Filed on 1/9/2024) (Entered: 01/09/2024)
       01/05/2024          38 ERRATA re 37 MOTION for Judical Notice Re-filing Doc 37 #7 (Exhibit 12 - Location/Map; Same
                              Document) Due to PDF File Error by Ashley M Gjovik. (Gjovik, Ashley) (Filed on 1/5/2024)
                              (Entered: 01/05/2024)
       01/02/2024          37 MOTION for Judicial Notice with [Proposed Order] Exhibits re 35 Addendum | Feb 8 2024 Hearing
                              filed by Ashley M Gjovik. (Attachments: # 1 Exhibit 825 Stewart, # 2 Exhibit 3250 Scott, # 3 Exhibit
                              NLRB, # 4 Exhibit SEC, # 5 Exhibit Lawsuits, # 6 Exhibit News Articles, # 7 Exhibit Locations)
                              (Related document(s) 35 ) (Gjovik, Ashley) (Filed on 1/2/2024) Modified on 1/3/2024 (kmg, COURT
                              STAFF). Modified on 1/3/2024 (kmg, COURT STAFF). (Entered: 01/02/2024)
       12/27/2023          36 Notice of Withdrawal Without Prejudice of Motion to Dismiss First Amended Complaint. (Perry,
                              Jessica) (Filed on 12/27/2023) Modified on 12/28/2023 (kmg, COURT STAFF). (Entered:
                              12/27/2023)
       12/25/2023          35 MOTION FOR JUDICIAL NOTICE-[PROPOSED] ORDER GRANTING PLAINTIFFS MOTION
                              FOR JUDICIAL NOTICE re 33 Opposition/Response to Motion, filed by Ashley M Gjovik.
                              (Attachments: # 1 Proposed Order Order, # 2 Exhibit 1 - 825 Stewart Drive, # 3 Exhibit 2 - 3250 Scott
                              Blvd, # 4 Exhibit 3 - NLRB, # 5 Exhibit 4 - DOL, # 6 Exhibit 5 - EEOC, # 7 Exhibit 6 - SEC, # 8
                              Exhibit 7 - Court 1, # 9 Exhibit 8 - Environment, # 10 Exhibit 9 - Court 2, # 11 Exhibit 10 - News 1, #
                              12 Exhibit 11 - News 2, # 13 Exhibit 12 - Maps)(Related document(s) 33 ) (Gjovik, Ashley) (Filed on
                              12/25/2023) Modified on 12/27/2023 (kmg, COURT STAFF). (Entered: 12/25/2023)
       12/22/2023          34 Proposed Order Denying MTD re 33 Opposition/Response to Motion, by Ashley M Gjovik. (Gjovik,
                              Ashley) (Filed on 12/22/2023) Modified on 12/26/2023 (kmg, COURT STAFF). (Entered:
                              12/22/2023)
       12/22/2023          33 OPPOSITION/RESPONSE (re 30 MOTION to Dismiss Defendant Apple Inc.'s Notice of Motion and
                              Motion to Dismiss Plaintiff's First Amended Complaint; Memorandum of Points and Authorities in
                              Support Thereof ) filed byAshley M Gjovik. (Attachments: # 1 Exhibit FAC SAC Redline 1, # 2
                              Exhibit FAC SAC Redline 2)(Gjovik, Ashley) (Filed on 12/22/2023) (Entered: 12/22/2023)
       12/21/2023          32 AMENDED COMPLAINT Stipulated SAC against Apple Inc.. Filed by Ashley M Gjovik.
                              (Attachments: # 1 Exhibit SAC Part 2, # 2 Exhibit SAC Part 3)(Gjovik, Ashley) (Filed on 12/21/2023)
                              (Entered: 12/21/2023)
       11/19/2023          31 NOTICE by Ashley M Gjovik Notice of Intent to File Opposition to Defendant's Partial Motion to
                              Dismiss, and Notice of Intent to File 2nd Amended Complaint, by or before Dec 21 2023, per Prior
                                                                                                                                             ER Ver. VI 278
    https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?143497338413783-L_1_0-1                                                                                                         20/23
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                                Stipulation Order (Gjovik, Ashley) (Filed on 11/19/2023) (Entered: 11/19/2023)
       11/16/2023          30 MOTION to Dismiss Defendant Apple Inc.'s Notice of Motion and Motion to Dismiss Plaintiff's First
                              Amended Complaint; Memorandum of Points and Authorities in Support Thereof filed by Apple Inc..
                              Motion to Dismiss Hearing set for 2/8/2024 01:30 PM in San Francisco, Courtroom 05, 17th Floor.
                              Responses due by 12/21/2023. Replies due by 1/11/2024. (Attachments: # 1 Proposed Order)(Juvinall,
                              Kate) (Filed on 11/16/2023) (Entered: 11/16/2023)
       11/16/2023          29 ADR Certification (ADR L.R. 3-5 b) of discussion of ADR options (Juvinall, Kate) (Filed on
                              11/16/2023) (Entered: 11/16/2023)
       11/15/2023          28 ADR Certification (ADR L.R. 3-5 b) of discussion of ADR options (joint intention to stipulate to
                              settlement conference) (Gjovik, Ashley) (Filed on 11/15/2023) (Entered: 11/15/2023)
       10/31/2023          27 NOTICE of Appearance by Ryan Booms (Booms, Ryan) (Filed on 10/31/2023) (Entered: 10/31/2023)
       10/27/2023          26 NOTICE of Appearance by Jessica Perry (Perry, Jessica) (Filed on 10/27/2023) (Entered: 10/27/2023)
       10/27/2023          25 NOTICE of Appearance by Melinda S. Riechert (Riechert, Melinda) (Filed on 10/27/2023) (Entered:
                              10/27/2023)
       10/27/2023          24 ORDER REASSIGNING CASE. Case reassigned using a proportionate, random, and blind
                              system pursuant to General Order No. 44 to Judge Edward M Chen for all further proceedings.
                              Judge Charles R. Breyer no longer assigned to case, Notice: The assigned judge participates in
                              the Cameras in the Courtroom Pilot Project. See General Order No. 65 and
                              http://cand.uscourts.gov/cameras.. Signed by Clerk on 10/27/2023. (Attachments: # 1 Notice of
                              Eligibility for Video Recording)(ark, COURT STAFF) (Filed on 10/27/2023)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 10/27/2023)
       10/27/2023          23 ORDER OF RECUSAL. Signed by Judge Charles R. Breyer on 10/27/2023. (ls, COURT STAFF)
                              (Filed on 10/27/2023)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 10/27/2023)
       10/25/2023          22 NOTICE of Appearance by Kate Elsa Juvinall NOTICE OF APPEARANCE OF RYAN D. BOOMS
                              (Juvinall, Kate) (Filed on 10/25/2023) (Entered: 10/25/2023)
       10/25/2023          21 NOTICE of Appearance by Kate Elsa Juvinall NOTICE OF APPEARANCE OF JESSICA R. PERRY
                              (Juvinall, Kate) (Filed on 10/25/2023) (Entered: 10/25/2023)
       10/25/2023          20 NOTICE of Appearance by Kate Elsa Juvinall NOTICE OF APPEARANCE OF KATHRYN G.
                              MANTOAN (Juvinall, Kate) (Filed on 10/25/2023) (Entered: 10/25/2023)
       10/25/2023          19 NOTICE of Appearance by Kate Elsa Juvinall NOTICE OF APPEARANCE OF MELINDA S.
                              RIECHERT (Juvinall, Kate) (Filed on 10/25/2023) (Entered: 10/25/2023)
       10/25/2023          18 CLERK'S NOTICE: A Joint Case Management Statement due by 2/2/2024. Initial Case Management
                              Conference set for 2/9/2024 at 8:30 AM in San Francisco, Courtroom 06, 17th Floor. (This is a text-
                              only entry generated by the court. There is no document associated with this entry.) (ls, COURT
                              STAFF) (Filed on 10/25/2023)
                                         Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 10/25/2023)
       10/25/2023          17 AMENDED COMPLAINT (Per Stipulation) against Apple Inc.. Filed by Ashley M Gjovik.
                              (Attachments: # 1 Exhibit Redline of changes)(Gjovik, Ashley) (Filed on 10/25/2023) (Entered:
                              10/25/2023)
       10/24/2023          16 ORDER REASSIGNING CASE. Case reassigned using a proportionate, random, and blind
                              system pursuant to General Order No. 44 to Judge Charles R. Breyer for all further
                              proceedings. Magistrate Judge Laurel Beeler no longer assigned to case, Notice: The assigned
                              judge participates in the Cameras in the Courtroom Pilot Project. See General Order No. 65 and
                              http://cand.uscourts.gov/cameras.. Signed by Clerk on 10/24/2023. (Attachments: # 1 Notice of
                              Eligibility for Video Recording)(ark, COURT STAFF) (Filed on 10/24/2023)

                                                                                                                                                  ER Ver. VI 279
    https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?143497338413783-L_1_0-1                                                                                                            21/23
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                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 10/24/2023)
       10/24/2023          15 CLERK'S NOTICE OF IMPENDING REASSIGNMENT TO A U.S. DISTRICT COURT JUDGE:
                              The Clerk of this Court will now randomly reassign this case to a District Judge because either (1) a
                              party has not consented to the jurisdiction of a Magistrate Judge, or (2) time is of the essence in
                              deciding a pending judicial action for which the necessary consents to Magistrate Judge jurisdiction
                              have not been secured. You will be informed by separate notice of the district judge to whom this case
                              is reassigned.

                                ALL HEARING DATES PRESENTLY SCHEDULED BEFORE THE CURRENT MAGISTRATE
                                JUDGE ARE VACATED AND SHOULD BE RE-NOTICED FOR HEARING BEFORE THE
                                JUDGE TO WHOM THIS CASE IS REASSIGNED.

                                This is a text only docket entry; there is no document associated with this notice. (ejk, COURT
                                STAFF) (Filed on 10/24/2023)

                                         Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 10/24/2023)
       10/23/2023          14 CONSENT/DECLINATION to Proceed Before a US Magistrate Judge by Apple Inc... (Juvinall, Kate)
                              (Filed on 10/23/2023) (Entered: 10/23/2023)
       10/10/2023          13 CLERK'S NOTICE Re: Consent or Declination: Defendant shall file a consent or declination to
                              proceed before a magistrate judge. Note that any party is free to withhold consent to proceed before a
                              magistrate judge without adverse substantive consequences. The forms are available at:
                              http://cand.uscourts.gov/civilforms. Consent/Declination due by 10/24/2023. (ejk, COURT STAFF)
                              (Filed on 10/10/2023)
                                         Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 10/10/2023)
       10/10/2023          12 ORDER re 9 STIPULATION TO (1) ENLARGE TIME TO FILE RESPONSIVE PLEADING, (2)
                              SET DEADLINE TO FILE AMENDED COMPLAINT AND RESPONSIVE PLEADING, (3)
                              PERMIT AND SET DEADLINE FOR SECOND AMENDED COMPLAINT, AND (4) SET
                              DEADLINE FOR RESPONSE TO SECO. The court approves the schedule and asks the
                              defendant, if it files a motion, to notice it for a hearing at least two weeks after full briefing on
                              any available Thursday at 9:30 am and to docket the approved briefing schedule: opposition due
                              1/4/2024, and reply due 1/11/2024.

                                Initial Case Management Conference previously set for 12/7/2023 is reset to 3/21/2024 at 11:00
                                AM in San Francisco - Videoconference Only. Case Management Statement due by 3/14/2024.
                                This proceeding will be held via a Zoom webinar.

                                Webinar Access: All counsel, members of the public, and media may access the webinar
                                information at https://www.cand.uscourts.gov/lb

                                General Order 58. Persons granted access to court proceedings held by telephone or
                                videoconference are reminded that photographing, recording, and rebroadcasting of court
                                proceedings, including screenshots or other visual copying of a hearing, is absolutely prohibited.

                                Zoom Guidance and Setup: https://www.cand.uscourts.gov/zoom/.

                                Signed by Judge Laurel Beeler on 10/10/2023. (ejk, COURT STAFF) (Filed on 10/10/2023)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 10/10/2023)
       10/09/2023          11 Certificate of Interested Entities by Apple Inc. (Juvinall, Kate) (Filed on 10/9/2023) (Entered:
                              10/09/2023)
       10/09/2023          10 Corporate Disclosure Statement by Apple Inc. (Juvinall, Kate) (Filed on 10/9/2023) (Entered:
                              10/09/2023)

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    https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?143497338413783-L_1_0-1                                                                                                            22/23
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       10/09/2023           9 STIPULATION WITH PROPOSED ORDER TO (1) ENLARGE TIME TO FILE RESPONSIVE
                              PLEADING, (2) SET DEADLINE TO FILE AMENDED COMPLAINT AND RESPONSIVE
                              PLEADING, (3) PERMIT AND SET DEADLINE FOR SECOND AMENDED COMPLAINT, AND (4)
                              SET DEADLINE FOR RESPONSE TO SECOND AMENDED COMPLAINT AND FURTHER
                              BRIEFING (IF NEEDED) filed by Apple Inc.. (Juvinall, Kate) (Filed on 10/9/2023) (Entered:
                              10/09/2023)
       09/22/2023           8 CERTIFICATE OF SERVICE by Ashley M Gjovik re 7 Certificate of Service Part II - Personal
                              Service (Gjovik, Ashley) (Filed on 9/22/2023) (Entered: 09/22/2023)
       09/15/2023           7 CERTIFICATE OF SERVICE by Ashley M Gjovik Summons Proof of Service (Gjovik, Ashley) (Filed
                              on 9/15/2023) (Entered: 09/15/2023)
       09/10/2023           6 CONSENT/DECLINATION to Proceed Before a US Magistrate Judge by Ashley M Gjovik.. (Gjovik,
                              Ashley) (Filed on 9/10/2023) (Entered: 09/10/2023)
       09/07/2023           5 NOTICE AND ORDER:The attached notice and order notifies the plaintiff of resources
                              available, attaches the district's handbook for litigants who do not have a lawyer, includes a flyer
                              for contacting the court's help desk and instructs the plaintiff about serving the defendants.
                              Signed by Judge Laurel Beeler on 09/07/2023. (Attachments: # 1 Self Help Flyer, # 2 Pro Se
                              Handbook)(ejk, COURT STAFF) (Filed on 9/7/2023)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 09/07/2023)
       09/07/2023           4 Initial Case Management Scheduling Order with ADR Deadlines: Case Management Statement
                              due by 11/30/2023. Initial Case Management Conference set for 12/7/2023 at 11:00 AM in San
                              Francisco, Courtroom B, 15th Floor. (exl, COURT STAFF) (Filed on 9/7/2023)
                                      Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic Filing (NEF)
                                (Entered: 09/07/2023)
       09/07/2023           3 Summons Issued as to Apple Inc. (exl, COURT STAFF) (Filed on 9/7/2023) (Entered: 09/07/2023)
       09/07/2023           2 Certificate of Interested Entities by Ashley M Gjovik identifying Other Affiliate Chevron, Other
                              Affiliate South Bay Construction, Other Affiliate Honeywell, Other Affiliate CalSTRS, Other Affiliate
                              Ares Management, Other Affiliate Northrop Grumman Corporation, Other Affiliate The Irvine
                              Company, Other Affiliate GI Partners, Other Affiliate Uber, Other Affiliate Oaktree Capital, Other
                              Affiliate Hines Real Estate, Other Affiliate BentallGreenOak, Other Affiliate Amgen, Other Affiliate
                              Emerson Collective, Other Affiliate Waverly Street Foundation for Ashley M Gjovik. (exl, COURT
                              STAFF) (Filed on 9/7/2023) (Entered: 09/07/2023)
       09/07/2023           1 COMPLAINT against Apple Inc. (Filing fee $ 402, Rcpt No. 311165908.). Filed by Ashley M Gjovik.
                              Consent/Declination due by 9/21/2023. (Attachments: # 1 Civil Cover Sheet, # 2 Receipt)(exl,
                              COURT STAFF) (Filed on 9/7/2023) Modified on 9/7/2023 (exl, COURT STAFF). (Entered:
                              09/07/2023)



                                                                      PACER Service Center
                                                                           Transaction Receipt
                                                                              05/09/2025 08:27:14
                                             PACER Login: ashleygjovik                Client Code:
                                             Description:          Docket Report Search Criteria: 3:23-cv-04597-EMC
                                             Billable Pages: 25                       Cost:                  2.50




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    https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?143497338413783-L_1_0-1                                                                                                         23/23
